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 Mark B. Chassman, SBN 119619
 Email: mchassman@chassmanseelig.com
 Ana Vasquez, SBN 231903
 Email: avasquez@chassmanseelig.com
 CHASSMAN & SEELIG, LLP
 1250 Sixth Street, Suite 403
 Santa Monica, CA 90401
 Telephone: (310) 929-7192
 Fax: (310) 929-7627
 Alexander D. Pencu (pro hac vice)
 Email: adp@msf-law.com
 Benjamin D. Bianco (pro hac vice)
 Email: bdb@msf-law.com
 Austin D. Kim (pro hac vice)
 Email: adk@msf-law.com
 MEISTER SEELIG & FEIN LLP
 125 Park Avenue, 7th Floor
 New York, NY 10017
 Telephone: (212) 655-3500
 Fax: (646) 539-3649
 Attorneys for Defendant B.R. Shetty

                      UNITED STATES DISTRICT COURT
                    CENTRAL DISTRICT OF CALIFORNIA

                                                ) Case No.: 2:20-cv-02303-CBM-MAA
  CHRIS HASHEM, individually and                )
  on behalf of all others similarly situated,   )
                                                  (Consolidated with Case No. 2:20-cv-
                      Plaintiff,                )
                                                ) 02895-CBM-MAA)
        v.                                      )
                                                )
  NMC HEALTH PLC, PRASANTH                      )
  MANGHAT, KHALIFA BIN BUTTI,                   )
  PRASHANTH SHENOY, H.J. MARK                   )
  TOMPKINS, and B.R. SHETTY,
                                                )
                      Defendants.               )
                                                )
                                                )


                          EXHIBIT 6
         TO SECOND REQUEST FOR JUDICIAL NOTICE AND
    INCORPORATION BY REFERENCE IN SUPPORT OF MOTION TO
              DISMISS OF DEFENDANT B.R. SHETTY
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           Continuing
           our strategic
           growth journey
           NMC Health plc
           Annual Report
           and Accounts 2018




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                          NMC believes in n prov
                                               vid
                                                 dingg healtthcarre to all se
                                                                            egme ents of
                      society while upho  olding
                                               g thee higheest etthical medical practices.
                        Our patients are assurred of rec ceivving the high hest sta
                                                                                  andards
                       of quality at afford
                                          dable pricees. Heaalthca
                                                                 are is nott simpply
                                                                                   y about
                      detecting, diagnosiing, in
                                               nformming g or trea
                                                                 ating an inndivid
                                                                                 dual, but it
                      is about helping pe eoplee to le
                                                     ead a whole  esomme and he   ealthy life.




                                                         Read the annual report
                                                         and much more on our website:
                                                         www.nmchealth.com




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              At a Glance


              Our Business

              NMC has created regional clusters to aid the process of centralisation of
              key services to benefit from our strong growth over the past few years.
              We operate two business lines, Healthcare and Product Distribution,
              which are divided into five business verticals as indicated below:


              Hea
                althcare                                 Where
                                                             e we operatte

                                                         NMC has created regional clusters to aid the process of centralisation
                                                         of key services to benefit from our strong growth over the past few years.




                   Multi-specialty




                Maternity & Fertility
                                                                                                                                        Spain
                                                                            USA




                     Long-term
                    & Home Care

                                                                                                Colombia




                                                                                                Brazil
                    Operations
                  & Management

              Product Dis
                        stributio
                                on                                         Own and Operation & Management

                                                                           Own

                                                                           Operation & Management




                     Products
                  & Consumables




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                Sweden

           Denmark

          UK
                                        Latvia


                                       Slovakia


                               Italy


                                                  Jordan
                                                                  Kuwait

                       Egypt
                                                                  United Arab Emirates
                       Saudi Arabia
                       Yemen                               Oman




                       Kenya

                                                             Seychelles




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          NMC focuses on underserved medical services and geographies
          within the countries it operates in and will continue to utilise organic
          and inorganic growth strategies to address these opportunities.



          Company
                y Hig
                    ghliights                                                                                Overview
                                                                                                                    At a Glance
                                                                                                             2      Joint Chairmen’s 2018
                                                                                                                    letter to Shareholders


                                                                                                             Group Strategic Report
                                                                                                             6      Chief Executive Officer’s
                                                                                                                    Review
                                                                                                             8      Our Business Model
                                                                                                             10     Our Strategy
                                                                                                             12     Financial Summary and
                                                                                                                    Operational Highlights
          Patients                                       Licensed beds                                       13     Business and Financial
                                                                                                                    Review
                                                                                                             20     Key Performance Indicators
                                                                                                             22     Strategic Risk Management
                                                                                                             26     Corporate Social
                                                                                                                    Responsibility
          2017: +5.7m                                    2017: 1,539

                                                                                                             Governance
                                                                                                             38     Board of Directors
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                                                                                                             42     Corporate Governance
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          Doctors                                        Employees                                           84     Directors’ Statements
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                                                                                                                    Report
                                                                                                             96     Consolidated Income
                                                                                                                    Statement
                                                                                                             97     Consolidated Statement
                                                                                                                    of Other Comprehensive
          2017: c1,400                                   2017: c.14,000                                             Income
                                                                                                             98     Consolidated Statement
                                                                                                                    of Financial Position
                                                                                                             99     Consolidated Statement
                                                                                                                    of Changes in Equity
                                                                                                             101    Consolidated Statement
                                                                                                                    of Cash Flows
                                                                                                             103    Notes to the Consolidated
                                                                                                                    Financial Statements
                                                                                                             158    Statement of Financial
                                                                                                                    Position
                                                                                                             159    Statement of Changes
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          Countries                                      Facilities
                                                                                                             160    Statement of Cash Flows
                                                                                                             161    Notes to the Financial
                                                                                                                    Statements


                                                                                                             Other Information
          2017: 13                                       2017: 129 own and managed facilities
                                                                                                             174    Shareholder information
                                                         (51 owned facilities and 78 managed)




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          Overview


          Joint Chairmen’s 2018 letter to Shareholders




          The past year has been one of solid progress                         Dear Shareholder,

          as we continue to execute our strategy of growth                     2018 saw Group Revenue increase to
          and integration of the businesses now making up                      US$2.1bn in 2018, up 28.3% from 2017.
                                                                               Consolidated EBITDA increased by 37.9%
          the wider NMC Group.                                                 to US$487.4m over the same period.
                                                                               These financial results are an impressive
                                                                               testament to the achievements of our
                                                                               management and staff in 2018.

                                                                               Integration and Efficiencies
                                                                               As we reported last year, 2017 was an
                                                                               important year of consolidation, and
                                                                               management have in 2018 built on the
                                                                               success of its integration program in 2017.
                                                                               In pursuing these projects, management
                                                                               have sought to ensure that the Group
                                                                               operates through its geographic clusters
                                                                               and business verticals as efficiently as
                                                                               possible. The management structure
                                                                               has been enhanced, providing additional
                                                                               experience and bandwidth.

                                                                               From a financial perspective, good
                                                                               organic growth was achieved not only in
                                                                               EBITDA but also in EBITDA margin in 2018.
                                                                               Our published guidance indicates that
                                                                               this trend continues into 2019.

                                                                               Strategy
                                                                               In December 2017, the Company
                                                                               reiterated and updated its growth
                                                                               strategy. During 2018, the Company:

                                                                               •   Acquired the remaining minority
                                                                                   interest in Fakih IVF that it didn’t
                                                                                   previously own;
                                                                               •   Acquired 70% of CosmeSurge, a
                                                                                   growing cosmetic surgery business;
                                                                               •   Opened a number of new IVF clinics,
                                                                                   and acquired Boston IVF, to widen the
                                                                                   reach of the growing IVF business;
                                                                               •   Opened and acquired hospital facilities
                                                                                   in the Kingdom of Saudi Arabia; and
                                                                               •   Acquired Aspen Healthcare in the UK.

                                                                               These acquisitions and new openings
                                                                               have been accretive for shareholders in
                                                                               the shorter term.

                                                                               In addition, we also announced recently
                                                                               that the creation of a Joint Venture
                                                                               with Hassana Investment Company
                                                                               in the Kingdom of Saudi Arabia had
                                                                               been finalised.


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Exhibit 6 to B.R. Shetty's Request for Judicial Notice              6 of 182                       Hashem, et al., v. NMC Health PLC, et al.,
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         “We also announced recently that the creation of a Joint Venture with Hassana
          Investment Company in the Kingdom of Saudi Arabia had been finalised.”




          Long-Term Financial Stability                  years. The Board and management                  The Board adopted a Modern Slavery
          During 2018 and early 2019, the                have likewise focused more attention             Policy in 2018 and has published its
          management team have also                      on these matters.                                first Modern Slavery Statement. This
          been focussed on ensuring that the                                                              Statement reviews our internal policies
          Company’s debt is structured efficiently.      The Board believes that the Company              and procedures and Modern Slavery
                                                         has a good governance structure                  risks within both our own businesses
          In April 2018 the Company issued a $450m       providing assurance to all shareholders          and those of our supplier base.
          Convertible Bond converting existing debt      of the Company.
          into a more structured seven-year bond.                                                         In line with many other companies we
          In November 2018, the Company issued           During 2018 the Board restructured its           see all aspects of ESG and stakeholder
          a $400m Sukuk financing arrangement.           Committees, which had been in place for          engagement as a journey and we will
          The Sukuk is the first US$ denominated         three years, to ensure that they provide         continue to update shareholders on
          Sukuk by a healthcare provider globally        a fresh focus on Committee business.             progress in this area each year.
          as well as the first international capital     The Board has a wide cultural and ethnic
          markets issuance from the healthcare           mix as well as a wide range of skills and        Board and Employees
          sector in the MENA region.                     operational experience from different            Dr Nandini Tandon decided recently to
                                                         parts of the world. Shareholders can             step down from the Board to focus on her
          These financing transactions lengthened        therefore take continued re-assurance            other business interests. The Board has
          the average term of our net debt and           that different viewpoints are well               thanked Nandini for her contribution as
          provide the Group with the long-term           represented during Board discussions.            a Director over the last 4½ years and wish
          stability required for a phased                                                                 her well for the future. The search for a
          expansion strategy.                            The Board for the first time, undertook an       new independent non-executive Director
                                                         externally facilitated board evaluation in       is in progress.
          Dividend                                       2018. The evaluation concluded that “the
          As a result of our growth, good                Board is operating effectively and healthily”.   The Board is very appreciative of
          performance and continuing financial           A summary of the findings of the board           the hard work of all our management
          stability, your Board intends to retain its    evaluation is set out on page 46.                team and staff in delivering quality
          dividend payment policy of distributing                                                         services for our patients and returns
          a dividend of approximately 20% of profit      The Company has always considered                for our shareholders. The continued
          after tax. Therefore, the Board plans          both the interests of its primary                commitment and support they have
          to submit a resolution to shareholders         stakeholders and those of the external           shown during this continuing period
          at the 2019 Annual General Meeting             communities within which it operates.            of transformational change and growth
          authorising payment of a cash dividend         With the integration and transformation          is testament to their strong work ethic.
          of 18.1 pence per share, an increase of 39%    of the Group well on track, management
          compared to the 2017 dividend payment.         and the Board have been able to focus            Outlook
                                                         more fully on the transparency of our            Despite challenging economic conditions
          Management                                     Environmental, Social and Governance             being experienced in some global financial
          The increasing size of the Group has           (ESG) activities and the reporting of            markets, we remain positive in the
          led Prasanth Manghat to continue the           these activities to shareholders.                markets in which we operate. The ongoing
          expansion of his management team                                                                drive to increase private healthcare
          in both the Corporate Centre and within        In 2018 the Company published its first ESG      participation in a number of our primary
          Group businesses. This has included            report and enhanced further its employee         markets, rising affluence and increasing
          the development of an NMC Group                engagement activities. These included the        awareness of the importance of proactive
          HR function and an expanded Quality            commencement of employee forums                  healthcare result in generally favourable
          Department. The management team                in facilities across the Group. Our ethical      conditions within our areas of operation.
          now has additional experience and              related policies and procedures were also        Your Board continues to view the outlook
          bandwidth to satisfy the demands of the        updated and awareness and training               for your Group with confidence.
          Group’s additional business streams and        increased on these policies across the
          the pressure of geographical expansion         Group’s employee base. Our employee and          H. J. MARK TOMPKINS
          into new markets.                              patient engagement activities, including         Independent Non-Executive
                                                         our work to promote healthy living in            Joint Chairman
          Environmental, Social and Governance           the communities in which we operate,
          The focus on governance and the wider          are continuing examples of our approach          Dr B. R. SHETTY
          social conscience has increased in recent      to social activities.                            Non-Executive Joint Chairman



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          Group Strategic Report




          Future growth
          driven by well–
          defined strategy
          Our long-term growth strategy
          continues to accelerate our
          expansion into more complex
          medical, and thus higher
          value added, specialty
          healthcare segments.




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          Group Strategic Report


          Chief Executive Officer’s Review

          2018 builds on the foundations
          laid in previous years


          FY 2018 set another year of record top and bottom                     As I highlighted in my previous annual
                                                                                review, 2017 was a year of integration and
          lines, with revenues reaching US$2,057.3m and                         consolidation, key themes that continued
          EBITDA at US$487.4m. 2018 has benefited from                          in 2018. The cluster-based approach
                                                                                adopted in the previous year proved
          the solid growth foundations laid in previous                         instrumental in unlocking efficiencies
          years, while simultaneously building upon them.                       within the Group during FY 2018 and
                                                                                also allowing continued rapid expansion.
                                                                                I often get asked how NMC manages
                                                                                to grow so quickly without unduly
                                                                                pressurizing management. Our verticals-
                                                                                based structure, combined with the
                                                                                clusters-based management approach,
                                                                                has proven instrumental in allowing
                                                                                the Company to maintain sharp
                                                                                growth without constraining
                                                                                management bandwidth.

                                                                                Integration process picks up pace
                                                                                Building on 2017’s core theme of
                                                                                integration, FY 2018 witnessed a more
                                                                                concerted effort towards unlocking
                                                                                additional synergies across NMC’s
                                                                                growing healthcare network. Few
                                                                                examples reflect this as adequately
                                                                                as the opening of a CosmeSurge clinic
                                                                                in Al Zahra hospital. The combination
                                                                                of two assets, each acquired in 2017 (Al
                                                                                Zahra hospital) and 2018 (CosmeSurge),
                                                                                respectively, speaks volumes of the
                                                                                Group’s ability to streamline acquisition
                                                                                and integration capabilities. The
                                                                                successful introduction of long-term care
                                                                                beds in both NMC Royal Abu Dhabi and
                                                                                Al Zahra hospital is another example in
                                                                                this regard. In fact, the Company has
                                                                                added another 15 long-term care beds
                                                                                in Al Zahra hospital after rapid occupancy
                                                                                of the initial batch of beds.

                                                                                The Group’s Integration and Efficiency
                                                                                projects are important to extract further
                                                                                value from legacy and acquired assets.
                                                                                A significant proportion of the Group’s
                                                                                EBITDA growth in FY 2018 is organic
                                                                                derived from both increasing revenues
                                                                                and the success of management’s
                                                                                integration and efficiency projects
                                                                                over the last two years.




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          “A significant proportion of the Group’s EBITDA growth in FY 2018 is organic derived
           from both increasing revenues and the success of management’s integration
           and efficiency projects over the last two years.”




          UAE remains the engine of short                … while KSA offers exciting longer-term          Apart from improving its reporting
          to medium term growth…                         growth opportunities                             standard, the Company maintains
          Despite being the most dominant                Hosting nearly triple the population             its efforts on improving the underlying
          private healthcare operator in the UAE,        size of the UAE, the underserved KSA             metrics that form the foundation of a
          NMC continues to see attractive growth         healthcare market offers many attractive         sustainable and ethical business. Our
          opportunities in its home market. The          growth opportunities. While accounting           employees truly serve as the core asset
          Group’s hospital network stands out from       for a relatively small share of NMC’s top        of the company. Management continues
          its competition due to two key factors:        and bottom lines in 2018, KSA is expected        to take steps to further improve the
          1) an unrivalled geographic reach, with        to become a significant contributor to the       working environment. As part of this
          NMC’s network spread across six of             Company’s financial performance in the           process, a new Head of HR (GCC) was
          the seven Emirates in the country and          longer term.                                     hired during 2018, who brings substantial
          2) catering to the entire range of patient                                                      international experience and reinforces
          base in economic terms. It is the latter       NMC signed a joint venture agreement             the department’s senior management
          that has given NMC the scale and critical      with GOSI/Hassana Investment                     team. Additionally, the Company
          mass to offer some of the most complex         Company, which was recently finalized.           continues host a number of events
          medical services in the country. The           Positioned as the second largest                 to recognize the performance of
          collaborations signed with Boston              multispecialty operator in the Kingdom           high-achieving employees, along with
          Children’s Hospital and the Cincinnati         in terms of number of beds, the JV is            giving them a chance to interact with
          Children’s Hospital is an embodiment           ideally positioned to significantly increase     top management. The most prominent
          of these factors. The combination              NMC’s penetration of the Saudi market.           event in this regard is the Group’s
          of state-of-the-art facilities and an                                                           Foundation Day, celebrated on 1 August
          unrivalled paediatric patient base in the      ESG: Increasing focus on sustainability          of every year to commemorate the
          country led two of the world’s top children    and ethical impact                               history of the Company, as well as its
          hospitals to sign an exclusive agreement       Be it patient care, employee satisfaction,       future. A number of informal events are
          with NMC across not just the UAE, but the      corporate governance or maintaining              held regularly, ranging from friendly sports
          entire GCC region.                             rights of minority shareholders,                 matches to talent competitions, which
                                                         sustainability and ethics have long been         act as team strengthening exercises, as
          The continued roll-out of mandatory            ingrained in NMC’s core strategy. In 2018        well as an opportunity for staff members
          insurance in the UAE, with Dubai the           the Company started to coordinate its            to interact with senior management in
          latest to complete its implementation          Group efforts in this area, much of which        an informal environment.
          last year, remains a key growth driver         had previously been undertaken and
          in the country. Capitalizing on this           driven at individual business level. We          In 2018, the Company reviewed further its
          opportunity, the Group has outlined            published our first annual ESG report,           engagement activities with employees.
          a 300+ beds expansion program, involving       which documents a wide range of KPIs             New Employee Forums have been set up
          brownfield expansions of the two existing      relevant to the Company, as well as the          across the Group as a new, more formal,
          facilities in Dubai and a 100-bed greenfield   wider sector. With both equity and debt          way of Senior Management and the
          facility in the underserved Mirdif area.       markets laying greater emphasis on               Board engaging with employees.
                                                         ESG, the Company has enhanced the
          As outlined at our 2018 Capital Markets        quality of reporting, as well as investor        The success of management’s continuous
          Day, the UAE continues to offer growth         engagement, on this front.                       efforts to improve the Group’s work
          opportunities that were unavailable                                                             environment is reflected by the fact that
          even up until recent years. The O&M                                                             NMC has consistently been recognized as
          agreement signed with ADNOC in 2018                                                             one of the “Top Companies to Work For”
          is one such example. The prestigious                                                            by the Great Place to Work Institute in
          contract has extended NMC’s reach                                                               recent years.
          to the town of Ruwais, a location that
          may not otherwise have become part
          of the Group’s network.                                                                         PRASANTH MANGHAT
                                                                                                          Chief Executive Officer




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          Group Strategic Report


          Our Business Model




                                                                                      Est. 1975
                                                                                      c. 115,000 SKUs


                                   Est. 2012
                                   over 1,000 beds

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                             Est. 2015
                             106 beds and                                                                                                                                                          Est. 1975
                             c. 20k cycles                                                                                                                                                         1,595 beds




          Healthcare division continues to increase                                    Healthcare’s share of revenues                                                     …as well as its contribution
          share of top and bottom lines                                                continues to rise…                                                                 to profitability
          NMC’s business is built upon 5 distinct                                      Revenue Share                                                                      EBITDA Share
          business verticals, 4 within Healthcare
          as well as Product Distribution. The                                         2018            25.9%                                     74.1%                    2018 12.3%                                                       87.7%
          Company’s primary focus in terms of
          expansion remains in the Healthcare
                                                                                       2017              29.5%                                   70.5%                    2017 12.7%                                                       87.3%
          businesses, as a result of which its
          contribution to the top and bottom lines
          continues to increase. Management
                                                                                       2016                 34.4%                                65.6%                    2016        16.3%                                                83.7%
          expects this trend to continue.


                                                                                            Healthcare                                                                       Healthcare
                                                                                            Distribution                                                                     Distribution

                                                                                       Source: NMC                                                                        Source: NMC

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          Divis
              sion                                                                                            & Whoole
                                                                                                                     esalee
          The Healthcare division is built upon               Operational clusters facilitate                 NMC’s Distribution business ranks as one
          4 verticals: Multi-Specialty, Maternity             institutionalization of the business            of the largest in the UAE, offering over
          & Fertility, Long-term & Home Care                  As detailed in last year’s annual report,       115,000 products across two segments:
          and Operations & Management. The                    NMC created operational clusters in             Pharma and non-pharma. Offering
          Company has an expansive footprint,                 2017 to delegate greater responsibility,        a complete supply chain solution,
          operating and managing 189 facilities               authority and business control in the           the Distribution business provides its
          across 19 countries. With a total of 2,186          hands of new General Managers (GM)              clients a wide range of services: sales,
          licensed beds, the Group continues to               appointed for each cluster. This has            marketing, merchandising, promotions,
          cater to underserved segments of the                significantly facilitated real-time             warehousing, delivery, analytics and
          healthcare industry, with a dual focus              decision making, improved control               technical service. Customers are offered
          on 1) unaddressed medical service                   of day to day operations, better use            payment terms ranging from 1 month
          requirements and 2) filling in geographic           of delegated authority and hence,               for small enterprises to 120 days for large
          gaps within its target markets.                     enhanced performance.                           corporations. Moreover, NMC also acquires
                                                                                                              inventory as part of the distribution chain
          The Healthcare business remains the                 From an operational point of view,              and as such, the business requires
          biggest contributor to NMC’s top and                NMC’s healthcare business is split              funding for working capital.
          bottom lines. The Company’s business                into 6 clusters. This division has been
          model entails pan-geographic presence               done either on the basis of geography           In addition to a wide customer reach,
          within its target markets as well as                (such as Sharjah) or service line (such         the Distribution business benefits
          covering the entire spectrum of patients            as long-term & home care). Moreover,            from over 44% of its total SKUs being
          in economic terms. Medical services                 the head of the largest asset in each           distributed under exclusive agreements.
          provided by NMC range from outpatient               cluster also acts the General Manager           This has proven instrumental in
          and inpatient services across its network           of the respective cluster. The cluster          allowing NMC to sustainably maintain
          of clinics and hospitals to medical                 GMs report to three Regional Heads,             significantly higher margins than
          diagnostics and sales at pharmacies.                who in turn report to the COO of the            typical distribution businesses.
          The Group also ranks as one of the most             Healthcare division. The reporting line of
          sophisticated private healthcare providers          the latter culminates with the Group CEO.       The Group’s distribution capabilities
          in UAE in terms of complexity of care,                                                              are supported by a network of over
          with plans to replicate this successful             NMC’s management feels that this                780,000 sqft of warehousing space
          model in other target markets in the                cluster-based approach is the best              across the UAE, more than 240 vehicles
          GCC as well.                                        means of managing the Group’s rapid             and 769 professionals across the entire
                                                              expansion by essentially empowering             value chain ensuring that over 15,000
          The Multi-specialty vertical, which                 operations at the asset level, while            customers of the Distribution division
          encompasses all of NMC’s hospitals,                 simultaneously increasing accountability.       are catered to properly.
          remains the single largest contributor              Moreover, the Company has realized
          to the Company’s income, accounting                 higher cost synergies as well as launched
          for 74.5% of Healthcare revenues in 2018.           revenue enhancement projects on the
          Insured individuals account for the                 back of the new operational structure
          majority of NMC’s patient base and                  in place since 2017.
          as such insurance accounts for 79%
          of Healthcare revenues, while cash
          payments account for the remainder.




                 Find out more: This business model reflects our evolved
                 strategy which is described on pages 10 and 11.


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          Group Strategic Report


          Our Strategy




          The updated strategy outlined in 2017 continues to channel the Company’s
          growth trajectory along a well-defined path. Significant progress was made
          in the implementation of the three key tenets of the Group’s strategy:
          capacity building, capabilities focus and geographic expansion.


                                                 Our strategy is bu
                                                                  uilt on thre
                                                                             ee ke
                                                                                 ey te
                                                                                     enets




                      Capacity Build                                Capabilities Focus                    Geographic Expansion



            2015 Stra
                    ategy
                        y Update
                               e                                                2017 Stra
                                                                                        ategy
                                                                                            y Update
                                                                                                   e
            Accelerate the establishment of Centres of Excellence               Addition of new verticals focused on highly underserved
            in key specialities within existing hospitals.                      segments in the UAE and wider GCC and further
                                                                                development of Centres of Excellence.

            Increase participation in the growing UAE medical tourism
            industry and establish NMC as a destination of choice.              Expanding the healthcare business’ target market from the
                                                                                GCC to wider emerging markets.

            Grow NMC’s medical specialty offering and clinic network
            within the UAE and maximising operational synergies.

                                                                                Fertility to be developed as a global business taking
            Establish a strategic presence outside the UAE with leading         advantage of substantial growth opportunities.
            global medical institutions to enhance and expand
            technological know-how and medical expertise.

            Increase NMC’s footprint in Saudi Arabia and the broader GCC        Rapid adoption and deployment of technological innovation
            via organic initiatives and acquisitions.                           via both organic initiatives and acquisitions.




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          The updated strategy outlined in 2017          cosmetics business in the GCC,                its reach into the Northern Emirates and
          continues to channel the Company’s             CosmeSurge substantially enhances             now ranks as the only private healthcare
          growth trajectory along a well-defined         NMC’s capabilities in the high-margin         operator in the country with a presence
          path. Significant progress was made            cosmetics business. In fact, cosmetics        in 6 out of the 7 Emirates. Similarly,
          in the implementation of the three             has been identified as the next potential     pursuing its strategy of a pan-Saudi
          key tenets of the Group’s strategy:            vertical for the Group, as highlighted in     approach, the addition of Riyadh extends
          capacity building, capabilities focus          the 2018 Capital Markets Day. Moreover,       NMC’s reach into 5 cities in the Kingdom.
          and geographic expansion.                      the acquisition of UK-based Aspen             Moreover, the recently concluded JV with
                                                         Healthcare has considerably raised NMC’s      GOSI/Hassana Investment Company
          The Group continued Capacity building          expertise in Oncology and Orthopaedics,       provides NMC the ideal platform to boost
          through organic and inorganic means            in addition to providing ideal locations in   its presence in the Kingdom.
          during 2018. As part of this process, NMC      the UK for expansion of the Group’s
          is adding over 300 new beds in the Dubai       IVF business. The Company also signed         The highly fragmented IVF business
          market through brownfield expansions           exclusive collaboration agreements with       remains a truly global opportunity
          of its two existing facilities (NMC Royal      Cincinnati Children’s Hospital and Boston     for NMC, with the company adding its
          DIP and Dubai Specialty Hospital) and          Children’s Hospital covering the entire GCC   presence in another 5 countries: Sweden,
          a greenfield hospital in the underserved       region. Under the agreements, doctors         Latvia, US, Oman and Kenya. While
          Mirdif Hills development. The Group            from the two top-ranked US-based              entry into the other three markets were
          also further enhanced its presence             paediatric hospitals visit NMC Royal Abu      achieved through acquisitions, expansion
          in the UAE through expansions into the         Dhabi each month and are now offering         into Oman and Kenya was achieved
          Northern Emirates through both organic         medical services that did not exist           through organic means. NMC’s IVF
          (multispecialty clinic in Ajman and            previously in the country. The paediatrics    operations are now spread across
          CosmeSurge clinic in Ras Al Khaimah)           segment remains underserved across            a total of 11 countries.
          as well as inorganic means (Royal RAK          the entire GCC and continues to offer
          Medical Centre). Similarly, the Company        strong growth opportunities. In fact,         The Group also started managing
          continues to add capacities in its key         paediatrics was also identified in the        healthcare facilities in Egypt, Kenya and
          markets of Oman and Saudi Arabia.              2018 Capital Markets Day as a potential       Seychelles during 2018, extending the
          The latter witnessed NMC’s expansion           vertical over the longer term.                NMC’s reach into the wider Emerging
          into Riyadh, the largest healthcare                                                          Markets. As detailed in last year’s annual
          market in KSA, through the acquisition         2018 also witnessed a significant             report, while NMC’s capital expenditure
          of Al-Salam Medical Group.                     expansion of NMC’s Geographic reach. As       program remains sharply focused on
                                                         highlighted in last year’s annual report as   the GCC, O&M contracts offer a lucrative
          The acquisitions of CosmeSurge and             well, the GCC remains the core focus for      means of gaining exposure to attractive
          Aspen Healthcare during 2018 represent         NMC’s capital expenditure program, with       Emerging Markets, without putting capital
          two of the most significant steps taken        expansions outside the region focused         at risk.
          by the Group to enhance its suite of           primarily on the IVF business or O&M
          Capabilities. The only institutionalized       contracts. Within the UAE, NMC expanded




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          Group Strategic Report


          Financial Summary and Operational Highlights

          FY 2018 proved to be another year of record revenues and profits
          for NMC on the back of continued efficiencies at existing facilities
          and successful integration of acquired assets.




          US$m (unless stated)                                                                                           FY 2018          FY 2017      YoY Growth

          Revenue                                                                                                       2,057.3          1,603.4           28.3%
          EBITDA                                                                                                          487.4            353.4            37.9%
          EBITDA margin                                                                                                  23.7%            22.0%          170 bps
          Earnings per share (US$)-Basic                                                                                   1.196           0.910            31.4%
          Net Profit                                                                                                      251.9           209.2             20.4%
          Adjusted Profit                                                                                                283.5             236.6            19.9%
          Adjusted Earnings Per Share (US$)                                                                               1.332            1.036           28.5%

          Notes:
          Adjusted Profit is same as shown in Note 17.
          Adjusted Earnings per share equals Diluted adjusted earnings per share as shown in Note 17.
          EBITDA equals Profit from operations before depreciation, amortization, transaction cost and impairment as shown in the Condensed Consolidated Income
          statement. This is the definition of EBITDA which is used throughout the document.
          Weighted average shares outstanding in FY 2018 stood at 209.3m shares compared to 205.8m shares in FY 2017. The increase resulted from the issuance
          of 3.5m shares for partial payment of outstanding minorities in Fakih IVF and exercise of share options.




          •    Strong financial performance with                •    Healthcare division continues to             •   Healthy cash flow including
               continued growth (both organically                    drive NMC’s growth with revenue and              improvement in the Group’s working
               and inorganically), with Group                        EBITDA up 34.4% and 37.3% respectively.          capital position through strong
               revenues growing by 28.3% to                     •    Net Profit increased 20.4% YoY                   collections to reduce days sales
               US$2,057.3m.                                          to US$251.9m, the highest in                     outstanding to 96.
          •    Organic revenue growth for FY 2018                    Group’s history.                             •   Stable balance sheet to support future
               ahead of guidance at 15.4% YoY.                  •    Strategic initiatives in 2018 including;         growth with year-end net debt/EBITDA
          •    EBITDA growth (+37.9% YoY to                          expansion into Saudi Arabia,                     at 3.1x.
               US$487.4m) continued to outpace                       integration of CosmeSurge and                •   Strong start to current year reinforces
               revenue growth, translating into                      extension of the IVF platform,                   confidence in operational performance
               170bps improvement in EBITDA                          including in USA and Africa, further             and outlook for 2019 of +22-24% YoY
               margin to 23.7%.                                      enhancing our platform for growth.               revenue growth and +18-20% YoY
                                                                                                                      EBITDA growth. The board remains
                                                                                                                      committed to maintaining a 20-30%
                                                                                                                      payout ratio, which it believes to be a
                                                                                                                      progressive policy given our underlying
                                                                                                                      growth rate in the business.




                  For more information see our Business
                  and Financial Review on pages 13 to 19.


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          Business and Financial Review




          NMC has focused on both integration and strategically led organic growth as
          well as identifying new opportunities to continue our strategic growth journey.

          •    Group reported revenues reached
               US$2,057.3m in FY 2018, up 28.3% YoY.
                                                                   Healthc
                                                                         carre                                     •   Dubai continues to benefit from
                                                                                                                       the roll-out of mandatory insurance:
                                                                   Multiple Growth Drivers In Play
               • The Healthcare division recorded                  • NMC’s reinforced its position as the              aggregate revenues from the facilities
                   34.4% YoY increase in revenues to                 leading healthcare operator in the                in the Emirate grew at over 20% YoY
                   reach US$1,561.4m, while revenues                 GCC, with a total of 7.5m patients                during FY 2018.
                   for the Distribution division stood               visiting the Group’s facilities in 2018,      •   Revenues for the IVF business
                   at US$545.1m (+12.0% YoY).                        up 30.1% YoY.                                     as a whole increased 19.2% YoY
               • Healthcare division accounted for                 • Licensed bed capacity stood at 2,186              in FY 2018, benefiting from organic
                   74.1% of Group revenues (2017: 70.5%),            (+42% YoY) in 2018, while operational             and inorganic growth.
                   while the Distribution division                   beds capacity rose 34% YoY to 1,831.          •   The Long-term & Homecare vertical
                   contributed 25.9%.                              • Occupancy rate for the Healthcare                 also sustained its strong growth
               • In terms of geographic mix,                         division stood at 66.9% in 2018, down             profile, with revenues rising 20.6%
                   UAE accounted for 87.6% of total                  460bps YoY.                                       YoY. The growth was supported by
                   revenues in 2018, while Spain,                    • The decline in occupancy was                    ramp-up of utilisation in KSA-based
                   UK and Others (including KSA)                         due to the significant increase               long-term care facilities, particularly
                   accounted for 2.6%, 2.6% and                          in capacity noted above, through              Chronic Care Specialist Medical Centre
                   7.2%, respectively.                                   both organic and inorganic means.             and the acquisition of a bolt-on
          •    Organic revenue growth for FY 2018                  • The Group’s three largest hospitals by            homecare business in the UAE.
               in line with expectations at 15.4% YoY1 .             revenue share posted strong top line          •   O&M revenues reached US$23m in
          •    Group EBITDA increased 37.9% YoY                      growth in FY 2018: Abu Dhabi Speciality           2018, up 173% YoY. This business line
               to US$487.4m for 2018.                                +8.1% YoY, Al Zahra Hospital +13.0% YoY           remains one of the highest margin
               • EBITDA margin increased 170bps                      and NMC Royal Abu Dhabi +30.3% YoY.               opportunities for NMC and an
                   YoY to 23.7%.                                     • With 250 operational beds by the                important focus area for growth
               • Healthcare EBITDA margin rose                           end of 2018, NMC Royal Abu Dhabi              in the coming years.
                   70bps YoY to 31.3%, while Distribution                remains one of the most important         •   CosmeSurge, one of the most
                   EBITDA margin increased 200bps                        drivers of organic growth for NMC.            significant acquisitions in 2018, both in
                   YoY to 12.5%                                      • NMC Royal ranked as the second                  terms of size and growth opportunity,
               • The Healthcare division accounted                       largest hospital in terms of revenue          contributed c. US$25m to Group
                   for 87.7% of Group EBITDA, while                      contribution in 2018 and remains on           EBITDA for the year, in line with
                   Distribution contributed the                          track to become the largest by the            guidance provided at the time
                   remaining 12.3%                                       end of 2019.                                  of its acquisition.
          •    Net Profit increased 20.4% YoY                                                                          • Realisation of revenue and
               to US$251.9m, the highest in                                                                                cost synergies has also helped
               Group’s history.                                                                                            in improving EBITDA margin
                                                                                                                           for the business above the 31%
                                                                                                                           level at the time of acquisition.

                                                                   Key healthcare verticals
                                                                   Performance overview by vertical
                                                                                                                       Maternity &      Longterm &
                                                                   Detail                         Multispecialty          Fertility      Home care                O&M

                                                                   Revenue (US$ ‘000)                 1,163,064          238,124           137,284              22,911
                                                                   Growth                                 39.5%            15.7%             20.6%               173%
                                                                   Revenue/patient                          150             1,094          20,375
                                                                   Growth                                  7.4%               9.1%            1.6%
          1.   Reported revenues of US$214.0m from
               acquired assets (see Note 5 for details)
                                                                   Capacity
               include US$7.8m from Chronic Care Specialist        Licensed beds                         1,595                106             485
               Medical Centre. The Jeddah-based facility           Operational beds                       1,341               100             390
               is a greenfield development, with NMC’s             Growth                                  34%                 0%             47%
               investment in the project previously recorded
               as a “loan receivable” (see Note 20 for details).
                                                                   Spare capacity (beds %)                 16%                 6%             20%
               Consequently, the revenue contribution              Patients                         7,276,977            217,659             6,738
               from Chronic Care has been adjusted                 Growth, YoY                            31%                 6%               19%
               for in calculating organic growth in 2018.
                                                                   Bed occupancy                         64.2%             79.6%             72.4%


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          Group Strategic Report


          Business and Financial Review continued




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                        Multi-specialty vertical                                                                                Maternity &
                                                                                                                                Fertility vertical



          1,595                                                                                                    106
          Licensed beds                                                                                            Licensed beds



          •    The Multispecialty vertical recorded              •    The Multispecialty vertical continued        •   The Maternity & Fertility vertical
               total revenues of US$1.16bn in 2018,                   to perform well in 2018, supported               posted 15.7% YoY growth in revenues
               up 39.5% YoY, accounting for 74% of                    in particular by strong growth                   to reach US$238.1m.
               total Healthcare division revenues.                    at NMC Royal Hospital as well
                                                                      as Al Zahra Hospital. Additional                 •   The Fertility segment remains the
               •   Total revenues for the Multispecialty              factors that sustained the positive                  main driver of the vertical’s growth,
                   vertical include US$72.9m (+23.8%                  momentum include:                                    with revenues for the IVF business
                   YoY) from pharmacies. This sharp                                                                        as a whole rising 19.2% YoY in
                   increase was supported by                          •   Reinforcement of NMC’s position as               FY 2018, benefiting from organic
                   increased sales to assets being                        the dominant private sector player               and inorganic growth.
                   managed under O&M contracts.                           in UAE with continued capacity
                                                                          addition and consolidation. As           •   Brightpoint Hospital was renamed
               •   Revenues from CosmeSurge are                           at the end of 2018, NMC was the              NMC Royal Women’s Hospital to reflect
                   included within the multispecialty                     only private sector operator with            the high level of medical complexity
                   vertical at this stage.                                a pan-UAE presence.                          offered at the facility.
                                                                      •   Further expansion into the
          •    Average revenue per patient in                             attractive KSA market. Moreover,         •   Licensed and operational bed capacity
               the vertical continues to improve,                         while the newly formed JV with               in the vertical remained consistent
               reaching US$150, up 7.4% YoY.                              GOSI/Hassana Investment                      YoY at 106 and 100 respectively, as NMC
                                                                          Company did not impact 2018                  Royal Women’s Hospital continues
               •   The increase continues to be driven                    financials, it is set to substantially       to be the only facility with beds within
                   by rising share of revenues from                       increase the pace of expansion               the vertical.
                   assets such as NMC Royal, that                         in the Kingdom in coming years.
                   are associated with higher average                 •   Continued capacity expansion                 •   Occupancy at the facility improved
                   revenue per patient.                                   in Oman, cementing the Group’s                   270bps to 79.6%.
                                                                          position as one of the leading
          •    Licensed bed capacity increased                            private sector players in the country.   •   Average revenue per patient
               to 1,595 (+37% YoY), while operational                                                                  increased 9.1% YoY to US$1,094, as
               beds capacity stood at 1,341 (+34% YoY).                                                                the contribution of fertility business
                                                                                                                       continues to rise.




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                                                                                                                               on

                       Long-term &                                      Operation &                                      Products &
                       Home Care vertical                               Management vertical                              Consumables vertical



          485                                               +1,000                                         115,795
          Licensed beds                                     Licensed beds                                  Stock Keeping Units



          •   The Long-term & Homecare vertical             •   The O&M vertical recorded the              Stable Underlying Platform
              recorded healthy 20.6% YoY growth                 strongest revenue growth at 173%           • Revenues for the Distribution
              on the back of ramp-up in existing                YoY, albeit starting from a low base          division stood at US$545.1m in 2018,
              facilities (particularly in KSA) and              (revenues of US$23m in 2018 versus            up 12.0% over the US$486.8m in the
              the acquisition of a homecare                     US$8.4m in 2017).                             previous year.
              business in the UAE.
                                                            •   The sharp rise in revenues was driven      •   Total SKUs reached 115,795, up 6.3%
          •   The vertical continues to be                      a number of new contract wins in 2017          YoY, supporting revenue growth for
              associated with the highest average               and 2018, including contracts with             the year.
              revenue per patient amongst NMC’s                 Emirates Healthcare Group (2017),
              verticals at US$20,375, up 1.6% YoY.              ADNOC (2018) and private parties               •   Over 90% of revenues are generated
                                                                in Kenya (2018).                                   through products distributed under
          •   Jeddah-based Chronic Care Specialist                                                                 exclusive agreements.
              Medical Centre remains one of the             •   The O&M vertical continues to
              most significant drivers of the                   be an important focus area for             •   Distribution EBITDA reached US$68.4m
              vertical’s growth in the near to                  management in terms of future                  in 2018, up 32.7% YoY.
              medium term. Given the unique                     growth. In addition to being associated
              proposition offered by the facility,              with some of the highest margins               •   EBITDA margin for the Distribution
              it continues to witness rapid pace                within NMC’s healthcare business,                  division stood at 12.5% for the year.
              of ramp-up, with operational beds                 O&M contracts allow the Company to             •   YoY increase in EBITDA margin
              reaching 125 by year end (H1 2018:61).            learn about new medical segments                   was 195bps.
                                                                and geographies without risking any
          •   The Group continues to capitalize                 of its own capital.                        •   Following normalization of collections
              on opportunities arising within the                                                              during H2 2018, receivables days for
              long-term and homecare market,                                                                   FY 2018 stood at 84, considerably
              with 15 new long-term care beds                                                                  lower than 107 for H1 2018 (2017: 85).
              added in Al Zahra hospital, after the
              success of the first batch of beds                                                           •   NMC continued to invest in the
              introduced in the facility earlier in 2018.                                                      supporting infrastructure for the
                                                                                                               Distribution business during 2018:

                                                                                                               •   Total warehousing storage area
                                                                                                                   increased 7.8% to c. 782,000 sq. ft.
                                                                                                               •   Total vehicle fleet increased to 244,
                                                                                                                   up 5.2% YoY.




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          Group Strategic Report


          Business and Financial Review continued




          Strategic
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                            ves:                               2018 from a related party (financial
                                                               consolidation from April 2018). The
                                                                                                             •   Entry into the underserved sub-
                                                                                                                 Saharan Africa market through
          setting the
                    e sttage for                               business was initially being managed              a greenfield IVF clinic in Kenya.
          coming years   s                                     by NMC under an O&M contract since
                                                               September 2017 and was subsequently           Aspen Healthcare
          NMC took a number of strategic initiatives           acquired after identification of a number     During 2018, NMC acquired UK-based
          in 2018, which are expected to provide               of revenue and cost synergies. These          Aspen Healthcare. While the Group’s core
          a solid platform for sustaining the                  synergies are already reflected in the        growth strategy remains sharply focused
          Group’s strong growth trend.                         strong margin improvement in the              on the GCC, with the global IVF business
                                                               business since acquisition.                   being the only notable exception, the
          KSA JV with GOSI/Hassana                                                                           attractively priced acquisition (c. 2x EV/
          Investment Company                                   NMC has rapidly integrated CosmeSurge         EBITDA multiple) has already starting
          NMC signed an agreement with GOSI/                   into its existing business, with the          adding substantial value to the Group.
          Hassana Investment Company in 2018                   opening of a number of new clinics,
          to form a new joint venture to drive                 including a successful large clinic in        Strategic location of Aspen’s facilities,
          future expansion plans in the Kingdom.               Al Zahra Hospital (which itself was           along with expertise in Oncology and
          Finalized earlier this year, the JV ranks as         integrated into the NMC group from            Orthopaedics in particular, have proven
          the second largest healthcare operator               early 2017).                                  to be the most significant value addition
          in KSA by number of beds. This provides                                                            to the Group. Oncology-related diagnosis
          NMC with the appropriate platform to                 Reinforcing the IVF platform                  fall within the top 10 DRGs for NMC in Abu
          significantly increase its presence in               The Group took a number of steps in           Dhabi, thus making knowledge transfer
          the attractive Saudi healthcare market.              2018 to work towards its stated goal          within this segment of particular use.
          Management recently outlined plans                   of becoming the top IVF provider in           Consequently, Abu Dhabi Specialty
          for significant capacity and capability              the world. Key measures taken in this         Hospital and Aspen’s Cancer Centre
          expansion in KSA through the JV in                   regard include:                               of London (CCL) have already been
          the coming years.                                                                                  paired as “sister facilities” to facilitate
                                                               •    Acquisition of the outstanding           collaboration. Similarly, NMC’s large
          Given the relatively early stage of NMC’s                 49% minority stake in Fakih IVF.         orthopaedic patient base out of UAE,
          expansion into KSA, the country currently            •    Entry into the attractive US market      KSA and Oman is starting to already
          contributes a limited amount to the                       through the acquisition of a 70%         benefit from the transfer of best practices
          Group’s financial performance (less                       stake in Boston IVF.                     from Aspen’s Parkside Hospital and
          than 4% revenue contribution in 2018).               •    The first free-standing outpatient IVF   Wimbledon Orthopaedic Group. Moreover,
          However, given the attractive long-term                   centre in the US, Boston IVF is the      the UAE regulator has shown an interest
          fundamentals of the Kingdom’s                             largest academically-affiliated IVF      in shifting towards the UK-based Care
          healthcare market, combined with                          centre in the country. It has also       Quality Commission (CQC) model. Given
          the ideal positioning of the JV, NMC                      established one of the most desirable    that all of its facilities have received a
          remains confident that KSA will become                    Fellowship programs in the country       Good or Outstanding rating from the CQC,
          a significant source of revenues and                      in association with Harvard Medical      the decades-long experience of quality,
          profits for the Group in the coming years.                School and Beth Israel Deaconess         nursing and leadership teams at Aspen
                                                                    Medical Centre.                          is proving invaluable in realigning NMC’s
          CosmeSurge                                           •    Further penetration into the European    corporate quality framework.
          The only institutionalized cosmetics                      and Latin American IVF markets
          business in the GCC, CosmeSurge was                       through organic and inorganic growth.
          acquired (70% stake for NMC) in January




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          Meanwhile, Aspen Healthcare has
          similarly seen a number of benefits
                                                         Improving g cash                                 •   A 5-year, US$400m sukuk in
                                                                                                              November 2018 at a coupon of 5.95%.
          post its acquisition by NMC. The Group         flows an
                                                                nd reealign
                                                                          nin
                                                                            ng                            •   Proceeds from the convertible bond
          is implementing a number of expansion
          opportunities that require minimal capital
                                                                anc
                                                         the bala   ce she
                                                                         eett to                              and the sukuk were utilised to replace
                                                                                                              the outstanding bridge facility.
          investment, yet generate immediate             supportt fu
                                                                   uture gro
                                                                           owth h
          in-patient and day surgery revenues.                                                            FY 2018 gross debt (including convertible
          Additionally, IVF and high-end cosmetic        EBITDA to Cash Flow from Operations              bond and sukuk bond) stood at
          surgery are in process of being introduced     conversion remained healthy at 79.6%             US$1,992.7m as compared to
          at Aspen’s existing facilities, with the       for FY 2018 (FY 2017: 78.5%).                    US$1,399.0m in 2017, in line with
          possibility of introducing homecare                                                             management’s expectations.
          services, where feasible. All these factors    Adjusting for growth capital expenditure,
          combined have already translated into          2018 recorded the highest annual Free            2018 year-end net debt-to-EBITDA at 3.1x
          a significant improvement in Aspen             Cash Flow generation since IPO.                  (2017: 2.9x).
          Healthcare’s financial performance.
                                                         With a view to implement a revised               •   2018 witnessed the completion of
                                                         long-term capital structure, the Group               a number of acquisitions totalling
             The combination of organic and              refinanced a major portion of its debt               US$552.6m (excluding contingent
             inorganic expansion in recent years         through a new syndicated facility of                 consideration and expenditure
             has laid a solid foundation for the         US$2.0 billion in Q1 2018.                           on minority buyouts), including the
             Group’s continued growth in the                                                                  US$64.7m Boston IVF transaction in
             foreseeable future. Management              •   Comprised of a 5-year US$600m                    December 2018. While cash outflows
             continues to extract significant value          term-loan, an 18-month US$1,000m                 and debt taken related to these
             out of the business by improving                bridge facility and a US$400m                    transactions are fully reflected on
             efficiencies at existing facilities and         revolving facility (which remains                NMC’s 2018 balance sheet, revenue
             realizing synergies from acquisitions.          untapped), the refinancing was used              and EBITDA from these acquisitions
             A key example of the former is                  to settle an existing syndicated loan,           were recorded only for part of the year.
             continued increase in the level of              acquisition/general purposes and to
             medical complexities at the Group’s             provide headroom for future needs.           •   2018 pro-forma net debt-to-EBITDA
             facilities. Meanwhile, rapid integration                                                         stood at 3.0.
             of acquired assets into the Group           NMC has historically relied only on bank
             is helping unlock revenue and cost          debt and equity financing to fund its            Total finance cost for the year stood at
             synergies. Notable examples include         growth over the years. However, in order         US$121.3m for 2018, including a non-cash
             opening of Provita beds into NMC            to better align its balance sheet with           component of US$28.5m.
             Royal Abu Dhabi and Al Zahra                its scale as a large cap FTSE-100 index
             Hospital, as well as the opening            company, the Group opted to diversify            Receivables and working capital
             of a CosmeSurge clinic in Al Zahra          its funding sources by tapping the debt          The working capital-to-revenues ratio
             Hospital in 2018. Keeping the               capital market in 2018. As part of this          declined to 27.7% in 2018 (2017: 30.6%).
             aforementioned in view,                     process the Group issued:
             management remains confident                                                                 •   The reduction in working capital-to-
             with near to medium term outlook,           •   A 7-year, US$450m convertible bond               revenues ratio was mainly driven by
             as reflected by the guidance of                 was issued in April 2018 at a coupon             an improvement in days receivable
             continued strong growth provided                rate of 1.875%, and                              outstanding and a slight extension
             for 2019 (+22-24% YoY revenue growth                                                             of days payable outstanding.
             and +18-20% YoY EBITDA growth).




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          Group Strategic Report


          Business and Financial Review continued




          Strong collections have led to a decline
          in receivables days outstanding for
                                                               Goodwill
                                                               Given the active acquisition strategy
                                                                                                               Acquisitio
                                                                                                                        ons
          FY 2018 to 96 (FY 2017: 100, H1 2018: 107).          adopted by NMC in recent years, Goodwill        NMC completed a number of acquisitions
                                                               represents a significant portion of NMC’s       during 2018, with a total expenditure of
          •   Receivables days outstanding for the             asset base (US$1.4bn out of total assets        US$552.6m (excluding contingent
              Healthcare business declined to 97,              of US$3.9b in 2018).                            consideration). Additionally, US$225.3m
              compared to 103 for FY 2017.                                                                     was spent on purchasing outstanding
                                                               The five largest acquisitions to date           minority stakes in Fakih IVF and
          •   Receivables days outstanding                     account for 66.4% of total goodwill as          As Salama Hospital.
              for the Distribution business stood              at 31 December 2018: Al Zahra (28.9%),
              at 84, versus 85 for FY 2017, and 107            Fakih IVF (12.9%), CosmeSurge (9.0%),           Assets acquired during 2018 contributed
              for H1 2018.                                     Provita (8.4%) and Clínica Eugin (8.0%).        US$214.0m in revenues, and US$14.8m
                                                                                                               in profit after tax during the year.
          Adoption of IFRS 9 has translated                    •    Each of the above mentioned assets
          in more conservative provisioning.                        continue to serve as key drivers of        The acquisitions remained in line with
                                                                    NMC’s growth and have performed            NMC’s strategy and can be grouped
          •   Additional provision of US$17.2m                      in line with, or better than, forecasted   as follows:
              provided for in 2018 due to                           prior to their acquisitions.
              implementation of new regulation.                                                                •   US$225.3m on minority buyouts,
                                                               The underlying assumptions for                      including US$212.9m spent to
          •   Excluding additional impact of IFRS 9,           impairment testing remain conservative,             acquire the outstanding 49% minority
              days receivables outstanding would               as a result of which, management                    for Fakih IVF
              stand at 99.                                     remains satisfied with the amount               •   US$129.1m on CosmeSurge, adding to
                                                               of Goodwill on the balance sheet:                   the suite of capabilities offered by NMC
          Inventory days increased slightly from                                                               •   US$186.9m on assets in UAE
          61 in 2017 to 64 in 2018.                            •    Explicit forecasts are made                •   US$117.8m on assets in Saudi Arabia
                                                                    over a 5-year period, based                •   US$91.1m on expansion of the
          •   The increase was driven primarily due                 on financial budgets.                          IVF business
              to full consolidation of balance sheets                                                          •   US$20m on assets in Oman
              of assets acquired during the year, yet          •    Cash flows from the 6th to 10th year       •   US$7.8m on the acquisition of Aspen
              partial revenue contribution during                   are extrapolated at 3% growth rate             in the UK, which has significantly
              the year.                                             (2017: 3%), significantly below the            enhanced NMC’s capabilities in
                                                                    current annual growth rates being              Oncology and Orthopaedics, along
          Days payable outstanding stood                            realized across the business.                  with providing ideal locations for
          extended slightly from 58 in 2017                                                                        introducing IVF in the country
          to 60 in 2018.                                       •    0% growth rate is applied to cash flows
                                                                    beyond the 10th year.
          Capital expenditure
          Total capital expenditure for 2018 stood at          •    The pre-tax discount rate applied to
          US$165m, slightly ahead of the guidance                   cash flows is 9.71% (2017: 8.23%), based
          provided for the year.                                    on the Group’s WACC.

          Growth capital expenditure for the year
          stood at c. US$101m.

          Guidance for 2019 capital expenditure
          remains at 3% of revenues for
          maintenance capex and additional
          US$100m for growth capex.




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          The Group had also paid US$8.8m in
          advances for acquisitions as at the end
                                                         Outlookk: year to daate
          of 2018, the majority of which is meant        operatioonaal perfformannce
          for acquiring outstanding minority stakes
          in previously acquired entities.
                                                         inspires coonfiidennce
                                                         in 2019
          Dividend
          The Board is proposing to continue with        Building on the success seen in the
          its policy of annual dividend payments         previous year, the Group’s operations
          of between 20% and 30% of profit after tax,    started 2019 on a strong note.
          outlined in the Company’s IPO prospectus
          in 2012. The Board is therefore                NMC’s unmatched geographic reach
          recommending that a final dividend of          within its key target markets, combined
          18.1 pence per share be paid in cash in        with significant lead over competitors
          respect of the year ended 31 December          in terms of diversity and complexity of
          2018 (FY2017: 13.0 pence per share).           medical services remain vital competitive
                                                         advantages. These factors continue to
          Subject to approval of the shareholders        prove instrumental in allowing NMC to
          at the company’s annual general                maintain strong growth, translating into
          meeting on 20 June 2019, the dividend          management’s confidence in the outlook
          timetable is as follows:                       for the future.

          Ex-dividend date – 13 June 2019                The Group remains confident with the
          Record date      – 14 June 2019                guidance previously provided for FY 2019.
          Payment date     – 10 July 2019                To reiterate:

                                                         •   +22-24% YoY revenue growth
                                                         •   +18-20% YoY EBITDA growth
                                                         •   Excluding impact of acquisitions
                                                             completed in 2018, FY 2019 revenue
                                                             growth is anticipated to be 12-13% YoY
                                                             and EBITDA growth approximately
                                                             15% YoY
                                                         •   Year-end net-debt to EBITDA to further
                                                             reduce to 2.2-2.4x
                                                         •   2019 guidance does not include impact
                                                             of IFRS 16 implementation or the
                                                             anticipated consolidation of National
                                                             Medical Care Co.

                                                         Management also remains confident
                                                         with the longer-term Group EBITDA
                                                         margin guidance of 25%.




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          Group Strategic Report


          Key Performance Indicators

          Financial KPIs
          Growth of the business, quality of earnings and efficient
          use of resources are crucial target areas for NMC and
          we employ a number of performance measures to
          monitor them. The KPIs used to monitor the financial
          performance of the business are set out below.




          Group Revenue (US$m)                    EBITDA (US$m)                       EBITDA Margin (%)                    Net Profit (US$m)


          2018                        2,057.3     2018                        487.4   2018                         23.7    2018                        251.9


          2017                         1,603.4    2017                        353.4   2017                     22.0        2017                       209.2


          2016                        1,220.8     2016                        246.1   2016                     20.2        2016                        151.4


          2015                          880.9     2015                        150.3   2015                          17.1   2015                         85.8


          2014                          643.9     2014                        102.5   2014                         15.9    2014                         77.5




          Definitio
                  on
          This represents statutory               EBITDA is Profit                    EBITDA margin is the reported        Net Profit is income minus
          revenue which is                        from operations                     EBITDA of the Group as a             cost of goods sold, all other
          predominantly generated                 before depreciation,                percentage of Group revenue.         expenses and taxes.
          through the provision of                amortization, transaction
          goods or services to patients           cost and impairment.
          or corporate customers and
          is generally recognised when
          services have been delivered
          or goods sold.



          2018 perform
                     manc
                        ce commentt
          Group revenues increased                EBITDA growth continued             EBITDA margin improved               Group net profit increased
          28.3% YoY in 2018, supported            to outpace revenue growth,          170bps YoY as contribution           20.4% YoY. Net income
          by organic and inorganic                rising 37.9% YoY. The               share of the higher margin           for the year was
          expansion. Organic growth               Healthcare segment                  Healthcare segment rose              impacted by US$31.6m
          for the year stood at 15.4%.            continues to be the biggest         to 87.7% of Group EBITDA.            in non-recurring expenses.
                                                  driver of top and bottom
                                                  line growth.




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                                               Non-financial KPIs
                                               We monitor non-financial areas
                                               in our businesses, with a particular
                                               focus on the patient and ensuring
                                               the best possible care available.




          ROCE (%)                             Patient Numbers (m)         Licensed Beds             Operational Beds               No. of Doctors


          2018                         15.6    2018                  7.5   2018              2,186   2018                  1,831    2018                1,735


          2017                         14.4    2017                  5.8   2017              1,539   2017                 1,365     2017                1,437


          2016                         11.0    2016                  4.3   2016               875    2016                  679      2016                1,030


          2015                          13.1   2015                  3.2   2015               885    2015                   537     2015                828


          2014                         11.8    2014                  2.4   2014               310    2014                  287      2014                 603




          Return on Capital Employed is        Total number of             Number of beds            Actual number of               Number of doctors
          the ratio of net operating profit    outpatients and             (as at year-end)          beds (as at year-end)          employed by NMC
          to average capital employed.         inpatients treated          approved by               being utilized across          across all of its
                                               at NMC’s facilities         regulatory authorities    NMC’s facilities to            healthcare facilities.
                                               each year.                  across all of NMC’s       treat patients.
                                                                           healthcare facilities.




          ROCE maintained its upward           Total number of             Total licensed beds       Ramp-up at existing
          trend during 2018 as ramp-up         patients treated            increased 42.0% YoY       facilities and addition
          of existing facilities and           at the Group rose           as organic and            of further operational
          integration of acquired              30.1% YoY, crossing         inorganic expansion       beds through
          assets progresses.                   the 7mn mark in 2018.       continued during          acquisitions led to a
                                               This large patient          the year.                 34.1% YoY increase in
                                               base remains one                                      total operational beds
                                               of the key factors                                    across the Group.
                                               that differentiates
                                               NMC from its peers.




                                                                                                       NMC Health plc Annual Report and Accounts 2018     21

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          Group Strategic Report


          Strategic Risk Management




          The Board consider the identification and mitigation of material risks
          and uncertainties faced by the Group as a key issue to be monitored
          at all levels of the organisation.

          Identification of risk                               of authorities and succession plans,            General Risk Appetite Statement
          The Board has overall responsibility                 diversification in business and                 The Company will not accept any
          for the Group’s risk management and                  revenue streams.                                risks that would cause losses due to:
          internal control systems. The Senior
          Management team ensure that                          Risk appetite                                   •   malpractice,
          operational management consider                      As there are multiple risks associated          •   significant decline in patient
          risk as part of their day to day activities.         with the healthcare and distribution                satisfaction rate,
                                                               sectors, the process of risk management         •   brand damages,
          Whilst identification of risks and related           is an essential mechanism to enable             •   hospital acquired infections,
          controls and mitigations are important               risk based decision making process.             •   decrease in the utilization rate
          elements for the stability of all                    The Board recognizes that complete risk             for outpatient clinics,
          businesses, the Board consider these                 control/avoidance is impossible, but that       •   uncontrolled discharge for inpatients,
          areas to be particularly key for NMC                 risks can be reduced by putting the right       •   downtime of life saving/sustaining
          as a Group due to our growth strategy,               controls and mitigations in place as well           systems,
          the significant amount of transformation             as agreeing on a threshold for risk taking      •   inaccuracy of patients’ records,
          within the Group in recent years and                 (risk appetite).                                •   non-compliance with internal and/or
          the fact that our businesses operate                                                                     external controls and standards/
          in regulated environments.                           Risk appetite provides a structure within           regulatory bodies,
                                                               which opportunities can be pursued by           •   sensitive information/ patient record
          As there are multiple risks evident across           setting out which, why and how much                 confidentiality breach/ loss,
          our various business verticals, the risk             risk the Group is willing to take. The Senior   •   loss of sole distribution partnership
          management processes operating                       Management Team has approved a set                  agreement,
          within the NMC Group are an essential                of risk appetite statements covering            •   loss of key staff/ key specialities,
          mechanism to enable a risk-based                     different views on the risk landscape           •   acquisitions, which the Board expects
          decision making process. NMC follows a               surrounding NMC’s business environment              to be accretive and not dilutive.
          conservative approach in risk taking and             whilst addressing various risk classes.
          has implemented controls and mitigation              For each risk class, Key Risk Indicators        NMC Board of Directors has approved
          strategies in order to reduce those risks.           (KRIs) were articulated to alert against        a set of thresholds presented by
                                                               unacceptable loss events.                       management which relate to multiple
          The Group identifies risks in two ways.                                                              business dimensions in the Healthcare
          Firstly, a bottom up business risk review            The purpose of setting limits and triggers      and Distribution divisions to protect
          and secondly a top-down strategic                    is to avoid concentrations of risk which        shareholders’ value. Any areas falling
          risk review also taking account of any               would be out of line with internal or           short of the agreed indicators will be
          material or systemic risk arising from the           external expectations and to:                   highlighted by management for action.
          business risk review exercise. The process
          undertaken in relation to both of these              •    keep business activities aligned           Strategic risks and uncertainties
          processes is set out in the Board                         to the strategic goals of the Group;       In the table of strategic risks below, the
          Oversight of system of Internal Control              •    ensure activities remain of an             Board have set out the Group’s strategic
          and risk section from pages 57 to 60                      appropriate scale relative to the          risks and the mitigating actions and
          of this annual report.                                    underlying risk and reward; and            controls taken against those risks. It
                                                               •    ensure risk-taking is supported by         should be noted that the order that these
          The Strategic Risk Register, which is                     appropriate expertise and capabilities.    risks are expressed in the table does not
          the Group’s list of principal risks and                                                              reflect an order of magnitude as regards
          uncertainties, is set our below. This                                                                their potential impact on the Group.
          Register is reviewed and considered                                                                  The System of Internal Control and Risk
          regularly. The Board approved the                                                                    section on pages 57 to 60 also sets out
          Strategic Risk Register in both August                                                               additional details of the governance
          2018 and March 2019.                                                                                 framework and controls in place within
                                                                                                               the Group’s businesses to monitor and
          Depending on the nature of the risk                                                                  control risk.
          involved, a variety of risk mitigation
          measures have been implemented                                                                       There have been no significant changes
          including, for example, insurance,                                                                   made to the Group’s strategic risk register
          standardised processes, delegation                                                                   in the last 12 months.



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          Key th
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          The big picture – 2018




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                                                                                                                                      1. Bad decision and/or
                                                                 c                                                                       delays in relation to either
          7. Failure to develop                                Ex                                                                        acquisition or organic




                                                                                                                    Ce
                                                                                                                                         growth investments or
                                                          es
              integrated IT systems
                                                                                                                                         an inability to appropriately


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              may result in an inability to

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                                                                Pr p n o l                                                               execute integration or new




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              manage group information,




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              accounting errors and
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              operational disruption.                                                                                                    result in:




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              A Data Security (e.g. WIP                                                                                                  • Lower Return on
              patient records) breach                                                                                                       Investment (ROI);
              due to either intentional                                              NMC                                                 • Lower revenue
              malicious cyber-attack                                               Strategy                                                 than expected;
              or unintentional data                                                                                                      • Decreased margins and
                                                                                                                                            market share;
                                                 Pe o




              or system loss resulting
                                                                Hu




                                                                                                                                         • Potential for impairment

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              in reputational damage,

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              operational disruption
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                                                                                                                                         • Potential difficulty in
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              or regulatory breach.
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                                                                                                                                            raising future finance.
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          8. Failure to comply with
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              multi regulatory and
                                                        En




              standards bodies                             ab                                                       ali
              requirements could result
                                                                le m                                            c
              in financial fines, inability to                                                               an
              renew licenses, as well as                                  e nt                      Fi n
              NMC reputation damage.
          9. Failure to comply with
              internationally recognized
              clinical care and quality                                                 2. Increased competition due                     increases in medical
              standards, clinical                                                          to high private and public                    inflation and pricing
              negligence, the                                                              investments in the UAE                        pressure and bargaining
              misdiagnosis of                                                              healthcare sector and                         from key insurance
                                                 10. Failure to retain/acquire key         associated investments                        providers in the Group’s
              medical conditions or
                                                     professionals or inability to         coming from new                               key markets, would result
              pharmaceuticals and the
                                                     acquire sufficient Medical            entrants or existing player                   in reduced profitability.
              supply of unfit products
                                                     staff could potentially               partnerships would lead                    5. Potential instability in
              across both divisions could
                                                     lead to inability to deliver          to market share loss and                      revenue impairing cash
              result in regulatory
                                                     required healthcare                   potential reduction in                        flow, working capital health
              sanction, licence removal,
                                                     services and executive                access to future growth                       and greater exposure to
              significant reputational
                                                     growth strategy.                      in UAE healthcare spend.                      credit risk as a result of
              damage, loss of patient
              and customer confidence                                                   3. Failure to focus on, and                      global and regional
              and potential criminal                                                       invest in, innovation and                     demographic, macro-
              proceedings.                                                                 technological advances                        economic and geopolitical
          11. Disruption to the global                                                     and effectively deliver                       factors. Uncertainty in the
              disruption model may lead                                                    new services or enhance                       global financial markets
              to significant changes to                                                    patient experience.                           may result in exposure
              distribution arrangements                                                    Inexperience of operating                     to interest rate risk which
              with “marquee” suppliers                                                     in new markets/offerings                      would impact profitability
              which would then impact                                                      leads to missed                               of the Group.
              revenue and profitability                                                    opportunity or poor                        6. Failure to maximize the
              of the trading division.                                                     service delivery.                             opportunity of acquisitions
                                                                                        4. Potential adverse effect                      though successful
                                                                                           NMC’s revenue and                             integration strategies
                                                                                           profitability as a result of                  or through ineffective
                                                                                           unexpected regulatory or                      management structure
                                                                                           cultural changes affecting                    or operating model.
                                                                                           the provision of healthcare,
                                                                                           the basis of the healthcare
                                                                                           insurance structure or


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          Group Strategic Report


          Strategic Risk Management continued




          Risk Class            Description and Potential Impact                              Controls and Mitigations

          Investment            Bad decisions and/or delays in relation to either             •   Board oversight in approving and monitoring
                                acquisition or organic growth investments or                      strategic projects
                                an inability to appropriately execute integration             •   Project management controls
                                or new facility ramp-up plans may result in:                  •   Detailed market and business appraisal and
                                                                                                  comprehensive due diligence processes
                                •   Lower Return on Investment (ROI);                         •   Focus on integration pathway to improve Group
                                •   Lower revenue than expected;                                  revenue generation from intra-group business
                                •   Decreased margins and market share;                           referrals and multi-brand sharing of facilities and
                                •   Potential for impairment of assets;                           centralized services
                                •   Potential difficulty in raising future finance.           •   Strategy to acquire international know-how through
                                                                                                  acquisition plan
                                                                                              •   Re-alignment of existing assets within the Group’s
                                                                                                  hub and spoke model (e.g. existing specialty hospitals
                                                                                                  feeding the regional NMC Royal Hospital, Khalifa City)
          Competition Increased competition due to high private and                     •         Integrated Hub-Spoke model
                                public investments in the UAE healthcare sector and     •         Growing healthcare network
                                associated investments coming from new entrants or      •         Partnership with Government hospitals
                                existing player partnerships would lead to market share •         The development of international partnerships and
                                loss and potential reduction in access to future growth           use of increased know-how gained through strategic
                                in UAE healthcare spend.                                          growth plan
                                                                                        •         Diversification of patient base
                                                                                        •         Variety in service offerings
          Financial             Failure to focus on, and invest in, innovation and            •   Frequent monitoring of both fixed and variable cost
                                technological advances and effectively deliver new            •   Synergy tracking and reporting
                                services or enhance patient experience. Inexperience          •   Acquiring the skills associated with the M&A
                                of operating in new markets/offerings leads to missed             transactions
                                opportunity or poor service delivery.                         •   Continuous development of both front and back end
                                                                                                  IT related processes to enhance patient experience
                                                                                              •   Strategy to target investment in innovation and
                                                                                                  future healthcare services development
          Financial             Potential adverse effect NMC’s revenue and profitability      •   Diversification of the revenue streams
                                as a result of unexpected regulatory or cultural changes      •   Increased collaboration between different group
                                affecting the provision of healthcare, the basis of the           assets and businesses
                                healthcare insurance structure or increases in medical        •   Frequent monitoring of both fixed and variable cost
                                inflation and pricing pressure and bargaining from key        •   Good relationships with insurance providers
                                insurance providers in the Group’s key markets, would         •   Strategy to increase patient volumes and focus
                                result in reduced profitability.                                  on clinical specialisms
                                                                                              •   Proactive approach relationships and dialogue with
                                                                                                  the Group’s regulators
                                                                                              •   M&A Strategy in new markets.
          Macro-                Potential instability in revenue impairing cash flow,         •   UAE is a stable and booming market to operate in
          economic              working capital health and greater exposure to credit         •   Diverse business and revenue streams
                                risk as a result of global and regional demographic,          •   Long term debt facilities and unutilised working
                                macro-economic and geopolitical factors.                          capital limits
                                                                                              •   Strong banking and supplier relationships.
                                Uncertainty in the global financial markets may result
                                in exposure to interest rate risk which would impact
                                profitability of the Group.




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          Risk Class       Description and Potential Impact                             Controls and Mitigations

          Financial        Failure to maximize the opportunity of acquisitions          •   Implementation of a cluster structure to ensure that
                           though successful integration strategies or through              synergies are attained while maintaining appropriate
                           ineffective management structure or operating model              autonomy at the facility level
                           may result in:                                               •   Full due diligence
                                                                                        •   Development of standardised policies across the
                           •   Increased market and regulatory/legal obligations;           Group and centralized support functions
                           •   Increased culture resistance and complexity in           •   Post-acquisition integration plan
                               shifting the governance model from enterprise            •   Rigorous analysis of value of the acquisition
                               to corporate structure;                                  •   Focus on the corporate cultures involved
                           •   Increased operational exposure due to the                •   Executive committee reporting and targets
                               complexity of integrating higher number of spokes        •   Synergy tracking and reporting
                               to centralized hub of excellence;                        •   Acquiring the skills associated with the
                           •   Increased investment risk due to weak due diligence          M&A transactions
                               and other mitigates.
          Technology       Failure to develop integrated IT systems may result in       •   ISO 27001 certified framework for IT policies
                           an inability to manage group information, accounting             and controls.
                           errors and operational disruption.                           •   Strict measures towards clients’ data and records
                                                                                        •   Some of the Group’s businesses are still progressing
                           A Data Security (e.g. VIP patient records) breach due to         through an integration phase, however manual
                           either intentional malicious cyber-attack or unintentional       processes, supported by legacy IT systems,
                           data or system loss resulting in reputational damage,            continues to provide a robust level of control
                           operational disruption or regulatory breach.
          Compliance Failure to comply with multi regulatory and standards              •   Quality & Standards Department monitors
          & Regulation bodies’ requirements could result in financial fines,                regulatory changes
                           inability to renew licenses, as well as NMC                  •   Partnership with government
                           reputation damage.                                           •   Good relationships with regulators and
                                                                                            accrediting organizations
                                                                                        •   Continuous focus on delivering high levels of service
          Product          Failure to comply with internationally recognized clinical •     Regular clinical audits completed by Quality team
          and Service      care and quality standards, clinical negligence, the       •     Doctors subject to rigorous licensing procedures
                           misdiagnosis of medical conditions or pharmaceuticals            which operate in the UAE
                           and the supply of unfit products across both divisions     •     Healthcare division is a regulated business and five
                           could result in regulatory sanction, licence removal,            of the Group’s principal hospitals have achieved, or
                           significant reputational damage, loss of patient and             are in the process of achieving, international quality
                           customer confidence and potential criminal proceedings.          standards accreditation
                                                                                      •     Many aspects of the operation of the Distribution
                                                                                            division, including the sale of pharmaceuticals, is
                                                                                            regulated in the UAE
                                                                                        •   Board oversight and integrated governance structure
                                                                                        •   Medical malpractice insurance to cover any awards
                                                                                            of financial damages
                                                                                        •   Continuous training and development programs
          Human            Failure to retain/acquire key professionals or inability     •   Partnership with education institutes
          Capital          to acquire sufficient Medical staff could potentially lead   •   Effective sourcing strategies & recruitment campaigns
                           to inability to deliver required healthcare services and     •   Ongoing review of senior management resources
                           execute growth strategy.                                         and succession plans in place for key positions
                                                                                        •   Competitive salary packages, growth and good
                                                                                            working conditions act as a good retention tool
                                                                                        •   Clear career path for staff and continuous training
                                                                                            and development programs
          Product          Disruption to the global distribution model may lead to      •   Continuous development of our service offering
          and Service      significant changes to the distribution arrangements             and communication with key suppliers
                           with “marquee” suppliers which would then impact             •   Investment in IT and logistics network to ensure
                           revenue and profitability of the trading division.               a compelling proposition is provided by NMC to
                                                                                            key suppliers.


          As recommended by provision C.2.2 of the UK Corporate Governance Code, the Directors have considered a formal long-term
          assessment of the prospects and viability of the Group. As part of this assessment, the Board considered the potential impact
          of three principal risk themes facing the Group. The Board’s viability statement is set out on page 86.




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          Group Strategic Report


          Corporate Social Responsibility




          Welcome to NMC Healthcare’s Corporate Social Responsibility
          Overview for the year 2018.


          In this report, we share with our                    Our Local Community                            Community Engagement Activities
          stakeholders how we honour our                                                                      We have developed a comprehensive
          responsibility towards our local                     As an influential, committed and               approach to community health
          communities. This is demonstrated                    proactive corporate community partner,         awareness that addresses not
          through the programmes, activities                   NMC Healthcare believes in community           only the pressing health concerns in
          and initiatives that we executed through             involvement where we work and serve.           communities, but also the underlying
          partnerships with civil society players,             Collectively, our healthcare facilities help   causes. We believe that the best
          local community members, non-profit                  improve the lives of our patients, their       approach to healthcare is prevention.
          organisations and other key partners                 families and the overall community.            Using our wealth of knowledge and
          across our value chain.                              Through our community engagement               expertise, we give back to our local
                                                               programmes, we are able to partner             communities by raising awareness on
          In addition, this report highlights our              with organisations to deliver measurable       important public health topics. We do
          commitment to our employees, in                      long-term impact. We invest in public          this on a yearly basis by conducting free
          relation to engagement, diversity, training          health awareness campaigns and                 health screenings, awareness workshops,
          and anti-discrimination policies, as well            continuous medical education                   corporate programmes and digital
          as operating in an environmentally                   programmes designed to promote                 outreach. We also aim to raise
          responsible manner in alignment with                 healthy lifestyles and increase access         awareness around specific diseases and
          our values.                                          to health services.                            health issues by engaging patients and
                                                                                                              the local community through insightful
          This overview report summarises our                  The integration of Corporate Social            campaigns and events. Some of these
          CSR and some of our ESG activities.                  Responsibility (CSR) throughout                annual events are:
          More detailed CSR and ESG reports                    the organisation and in the local
          are published on our corporate website               communities which we serve, is a goal          •   World Health Day
          at www.nmchealth.com.                                we strive for every day. By aligning CSR       •   World Liver Day
                                                               activities to our values, we are able          •   World Immunization Week
                                                               to improve health of the population            •   World Asthma Day
                                                               in the countries in which we operate.          •   International Blood Donor Day
                                                               Our community engagement agenda                •   World Hand Hygiene Day
                                                               is versatile and includes initiatives          •   World Thalassaemia Day
                                                               with community partners, volunteering          •   International Nurses Day
                                                               activities and civic engagement. We are        •   World Hypertension Day
                                                               pleased to share a few of these initiatives    •   International Albinism Awareness Day
                                                               in this section:                               •   World No Tobacco Day




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          •   World Diabetes Day                          Community Educational Activities                health screenings and immunizations
          •   Histopathology Day                          Our healthcare facilities provide a             for underserved population, in addition
          •   World Prematurity Day                       wide range of educational programmes            to some services geared toward adults.
          •   Emirati Children’s Day                      that address topics related to the needs        During the year 2018, we have delivered
                                                          of local communities. Each healthcare           2,000 health screenings through 47
          Emirati Children’s Day                          facility assesses its community’s health        visits across corporates, schools and
          In celebration of this day, our CEO took        assets and needs and then develops              community facilities.
          a group of Emirati children who would like      community benefit plans that address
          to become doctors when they grow up             unmet health priorities. These priorities       Protection of the Community
          to visit our facilities, meet doctors and ask   are then integrated into the hospitals’         In 2018 the NMC Health plc Board
          questions about the profession. A video         strategic plans and budgets to assure           approved the Group’s new Modern
          was created to share the experience with        adequate resources are devoted to               Slavery policy and subsequently issued
          other Emirati children to be inspired by        planning, developing, managing and              its first Modern Slavery Statement.
          their peers.                                    reporting community benefit initiatives.
                                                          Below are a few examples that were              Modern Slavery is a growing global issue
          Walk for a Healthy Life                         delivered during 2018:                          and takes various forms including slavery,
          On the occasion of World Diabetes Day,                                                          servitude, forced and compulsory labour
          NMC Healthcare organised a Walkathon            •   Dental screening                            and human trafficking, all of which have
          in association with the Ras Al Khaimah          •   Breast Cancer Awareness Campaign            in common the deprivation of a person’s
          Police and Public Services Department           •   Cardiology Health                           liberty by another or to exploit them for
          on Friday 9th November, 2018 to raise               Awareness Programme                         personal or commercial gain. NMC takes
          awareness among the community.                  •   Gastroenterology,                           a zero-tolerance approach to Modern
                                                              Endoscopic Conference                       Slavery and human trafficking within our
          Participation in the Arab Health Exhibition     •   Aesthetic Gynaecology                       own businesses and our supply chain. As
          We participated in the 2018 The Arab            •   Asthma and Lung Cancer                      part of our increased focus in this area, we:
          Health Exhibition to share with interested      •   Diabetes Type 2
          community members and healthcare                •   How to Keep your Skin Healthy               •   are increasing our staff training and
          professionals our latest services                   During Summer                                   supplier reviews;
          and technologies.                               •   Peripheral Artery Disease                   •   have reviewed our own internal
                                                          •   VenaSeal Closure System                         policies and procedures in relation
          Digital Outreach                                •   Obstetric & Medicine Symposium                  to employees, engagement of
          We have utilised the power of Social                                                                contractors and our ethical and
          Media to maximize our community                 Continuous Medical Education (CME)                  anti-bribery related policies;
          outreach and ensure we are able to              The Continuous Medical Education (CME)          •   have assessed the risk of modern
          reach specific demographics who might           Programme constitutes of a series of                slavery across our own businesses
          be concerned in learning about specific         workshops offered to doctors outside                and within our supplier chain; and
          diseases. Our focus in our digital outreach     of NMC Healthcare facilities free of charge.    •   have decided on additional steps to
          efforts was to transition channels like         It was created from the conviction that             be taken to increase assurance that
          Facebook from a narrowcast to a                 doctors serving patients must keep up               modern slavery forms no part of our
          broadcast platform and engage our               to date with the latest discoveries and             business operations.
          target audience. This year, 12 of our           practices. Thus, a knowledge-sharing
          most popular accounts have used their           platform was needed to bring together           Full details of our actions in this area
          Facebook pages to create campaigns              expertise to promote sharing and growth.        can be found in our Modern Slavery
          that spread awareness about global              In 2018, over 9,700 doctors attended            Statement published on our website.
          diseases and health issues. These               events under the CME programme
          campaigns comprising of forty-eight             focused on paediatric infectious diseases,      More detail in relation to our community and
          local and global themes, including the UN       cardio-pulmonology, pulmonology health,         patient care activities is included in our CSR
                                                                                                          and ESG reports published on our website.
          Health days and the days of importance          respiratory health and several others.
          to UAE nationals and expats, reached
          out to over 720,000 members of our              Community Health Checks
          communities garnering over 30,000               Regular check-ups can help increase
          active conversations and engagements.           chances for treatment and help find
                                                          a cure in the early stages of diseases.
                                                          These health checks provide essential



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          Corporate Social Responsibility continued




          Our Employees                                        We regard our employees as valuable             interact with the employee forum and our
                                                               assets and we strive to create a safe,          frontline and grassroot employees to hear
          The healthcare sector is a people-                   stimulating and rewarding work                  their opinion and feedback on a range of
          intensive industry. It requires adopting a           environment for them. We are proud              matters in person. Employees can also
          compassionate approach in the provision              of our ability to attract a talented pool       directly write to the CEO via their intranet
          of treatment and care for all patients. The          of highly competent individuals who             portal ensuring that views or concerns
          emotional commitment of our healthcare               contribute to our long-term success             raised are dealt with swiftly and fairly.
          professionals forms a critical aspect in             and viability. Due to our efforts, we were
          providing our patients with the best care            honoured with the Superbrands Award             Employee social activities
          possible. Therefore, at NMC Healthcare               and the Great Place To Work Award in            In addition to daily activities, meetings
          we heavily invest in the wellbeing and               the UAE, both for three consecutive years.      and interactions, we engage our
          prosperity of our employees.                         Both awards are a testament of providing        employees through annual events that
                                                               a growth environment for our employees          aim to create close working relationships
          The relationship we have with our                    and stakeholders.                               and create an environment of
          employees is based on mutual respect.                                                                collaboration. The table below showcases
          We are committed to full compliance                  Employee Engagement                             a few of the events held during 2018.
          with legislative workplace requirements              We ensure employees have open
          in the countries in which we operate.                channels to communicate their ideas and
          The health and safety of our people is               feedback through various methods across
          also a key priority and is tied to the Group’s       our different businesses. These include
          overall performance. Thus we maintain                periodic meetings, online channels and
          the highest level of health and safety               internal systems. In addition, we have
          as we understand that it lays the                    set up formal employee forums in the
          foundation towards providing high                    majority of our businesses made up from
          quality healthcare services.                         groups of employees below managerial
                                                               or supervisory roles. In addition to periodic
                                                               meetings which each forum holds, the
                                                               CEO spends one full day per facility to


          Employee Social Activities
          Event Name                        Description

          NMC Champions Trophy              An Inter Facility Cricket Tournament in which 500 players from 24 teams competed across 48
                                            matches. The season’s duration was 7 weeks with games being held every Friday. Almost 500
                                            players participated.
          Ladies Dash                       NMC Royal Women’s Hospital was the Strategic Partner for this event, which was supported by the
                                            Department of Health – Abu Dhabi and under the patronage of the Abu Dhabi Sports Council. The
                                            running event for ladies included the participation of 30 ladies from 5 NMC units from Abu Dhabi.
          Fit On Click's Corporate          A Corporate Football Tournament organised by Fit on Click, a fitness focused online platform.
          Football Tournament               NMC was the Medical Partner and 20 participants from 2 NMC units in Dubai participated.
          Foundation Day                    Foundation Day is the annual celebration of the foundation of NMC Healthcare. Employees
                                            gathering in a festive day and our CEO along with senior leadership teams visit our facilities,
                                            address employees and grant awards across different functions. The day concludes with
                                            a gala celebration at the corporate office.
          Abu Dhabi Dash                    It is a corporate relay for companies across UAE presented by the Department of Health under
                                            the patronage of Abu Dhabi Sports Council. NMC was the Strategic Health Partner and around
                                            60 participants took part in the run.
          Mini Dash                         A fun filled sporting event for children presented by the Department of Health under the patronage
                                            of Abu Dhabi Sports Council. NMC was the Strategic Health Partner, and children of NMC staff were
                                            invited to participate in this event.
          NMC Show Stoppers                 A talent show to celebrate the diversity of talents across our multicultural organisation. Around
                                            17 units participated across the UAE and the final show gathered an audience of around 500.


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          Gender study
          Group overall – 2018



          Board of Directo
                         ors & Sen
                                 niorr Mana
                                          agem
                                             men
                                               nt Tea
                                                    am
          NMC Board of Directors                                                     Senior Management Team




          Male
             e 73%                                       Fem
                                                           male 27%                   Male
                                                                                         e 86%                                         Fem
                                                                                                                                         male
                                                                                                                                            e 14
                                                                                                                                               4%
          Directors                                      Directors                    Senior Management                                Senior Management

          8                                              3                            6                                                1




          Corporate Office                                                           Corporate Information Technology




          Male
             e 69%                                       Fem
                                                           male 31%                  Male
                                                                                        e 90%                                         Fem
                                                                                                                                        male
                                                                                                                                           e 10%
          Corporate                                      Corporate                   IT Management                                    IT Management
          Management                                     Management
                                                                                     10 (77
                                                                                          7%)                                         3 (23%
                                                                                                                                           %)
          127 (8
               87%)                                      19 (13%
                                                               %)                    IT Staff                                         IT Staff
          Corporate Staff                                Corporate Staff
                                                                                     76 (9
                                                                                         92%)                                         7 (8%))
          225 (62%)                                      136 (3
                                                              38%)
                                                                                     Tota
                                                                                        al 86                                         Tota
                                                                                                                                         al 10
          Tota
             al 352                                      Tota
                                                            al 15
                                                                55

          Healthcare division                                                        Distribution division




          Male
             e 42%                                          male 58% Male
                                                          Fem           e 88%                                                         Fem
                                                                                                                                        male
                                                                                                                                           e 12%
          Healthcare                                      Healthcare                 Distribution                                     Distribution
          Management                                      Management                 Management                                       Management

          419 (6
               64%)                                       234 (3
                                                               36%)                  161 (9
                                                                                          94%)                                        11 (6%))
          Doctors                                         Doctors                    Distribution Staff                               Distribution Staff

          1,046
              6 (60%)                                     689 (4
                                                               40%)                  1,741 (8
                                                                                            87%)                                      249 (113%)
          Staff Nurse                                     Staff Nurse

          883 (118%)                                      3,998
                                                              8 (82%)                Tota
                                                                                        al 1,902                                      Tota
                                                                                                                                         al 260
          Technicians                                     Technicians

          635 (41%)                                       907 (5
                                                               59%)
          Pharmacists                                     Pharmacists

          248 (50%)                                       244 (5
                                                               50%)
          Healthcare – Others                             Healthcare – Others

          2,997
              7 (53%)                                     2,665
                                                              5 (47%)
          Tota
             al 6,228                                     Tota
                                                             al 8,7
                                                                  737
                                                                                                          NMC Health plc Annual Report and Accounts 2018   29

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          Corporate Social Responsibility continued
          Health & Safety                                           own and often away from family and           Our diversity is further instilled by
          The health and safety of our employees                    friends. We have policies in place to help   the fact that we employ people from
          is of utmost importance. We ensure all                    employees working and living in such         86 different nationalities.
          measures are in place and we routinely                    circumstances, including for example
          conduct training and awareness                            Happiness Officers within many facilities    As at 31 December 2018, our Group has
          programmes around the topics of fire                      whose role is to ensure the well-being       grown its employee base across all its
          and safety, occupational safety, infection                of all employees working in that facility.   business operations to nearly 18,000
          prevention and health talks. Each NMC                                                                  employees. Our employee base is made
          hospital has an assigned Health and                       Diversity & Inclusion                        up of employees from 86 countries and
          Safety Committee coordinating with the                    As one of the leading healthcare             remains nearly equally split, as in 2017,
          Health and Safety Manager to ensure                       providers, we recognise the importance       between female and male employees.
          that goals and KPIs are being met.                        of maintaining a diverse work                Our widespread cultural and balanced
                                                                    environment through the creation             gender mix is testament to the effects
          Our Health and Safety Policy covers                       of a strong and healthy workplace that       of our discrimination policies and the
          planned and preventive maintenance,                       fosters innovation and shared learning       multi-cultural nature of the UAE, our
          safe and proper disposal of sharp and                     experiences. We celebrate differences        primary market. Key diversity data is
          hazardous materials, as well monitoring                   and do not tolerate any discrimination       set out below.
          the exposure levels of staff working                      based on race, religion, gender, age,
          within radiation and diagnostic imaging                   ability, marital status, nationality or      Employees’ Nationalities
          services. We also conduct regular training                other characteristic protected by the laws   Our diverse workforce is comprised of
          programmes for our employees on the                       of the countries in which we operate.        86 different nationalities, a significant 28%
          latest organisational health and safety                   Our anti-discrimination policy educates      increase from 67 nationalities employed
          practices and procedures, sharing                         employees on discrimination and              in 2017. The table below is a representation
          information pertaining to this area across                harassment topics, as well as how to         of the top 5 nationalities employed at
          our network of hospitals, to ensure                       address them and report them shall they      NMC Healthcare Group globally.
          greater adoption of preventive measures.                  occur. Diversity metrics are monitored
                                                                    on an ongoing basis, and appropriate         Learning and Development
          In certain countries in which we operate,                 measures are in place. We provide equal      We place a strong value on employee
          the vast majority of our employees will                   employment opportunities that allow all      training and professional development.
          be expatriate workers who are living and                  individuals to maximise their capabilities   We believe that investing in our
          working in a country which is not their                   and richness to our work environment.        employees not only enhances the quality



          Top 5 Natiionalittie
                             es


                       United Kingdom (3%)

                       568
                       employees
                       (2017: 58 (0%))




                                               Pakistan (3%)
                      Egypt (4%)

                      763                      568
                                               employees
                      employees                (2017: 667 (5%))
                      (2017: 394 (3%))                                                                           Philippines (17%)

                                                                                                                 3,07
                                                                                                                    77
                                                                                                                 employees
                                                                                                                 (2017: 2,223 (16%))
                                                          India (60%)

                                                          10,59
                                                              98
                                                          employees
                                                          (2017: 8,472 (62%))
                                                                                                                                            Other (12%)

                                                                                                                                            2,156
                                                                                                                                            employees
                                                                                                                                            (2017: 1,907 (14%))




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          and efficiency of our organisation, but        NMC also has a dedicated learning and                       Together with our team members,
          also contributes to employee satisfaction      development centre. The Dr. C.R. Shetty                     we aim to be a part of a movement to
          and engagement. Our ability to deliver         Centre for Simulation and Interactive                       inspire hope and create healthier future
          high quality healthcare services is largely    Learning was launched in 2017 to provide                    for our communities worldwide.
          due to attracting and retaining qualified      a variety of medical and non-medical
          and engaged healthcare professionals.          training programmes. In that same                           “Together We Make the Difference”
                                                         year, we conducted at a comprehensive                       Campaign
          All employees go through learning and          assessment to identify gaps in                              Championed by the Abu Dhabi
          development programmes that help               training needs.                                             Environmental Agency, this campaign
          them excel at their jobs. Employees go                                                                     was created in alignment with the
          through periodic performance evaluation        More detail in relation to our employee activities is       Year of Zayed and is comprised of
          in which improvement areas are                 included in our CSR and ESG reports published on            a series of seabed clean-ups. As the
                                                         our website.
          identified and match with appropriate                                                                      healthcare partner of this campaign,
          learning plans. Below is a sample list of                                                                  we extended our support by providing
          the skills-based learning programmes
                                                         The Environment                                             an ambulance and setting a first-aid area
          that were implemented in 2018 and                                                                          for the participants. One of the clean-ups
                                                         We are committed to operating in an
          attended by over 5,600 trainees across                                                                     at Al Mirfa Port, collected 4,700kg of
                                                         environmentally responsible manner
          23 healthcare facilities.                                                                                  marine litter.
                                                         in alignment with our values. Our
                                                         commitment is translated into action
          •   Exceptional Servicing                                                                                  Supporting “For Our Emirates We Plant”
                                                         through instilling rigorous monitoring
          •   Essentials of Communication                                                                            “For Our Emirates We Plant” is a
                                                         and evaluation systems and tools
          •   Team Dynamics                                                                                          community programme run by the
                                                         that track our water, electricity and fuel
          •   Patient Experience                                                                                     Emirates Environmental Group to
                                                         consumption. In addition, we have waste
          •   Problem Solving & Decision Making                                                                      mobilise the community and to find
                                                         management systems in place and we
          •   Crisis Management                                                                                      unique ways of giving back to the
                                                         calculate our carbon emissions using
          •   Principles of Executive Leadership                                                                     environment. NMC Healthcare
                                                         the Greenhouse Gas (GHG) Protocol.
          •   Arabic Language & Emirati Culture                                                                      participated this year by activating
          •   Interpersonal Skills                                                                                   a group of employees who dedicated
                                                         We engage our employees in ongoing
          •   Critical Thinking                                                                                      time to serve the community they
                                                         communication to maintain our culture
                                                                                                                     live in by planting trees.
                                                         of resource preservation and conscious
          Customised Training
                                                         consumption of all resources, which in
          From the time employees join any                                                                           “Clean Up The World” with
                                                         turn helps us manage our overall carbon
          NMC Healthcare facility, they are given                                                                    Dubai Municipality
                                                         footprint in specific, and environmental
          a thorough and intensive induction,                                                                        NMC employees volunteered as part
                                                         impact in general.
          after which they are handed employee                                                                       of “Clean Up the World”, which is an
          manuals as a guiding reference.                                                                            environmental programme that calls
                                                         At NMC Healthcare, service is rooted in
          Furthermore, a central training resource                                                                   for individuals around the world to clean
                                                         our culture – both to our stakeholders and
          was created to encourage sharing                                                                           up their environment, repair and maintain
                                                         local communities. We are particularly
          practices and proactive learning. Our                                                                      it. The event was managed by Dubai
                                                         proud of our employee volunteering
          Continuing Development Programme                                                                           Municipality and has boosted the
                                                         programmes that reflect our strong
          provides in-house facilities as well as                                                                    sense of citizenship and environmental
                                                         desire to drive an impact and foster
          education and training programmes                                                                          consciousness among our employees.
                                                         the spirit of community engagement.
          conducted internally and by external
          qualified experts.




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          Group Strategic Report


          Corporate Social Responsibility continued
          Internal Environmental Initiatives                     protecting patient health and critical to                    own or lease. In addition, we use fuel
          No Meat Monday                                         daily hospital operations. Because water                     to power our generators and specific
          Globally, animal agriculture is responsible            quality is a public health issue and poses                   machinery. We purchase petrol and
          for more greenhouse gases than all the                 a special concern for the healthcare                         diesel from local stations and monitor
          world’s transportation systems combined.               community, we at NMC Healthcare take                         our consumption in order to accurately
          According to the United Nations, a global              a clear stand on water consumption and                       calculate our Greenhouse (GHG)
          shift toward a vegan diet is necessary                 preservation. We track the utilisation of                    emissions and limit our carbon footprint.
          to combat the worst effects of climate                 all the three precious resources carefully.
          change. At NMC, we have conducted an                                                                                Waste Management
          initiative to raise awareness about this               Electricity Consumption                                      Hospitals produce medical waste that,
          environmental fact by announcing the                   Our electricity consumption is needed                        if not handled correctly, could potentially
          last Monday of every month as “No Meat                 to power our Operating Rooms, the high                       pose serious health and environmental
          Monday”. Participation is voluntary for all            end machinery, light up our facilities and                   negative impacts. At NMC Healthcare, we
          employees. This is a small step, yet, in a             operate medical devices. We are aware                        take this topic very seriously by putting in
          meaningful direction to raise awareness                of our high dependence on electrical                         place an effective management system
          about our environmental impact.                        consumption and thus carefully monitor                       of healthcare waste which addresses the
                                                                 and measure it to identify the avenues                       basic elements of waste minimisation,
          Plastic Free Saturdays                                 of energy preservation. We purchase                          segregation and proper identification into
          Plastic pollution is a serious global                  electricity from local authorities and receive               key categories including: medical, general,
          problem. The amount of plastic in the                  monthly bills detailing our consumption. In                  recycled and food waste.
          ocean continues to grow – affecting                    some of our facilities, we use generators
          wildlife and humans alike. At NMC, we                  to generate our own electricity as backup                    Greenhouse Gas (GHG) Emissions
          took a moral ground to reduce our plastic              methods to ensure continuous and                             The Healthcare industry operates
          usage. Saturdays, being the busiest days               uninterrupted care for our patients.                         hospitals that are highly energy intensive,
          in our hospitals, have now gone plastic                                                                             consume large amounts of energy
          free. All pharmacy dispensing is done                  Some initiatives we have taken to reduce                     resources and produce large amounts
          via cloth bags, eventually saving about                electricity consumption include using                        of waste. That is in addition to the
          15,000 poly-bags going into the circulation.           motion sensors in some of our facilities                     construction, operation and maintenance
                                                                 to reduce power wastage and using solar                      of buildings. This makes the healthcare
          Water Consumption                                      power for water heating and lighting                         sector a significant source of carbon
          Hospitals are one of the major                         wherever possible.                                           emissions globally, and therefore a
          stakeholders within the healthcare                                                                                  contributor to climate change trends
          industry and one of the top users of                   Fuel Consumption                                             that may cause health threats. By
          water resources. Water quality and                     Fuel is mostly used to power our vehicles                    reducing carbon emissions and efficiently
          availability are both essential to                     and transportation solutions we either                       managing infrastructure and facilities



          GHG Emissions
                                                            Healthcare (excluding the
                                                               acquired entities)          Healthcare (all entities)       Distribution (NMC Trading)              Total
          For the 12 months to 30 September                  2016      2017      2018      2016       2017       2018       2016       2017      2018      2016     2017     2018

          Scope 1 Emissions – tonnes of CO2e                7,699    7,090     5,413      9,666     8,966    12,597        3,917     4,351    4,349     13,579    13,318   16,946
          Scope 2 Emissions – tonnes of CO2e              29,829     44,144 42,019       43,361 50,091 63,739              5,230    7,367      5,770 48,591 57,457         69,510
          Total GHG Emissions – tonnes of CO2e 37,528 51,235                  47,431 53,027 59,057 76,336                  9,147    11,718    10,120     62,174 70,775 86,456
          GHG Emissions Intensity – tonnes
          CO2e/1,000 patients                                 11.3     11.8      10.2      12.5       11.6       11.9          -          -         -         -        -        -
          GHG Emissions Intensity – tonnes
          CO2e/1,000 orders                                      -        -         -         -          -             -   20.97    25.62      18.79          -        -        -
          GHG Emissions Intensity by Revenue
          – tonnes CO2e/1,000 dollar                       0.073     0.073    0.035       0.065     0.051     0.049        0.022    0.024      0.019      0.051   0.044     0.041

          Notes:
          1. The GHG emissions reporting is in line with the GHG Protocol developed by the World Business Council for Sustainable Development, and additional
             guidance issued by the UK Government. The emissions have been calculated using carbon conversion factors published by the UK Government
             in October 2016.
          2. The total Scope 2 emissions have been reported in accordance with the ‘location based’ method which uses grid average emissions factors. There are
             no energy certificates or supplier-specific information available in the UAE, therefore, the ‘market based’ method is not applicable here.
          3. Conversion factors applicable to the UAE for Scope 2 have been obtained from the publication “IEA CO2 Emissions from Fuel Combustion” (2012 edition).
          4. A conversion factor for Sevoflurane was not available from the UK Government so an epa.gov GHG reporting figure was used.
          5. During the last years, several entities were acquired by NMC. These entities are: Eugin Group, Provita Group, Sunny Group, Americare Group, Oman Group,
             As Salama Hospital, Fakih Group and Al Zahra Hospital. In order to conduct an accurate comparison with the previous years before acquisitions and be
             consistent with the previous NMC reports, we are reporting GHG emissions separately for: (1) NMC entities excluding the acquired ones separately,
             and (2) GHG emissions for all entities including the acquired ones.
          6. GHG Emissions Intensity – tonnes CO2e/1,000 orders is only applicable to NMC Distribution which deals with delivering orders to hospitals. Thus it is not
             applicable to NMC Healthcare.
          7. GHG Emissions Intensity – tonnes CO2e/1,000 patients is only applicable to NMC Healthcare with has patients. Thus it is not applicable to NMC Distribution
             which does not deal directly with patients.




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          through environment-friendly practices,        Healthcare (Acquired Entities)                Looking at the GHG emissions for
          healthcare organisations can reduce            • Eugin Group                                 Healthcare (all entities), we see an
          their carbon footprint and improve overall     • Provita Group                               increase in emissions across Scopes 1
          public health.                                 • Sunny Group                                 and 2. This is an expected increase due
                                                         • Americare Group                             to the newly acquired entities that are
          At NMC Healthcare, we address this topic       • Oman Group                                  in the process of implementing NMC’s
          of importance by integrating measures          • As Salama                                   regulations and procedures when it
          and mitigation plans to align our                                                            comes to monitoring their GHG
          Greenhouse Gas (GHG) emissions                 During 2018, we have witnessed an             emissions. We commit to working with
          reporting with the GHG Protocols and           overall increase in total GHG emissions for   all new entities to support them in their
          extend our disclosure to Scope 1 (direct       both Scopes 1 and 2 for NMC Healthcare        adaptation process to ensure efficient
          emissions from our owned or controlled         and Distribution. However, there has been     management of energy and resources.
          sources) and Scope 2 (indirect emissions       a decrease in GHG emissions intensity
          from the generation of purchased               by revenue. This means that NMC is            More detail in relation to Water, Electricity and Fuel
          energy), and with the intention of             performing well in terms of expanding         consumption, our waste management initiatives
                                                                                                       and Greenhouse Gas Emissions is included in our
          expanding our reporting to Scope 3             our business to bring additional economic
                                                                                                       CSR and ESG reports published on our website.
          (indirect emissions that occur in the value    value while achieving less GHG emissions
          chain of the reporting company, including      despite the expansion.                        The Group Strategic Report set out on
          both upstream and downstream
                                                                                                       pages 4 to 35 has been approved by the
          emissions) in the future.                      Within our Healthcare businesses              Board and is signed on its behalf by:
                                                         (excluding the acquired entities), we see a
          Hospitals Included in the GHG                  decrease overall in the emissions and the
          Emissions Calculations                         intensity. This is due to energy efficiency   PRASANTH MANGHAT
          Healthcare (Excluding Acquired Entities)       and conservation measures that we             Chief Executive Officer
          • NMC Specialty Hospital, Abu Dhabi            continuously introduce to manage our
          • NMC Specialty Hospital Al Nahda Dubai        carbon footprint, including introduction
          • NMC Specialty Hospital, Al Ain               of policies, regulations, energy saving
          • NMC Hospital DIP, Dubai                      technologies, training of our employees
          • NMC Hospital Deira, Dubai                    and monitoring results closely. Among
          • BR Medical Suites DHCC, Dubai                the technologies introduced are the
          • NMC Day Surgery Center MBZ, Abu              use of GPS systems in our vehicles
            Dhabi                                        to decrease time lost in reaching
          • New Medical Center, Sharjah                  locations, the use of motion sensors
          • NMC Clinic Al Wadi                           to light areas only when needed and
          • Corporate Office                             using solar power for heating and
          • New Pharmacy LLC, Abu Dhabi                  lighting wherever possible.
          • Bait Al Shifa Pharmacy LLC
          • BrightPoint Royal Hospital, Abu Dhabi
          • NMC Royal Hospital Khalifa City,
            Abu Dhabi




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          Group Strategic Report




          Aligning with
          the Year of
          Zayed, UAE
          The year 2018 marked 100 years since the birth
          of the late Sheikh Zayed bin Sultan Al Nahyan,
          the Founding Father of the UAE, who was
          renowned for his passion for ensuring the
          health and well-being of people worldwide.

          In alignment with the Year of                        at the Sheikh Zayed Heritage
          Zayed, we have made a global                         Festival by supporting assessing
          pledge to treat 100 child refugees                   the health and fitness of
          with serious heart conditions.                       over 20,000 guests across
          The children received the much-                      the sixty-day period of the
          needed treatment for a variety of                    festival. In addition, we provided
          serious heart conditions through                     healthcare treatment discounts
          our medical facilities around the                    valued at AED 3.5 million
          world. We have also participated                     to more than 700 patients.




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                                                         AED3.5m
                                                         healthcare treatment discounts provided to more than 700 patients




                                                         100 20K
                                                         child refugees with serious heart
                                                         conditions treated
                                                                                                     guests health and fitness was assessed
                                                                                                     at the Sheikh Zayed Heritage Festival




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          Governance




          Governance
          The Board and management
          team have strengthened
          internal controls and kept
          approach to risk under review
          during the period of sustained
          growth and integration.




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          Governance


          Board of Directors




          DR B. R. SHETTY                                       MR H. J. MARK TOMPKINS                            MR KHALIFA BIN BUTTI
          Non-Executive Joint Chairman                          Non-Executive Joint Chairman 3* 4                 Executive Vice Chairman
          Nationality: Indian                                   Nationality: British                              Nationality: Emirati
          Appointed as Director: 20 July 2011                   Appointed as Director: 7 March 2012               Appointed as Director: 1 July 2017
          Relevant Experience:                                  Relevant Experience:                              Relevant Experience:
          • Business Entrepreneur                               • Significant public company experience on        • Has significant Abu Dhabi financial
          • Founder, Director and principal shareholder           UK, US and French listed company Boards           industry insight
            of NMC Health                                       • Experience in investment banking,               • At the age of 27 he was appointed Chairman
          • Pioneer in the development of the private             international real estate and the financing       & CEO of Brokerage House Securities LLC.
            healthcare sector in the UAE                          of small and medium sized enterprises           • Established KBBO (Khalifa Butti Bin Omeir)
          • Other Board positions and material                  • Director and Chairman of Allied                   Group, which includes One Financial (operations
            investments in financial, hospitality, food and       Healthcare International                          in UK, China, UAE, Saudi Arabia, Kuwait, Jordan
            beverage, pharmaceuticals, education and            • Non-Executive Director and Conseiller             & other areas of the Middle East)
            environmental sectors                                 Special aupres du Conseil D’Administration      • Has extensive experience in Chairman/
                                                                  of Sodexo S.A.                                    Vice Chairman related roles in many well
                                                                                                                    established firms




          MR ABDULRAHMAN BASADDIQ                               MR JONATHAN BOMFORD                               LORD CLANWILLIAM
          Non-Executive Director 3                              Senior Independent Non-Executive Director 1 4*    Independent Non-Executive Director 1*
          Nationality: Kenyan                                   Nationality: British                              Nationality: British
          Appointed as Director: 24 February 2014               Appointed as Director: 27 June 2013               Appointed as Director: 7 March 2012
          Relevant Experience:                                  Relevant Experience:                              Relevant Experience:
          • Significant business experience across a            • Accounting, financial and audit experience      • Government and financial
            number of GCC based Groups operating in               gained principally in the Middle East and         communications specialist
            multiple jurisdictions and business sectors,          East Africa                                     • Extensive network of governmental and
            including two major listed Groups                   • Previously with EY (Middle East, East Africa,     institutional contacts across Middle East,
          • Previously 25 years with EY in the UK and             Abu Dhabi & Riyadh) for 24 years (15 years        UK and Eastern Europe
            GCC, including 15 years as an equity partner          as a partner)                                   • Currently Chairman of 17 Arm and
          • Currently Non-Executive Director of Abu             • EY clients included international clients         Chairman designate of Angus Energy,
            Dhabi National Hotel Group, Travelex and              across healthcare, oil, banking and               an AIM listed company
            UAE Exchange                                          construction sectors                            • Founding Partner and Chairman of Meade
          • UK qualified Chartered Accountant and               • Currently manages his own business                Hall Communications Limited
            licensed auditor in the UAE                           services and renewable energy company           • Chairman of Eurasia Drilling Company
                                                                  and a Non-Executive Director of Travelex          2007 to 2016
                                                                • UK qualified Chartered Accountant
                                                                • Official Mentor providing Business Advice
                                                                  and Services to clients of the Prince’s Trust




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          MR PRASANTH MANGHAT                                 MR HANI BUTTIKHI                                  DR AYESHA ABDULLAH
          Chief Executive Officer & Executive Director 2      Chief Investment Officer and Executive Director   Independent Non-Executive Director 2* 4
          Nationality: Indian                                 Nationality: British                              Nationality: Emirati
          Appointed as Director: 26 June 2014                 Appointed as Director: July 2017                  Appointed as Director: 26 June 2014
          Relevant Experience:                                Relevant Experience:                              Relevant Experience:
          • 20 years’ experience in accounting, corporate     • Served as Head of Syndicate at SHUAA,           • Over 25 years’ experience within the
            finance, treasury and banking, including            a leading financial services firm between         healthcare and education industries.
            15 years’ in NMC related businesses                 2006 & 2014                                     • Significant experience in development
          • Chief Financial Officer of NMC Health 2011-2014   • Oversaw the largest IPO in the UAE worth          and regulation of the healthcare industry
          • Spearheaded NMC’s successful IPO on the             an estimated four billion US$, as well as         in the UAE
            London Stock Exchange in April 2012                 the NMC Health IPO                              • Oversaw development of, and then
          • Acknowledged and recognised as a                  • Served as a Chief Investment Officer at           regulatory aspects of, Dubai Healthcare
            healthcare sector thought-leader,                   Centurion Partners between 2014 and 2017          City (DHCC)
            participating in many global events               • Is on the Board of Directors at                 • Previously, CEO of Dubai Healthcare
            and forums                                          3 other companies                                 City (DHCC)
          • Chartered Accountant                                                                                • Currently Executive Dean of The
                                                                                                                  Business School at Higher College
                                                                                                                  of Technology (Dubai)
                                                                                                                • Awarded both the prestigious 2009 “Leading
                                                                                                                  woman CEO” award and the 2010 “L’Officiel
                                                                                                                  Arab Woman of the Year”




          MRS SALMA ALI SAID BIN HAREB ALMHEIRI               Key to committees
          Independent Non-Executive Director 3                    1   Audit Committee
                                                                  2   Clinical Governance
          Nationality: Emirati
                                                                  3   Nomination
          Appointed as Director: 26 June 2014                     4   Remuneration
          Relevant Experience:                                *       Committee Chair
          • Significant business experience and a
            recognised leading businesswoman in the           Notes:
            Middle East, with many achievements and           1. Full biographies can be viewed on the
            awards being granted to her, most recently           Company’s Investor Relations website
            the Frost & Sullivan Growth, Innovation &            at www.nmchealth.com
            Leadership award of 2014 as well as being
            named Overall Winner – Professional
            Category in Emirates Women Awards 2013.
          • CEO of Economic Zones World (EZW) and
            Jebel Ali Free Zone (Jafza) from 2005 to 2015
          • Instrumental in creation of Dubai Logistics
            Corridor and oversaw EZW’s expansion with
            development of international logistics parks
            in UAE, Europe, India, USA and Africa




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          Governance


          Senior Management Team
          The Senior Management Team consists of:




          MR PRASANTH MANGHAT                     MR HANI BUTTIKHI                        PRASHANTH SHENOY                       DR CHANDRAKUMARI R. SHETTY
          Chief Executive Officer                 Chief Investment Officer                Chief Financial Officer                Group Medical Director
          & Executive Director                    and Executive Director                  Relevant Experience:                   Relevant Experience:
          Nationality: Indian                     Nationality: British                    • Appointed CFO in August 2017,        • Over 40 years’ experience
          Appointed as Director: 26 June 2014     Appointed as Director: July 2017          having been appointed Deputy           with NMC Health and a pioneer
                                                                                            CFO in 2016                            in developing the private
          Relevant Experience:                    Relevant Experience:                    • He has played an instrumental
          • Over 20 years’ experience             • Served as Head of Syndicate                                                    healthcare sector in the UAE
                                                                                            role in NMCs acquisition of          • Instrumental in establishing
            in accounting, corporate                at SHUAA, a leading financial           Al Zahra Hospital Sharjah (class 1
            finance, treasury and banking,          services firm between 2006                                                     Centres of Excellence in various
                                                                                            transaction on the LSE) and has        NMC facilities
            including 15 years’ in NMC              & 2014                                  been spearheading fund raising
            related businesses                    • Oversaw the largest IPO in the                                               • Chairs a number of NMC
                                                                                            and equity placing activities for      business committees covering
          • Chief Financial Officer of NMC          UAE worth an estimated four             the group
            Health 2011-2014                        billion US$, as well as the NMC                                                Governance, Infection Control,
                                                                                          • 18 years’ worth of experience          Patient Rights, Quality and
          • Spearheaded NMC’s successful            Health IPO.                             across various industries,
            IPO on the London Stock               • Served as a Chief Investment                                                   Facility Management
                                                                                            although predominantly in            • Supervises NMC Healthcare’s
            Exchange in April 2012                  Officer at Centurion Partners           pharmaceuticals & healthcare
          • Acknowledged and recognised             between 2014 and 2017.                                                         diversified multi-cultural
                                                                                          • Rounded experience in                  workforce
            as a healthcare sector thought-       • Is on the Board of Directors            corporate finance, managing
            leader, participating in many           at 3 other companies                    business collaborations/
            global events and forums.                                                       overseas subsidiaries, treasury,
          • Chartered Accountant                                                            foreign exchange risk
                                                                                            management, business
                                                                                            strategy, preparing business
                                                                                            plans and evaluation of
                                                                                            investment opportunities
                                                                                          • Chartered Accountant




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          MICHAEL BRENDEN DAVIS                   NIRMAN SHETTY                              SIMON WATKINS
          Chief Operating Officer – Healthcare    Chief Operating Officer – Distribution     Group Company Secretary
          Relevant Experience:                    Relevant Experience:                       Relevant Experience:
          • Has 30 years of acute and             • Nirman spearheads NMC’s                  • Joined NMC in May 2012 shortly
            post-acute care experience              distribution business “NMC                 after the Group’s IPO
            within large, publicly listed           Trading”, exclusively distributing       • Responsible for Group’s listing
            hospital systems in the US              for Nivea (Beiersdorf), Pfizer, Nestle     obligations and all governance
          • Held a number of corporate              & Wyeth Infant Nutrition, Unilever,        matters, assisting the Chairman
            positions including Chief Clinical      Sanofi to name just a few.                 with ensuring effective and
            Officer, with operational oversight   • Responsible for 1700 employees             appropriate Board processes
            of 36 long-term acute care and          within the NMC Trading bracket           • Nearly 30 years of experience as
            inpatient rehabilitation hospitals    • Previously within NMC, Niman               a Company Secretary in large
            across the United States, as well       was President of Corporate                 and medium sized UK public
            as Market CEO for Kindred               Affairs, responsible for                   companies across a number
            Healthcare, one of the largest          transforming the information               of sectors
            healthcare providers in                 technology, customer service             • Significant experience within
            North America                           and sales and marketing                    Group’s focussed on strategic
          • Post moving to the UAE in 2013          functions for NMC Healthcare. As           and acquisitive growth
            he was the CEO of Provita               UAE’s largest private healthcare         • Previous experience includes
            International Medical Center, the       provider, Nirman’s responsibility          Deputy Company Secretary
            first provider of long-term acute       was to ensure that key                     of Rank Group plc and Group
            care in the UAE                         components of the                          Company Secretary of
          • He has played an integral role in       infrastructure that supports               lastminute.com
            NMC’s entry into the KSA market         NMC’s clinicians were in place           • Qualified as a Chartered
                                                    and constantly improving.                  Secretary in the UK in 1987
                                                  • Previous senior managerial
                                                    jobs were at Lodha Developers
                                                    and Microsoft




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          Governance


          Corporate Governance Report


          Governance foreword
          In this Corporate Governance Report, the Board sets out its governance structures and processes and discusses some of the
          Governance areas that the Board has focussed on in the last 12 months. These include:
          • An externally facilitated Board Evaluation;
          • A change to Board Committees to refresh their membership;
          • A review of the provisions of the new version of the UK Corporate Governance Code effective for reporting periods on or after
              1 January 2019 and the early implementation of some aspects of that Code;
          • The review and updating of the Group’s ethical policies and Whistleblowing procedures and adoption of a new Modern
              Slavery Policy.

          The Board will continue to review and develop its governance processes as the Group evolves, not simply to “tick a governance box”
          but to ensure that they remain appropriate to the NMC Group and the management of the Group for shareholders on an ongoing basis.


          MR H. J. MARK TOMPKINS                                       DR B. R. SHETTY
          Independent Non-Executive Joint Chairman                     Non-Executive Joint Chairman

          Introduction
          The Board is responsible for, and committed to, ensuring that procedures are in place so that good standards of corporate
          governance are operated at all levels in the Group. In this Corporate Governance Report we review ourselves in accordance
          with the guidance and principles set out in the UK Corporate Governance Code published by the Financial Reporting Council (FRC)
          in April 2016 (the “Code”). The Code can be found on the Financial Reporting Council website, frc.org.uk.

          The Board, supported by its Committees and the Senior Management team, have in place a governance and control environment
          which they believe are both appropriate for the NMC Group and consistent with the standards which would be expected of a FTSE
          100 Company listed on the Premium Segment of the London Stock Exchange. The Board ensures that governance processes are
          documented and implemented and, where appropriate, continue to be improved.

          The Board has reviewed the Company’s compliance against the provisions of the Code and believes that the Company was
          compliant with the provisions of the Code for the 2018 Financial Year.

          This Governance section describes how the Board has applied Corporate Governance principles during the 2018 financial year.

          The Company operates within a traditional governance framework:




                                                                      Joint
                                                                    Chairmen




                                                                     Board




                                                                                                               Senior
                                                     Group
                 CEO                                                                Board                   Independent
                                                    Company
                                                                                  Committees               Non-Executive
                                                    Secretary
                                                                                                               Director




               Senior
            Management
               Team




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          The roles and responsibilities of each of the individuals and groups above, and their role in the overall governance framework, are
          set out below.

          The Board
          The role of the Board
          The Board is responsible for the overall conduct of the Group’s business and:
          • for the long term success of the Company ensuring that it meets its responsibilities towards all stakeholders;
          • demonstrating leadership and focussing on matters that affect shareholder value;
          • determining the strategic direction of the Group; and
          • for ensuring the effectiveness of, and reporting on, the risks facing the Group and the systems of governance and internal
            control in place in the Group.

          The Board seeks at all times to ensure that there is an appropriate balance between short term and long term considerations
          and objectives of the Group.

          The Board has the powers and duties as set out in the Company’s Articles of Association.

          The Company has agreed a formal schedule of matters reserved for the Board including:
          • approval of strategic plans;
          • approval of major capital projects, acquisitions and divestments;
          • approval of long term financing plans;
          • setting the annual budget;
          • risk management and internal control systems and processes to ensure that the Group is managed appropriately; and
          • approving the half-year and annual results and financial statements.

          Specific responsibilities are delegated to Board Committees, details of which are set out on pages 47 to 56 or to the Chief Executive
          Officer who is responsible for delivering the Company’s strategic objectives.

          Board composition and independence
          The Company has controlling shareholders and therefore ensures that it keeps under review the independence of individual
          Directors and the Board as a whole. The Executive Directors and any Non-Executive Directors representing the interests of the
          Company’s controlling shareholders are not considered to be independent by the Board.

          The Board of the Company currently comprises ten directors, the majority of whom have served on the Board for six years or less:
          • the Independent Non-Executive Joint Chairman
          • the Non-Executive Joint Chairman
          • three Executive Directors
          • five Independent Non-Executive Directors
          • one Non-Independent Non-Executive Director


          Executive/Non-Executive                                      Tenure of Non-Executive Directors

                                                                                                                         5 Years


          3
          Executive
                                                    7
                                                    Non-Executive
                                                                                                                         7 Years

                                                                                                                         6 Years

          30%                                       70%                                                                  > 7 Years


                                                                          43%        29% 14% 14%

          Jonathan Bomford is our Senior Independent Director having joined the NMC Board in June 2013. In 2015 he was invited to join the
          Board of Travelex, a private company owned by one of our principal shareholders, Dr B. R Shetty. He was invited to join the Travelex
          Board to bring his independent outlook, governance experience and professional approach and advice to that board. Mr Bomford
          has no other interest in Travelex. Mr Bomford has advised that his role on the Travelex Board is coming to a conclusion and
          he anticipates he will resign from the Travelex Board by 31 March 2019. This cross directorship has been reviewed regularly and,
          with the background summarised above, the Board consider that such a position does not affect Mr Bomford’s independence.




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          Governance


          Corporate Governance Report continued


          The Board continued
          Board composition and independence continued
          The Board currently has three Executive Directors and seven Non-Executive Directors. In relation to the Non-Executive Directors,
          both Dr B. R. Shetty and Mr Abdulrahman Basaddiq were appointed as representatives of the Principal Shareholders under the
          terms of the Relationship Agreement between the Shareholders and the Company, and are therefore not Independent. The
          Board has considered the independence of the remaining five Non-Executive Directors and consider them to be Independent.

          The Board therefore considers that it is independent.

          The Senior Independent Director is Jonathan Bomford, who is available to shareholders should they have any concerns that they
          do not wish to raise with the Company or either of the Joint Chairmen directly. The Senior Independent Director can be contacted
          through the UK corporate office, and registered office, of the Company.

          Board Diversity
          The Board considers that the extensive and diverse business, cultural and operational experience of all the Directors, both
          Independent and non-Independent, ensures a good balance in all aspects of Group decision making and control. The above
          attributes also enable the Board to take account of diverse and independent judgement to bear on key issues of:
          • strategy, including constructively challenging the strategic direction of the Group;
          • the consideration of acquisition proposals and long term financing of the Group’s growth strategy;
          • scrutinising and challenging the performance of the Group;
          • assessing risk and controls operating within the Group and in its decision making; and
          • standards of conduct and governance and other matters presented to the Board.

          Therefore the Board is structured to ensure that:
          • an appropriate cultural and ethnic mix is in place considering the Company’s listing in the UK and its diversified operations,
            the vast majority of which are in the GCC, as well as global drivers and practice in healthcare related services;
          • the conclusions of the Davis Report on Women on Boards, and in particular the benefits of male and female representation
            on the Board, are taken into account; and
          • the individual skills and experience that Directors bring to the Board are well balanced.

          The Board will continue to consider and balance the wide range of different attributes required by the Board when considering
          future Board appointments. These attributes include appropriate skills, geographic and business sector experience, gender and
          cultural balance.

          Board diversity as at the date of this report is as follows:


          Gender of Board                                                Nationalities of the Board

                                                                                                                       UK – 4

                                                                                                                       UAE – 3
          Male                                        Female
                                                                                                                       Indian – 2

          80%                                         20%                                                              Kenyan – 1
                                                                           40%       30% 20% 10%

          Similar practices to ensure a diverse employee base are also operated within the Group’s businesses and the diversity
          of employees in the Group is summarised in the Corporate Social Responsibility report on pages 26 to 33.




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          Key roles and responsibilities in the governance structure
          The roles of the Chairmen and Chief Executive Officer are separate.

          Independent Non-Executive Joint Chairman
          The Independent Non-Executive Joint Chairman was appointed to the Board in March 2012 in anticipation of the Company’s IPO.
          He was independent at the time of his appointment and is considered to be independent by the Board. Alongside his Co-chair, the
          Independent Non-Executive Joint Chairman is responsible for the proper functioning of the Company’s Board of directors including:
          • the effective operation and governance of the Board
          • setting the agenda and coordinating the style and tone of Board discussions

          The Independent Non-Executive Joint Chairman takes the lead in chairing board meetings.

          Non-Executive Joint Chairman
          The Non-Executive Joint Chairman previously held the positions of CEO and Executive Vice Chairman of the Company. His wealth
          of experience, his deep knowledge of the business and the management team, as well as his unrivalled contacts in the sector and
          region built over forty years continue to be invaluable to the Group. His current role enables him to continue to be available to guide
          the Board and guide and mentor management as required as we continue to grow the business and deliver shareholder value.

          Chief Executive Officer
          The CEO is responsible for identifying, with the Senior Management Team, opportunities that are deemed appropriate and in line
          with the Board’s strategic objectives. He is also responsible for delivering the key strategic objectives set by the Board. The Chief
          Executive Officer is assisted in this task by his Senior Management Team who meet regularly to discuss the performance of the
          business, new development opportunities as well as other material matters arising within the business.

          Senior Independent Director
          The Senior Independent Director acts as a sounding board for the Joint Chairmen and serves as an intermediary for the other
          Directors as required. The Senior Independent Director is available to shareholders if they have concerns which they have not
          managed to resolve through the normal channels of the Joint Chairmen or the Executive Directors, or who feel that such contact
          is inappropriate for the concerns that they may have.

          The biography of each individual holding the above positions is set out on pages 38 to 39.

          Board meetings
          The Group Company Secretary supports the Joint Chairmen in finalising an agenda for each Board meeting and ensuring that
          appropriate papers are circulated in a timely manner in advance of each Board and Board Committee meeting to ensure that
          fully informed decisions can be reached.

          Board focus in 2018
          Matters considered at all Board Meetings include:
          • Operational and financial performance, competitive and regulatory updates through management reports
          • Potential acquisition or organic growth opportunities being considered in pursuance of the Group’s growth strategy
          • Other development opportunities
          • Board Committee updates
          • Risk and risk management either directly or indirectly whilst discussing matters considered by the Board

          During the course of the 2018 financial year the Board has also considered and/or received presentations on other matters including:
          • An overview of the extended Group structure and steps taken to widen the breadth of management expertise across the Group;
          • Specific market presentations in relation to either both markets in which the Group currently operates and also potential future
            markets into which the Group may expand;
          • Long term acquisition and working capital financing;
          • The key competitive and regulatory environment drivers in the Group’s key markets;
          • The Group’s half-year and full-year results;
          • The proposed operating budget for the following financial year;
          • The Group’s strategic risks register and consideration of any changes to key risks, controls and mitigations; and
          • The new provisions of the UK Corporate Governance Code updated in 2018.

          Board attendance in the 2018 financial year
          During the period under review, the Board met, as scheduled, on five occasions as well as other ad-hoc meetings, normally called
          at very short notice, on specific matters requiring board approval or consideration. Scheduled periodic Board Meetings are normally
          split, where possible, between London and Abu Dhabi.




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          Governance


          Corporate Governance Report continued


          Board meetings continued
          Board attendance in the 2018 financial year continued
          The attendance of the Directors at each of the scheduled Board meetings during the period is set out in the table below.
          Board meeting attendance 2018                                                                                           Attended/ Scheduled

          H.J. Mark Tompkins                                                                                                                     5/5
          Dr B.R. Shetty                                                                                                                         5/5
          Mr Khalifa Bin Butti                                                                                                                   5/5
          Mr Prasanth Manghat                                                                                                                    5/5
          Mr Hani Buttikhi                                                                                                                       5/5
          Dr Ayesha Abdullah                                                                                                                     5/5
          Mr Abdulrahman Basaddiq                                                                                                                5/5
          Mr Jonathan Bomford                                                                                                                    5/5
          Lord Clanwilliam                                                                                                                       5/5
          Salma Hareb                                                                                                                            5/5
          Dr Nandini Tandon                                                                                                 4/5


          Board effectiveness
          Director Induction
          On appointment, directors have the benefit of an induction programme undertaken during the first few months of their tenure
          as a director. Each induction programme covers a number of different areas including:
          • briefings and presentations from management to understand the business operations and financial drivers
          • their legal and regulatory responsibilities as directors and the governance environment in which the Company operates
          • opportunities to visit the Group’s key facilities and new capital development project locations
          • meetings with the Company’s key advisors

          Board information and professional development
          The Directors maintain an appropriate dialogue amongst themselves and with senior management, which ensures that Non-
          Executive Directors are kept up to date with major developments in the Group’s business.

          Non-Executive Directors meet with management and undertake visits to operational facilities as required in order to further
          understand the way the business operates and any change within the business. The Board had presentations from management
          during the year in relation to the Group’s more material acquisitions and financing arrangements, as well as market conditions
          and drivers within the Group’s key and developing markets. Directors also receive through Board and Board Committee meetings,
          as well as ongoing communications during the year, updates in relation to other key areas such as changes to the governance
          requirements and financial reporting as they apply to UK listed companies.

          As part of their overall training and development needs, some non-executive directors have attended externally provided
          seminars and discussion forums relating to their general responsibilities as Directors or areas of specific responsibility, in particular
          in relation to the Board Committees on which they serve. Such development opportunities are made available to all Directors
          on an ongoing basis.

          Board evaluation
          An externally-facilitated Board evaluation was undertaken by Prism Boardroom during 2018. Prism Boardroom has no other
          connection with the Company. The purpose of the Board evaluation was to focus on the effectiveness of both the Board and
          its Committees and to provide assurance that Board members, individually and collectively, operate in the interests of all key
          stakeholders. As the Company has Controlling Shareholders, the effectiveness of the relationship between the Independent
          and the Non-Independent members of the Board was also a point of focus for the evaluation.

          The scope of the 2018 evaluation was determined following a review by Prism Boardroom of Board and Board Committee
          papers and included both one-to-one interviews with Board members and observation of the December 2018 Board meeting.

          The evaluation found that:
          • The Board’s processes and relationships are aligned to the success of the Company;
          • The Board does an effective job at bringing potentially different perspectives to bear on its decision making in a collaborative
            way; and
          • The Board Committees are well regarded.

          A number of recommendations were made which the Board will be considering, although it is noted that none of these
          are material. The conclusion of the evaluation report is that “ the Board is operating effectively and healthily ”.




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          Re-election of directors
          All of the directors of the Company submit themselves for re-election at the annual general meeting of the Company to be
          held on 20 June 2018. Each resolution for re-election or election of a retiring director will be proposed as a separate resolution.
          The Board is satisfied that the contribution made by each director, and the Board as a whole, to board deliberations continues
          to be appropriate and effective to ensure good stewardship of the Group on behalf of the shareholders of the Company and
          believe that shareholders should support the re-election of each Director of the Company at the 2019 annual general meeting.

          Other Board disclosures
          Conflicts of interest
          The Board are aware that some Directors have interests in other businesses in which they have invested. Any conflicts of interest
          and related party transactions that may arise are monitored with:
          • Each of the Directors are asked to confirm that they have no other interests which would conflict them for the purposes of any
            item to be discussed at the meeting; where such conflict is reported, the respective Director is not permitted to take part in the
            consideration of that matter by the Board;
          • Each Director discloses to the Board any related party transactions in which they are connected, and such transactions are
            reported in the Group’s financial statements.

          Whilst Directors on the Board have other business interests, the Board do not consider that these, nor the time commitment
          that they require, affect the ability of such Directors to undertake their role or comply with their statutory obligations.

          Independent advice
          Each of the directors is permitted to obtain independent legal advice at the Company’s expense in the performance of their
          duties as directors. This would normally be managed through the Group Company Secretary.

          All directors, and the Board as a whole, also have access to the advice and services of the Group Company Secretary who,
          under the Joint Chairmen’s direction, is responsible for ensuring that good Board procedures are followed.

          Indemnification of directors
          The Company has put in place a Directors and Officers Liability Insurance policy which provides all Board members with insurance
          cover in respect of liabilities that may arise against the Directors collectively or individually. The Directors do not benefit from any
          form of qualifying third party indemnities made by the Company.

          Board Committees
          The Board has established an Audit Committee, a Clinical Governance Committee, a Nominations Committee and a Remuneration
          Committee. The terms of reference for each committee clearly set out its authority and duties and have been approved by the
          Board. The terms of reference for each committee are available on our website at www.nmchealth.com or available from the
          Group Company Secretary.

          The composition of the Board Committees changed in Q1, 2018 and as noted in the 2017 Annual Report. The composition of each
          Committee is set out within each Committee report below.




                                                                      Board




                                                    Clinical
                Audit                                                                Remuneration                            Nominations
                                                  Governance
              Committee                                                               Committee                              Committee
                                                  Committee




                                                                                                   NMC Health plc Annual Report and Accounts 2018   47

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          Governance


          Corporate Governance Report continued


          Board Committees continued
          Audit Committee
          Overview provided by the Chair of the Audit Committee
          The 2018 financial year has been another busy year for the audit committee. As UK listed company reporting and governance
          requirements continually evolve, particularly this year with the implementation of new accounting standards, and as the Group
          grows, both management and the audit committee continue to focus on finance, governance, risk and control matters across
          the Group.

          This report sets out the work of the Committee, significant matters addressed by the Committee during the year and the
          responsibilities of, and work undertaken by, the external and internal auditors. In addition, the Board asks the Audit Committee
          to review various matters in relation to risk and internal control which, during a year of significant strategic activity and integration,
          has been a significant aspect of the Board and Audit Committee focus also.


          LORD CLANWILLIAM


          Membership and attendance
          The Audit Committee consisted entirely of independent non-executive directors during the year under review.

          During the 2018 financial year, the following served as members of the Committee:

          Chairman:                             Lord Clanwilliam (since 6 March 2018)
          Committee members:                    Jonathan Bomford (Chairman until 6 March 2018 and continuing member for the whole of FY2018)
                                                Dr Nandini Tandon
                                                Dr Ayesha Abdullah (until 6 March 2018)

          Note: subsequent to 31 December 2018, Dr Nandini Tandon ceased to be a member of the Committee on 8 February 2019 upon her resignation from the Board.


          Lord Clanwilliam was appointed as Chairman of the Committee on 6 March 2018. Lord Clanwilliam’s relevant experience includes
          being the Chair of another FTSE100 Company Audit Committee and a member of NMC’s Audit Committee between 2012 and 2014.

          During the 2018 financial year, the Committee’s financial expert was Mr Jonathan Bomford. Mr Bomford is a Chartered Accountant
          and his brief biographical details and experience are set out on page 38 of the annual report.

          The Audit Committee met four times during the year. The meetings are scheduled to align with the Group’s reporting timetable
          with planning meetings in advance of both the half-year review and full-year audit, and approving meetings shortly in advance
          of the announcement of the Group’s half-year and full-year results.
          Audit Committee attendance                                                                                                          Attended /Scheduled

          Dr Nandini Tandon                                                                                                        3/4
          Dr Ayesha Abdullah                                                  1/1
          Mr Jonathan Bomford                                                                                                                                4/4
          Lord Clanwilliam                                                                                                        3/3


          Meetings are normally attended by the Chief Executive Officer, the Chief Financial Officer and Deputy Financial Officer.
          Other Non-Executive Directors also attend meetings. The Group Company Secretary acts as Secretary to the Committee.
          The Committee also meets separately with the external auditors and management with the other parties not present.




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          Key role and responsibilities
          The key role of the Committee is to ensure the integrity of published financial reports; compliance with applicable legal and
          regulatory regulations in the group areas of activity; effectiveness of internal controls and assessing the independence and
          expertise of the external and internal auditors and assessing their effectiveness and performance in the year. Risk management
          is dealt with by the board and the Audit Committee reports to the board their assessment of such matters.

          During the year the Audit Committee assisted the Board in:
          • discharging its responsibilities with regard to financial reporting, external and internal audits and controls;
          • reviewing the Company’s financial results announcements, Annual Report and audited financial statements,
            including review of the long-term viability and going concern assessments;
          • monitoring the independence of, and extent of the non-audit work undertaken by, the external auditors;
          • making recommendations to the Board on the appointment of external auditors and the level of their remuneration;
          • reviewing the effectiveness of the Company’s internal audit activities and internal policies;
          • overseeing the Group’s compliance processes; and
          • oversight of the Group’s internal controls and risk management systems although the Board retains control over these matters.

          Consideration of principal risks and the risk management process in place across the Group is a matter retained for discussion and
          review by the Board. The Audit Committee is required to report regularly to the Board of Directors in relation to its findings on the
          above and the discussions at each meeting. The ultimate responsibility for reviewing and approving the Company’s Annual Report
          and audited financial statements and the half yearly reports remains with the Directors of the Company.

          Main activities of the Committee during the year
          During the year, the Committee has focussed significantly on areas relating to the growth strategy of the Group, including both
          acquisition accounting and the resulting effect of the changing IT and internal control environment across the Group, as well
          as the implementation of new accounting standards. Where the Committee feels that it requires additional knowledge and
          advice when considering complex accounting matters, the Committee uses independent external advisers. During the year
          it received such reports and advice in relation to the following matters:
          • The accounting for, and reporting of, Company’s finance and loan facilities;
          • The implications of the implementation of IFRS 16 (Accounting for Leases); and
          • Accounting for Goodwill and acquired asset valuations.

          The main activities on which the Committee focuses each year, being the Committee’s consideration, and approval, of the Interim
          Results and the Annual Report, remains unchanged. The wider focus and additional issues discussed by the Audit Committee
          during the year included:

          Revenue Recognition
          In addition to reviewing the consistency of revenue recognition policies across the Group, particularly to ensure that the revenue
          recognition policies across the Group’s acquired entities is appropriate, the implementation of IFRS 15 has been reviewed by the
          Committee and management to ensure appropriate revenue recognition practices and policies are in place.

          Acquisition Accounting
          There are a number of aspects in relation to the Group’s acquisition strategy which had an impact on accounting and audit
          matters during 2018. These included approving the appointment of financial experts independent of the Group auditors to assess
          the value of goodwill for acquisitions, accounting for goodwill and specifically work on the purchase price allocation for transactions,
          including the identification of intangible assets, assessing the accounting policies within each business for consistency with NMC
          accounting policies.

          Accounting for new loans and financing arrangements
          Given the focus on a number of long term financing transactions during year, the audit committee has been concerned
          to ensure that all new group financing arrangements are dealt with appropriately in the Group’s financial statements.

          Development of risk management and internal control environment
          The Committee reviewed work being undertaken by management in relation to the further development of the Group’s risk
          management and internal control environment as part of the Group’s Integration and business transformation programs.

          Internal audit
          Internal Audit Reports are presented at Committee meetings twice a year with other updates from the Internal Auditors
          as required. During the 2018 financial year, Internal Audit reviews were commenced in Oman and the Committee reviewed
          the results of those reports.




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          Governance


          Corporate Governance Report continued


          Board Committees continued
          Audit Committee continued
          Main activities of the Committee during the year continued
          IFRS implementation
          During the year, and in the previous financial year, the committee reviewed and considered the required accounting changes
          and impact that the implementation of IFRS 9 and IFRS 15 has on the Group’s financial statements, and discussed the accounting
          policies related thereto. The Committee has also received initial reviews in relation to the impact of IFRS 16 which is effective for
          accounting periods commencing on or after 1 January 2019.

          Fair balanced and understandable assessment
          The Committee advises the Board on whether the Annual Report and Financial Statements, taken as a whole, are fair, balanced
          and understandable and provide the necessary information to assess the Company’s performance, business model and strategy.
          Having reviewed the processes undertaken, the Committee concluded that the disclosures, and the processes and controls
          underlying their production, were appropriate and recommended to the Board that the Annual Report and Financial Statements
          are fair, balanced and understandable.

          Change of Audit partner
          The Committee discussed and monitored the impending change of audit partner and approved the new lead audit partner
          appointed in relation to the 2019 financial year.

          External audit and auditor independence
          External Audit effectiveness
          The Committee believes that the effectiveness of the external audit is dependent on the identification and consideration of key
          risks by the Committee, management and, as part of their audit process, by the auditors during the financial year under review.
          EY produces and discusses with the Committee a detailed audit plan identifying these key risks, the focus of audit procedures
          and the work to be done to test management’s assumptions and accounting treatment in these areas.

          The Committee meets separately with the External Auditors to ensure that an independent dialogue is maintained in relation
          to monitoring key business and financial risks and to ensure that management have not restricted the scope of their audit.
          Audit Committee members also meet with the lead audit partner on a number of occasions during the year outside the formality
          of Audit Committee meetings.

          The Committee did not commission an independent review of the effectiveness of the external audit during the year. However
          the effectiveness of the Group Audit was discussed and considered, by the Committee, management and, as part of their audit
          process, by the auditors.

          Auditor fees and appointment
          EY were appointed as auditor to the Company at the time of the Company’s IPO in April 2012. The level of audit fees paid in relation
          to the 2018 financial year is set out in note 14 to the Consolidated Financial Statements.

          Non-Audit fees
          During FY2018, the level of non-audit fees amounted to a total of US$984k.

          The Audit Committee adopted a new policy in relation to the Company’s non-audit services in March 2018, ensuring that the new
          policy reflected current practice within the Group as well as relevant legislation.

          Auditor Independence
          The Audit Committee formally reviewed the independence of the Company’s auditor, EY, during the period under review.
          The review took account of the relationship between management and the audit team, the processes that EY have in place
          internally to ensure objectivity and independence and also the level of non-audit fees incurred during the year.

          As part of this review the Committee reviewed the potential threats to auditor independence as a result of:
          • auditor self-interests, being those areas where the auditor may have a financial or other interest in the Company;
          • auditor self-review, being areas where the results of non-audit services are reflected in the amounts included or disclosed
             in the financial statements;
          • management threats, which may occur if partners or employees of the auditor take decision on behalf of management; and
          • other threats, such as familiarity and intimidation.

          The Audit Committee is satisfied that in all areas sufficient safeguards were adopted by the auditor and that the independence of
          EY and of the audit engagement partner had not been compromised. There is no limitation of liability in the terms of appointment
          of the Auditor for the audit of the Company’s financial statements.




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          Change of audit partner
          In H2, 2018, EY advised the Company that the lead audit partner for EY on the audit of the Company, Victor Veger, was taking up a
          new role within EY and would therefore be stepping down as lead audit partner. It was agreed that this would take place following
          the completion of the audit of the Company for the full financial year 2018. A new audit partner, Kevin Harkin, was selected from
          a list of prospective audit partners provided by EY and will lead EY’s audit of the Company in 2019.

          Audit re-tender policy
          In accordance with the requirements set out in the September 2014 Competition and Markets Authority Order, the Audit
          Committee’s approach to audit tendering is that it currently intends to undertake a competitive tender process in relation to
          statutory audit services provided to the Group in 2020 with the chosen statutory auditor being appointed for the FY2021 audit.

          However, between now and the planned competitive tender date during which the Group is expected to grow substantially through
          execution of its organic and acquisitive growth strategy leading to transformational changes in the size and complexity of the NMC
          Group, the Audit Committee is conscious of the need to keep the provision of audit services under continual review for the benefit
          of both the Group and its Shareholders. The Audit Committee has therefore not ruled out that an earlier tender process may be
          appropriate.


          LORD CLANWILLIAM
          On behalf of the Audit Committee




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          Governance


          Corporate Governance Report continued


          Board Committees continued
          Clinical Governance Committee
          Overview provided by the Chair of the Clinical Governance Committee
          I report to you this year as Chair of the Clinical Governance Committee with good progress again having been made in relation
          to Clinical Quality matters.

          The Clinical Governance Committee provides Board oversight in the key area of Clinical Governance. The Committee seeks to
          ensure with management that the Group has an appropriate governance structures within the healthcare business and that
          clinical care continues to improve.

          Good progress has again been made during a very busy year with the majority of key patient safety and clinical care indicators
          remaining at a strong level or improving. Many clinical performance and quality improvement initiatives were implemented this
          year which will contribute clinical excellence across the Group. Following the many integration projects undertaken across the
          Group over the last 2 years, management have been reviewing, widening and increasing the experience of the Quality functions.
          The new Corporate Quality Department is expanding further on the good platform developed across the Group in prior years and
          has a goal to improve both clinical quality performance and monitoring. The Group has performed very well in patient satisfaction
          surveys and as well as other operations metrics. The use of technology platforms now in place means that the Quality functions
          across the Group are now well placed to improve standards across all businesses in the Group.


          DR AYESHA ABDULLAH


          Membership and attendance
          During the 2018 financial year, the following served as members of the Committee:

          Chair:                                         Dr Ayesha Abdullah
          Committee members:                             Dr C.R. Shetty
                                                         Mr Prasanth Manghat (since 6 March 2018)
                                                         Dr Nandini Tandon (until 6 March 2018)


          The Clinical Governance Committee met twice during 2018. In addition to the Clinical Governance Committee members,
          the Chief Operating Officer and the Vice President – Quality and Standards attended each meeting. The Group Company
          Secretary is Secretary to the Committee.
          Clinical Governance Committee attendance                                                                             Attended /Scheduled

          Dr Ayesha Abdullah                                                                                                                  2/2
          Dr C.R. Shetty                                                                                                                      2/2
          Mr Prasanth Manghat                                                                                                                 2/2


          Key role and responsibilities
          The key role of the Committee is to oversee governance structures, processes and controls in relation to Clinical matters in place
          within the Group healthcare operations. This is to ensure that the risks associated with clinical care are mitigated in the interests
          of the Company and its stakeholders.




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          Main activities of the Committee during the year
          Specific responsibilities of the Committee, and work undertaken by it during the year, include:
          • Review of clinical performance indicators;
          • Overseeing the continuing inclusion of additional group facilities in achieving JCI accreditation;
          • Reviewing the implications of new regulations and standards compliance implemented by our local health authority
            regulators; and
          • Ongoing discussion in relation to the use and benefits of IT systems and solutions for all aspects of patient care and
            information monitoring.

          Principal Management activities on clinical governance matters during the year
          2018 was a very busy year for management in relation to quality and clinical governance matters.

          Two hospitals, our Specialty hospitals in Dubai and Al Ain, were re-accredited by Joint Commission International, with excellent
          results, during the year. The Quality function will oversee a number of further re-accreditations, which take place every three
          years, during 2019. Our laboratories at NMC Royal Hospital and NMC Royal Women’s Hospital both achieved successful Lab ISO
          reaccreditation in 2018 also.

          NMC has joined the International DAISY (Foundation) Nursing Awards and four NMC nurses achieved the internationally recognised
          award of becoming a DAISY honoree.

          The Committee is delighted with the dedication and determination of management, and all of our employees, to keep up to date
          with regulatory changes and new standards, ensuring that the Group is well positioned in compliance with its requirements as
          well as offering an excellent and safe service to our patients.

          During the year, the Governance structure was enhanced with the creation of a wider Corporate Quality Team. This new team has
          already been busy in 2018 reviewing processes and standards across the Group and this will continue into 2019 with a proposed
          new NMC Clinical Quality Framework incorporating “Good Governance from the Board to the Bedside”. This new framework, working
          alongside both our Accreditation and Regulatory standards will enable enhanced monitoring and quick identification, assessment,
          mitigation and management of clinical risks as well as validate emerging trends within the businesses.

          The Committee will report on the progress of the Quality function’s aim to transform Clinical and Quality Governance across our
          businesses in the 2019 Annual Report.


          DR AYESHA ABDULLAH
          For and on behalf of the Clinical Governance Committee




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          Governance


          Corporate Governance Report continued


          Board Committees continued
          Remuneration Committee
          Membership and attendance
          The membership of the Remuneration Committee changed on 6 March 2018. The Committee now consists of four Independent
          Non-Executive Directors, one of whom is the Independent Non-Executive Joint Chairman. An Independent Non-Executive Director
          is the Chairman of the Committee.

          During the 2018 financial year, the following served as members of the Committee:

                                                            Jonathan Bomford (Chairman since 6 March 2018 and a member of the Committee
          Chairman:                                          for the whole of the 2018 financial year)
          Committee members:                                H. J. Mark Tompkins (since 6 March 2018)
                                                            Dr Ayesha Abdullah (since 6 March 2018)
                                                            Dr Nandini Tandon (since 6 March 2018)
                                                            Lord Clanwilliam (Committee Chairman and member until 6 March 2018)
                                                            Abdulrahman Basaddiq (Committee member until 6 March 2018)
                                                            Salma Hareb (Committee member until 6 March 2018)

          Note: subsequent to 31 December 2018, Dr Nandini Tandon ceased to be a member of the Committee on 8 February 2019 upon her resignation from the Board.


          The Chief Executive Officer attends Remuneration Committee meetings and the Chairman of the Committee discusses proposed
          remuneration policies with him during their formulation. No Director is present when their own remuneration is discussed.

          The Group Company Secretary acts as Secretary to the Remuneration Committee and, along with the Committee’s independent
          advisors, Deloitte, provides advice to the Committee on Corporate Governance aspects relating to remuneration matters. He also
          provides assistance to the Chairman of the Committee as required in discussions with the Remuneration Committee advisers and
          on implementation of Committee decisions. The Group Company Secretary is not present when his own remuneration is discussed.

          The Committee met four times during the financial year.

          Board meeting attendance 2018                                                                                                       Attended/ Scheduled

          Dr Ayesha Abdullah                                                                            2/2
          Dr Nandini Tandon                                                                             2/2
          Mr Mark Tompkins                                                                              2/2
          Salma Hareb                                                                                   2/2
          Mr Jonathan Bomford                                                                                                                                4/4
          Mr Abdulrahman Basaddiq                                                                       2/2
          Lord Clanwilliam                                                                              2/2




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          Key role and responsibilities
          The Remuneration Committee assists the Board in:
          • making recommendations to the Board on the Company’s Directors’ Remuneration Policy, the framework of executive
            remuneration, including the use of incentive arrangements within that framework; and
          • determining, on the Board's behalf, the entire individual remuneration packages for each Executive Director, the Chairmen
            and the Senior Management Team.

          All other recommendations must be referred to the Board for approval.

          No Committee member is permitted to participate in any discussion or decision regarding his/her own remuneration. The remuneration
          of non-executive directors is a matter for consideration by the Executive Directors, in discussion with the Chairman of the Company.

          Main activities of the Committee during the year
          The principal activities of the Committee during 2018 and the Annual Remuneration Report, are set out in the Directors’
          Remuneration report on pages 62 to 78.


          JONATHAN BOMFORD
          For and on behalf of the Remuneration Committee




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          Governance


          Corporate Governance Report continued


          Board Committees continued
          Nominations Committee
          The Nominations Committee consists of three Non-Executive Directors, two of whom are Independent Non-Executive Directors,
          one of whom holds the chairmanship of the Committee. During the 2018 financial year, the following served as members of
          the Committee:

          Chairman:                                                 H.J. Mark Tompkins
          Committee members:                                        Abdulrahman Basaddiq
                                                                    Mrs Salma Hareb (since 6 March 2018)
                                                                    Lord Clanwilliam (until 6 March 2018)


          The Nominations Committee has a role to assist the Board in:
          • reviewing and making recommendations to the Board in relation to its structure, size and composition;
          • reviewing succession planning in place for senior management and to discuss succession planning for the Board;
          • determining the appropriate skills and characteristics required of directors; identifying individuals qualified to become
            Board members and recommending such individuals to the Board;
          • recommending individuals to be considered for election as Directors at the next Annual General Meeting of the Company
            or to fill vacancies; and
          • preparing a description of the experience and capabilities required for a particular Board appointment.

          The Committee did not meet in 2018 but committee members held informal discussions in relation to the Board and Board
          Committee structure on matters of interest to the role of the Committee. The Committee would expect to meet to consider
          appropriate candidates to fill any vacancy created on the Board should such a vacancy arise or be considered appropriate given
          other skills and experience on the Board.

          The approach of the Committee, and of the Board, to the issue of diversity is set out in this Governance section on pages 30 and 44.


          MR H. J. MARK TOMPKINS
          For and on behalf of the Nominations Committee




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          Board Oversight of system of Internal Control and risk
          Overview
          Management is responsible for establishing and maintaining adequate internal controls over financial reporting, operational
          and clinical matters across the Group. The Board is responsible for reviewing such internal controls and for ensuring that they are
          effective to properly manage the Group’s businesses and to assure the identification, assessment, mitigation and management
          of risk.

          Alignment of risk assurance with business growth
          While progressing its organic and inorganic growth strategy, over the last two years the Group has dedicated significant resources
          to integrating its recently acquired facilities while consolidating the market position of its legacy facilities, mainly in the UAE. Further,
          as the risks that the Group is exposed to continue to evolve (mainly due to macro-economic uncertainly and the uncertainty
          resulting from regulatory and technological disruption in the healthcare sector) the Group is constantly re-evaluating the design
          effectiveness of key controls.

          Given the changes to the Group’s structure and the nature of the risks faced by the Group, in order to strengthen its governance and
          control structure, and to assure the Board that structures are sufficiently robust to support the growth in the Group, management
          have progressively been:
          • re-designing some of its key controls in an attempt to automate these and thereby reducing the level of manual intervention;
          • incorporating additional key internal controls into its financial, operational and clinical quality review processes;
          • implementing revisions to policies and procedures covering all aspects of the Group’s accounting policies and controls to
             ensure consistency across the Group and compliance with the requirements of the recently implemented IFRS 9 and IFRS 15;
          • taking account of the increasing influence of global standards particularly from the UK on the regulatory framework in the UAE;
          • Expanding its Quality Team, including a new Senior Vice President for Quality and other staff who are familiar with UK
             regulatory standards;
          • Reviewing and revising clinical governance including key staff, policies and procedures, systems and processes at both corporate
             and facility levels;
          • Developing frameworks to guide and support an extended scope of clinical services in the UAE and beyond and encouraging
             business integration of operations and clinical governance to align mitigation and management of risk;
          • Increasing the opportunities through clinical meetings, events, workshops and seminars to share best clinical practice across
             the Group, and utilizing the vast clinical experience the group now commands;
          • Enhancing Corporate support services, including widening the breadth of the Group HR function under a new GCC Head of
             Human Resources to manage infrastructure risks related to the Group’s workforce;
          • enhancing the Group’s Internal Audit and IT functions; and
          • updating and extending the reach of delegated authorities and decentralisation of accountability across group businesses
             through the cluster and business verticals structure the Group has implemented.

          All of these changes are essential to align good governance with large scale business growth and to continue to improve further
          the Group’s internal control framework.

          Challenges
          Acquisitions, integration and strategic alignment
          Businesses which have been acquired as part of the Group’s strategic growth plan over the last few years, all operated
          with different legacies in terms of structure, processes, systems and governance. Some of these businesses historically had a
          centralised approach to control, with the majority of the controls over all financial and operational aspects of each business resting
          with a few key individuals and, in some of the businesses, being manual in nature. We consider this to be a normal environment
          in which smaller privately-owned businesses are used to operating. Implementing change management programs to integrate
          new businesses into the group has been successful but will remain a challenge, a long-term project and a key risk for the Group
          as it continues to grow.

          Regulatory changes
          Disruption resulting from changes in the regulatory environment and in the insurance industry
          In the Middle East region, where operations of the Group are primarily based. There have been a number of significant changes
          being introduced by our various regulators e.g. the implementation of VAT in UAE and changes to healthcare regulation and
          processes amongst others. These changes have resulted in the redesign of the Group’s financial and operating processes
          and its internal control framework.

          Human Capital
          The growth of the Group and the augmentation and evolution of the organisational structure to support, guide and control this
          process, means that there is a risk that the Group’s structure and processes can sometimes expand ahead of or, out of line with,
          the culture. As the employee numbers increase and diversify, increased engagement, communication and training across the
          Group is required to control and manage risks around organisational transformation.




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          Governance


          Corporate Governance Report continued


          Board Oversight of system of Internal Control and risk continued
          Challenges continued
          IT environment
          Management recognise that the Group’s IT systems are not fully integrated and that an element of manual control procedures are
          still prevalent in few of the Groups entities. Group has grown, organically and through acquisition, together with some significant
          regulatory changes as outlined above, despite witnessing these rapid changes group continues its commitment to develop the
          integrated IT systems. Whilst this is still the case, the manual processes, supported by legacy IT systems in many of the Group’s
          businesses, continues to provide a robust level of control.

          Approach to risk
          Our approach to risk is adopted having in mind the complex and changing environment in which the Group operates which
          requires continual renewal and extension of control processes to monitor and manage risks.

          The Group operates a multi-layered approach to risk identification control and mitigation. Group’s business risks are identified
          through a bottom up process undertaken within each of the Group’s businesses. Senior Management then review these risks
          alongside the macro-economic environment within which the Group operates through a top down review process to establish
          a Strategic Risk Register.

          During 2018, the Group once again conducted a “bottom-up” exercise, with the assistance of external consultants working in
          conjunction with facility and corporate management, to evaluate and update its business risks registers. This exercise, which
          took place in addition to reviews undertaken on a case by case basis to consider risk and controls in specific entities as part of
          our internal audit program and following due diligence and acquisition of businesses into the Group, produced updated business
          risk registers and further raised awareness of risk and risk mitigation across our primary business assets. Clinica Eugin operates
          its own ongoing risk assessment and control mitigation program which assesses key risks, mitigation controls and governance
          from acquisition of a facility and continuing on an ongoing basis.

          Taking into account the results of the business risk assessments, and top-down reviews twice during the year, Senior Management
          produce the Strategic Risk register for review by the Board twice annually.

          Further details on the approach taken to assess risks, and of the Group’s strategic risks, are set out on pages 22 to 25. The internal
          controls and processes in place to mitigate business risks and the Board’s review of the effectiveness of the control environment
          are set out below.

          Controls and risk mitigation
          Management and Group structure
          During the last two financial years, the Group has taken a phased approach to increase oversight over Group businesses
          including increasing management bandwidth with increased headcount and new oversight departments in the Corporate Office,
          improving and aligning controls in acquired businesses and decentralising accountability and many processes through its cluster
          management approach.

          The overall management structure of the Group is now as follows:


                                                                                   The
                                                                                  Board




                                           Executive Management, under the CEO, divided into four principal functions




                                                                                                                Corporate
                                                                                               Clinical
                                     Finance                        Operations                                 Development
                                                                                             Governance
                                                                                                                  and IR




                                                                           Corporate Functions


                                                                    Cluster and divisional Management



                                                                          Business Management

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          Financial, operational and clinical quality controls
          Key elements of the Groups’ financial and operational controls are as follows:
          • Clearly defined matters reserved for the Board or its Committees covering;
          • Approval and review of the annual budget and long-term forecasts;
          • Group Strategy including the risks and risk mitigation in relation to the same; and
          • Capital expenditure, financial structuring and acquisition and investment decisions.
          • Formalised delegations of authority and lines of accountability as part of the Group’s “cluster management structure” provides
             a mechanism to monitor performance and operations of a manageable number of facilities in sufficient detail covering monthly
             operational and financial reporting including monthly comparison of results and against budget and forecast, and a review of
             key KPIs.
          • Oversight of business operations
             • Monthly meetings between the CEO and regional leadership to:
                – Discuss ongoing business strategy
                – Review market shifts in regulatory oversight
                – Develop action plans to mitigate any issues that could negatively impact the Group’s success
             • Monthly Operations reviews are conducted at regional and facility level to:
                – Review performance against budget
                – Discuss roadblocks to achieving targets
                – Review recruitment and retention targets
                – Manage any regulatory or clinical quality issues
                – Develop future success action plans
          • Policies, procedures and controls covering:
             • The preparation of financial statements of each subsidiary in accordance with IFRS, local tax and regulatory requirements
                (a complete audit is carried out by the auditors of significant subsidiaries for the purposes of the Group’s year-end
                financial statement);
             • The preparation of standardised monthly/daily reports in accordance with accounting policies of the Group, which are
                formalized in a Group accounting manual given to all the subsidiaries. This accounting manual is regularly updated to
                incorporate any changes to IFRS and regulation;
             • The formal process for organic and inorganic expansion projects with full assessments of potential acquisitions or other
                material investments including due diligence, financing, market studies, risk analysis, strategic benefits to the Group;
             • The Group’s mitigation plans with respect to its strategic risks, including cyber risks and protection of personal data; and
             • The Group’s long term viability and going concern basis of accounting. These are conducted using both internal resources
                and external consultants.
          • An appropriate business management and governance structures:
             • Our larger NMC healthcare hospitals facilities have a Medical Director and Head of Administration who are accountable
                for the operation of the facility. Smaller facilities are generally managed by the lead clinician.
             • Support functions such as Revenue Cycle Management, HR, IT, legal, finance and marketing, among others are provided
                by a central or cluster team.
             • Within the Healthcare division structure, a number of multidisciplinary committees are in place to monitor guidelines
                in respect of patient safety and quality, medication management, infection prevention and control, medical record
                documentation and facility management.
             • Medical Directors’ meetings to monitor clinical governance procedures.
             • The Group has a Quality Team which operates in both the Healthcare and Distribution divisions. Quarterly and annual
                Quality reports monitor performance against a range of key KPIs based on clinical quality and safety metrics.

          Therefore, all of our facilities and businesses we have an appropriate and relevant structure to provide effective and efficient
          management and clear lines of accountability of both clinical and non-clinical areas. The Senior Management Team believes
          that these divisions of responsibility at both facility and corporate levels provide a natural check and balance across all internal
          control areas.

          Independent controls – Internal Audit
          The Group largely makes use of an outsourced internal audit function which is closely aligned to the Group risk management function.

          At each significant operating facility, the effectiveness of the system of internal financial control is independently evaluated through the
          internal and external audit programmes. In addition to these audits, the effectiveness of operational procedures is examined internally
          through self-assessment processes. The results of these assurance processes are monitored by the Group’s Audit Committee.

          The Internal Auditors report directly to the Chairman of the Audit Committee and on a day to day basis works in conjunction
          with the CFO. Their reports to the Audit Committee are received and discussed at Audit Committee meetings.




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          Corporate Governance Report continued


          Board Oversight of system of Internal Control and risk continued
          Controls and risk mitigation continued
          Independent controls – Internal Audit continued
          Following the completion of each review, the internal auditors identify areas for remedial action and the required action plans are
          discussed and agreed with management. All areas requiring remedial action are highlighted as high, medium or low risk areas.
          The internal auditors present the reviews and the agreed management action plans for any remedies to the Audit Committee
          and then monitor the implementation of any required changes on behalf of the Audit Committee.

          Independent controls – Quality and Regulatory oversight
          The Board is aware that as a significant healthcare and distribution business it is subject to a range of risks related to clinical care,
          quality and product safety.

          The Healthcare division, and elements of the Distribution division, are regulated by governmental and non-governmental
          organisations. In summary:
          • Each UAE Healthcare facility is licensed by one of four regulatory bodies which exist in the UAE. The regulatory bodies monitor
             performance and clinical procedures against its regulations, key metrics and guidelines;
          • Healthcare facilities outside of the UAE are regulated by the relevant local responsible body in their relevant jurisdictions, for
             example in the UK, where there is an Independent Regulatory, the Care Quality Commission;
          • Clinica Eugin clinics are subject to local regulatory standards and laws applicable in each jurisdiction in which they operate;
          • Seven of the Group’s owned Hospitals, as well as Sheikh Khalifa Hospital in Umm al Quwain which is managed by the Group,
             and the clinical laboratory of Dr Sunny Medical Centres are accredited by Joint Commission International, an internationally
             renowned organisation monitoring clinical metrics and quality of patient care;
          • The distribution and disposal of pharmaceuticals is strictly controlled through the UAE Ministry of Health;
          • The majority of the Group’s healthcare revenue, particularly in our principal market of the UAE, results from medical insurance
             arrangements. The Group’s contractual arrangements with insurance providers include the monitoring of claims processing
             and clinical outcomes; and
          • The Group’s facilities through its legal entities in the UAE and Saudi Arabia are registered for VAT and required to comply with
             the VAT guidelines.

          The Board and its committees provide independent oversight of management’s control systems, in particular the Audit Committee
          in relation to finance related matters and the Clinical Governance Committee in relation to clinical and quality matters. The work and
          oversight of the board committees is set out on pages 47 to 56.

          Effectiveness of Internal Controls
          The Board has overall responsibility for the Group’s systems of internal control and on behalf of the Board, the Audit Committee,
          and in relation to clinical quality the Clinical Governance Committee, has been engaged in the process of ensuring that
          management have established continuous processes for identifying, evaluating and managing the risks the Group faces.

          These processes include:
          • the reporting from the Finance Department on Group performance;
          • the work of the internal auditors;
          • issues identified by the external auditors to the extent covered by their audit work; and
          • the reporting from the Quality Department in relation to clinical quality performance and patient experience.

          The Board is responsible for monitoring the ongoing effectiveness of these systems and for conducting a formal annual review
          of the effectiveness of the Group’s internal controls.

          A system of internal controls is designed to manage, rather than eliminate, the risk of failure to meet business objectives and is
          designed to provide reasonable, but not absolute, assurance against material misstatement or loss.

          In reviewing the effectiveness of the internal controls in place during the year, the Audit Committee considered, amongst other matters,
          the enhancements to the control framework, manual controls in place, the independence of the separate operating units, the delegated
          authorities, the balance of centralised and decentralised systems and the reporting process in relation to exceptional items.

          The Audit Committee have also noted the challenges faced as the acquired businesses are integrated into the Group. Such
          acquired businesses have differing levels of controls within their businesses. The Audit Committee have noted the initial primary
          and delegated authority controls which are put in place in the acquired businesses following completion as well as the roll out of
          financial and operational reporting requirements.

          The Board has reviewed the effectiveness of the Group’s systems of internal controls for the 2018 financial year, in light of the key
          elements of the Group’s internal controls outlined above. Given the additional internal controls that have been incorporated into the
          Group’s financial and operational reporting process, such that sufficient internal controls were in place to monitor the Group’s key
          risks, the Board believes, having evaluated the both the design and operating effectiveness of the internal controls and procedures,
          that these were effective during the period covered by this report. The Board also believes that the process undertaken by the
          Board and its Committees to monitor the internal control environment, accords with the guidance provided in the FRC’s Guidance
          on Risk Management, Internal Control and Related Financial and Business Reporting.


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          Shareholder engagement
          The Company is committed to communicating with shareholders and stakeholders and to be available to meet with shareholders
          who require additional explanation of any matter which is of concern to them.

          During 2018, the Company has continued to focus on its formal program of investor interaction including one-to-one meetings with
          institutional investors and attendance at investor conferences. Such meetings are attended by conducted by various members of
          the management team depending on the focus for specific meetings. The Company also held a Capital Markets Day in October
          2018 which included presentations on various aspects of the Group’s businesses and financial performance.

          Meetings were also held in January 2018 between Independent Non-Executive Directors and our larger institutional shareholders,
          to principally discuss matters connected with the remuneration of the Company’s Executive Directors.

          During the financial year ended 31 December 2018, the Company issued its 2017 audited results and its 2018 half year unaudited
          results. In addition, given the strategic acquisition and financing activities during the year, the Company kept shareholders updated
          regularly with regards to its long-term financing and its material acquisitions, and the effect that these have on the Group.

          The Joint Chairmen and Senior Independent Non-Executive Director are also available, either through contacting the Company
          Secretary or at the Company’s General Meetings, to discuss any matters within their areas of responsibility or where individuals
          do not feel it is possible to discuss these matters with management.

          Aside from direct shareholder meetings, the principal ongoing communication with shareholders will be through the publication
          of the Company’s Annual report and audited financial statements and Interim Results as well as the opportunity to question the
          Board and Committees at General Meetings. Shareholders are encouraged to attend General Meetings and if unable to do so are
          encouraged to vote by proxy.

          The Company has an investor relations section on its corporate website, www.nmchealth.com. This has been updated regularly
          with information that the Company considers relevant to its investors. Additionally, the number of analysts monitoring the
          Company and issuing notes in relation to their forecasts and expectations for the group continues to increase.

          Ethics
          Whistleblowing Policy
          A confidential whistleblowing procedure is in operation to allow employees to raise concerns of possible improprieties in relation
          to either operational or financial conduct.

          Anti-Bribery
          The Group has an Anti-Bribery and Anti-Corruption Policy as well as a Gifts and Entertainment Policy which applies to all directors
          and employees of all Group Companies. The Policies, which have been communicated to employees, includes clear statements
          setting out the Group’s Anti-Bribery measures and Anti-Corruption culture. Practical guidance has been issued in relation to specific
          circumstances considered to be most relevant to Group employees. These include guidance notes for clinical staff attending
          pharmaceutical and training and development conferences in relation to entertainment and other possible inducements, as well
          as guidance notes in relation to the receipt of free products and equipment and how such products and incentives may affect
          clinical judgement. Specific guidance has also been provided in relation to the provision of sales incentives to senior sales and
          marketing staff within our Distribution division.

          Modern Slavery Policy
          The Board approved the Group’s new Modern Slavery policy in December 2018 and subsequently issued its first Modern Slavery
          Statement. Further information in relation to the implementation of this policy is included in the Corporate Social Responsibility
          report on page 27.

          The Corporate Governance Report set out on pages 42 to 61 has been approved by the Board and is signed on its behalf by:


          H. J. MARK TOMPKINS
          Non-Executive Joint Chairman


          DR B. R. SHETTY
          Non-Executive Joint Chairman




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          Directors’ Remuneration Report 2018


          Letter from the Remuneration Committee Chairman

          Dear Shareholder,

          I am pleased to present the Directors’ Remuneration Report for 2018. I would like to take this opportunity to provide you with
          an overview of the principal work of the Committee during 2018 and to provide the context in which decisions were taken
          by the Committee.

          The Committee believe that the management team have again excelled in delivering a further period of continuing growth
          for the Company during a period of significant internal transformation and integration.

          Our strategy continues to be centred on increasing capacity, growing our capabilities and expanding our geographic reach, and
          continues to deliver significant and sustainable long-term growth. In 2018, we delivered against these strategic objectives through
          the expansion of our market position beyond the UAE. The number of patients attending group facilities in FY2018 grew to 7.5m.
          The Group’s expansion has also resulted in the number of countries in which we now operate increasing to 19.

          In addition, management have, alongside seeking expansion opportunities, focused significantly on operational and financial
          structures in order that the Company continues to improve the operational efficiency of our facilities, extracting additional value
          out of both our acquired and legacy assets and therefore maintaining a very disciplined approach to EBITDA growth.

          In this context the Remuneration Committee has worked over 2018 to ensure that remuneration policies and practices support
          the Company’s strategy and promote long-term sustainable success.

          Accordingly, several key decisions were taken during the year, as summarised below.

          Key remuneration decisions
          Maintenance of an approach of restraint over 2018, continuing that of 2017, in making no adjustment to Directors’ remuneration.
          Adjustment upwards of the LTIP targets governing vesting for 2019 awards.
          Introduction of an additional underpin for 2019 LTIP awards, requiring a conversion of EBITDA to net income hurdle to be met.
          Inclusion of more transparent disclosure in respect of adjustments made for material corporate events, with the aim being STIP
            and LTIP targets will be no easier or stretching by virtue of corporate activity.
          Introduction of a holding period under the LTIP.
          Introduction of more definitive malus and clawback provisions.


          These points are discussed further in this year’s Remuneration Report and I anticipate they will be viewed positively by shareholders.

          Corporate Governance
          As noted in our Corporate Governance Report, the FRC published a revised UK Corporate Governance Code in 2018 (new Code)
          which applies to NMC with effect from our 2019 financial year.

          The Committee has considered the new Code and determined during 2018 how the new provisions will be implemented. Apart from
          influencing the key remuneration decisions outlined, in response to the new Code we have made some changes as well as identified
          areas for further development. These include:
          • While the Committee has always had oversight, it now formally approves remuneration for the executive committee, in addition
              to the Executive Directors.
          • We have reviewed our incentive award documentation to ensure the Committee has full discretion to adjust pay outcomes
              where the formulaic outcome may not be in shareholders’ interests.
          • Implemented a holding period to apply for 2019 LTIP awards onwards.
          • In reviewing Executive Director remuneration, the Committee initiated a process for ensuring it will have access to broader
              information around pay policies and practices across the Company.

          Given the acquisition of Aspen Healthcare, NMC will comply with the requirement to publish information on the pay ratio of the
          Chief Executive to UK employees in our 2019 annual report.




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          2018 Performance
          2018 was another year of strong performance. We successfully delivered EBITDA of US$487.4m, a growth of 37.9%, on a revenue
          base that grew 28.3% over 2017 to US$2.06bn. EBITDA margin also improved by 170bps to 23.7% and Adjusted Net Profit by 19.9% from
          US$236.6m to US$283.6m. Quality measures are also key to a healthcare business, and we are proud that we have 7 JCI accredited
          hospitals across the Group and these facilities continue to achieve excellent ratings against JCI performance measures.

          Executive Remuneration in 2018 and 2019
          Notwithstanding the Company’s performance, the Committee is acutely conscious of how executive remuneration remains under
          close scrutiny in the public arena and we therefore carefully consider how our executives are paid. While our performance justifies
          the incentive outcomes detailed below, we believe the Committee continues to exercise restraint and apply good corporate
          governance in its remuneration decisions which is evidenced in the following ways:

          CEO Salary Remains Unchanged
          No change to the Chief Executive Officer’s base salary (or other Executive Directors). Prasanth Manghat assumed the role of
          Chief Executive Officer in March of 2017 and, along with the rest of the management team, has made an outstanding contribution
          to the Company’s success. Despite this promotion and associated increase in his role scope, the Committee has not made any
          adjustment to his fixed or variable remuneration since 1 January 2017. As a result his base salary continues to be less than that
          paid to the previous CEO in 2016.

          Benefit levels
          The majority of employees and Senior Management that the Group employs are ex-patriate employees living and working away
          from their home country. Remuneration packages for employees, in our primary markets are therefore structured accordingly.
          The Executive Directors have similar benefit arrangements available to them, but have chosen not to take the primary benefit
          being an accommodation allowance. The Committee is also aware that, unlike the situation in many other companies, the
          Company does not provide pension benefits to its employees or its Executive Directors. The level of benefits paid to the Executive
          Directors is therefore modest in comparison to typical UK practice.

          STIP and LTIP adjustments
          The Committee is aware from its consultation with shareholders of the concern for greater transparency in adjustments to
          STIP and LTIP targets to take account of material events. The Committee accepts that investors will expect targets to be adjusted
          in the event of a material acquisition which was not envisaged or implied in the original targets. They would expect either the
          targets to be increased to reflect the additional contribution or that additional contribution to be adjusted out of the metric used
          for performance assessment.

          The application of this policy has led to two adjustments in the last year in relation to the 2018 STIP which are disclosed within this
          Directors’ Remuneration Report. In addition, adjustments made to existing LTIP awards and the adjustment made in relation to the
          2016 LTIP awards which vest in March 2019, are also set out within this Report.

          2018 STIP achievement
          Given the excellent performance of the Group, further details of which are provided in the business overview and financial review
          sections on pages 13 and 19 of this annual report, and taking account of the adjustments to targets made by the Committee
          during the year, the Remuneration Committee has approved the maximum entitlement of bonus opportunity for each of the
          Executive Directors.

          We have provided a detailed summary of the measures and targets associated with these STIP outcomes on pages 68 to 69.

          2016 LTIP Award vesting
          In respect of vesting under the 2016 LTIP, performance was assessed against three-year relative TSR and three-year compound
          annual growth in EPS. Our TSR for this period was 296.4% (significantly ahead of the peer group median and upper quartile of 11.8%
          and 41.5% respectively) with compound annual growth in EPS of 15.81% following significant adjustment for acquisitions. This strong
          level of performance has, unsurprisingly, resulted in 100% of the 2016 LTIP awards vesting.




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          Directors’ Remuneration Report 2018 continued


          Letter from the Remuneration Committee Chairman continued
          Executive Remuneration in 2018 and 2019 continued
          2019 LTIP awards
          Having reviewed and amended LTIP measures in 2018 following shareholder consultation in early 2018, the Committee has
          decided not to amend for 2019 the measures it uses to incentivise management over the longer term through the Company’s
          LTIP arrangements. However, the Committee is making the following changes to the LTIP awards it makes for 2019:
          • Increase in the EBITDA growth performance requirement for 2019 LTIP awards from 5% – 15% to 10% to 18% (CAGR) at threshold
             and maximum respectively;
          • Introduction of an additional underpin capturing the conversion of EBITDA to net income, to provide shareholders with an
             aggregate view on earnings, cash flow, and capital efficiency. Failure to meet the underpin will reduce the proportion of the
             award vesting by up to 50%; and
          • Addition of a 2 year holding period which follows the performance period during which LTIP awards may not be exercised by
             participants. In addition, any leavers will normally be subject to the holding period, effectively applying a post-cessation guideline.

          The Committee believes that these changes, alongside base salaries and incentive opportunities remaining unchanged,
          is evidence of sound governance principles and restraint in the application of the remuneration policy at a time when good
          performance and growth continues.

          Shareholder Feedback
          The Committee engaged with key shareholders over the course of 2018. This process, along with the new Code, influenced the
          Committee’s decision making as outlined above.

          The Company’s existing Remuneration Policy was approved by shareholders on 29 December 2016 and therefore a new
          Remuneration Policy will be put before shareholders by 29 December 2019. The Company intends to consult with larger shareholders
          in relation to the new Policy in H2, 2019 prior to submitting a new Policy for approval by shareholders before the end of 2019.

          For this reason, the Committee is not planning any shareholder consultation in advance of the 2019 AGM. I am, of course, available
          to discuss any Remuneration matters with shareholders at any time should they so wish.

          As we look to 2019, and beyond, we remain committed to delivering continued long-term sustainable growth. We look forward to
          shareholders’ support by voting in favour of the Directors’ Remuneration Report at the 2019 AGM.


          JONATHAN BOMFORD
          Chairman of the Remuneration Committee




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          Directors’ Remuneration Report Contents
          • Summary of Remuneration Policy
          • The Remuneration Committee in 2018
          • 2018 remuneration
          • 2019 remuneration
          • Other information

          Introduction
          This Directors’ Remuneration Report summarises the Company’s Directors Remuneration Policy, outlines the activities of the
          Committee in the year under review, details how our remuneration policy was implemented in the year ended 31 December 2018,
          what remuneration was paid to the Directors for that period, and how the Committee intends to apply the policy for the year
          ending 31 December 2019.

          The Directors’ Remuneration Report will be subject to an advisory shareholder vote at the 2019 AGM.

          Where the information is subject to audit in this Directors’ Remuneration Report this is identified in the relevant heading.

          Summary of Remuneration Policy
          The Remuneration Policy summarised below was approved by shareholders in December of 2016. The Policy is effective until the
          third anniversary of its approval or a revised policy is approved, whichever is the sooner. The policy is available on our website.
                                Element of
                                remuneration        Link to strategy                   Framework and opportunity

          Fixed                 Base salary         To attract and retain              No maximum level. Set in relation to: (i) Remuneration
          Remuneration                              management of the calibre          levels at companies of a comparable size and
                                                    required to deliver the Group’s    complexity in the FTSE, other similar UAE companies
                                                    strategy without paying more       and other international healthcare companies; (ii) Salary
                                                    than is necessary. To reward       increases elsewhere in the Group; (iii) Business and
                                                    executives for their performance   individual performance; (iv) The experience of the
                                                    in the role.                       individual; (v) The external economic climate and market
                                                                                       conditions; and (vi) Local market practice.
                                Benefits                                               The Group provides a range of benefits which reflect typical
                                                                                       benefits offered in the UAE including, but not limited to:
                                                                                       (i) Employee/family accommodation; (ii) Private Medical
                                                                                       Insurance (including family cover); (iii) Company provided
                                                                                       transport facility (iv) Annual family return flight to home
                                                                                       country; (v) 30 days’ holiday; (vi) Reimbursement of
                                                                                       reasonable personal accommodation and travel costs
                                                                                       including any related tax liability.
                                Pension                                                No pension provision.

                                                                                       Executives are eligible to receive an end of service
                                                                                       benefit, accrued in line with local UAE laws.




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          Directors’ Remuneration Report 2018 continued


          Summary of Remuneration Policy continued
                                  Element of
                                  remuneration            Link to strategy                  Framework and opportunity

          Variable                STIP                    Bonus measures and targets are    The maximum bonus opportunity in respect of a
          Remuneration                                    set annually dependent on the     financial year is 200% of base salary. In exceptional
                                                          deemed strategic priorities for   circumstances, the Committee may increase the
                                                          that year.                        maximum limit to 250% of salary. Normally, up to 50%
                                                                                            of the bonus pays-out for target performance.

                                                                                            Any annual bonus achieved for a financial year is
                                                                                            normally delivered one-third in cash and two-thirds in
                                                                                            deferred shares. Normally, 50% of the deferred element
                                                                                            vests one year from award and the rest vests two years
                                                                                            from award subject to continued employment.
                                  LTIP                    Awards vest based on              The maximum award opportunity in respect of
                                                          performance measured              a financial year is 250% of base salary. In exceptional
                                                          over a three year period.         circumstances, the Committee may grant awards
                                                                                            of up to 300% of salary.
                                                          Performance measures are
                                                          determined by the Committee       Up to 25% of the award pays out for threshold
                                                          and are chosen to be aligned      performance. Awards vest on a straight-line
                                                          with the long-term success of     between threshold and maximum performance.
                                                          the business. The Committee
                                                          believes a measure linked
                                                          to profitability and a share
                                                          price related measure
                                                          remain appropriate.
                                  Share options           In exceptional circumstances      In the event market value options were awarded, the
                                                          the Committee has the ability     maximum value is 200% of salary. Awards vest based on
                                                          to make awards of market          performance measured over a three year period based
                                                          value options.                    on measures adopted prior to grant. Options may be
                                                                                            exercised until the 10th anniversary of the date of grant.
          Shareholding            To align the interests of the management team with shareholders, the company operates a shareholding
          guidelines              guideline for Executive directors of 300% of salary.
          Malus and               Malus provisions are included in the Policy. In addition, as noted in the 2016 annual report, clawback is also
          clawback                in effect for all elements of variable remuneration.


          The Remuneration Committee in 2018
          Details of the members of the Committee during the 2018 financial year, and its role and responsibility within the Group’s Board and
          governance structure, is set out on pages 54 to 55 of the Governance report.

          Principal matters considered in 2018
          The Committee met formally four times during the year. Principal items discussed by the Committee included:
          • Review of varying elements of remuneration for Executive Directors and Senior Management following shareholder consultation
             and feedback in early 2018, including changes to the Company’s LTIP target measures;
          • Adjustment of 2018 STIP targets and review of LTIP award targets to reflect the change in the Group as a result of acquisitions
             to ensure performance targets are measured on a like for like basis;
          • Approval of a new holding period under which all future LTIP awards, 2019 onwards, would not be able to be exercised for
             a period of two years following the initial three year performance period;
          • Consideration of post-employment shareholding in light of the new holding period; and
          • Review of the requirements of the updated UK Corporate Governance Code which is effective for accounting periods beginning
             or after 1 January 2019. This included a review of incentive plan documentation to ensure discretion could be applied to override
             formulaic outcomes, and for clearly defined malus and clawback provisions to apply.




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          Support and External Advice
          The Remuneration Committee seeks and considers advice from independent remuneration advisers when discussing and setting
          Executive Director and Senior Management salary levels. Deloitte was appointed by the Remuneration Committee and acted as
          advisors to the Company since 2012.

          The Committee have reviewed and considered Deloitte’s independence, and consider them to be independent advisers to the
          committee notwithstanding that Deloitte, as an international firm, provide the following services to the group:
          • Some tax advisory services to the Group in Spain;
          • Internal Auditors to our IVF businesses, Clinica Eugin and Fakih IVF; and
          • Transaction services and accounting advice to the Group in the UAE, both before and after some of the Group’s acquisitions.

          It was noted that none of this advice has related to remuneration matters in the Group, all teams providing these services are
          based in countries other than the UK where the remuneration advisory team are based and none of these teams have any
          connection with the engagement partner and team advising the Remuneration Committee.

          The Committee is satisfied that the advice they have received from Deloitte during the year has been objective and independent
          and that the Deloitte LLP engagement partner and team, which provide remuneration advice to the Committee, do not have
          connections with NMC that might impair their independence. The Committee reviewed the potential for conflicts of interest and
          judged that there were appropriate safeguards against such conflicts. Deloitte are signatories to the remuneration consultants’
          group code of conduct in relation to executive remuneration consulting in the UK.

          The Remuneration Committee has direct access to Deloitte as and when required. The Group Company Secretary liaises
          with Deloitte where necessary to ensure that all Committee requests and decisions are dealt with and implemented, but does
          so under the guidance of the Remuneration Committee Chairman. Deloitte attend meetings of the Committee as required.

          Deloitte received fees of £75k (charged on a time plus expenses basis) for advice received during the year.

          Remuneration arrangements throughout the Group
          The remuneration philosophy is the same throughout NMC in that individuals should be remunerated based on their role,
          responsibilities, experiences and market practice. NMC has a variety of different roles from senior executives, to doctors and nurses
          and to administrators and support staff, and therefore remuneration levels and structures vary to reflect the different requirements,
          expectations and geographic locations of these roles, particularly having in mind the large proportion of ex-patriate employees
          working in the Group.

          The Committee does consider that it is important, however, that Executive Directors and senior executives as a group
          are remunerated in a similar way to ensure that they are incentivised to collectively deliver the Group’s strategy and create
          long term value for shareholders. Going forward, the Committee will be updated annually on how broader workforce remuneration
          and related policies align with the culture of NMC, and review this when deciding on executive remuneration matters.

          Results of voting on Remuneration matters at General Meetings of the Company
          The following summarises voting in relation to the approval of the respective Directors’ Remuneration Reports at both the
          Annual General Meeting in 2017 and 2018:
                                                                                                                                               Number of
          Meeting date       Resolution                                              Resolution type              For           Against    votes withheld

          23 May 2017        To approve the Directors’ Remuneration Report               Advisory             71.36%           28.64%           255,623
          28 June 2018       To approve the Directors’ Remuneration Report               Advisory              92.6%              7.4%              3,804


          The Committee believes that its consultation with shareholders in early 2018 helped to explain the Committee’s approach to
          Executive remuneration and allowed the Committee to take note of the views of the larger institutional investors in development
          of its 2018 Executive remuneration proposals. The vote for the Directors’ Remuneration Policy increased significantly at the 2018
          Annual General Meeting.




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          Directors’ Remuneration Report 2018 continued


          2018 remuneration – this section is subject to audit
          This section outlines how the remuneration policy was applied in 2018, together with the outcomes for actual remuneration paid
          in relation to the financial year under review. This is shown in two parts – Remuneration paid to Executive Directors and a separate
          section in relation to Non-Executive Directors.

          Executive Director Remuneration 2018
          Remuneration paid in 2018 (single pay figure)
          The table below sets out the remuneration paid to or received by each Executive Director of the Company who served during the
          financial year ended 31 December 2018.
                                                  Salary               Benefits                 STIP                    LTIP awards                   Pension                   Total
                                                  $'000                 $'000                   $'000                      $'000                       $'000                    $'000
          Executive Director                   2018        2017      2018         2017       2018          2017         2018       2017          2018           2017         2018        2017

          Prasanth Manghat                 1,033.2    1,033.2        19.0         19.6    2,066.4     2,066.4       2,364.9      2,560               0.0        0.0    5,483.5      5,948.2
          Khalifa Bin Butti                 685.5      348.5          0.0          0.0    1,199.6         400.0          0.0          0.0            0.0        0.0       1,885.1       748.5
          Hani Buttikhi                      650.7     330.8          0.0          0.0     976.0          325.4          0.0          0.0            0.0        0.0     1,626.7         656.2

          Notes:
          (1) The Executive Vice Chairman and Chief Investment Officer were appointed to the Board as Executive Directors on 28 June 2017 and therefore remuneration
              for 2017 is not in relation to a full year of service.
          (2) The value shown in the 2017 LTIP awards column is the awards which vested during 2018 and are valued using the execution share price on the respective
              dates of vesting.
          (3) The value shown in the 2018 LTIP column is the award which will vest on 15 March 2019. As it is not possible to provide an actual value attributable to these
              shares, the value shown above is calculated by reference to the average closing share price of the Company in the Quarter ended 31 December 2018, which
              was 3,256p per share.
          (4) Participants also receive additional shares equivalent in value to the dividends that would have been paid during the vesting period on any shares that vest.
              Therefore included in 2017 and 2018 LTIP values above are the value of such shares received or to be received.


          Base salaries
          The base salaries of the Chief Executive Officer during the year was $1.0m (AED 3.798m) per annum, which was set effective from
          1 January 2017. The base salaries for the Executive Vice Chairman and Chief Investment Officer of $685k (AED 2.518m) and $650k
          (AED 2.390m) per annum respectively, were set from their date of appointment as Directors.

          The base salaries of the Executive Directors were unchanged during the 2017 and 2018 financial years.

          Benefits
          There was no change to the structure of benefits available to the Executive Directors during the year. The Benefits paid included
          the following items:
                                                                                                                                                           Annual family return flights to
                                                                  Provision of family accommodation               Private medical insurance                       home country
                                                                                  $'000                                     $'000                                     $'000
          Executive Director                                                2018                2017                    2018                  2017                 2018                  2017

          Prasanth Manghat                                                   0.0                    0.0                  4.0                  4.4                  15.0                  15.2
          Khalifa Bin Butti                                                  0.0                    0.0                  0.0                  0.0                   0.0                   0.0
          Hani Buttikhi                                                      0.0                    0.0                  0.0                  0.0                   0.0                   0.0


          Outcome of the 2018 STIP
          The level of STIP award is determined by the Committee based on NMC’s performance and where relevant individual Directors’
          performance. For the purpose of the 2018 annual bonus, the Executive Directors were eligible for maximum bonus awards
          as follows:
          • Chief Executive Officer: 200% of salary;
          • Executive Vice Chairman: 175% of salary;
          • Chief Investment Officer: 150% of salary.




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          Adjustment of STIP targets
          The Committee reviewed the 2018 STIP targets twice during the financial year to take account of material acquisitions and
          investments. The first adjustment was made following acquisitions and additional investments made in January 2018 with
          a further adjustment made later in the financial year to take account of improved performance of the Group in the second half of
          the financial year. In this respect the EBITDA target and stretch levels were increased to $445m and $475m respectively from the
          original targets of $425m and $435m at target and stretch respectively. There were no adjustments made to the remaining targets
          or underpins.

          The Committee also considered the acquisition of Aspen Healthcare completed towards the end of August 2018. Given the timing
          of such acquisition and the fact that the contribution from that business in the 2018 financial year is not material, the Committee
          decided to exclude the results of Aspen from both the EBITDA and EBITDA margin targets and performance achievement for
          the year.

          For the year ended 31 December 2018, the Committee’s assessment of outcomes against the revised targets are set out below.

          Performance Measures and targets
                                                         Weighting                                   Underlying targets
                                              Chief                            Chief
                                          Executive         Executive    Investment                            Target      Maximum            Actual     Payout (% of
          Measure                            Officer   Vice Chairman          Officer    Threshold          (revised)       (revised)   performance      maximum)

          EBITDA                               50%            33.3%          33.3%      US$415m        US$445m            US$475m US$489.4m                    100%
          EBITDA Margin                        50%            33.3%          33.3%          22.6%            23.6%            24.2%         24.43%             100%
          Operations &
           Management Revenue                     –           33.3%                –    US$15m           US$19m           US$23m         US$23m                100%
          Corporate Development
           Revenue and cost                                                              US$9m            US$11m           US$13m         US$17m
           synergies                              –                  –        33.3%      US$4m            US$6m            US$8m          US$8m                100%


          As set out in our 2017 Directors’ Remuneration Report, three underpins central to the Company’s quality performance and patient
          growth must be met before any STIP amount is payable. For 2018, these underpins and their achievement are summarised below.

          Facility quality performance                 The Company maintains a zero tolerance approach to quality. All facilities undergoing an
                                                       accreditation process must pass that process. In 2018, 2 facilities passed re-accreditation
                                                       surveys with results significantly ahead of those required by JCI.
          Growth in patient numbers                    Growth in patient numbers aligns with our focus on efficient growth. For 2018, the
                                                       Company delivered a growth in patient numbers from existing facilities of 13% against
                                                       a requirement of 8%.
          Occupancy levels                             Again aligning with the Company’s focus on efficient growth, a minimum occupancy
                                                       level of 60% was established for 2018. Actual occupancy was 67%.


          On this basis the Committee has determined that the STIP outcomes above are supported by strong performance in our core
          underpins. As such, the Committee approved the following pay-outs for the Executive Directors, with one-third of each award
          achieved being paid in cash with two-thirds delivered in the form of a deferred share award, which vests equally after periods
          of one year and two years:
          • 200% of base salary for the Chief Executive Officer (100% of maximum opportunity);
          • 175% of base salary for the Executive Vice Chairman (100% of maximum opportunity); and
          • 150% of base salary for the Chief Investment Officer (100% of maximum opportunity)




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          Directors’ Remuneration Report 2018 continued


          2018 remuneration – this section is subject to audit continued
          Long Term Incentive Plan
          Performance in relation to LTIP Awards made in 2016
          The Remuneration Committee has reviewed performance against the targets set for LTIP grants made in 2016. 50% of the award
          was subject to an earnings per share (EPS) growth performance condition, whilst the remaining 50% of the award was based on
          the Company’s Total Shareholder Return relative to a bespoke comparator group.

          A significant adjustment was made to the base year earnings figure when calculating compound annual growth in earnings per
          share. The Committee’s intention in doing so was to ensure the earnings per share target remains comparably stretching as when
          the awards were made.
                                                                                        Threshold                  Maximum
          Measure                                                                    (25% vesting)             (100% vesting)      Actual performance    Level of vesting

          Earnings Per Share1                                                  6% p.a. growth            15% p.a. growth                        15.81%             100%
          Total Shareholder Return2,3                                                   Median        Upper quartile or                  296.4% (100th             100%
                                                                                                               above                       percentile)

          1    Straight line vesting between threshold and maximum.
          2    Pro-rata vesting between median and lower quartile on a ranking basis.
          3    Comparator group – The companies making up the London Stock Exchange FTSE250 Index (excluding investment trusts and the Company).
          4    The earnings per share target was adjusted to take account of acquisitions during the performance period ending 31 December 2018. Unadjusted earnings
               per share compound annual growth was 32.9%. However, to reflect the impact of acquisitions, the base year earnings figure was subject to a significant
               upwards adjustment. This resulted in a compound growth in earnings per share of 15.81%.

          The Committee is pleased with a total shareholder return for the period of 296.4% relative to the peer group performance of 11.8%
          (median) and 41.5% (upper quartile). As such, awards will vest in full for this component. While upwards adjustments to the base
          year earnings figure made earnings per share performance tougher, compound annual growth performance of 15.81% allows for full
          vesting of the earnings per share component. The Committee has therefore determined that the 2016 LTIP awards will vest in full.

          As the share price at the date of vesting is not known at the date of approval of this report, the value included within the single
          figure table is based on the number of shares that vested multiplied by the average share price over the quarter ending
          31 December 2018, which is 3,256p per share.

          Awards made in 2018
          During 2018, LTIP grants were made to the Executive Directors as follows, within the levels permitted by our approved Policy
          applying during the 2018 financial year.

          Mr Prasanth Manghat, Chief Executive Officer                       250% of salary
          Mr Khalifa Bin Butti, Executive Vice Chairman                      225% of salary
          Mr Hani Buttikhi, Chief Investment Officer                         175% of salary

          Performance targets
          The following performance targets were used in relation to all LTIP awards granted in 2018.

          EBITDA growth
          This measures the Company’s annual compound growth in EBITDA over a three year period and represents 50% of the total award.
          The table below sets out the EBITDA growth targets for the 2018 award and the corresponding level of vesting:
          Annual compound growth in EBITDA over the three-year Performance Period                         Vesting percentage of target

          15% or more                                                                                     100%
          Between 5% and 15%                                                                              On a straight-line basis between 25% and 100%
          5%                                                                                              25%
          Less than 5%                                                                                    0%




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          Total Shareholder Return (TSR) growth
          This measures the Company’s TSR compared against a comparator group of companies and represents 50% of the total award.
          The table below sets out the TSR targets for the 2018 award and the corresponding level of vesting:
          Company’s TSR over three-year performance period compared to the LTIP
          comparator group (as defined below)                                                            Vesting percentage of target

          Upper quartile                                                                                 100%
          Between median and upper quartile                                                              Pro-rata between 25% and 100% on a ranking basis
          Median                                                                                         25%
          Below median                                                                                   0%


          For LTIP grants made in 2018, the TSR comparator group used is the 150 largest companies in the FTSE 350 (excluding investment
          trusts and the Company).

          Pension contributions
          There were no pension contributions in 2017 or 2018.

          Non-Executive Director Remuneration 2018
          Remuneration paid in 2018 (single pay figure)
          The fee and other remuneration paid to each Non-Executive Director during the year ended 31 December 2018 is set out in the
          following table:
                                                                                                                                                  FY2018         FY2017
          Director                                                  Position                                                                      (£’000)        (£’000)

          H. J. Mark Tompkins                                       Independent Non-Executive Joint Chairman                                        240            228
          Dr B. R. Shetty (note 1)                                  Non-Executive Joint Chairman                                                  3,548          3,405
          Dr Ayesha Abdullah                                        Independent Non-Executive Director                                                97           103
          Abdulrahman Basaddiq                                      Non-Executive Director                                                           95             98
          Jonathan Bomford                                          Senior Independent Non-Executive Director                                        115           103
          Lord Clanwilliam                                          Independent Non-Executive Director                                              105            108
          Salma Hareb                                               Independent Non-Executive Director                                                91            93
          Dr Nandini Tandon                                         Independent Non-Executive Director                                               87             98

          Note 1: The Remuneration for Dr B. R. Shetty for 2017 includes remuneration as an Executive Director of the Company from 1 January 2017 to 8 March 2017 when
          Dr Shetty was appointed Non-Executive Joint Chairman. The 2017 and 2018 Remuneration Includes the value of Long-Term Incentive and Deferred Share Bonus
          Plan Awards granted during his term as an Executive Director, and for which the Remuneration Committee permitted retention and continued vesting. Dr Shetty
          did not participate in the 2017 STIP and did not receive any awards under the 2017 LTIP.


          Other than the continued vesting of legacy LTIP and DSBP awards granted to the Non-Executive Joint Chairman during his service
          as an Executive Director, none of the Non–Executive directors received any benefits, pension, STIP or LTIP entitlements or payments
          during FY2017 and FY2018.

          With effective from 1 January 2018, the annual fees of the Non-Executive Directors have been structured as follows:
          • Base fees:       Joint Chairman – £210k
                             Senior Independent Director – £85k
                             Non-Executive Director – £75k
          • An additional fee of £10k per annum is paid to the Chair of each board committee.
          • A fee of £4k paid to each Non-Executive Director who attends meetings of the Board in person. This is to reflect the significant
            time commitment required for NEDs to attend meetings, often away from their own country of residence.

          The above fee structure is reflected in the fees paid to each NED during 2018 as indicated in the table above.

          Payments to past directors
          There were no payments made to past directors during the 2018 financial year.

          Payments for loss of office
          There were no payments made for loss of office to past directors during the 2018 financial year.




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          Directors’ Remuneration Report 2018 continued


          2019 Remuneration
          Executive remuneration in 2019
          This section summarises how the Committee intends to implement the Company’s existing remuneration policy in 2019.

          Executive Director base salaries
          Annual base salaries payable with effect from 1 January 2018 remain as follows:
          Chief Executive Officer                       US$1,033.4k (AED 3.795m)
          Executive Vice Chairman                       US$685.6k (AED 2.518m)
          Chief Investment Officer                      US$650.7k (AED 2.390m)

          The base salary of the Chief Executive Officer was set with effect from 1 January 2017 whilst in the role of Deputy CEO and was not
          increased upon the promotion of Mr Manghat to CEO in March 2017 or since. The base salary of the CEO therefore currently remains
          at a level lower than that paid for the same position in 2016.

          The base salary of the Executive Vice Chairman and the Chief Investment Officer were set on appointment of each individual
          during the 2017 financial year and remain at the same level.

          The Committee has not made any adjustments to the remuneration of the CEO or other Executive Directors for 2019.

          Benefits
          There is no change to the structure of benefits in 2019 which will be paid in line with the arrangements in place for the 2018 financial year.

          Operation of the STIP for 2019
          The maximum STIP opportunity for each of the Executive Directors in 2019 will be as follows:
          Chief Executive Officer                    200% of base salary
          Executive Vice Chairman                    175% of base salary
          Chief Investment Officer                   150% of base salary

          The way in which any award from the 2019 STIP will be delivered will be one-third of any STIP award being made in cash and
          two-thirds deferred into shares, half of which will vest one year after any award is made and the other half two years after any award.

          The performance targets that will apply for the 2019 financial year have been set, as in previous years, after considering the Group’s
          priorities for the year. EBITDA and EBITDA margin will remain as key target measures for the year for each Executive Director.

          Therefore for 2019 targets will be set against the following measures.
                                                         Weighting
          Measure                                 CEO          EVC*     CIO**   Rationale

          EBITDA                                 50%           50%      50%     •    Directly linked to the Group’s strategy.
                                                                                •    Represents key metric or UAE and non-UAE operations.
          EBITDA margin                          50%           50%      50%     •    Key performance indicator for the business.
                                                                                •    Rewards efficient profit generation.

          *    Executive Vice Chairman
          **   Chief Investment Officer


          Full disclosure of the targets, and the performance against those targets, will be made in the 2019 Annual Report.

          In addition, before any bonus is payable, the following underpin conditions will continue to apply for the STIP in 2019 (all three
          underpins must be met).
          Underpin                                Rationale

          Facility Quality                        The quality scores obtained across our facilities in different countries remains fundamental to
                                                  sustainable growth. As such, a zero tolerance approach will be applied such that all facilities
                                                  undergoing an accreditation process must pass that process. NMC has not failed an accreditation
                                                  to date, nonetheless the Committee is minded to adopt this tough stance to reinforce the
                                                  importance of quality.
          Growth in patient numbers               Growth in patient numbers in existing facilities is in line with our focus on efficiency and effective
                                                  use of our assets.
          Occupancy levels                        A minimum standard will be applied across facilities, again in line with our focus one efficient
                                                  growth and use of assets.


          The Committee selected these measures and underpins in light of feedback from shareholders and is confident that performance
          against stretch targets on these metrics aligns management performance with shareholders’ interests.



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          Operation of the LTIP for 2019
          Within the limit of the provisions set out in the Company’s Directors’ Remuneration policy approved by shareholders on 29 December
          2016, the LTIP award levels for the Executive Directors in respect of 2019 will be granted at a maximum level of 250% of base salary.

          For 2019, the Committee is again operating a tiered approach to LTIP grants for Executive Directors and Senior Management.
          The grants applicable to each Executive Director will be as follows:
                                                                                                                                               Maximum
                                                                                                                                              opportunity
                                                                                                                                        (% of base salary)

          Chief Executive Officer                                                                                                                  250%
          Executive Vice Chairman                                                                                                                  225%
          Chief Investment Officer                                                                                                                  175%


          The performance targets that apply for awards to be made under the plan in the 2019 financial year will be as follows:
                                                                                                                                             Percentage
                                                                                                                                               weighting
                                         Purpose and link to                                                                                 for relevant
          Measure                        remuneration strategy         Performance measure               Target                               individuals

          Total shareholder             To incentivise management      TSR growth compared               25% of this element                        50%
          return (TSR)                  to deliver long term returns   to a comparator group             of the award will vest for
                                        to shareholders.               of companies.                     performance equal to the
                                                                                                         median of the comparator
                                                                       The comparator group are          group with 100% vesting for
                                                                       the companies making up           upper quartile performance
                                                                       the 150 largest companies         or better.
                                                                       within the London Stock
                                                                       Exchange FTSE350 Index       Vesting is on a straight line
                                                                       (excluding investment trusts basis between these points.
                                                                       and the Company).
          EBITDA Compound Annual        To incentivise management      Annual compound growth            25% of this element of the                 50%
          Growth Rate                   to deliver bottom line         in EBITDA between the base        award vests for compound
                                        earnings growth.               year (i.e. 2018) and the end of   EBITDA growth of 10% per
                                                                       the performance period.           annum with 100% vesting
                                                                                                         for EBITDA growth of 18%
                                                                                                         per annum.

                                                                                                         Vesting is on a straight line
                                                                                                         basis between these points.


          EBITDA has been included again this year given the Group’s internal focus on sustainable EBITDA growth. This growth is adjusted
          for material acquisitions so that performance is measured on a like-for-like basis. As such, organic growth, asset utilisation
          and attainment of efficiencies across the Group are key to performance achievement and in this respect EBITDA growth is
          the appropriate metric. However, following feedback from investors, the Committee determined to apply an underpin for 2019
          LTIP awards. As such, an underpin measuring the conversion of EBITDA to net income will be applied. This underpin will provide
          shareholders with an aggregate view on earnings, cash flow, and capital efficiency. Failure to meet the underpin will reduce the
          proportion of 2019 LTIP awards vesting by up to 50%.

          In addition, in the event of an acquisition or disposal during the performance period, the Committee will assess whether the
          financial performance of the acquired/disposed business should be included or excluded, with targets adjusted accordingly.

          Holding period
          Awards under the 2019 LTIP will be measured over a period of three years and subject to a holding period of two years.

          Malus and clawback
          As in prior years, awards under the LTIP for 2017 and beyond are subject to a clawback provision, on top of the existing malus
          provision. In reviewing its approach to recovery of remuneration, the Committee has determined that awards under the LTIP
          and Deferred Share Bonus Plan will be subject to malus and clawback provisions that can be applied for up to five years from
          the date of grant in respect of the LTIP and within two years of the grant of an award under the Deferred Share Bonus Plan.
          The circumstances in which malus and clawback can be applied include, but are not limited to: a material misstatement of the
          Company’s audited results; a material failure of risk management by the Company, any Group Member or a relevant business unit;
          or serious reputational damage to the Company, any Group member or a relevant business unit as a result of the Participant’s
          misconduct or otherwise.




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          Directors’ Remuneration Report 2018 continued


          2019 Remuneration continued
          Non-Executive Directors’ Remuneration in 2019
          The fees payable to the non-executive directors effective as at 1 January 2019 are as follows:
                                                                                                                                         (£’000)

          Joint Chairmen                                                                                                                   210
          Senior Independent Director                                                                                                      85
          Non-executive director                                                                                                            75
          Chair of a Board Committee                                                                                                        10


          These fees are unchanged from those operating in the 2018 financial year.

          Given that the location of the Company’s Board Meetings varies during the year, and also due to the geographic diversity
          of the country of residence for Board members, an additional fee is also payable for attendance at Board meetings.

          Details of the remuneration paid to each of the non-executive directors who served during the year are included in the table
          on page 71.

          Non-executive directors do not participate in any bonus or incentive plan or other form or performance-related remuneration.
          The Company does not provide any contribution to their pension arrangements.

          Other information
          Directors’ Service Agreements and Letters of Appointment
          Executive Directors’ service agreement and employment contracts
          Each of the following served as Executive Directors during the 2018 financial year and were subject to service agreements entered
          into with NMC Healthcare LLC, one of the Company’s subsidiaries.
                                                                    Date of agreement

          Prasanth Manghat                                          1 May 2011
          Khalifa Bin Butti                                         28 June 2017
          Hani Buttikhi                                             28 June 2017


          Mr Prasanth Manghat is employed by NMC Healthcare LLC pursuant to an employment contract dated 1 May 2011. The contract
          provides for a renewable two-year term of employment unless terminated earlier in accordance with the terms of the contract.
          The Contract provides that, unless otherwise agreed between the parties, the contract can be terminated on one months’ prior
          written notice given by either Prasanth Manghat or NMC Healthcare LLC.

          Mr Khalifa Bin Butti is employed by NMC Healthcare LLC pursuant to an employment contract dated 28 June 2017. The contract
          provides for a renewable two-year term of employment unless terminated earlier in accordance with the terms of the contract.
          The Contract provides that, unless otherwise agreed between the parties, the contract can be terminated on 12 months’ prior
          written notice given by either Mr Bin Butti or NMC Healthcare LLC.

          Mr Hani Buttikhi is employed by NMC Healthcare LLC pursuant to an employment contract dated 28 June 2017. The contract
          provides for a renewable two-year term of employment unless terminated earlier in accordance with the terms of the contract.
          The Contract provides that, unless otherwise agreed between the parties, the contract can be terminated on one months’ prior
          written notice given by either Mr Hani Buttikhi or NMC Healthcare LLC.

          Copies of the Agreements for each of the Executive Directors are available for inspection during normal business hours at the
          Company’s Registered Office, and are available for inspection at the Company’s annual general meeting.

          For future executives the Committee policy is that notice periods will not exceed 12 months. There are no matters for which the
          Company requires approval of shareholders for the purposes of Chapter 4A of Part 10 of the Companies Act 2006.




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          Letters of appointment for Non-Executive Directors
          The Non-Executive Directors do not have service agreements with the Company, but instead have letters of appointment.
          The appointment of each of the Non-Executive Directors is stated for an initial term until the next annual general meeting of the
          Company at which, and at subsequent annual general meetings, they need to submit themselves for re-election if they so wish.
          Each letter of appointment is terminable by 3 months’ notice by both the Company and the Director and include a minimum time
          commitment that they need to give to the Company in any year.

          There is no compensation payable upon the early termination of a Non-Executive Directors’ appointment.

          Copies of the Non-Executive Directors’ Letters of Appointment are available for inspection during normal business hours at the
          Company’s Registered Office, and available for inspection at the Company’s annual general meeting.

          Directors' shareholdings and share interests – subject to audit
          Directors’ shareholdings and interests
          The table below shows details of the Directors' holdings of Ordinary Shares and interests in the Company as at 1 January 2018
          and at 31 December 2018.
                                                                                                                                        Share options over Ordinary shares
                                                                                                        Ordinary shares of 10p each                of 10p each
                                                                                                          1 January      31 December          1 January      31 December
          Director                                                                                             2018              2018              2018              2018

          H. J. Mark Tompkins (note 1)                                                                     53,083             51,233                0                  0
          Dr B. R. Shetty (note 2)                                                                     39,713,893        40,008,923           479,336           328,465
          Khalifa Bin Butti (note 3)                                                                   30,696,561        30,696,561            43,416            77,369
          Prasanth Manghat (note 4)                                                                         8,308            20,308           399,052           486,234
          Hani Buttikhi                                                                                         0              6,000           32,051             57,116
          Dr Ayesha Abdullah                                                                                    0                  0                0                  0
          Abdulrahman Basaddiq                                                                                  0                  0                0                  0
          Jonathan Bomford                                                                                 18,000            20,000                 0                  0
          Lord Clanwilliam                                                                                  3,660              6,660                0                  0
          Salma Hareb                                                                                       6,600             12,100                0                  0
          Dr Nandini Tandon                                                                                     0                  0                0                  0

          Notes:
          1. The interests of Mr H J Mark Tompkins in relation to the ordinary shares of the Company include the shares held in the name of his wife and by a family trust
             of which he is considered a beneficiary.
          2. The interests in relation to both ordinary shares and options over ordinary shares of the Company for Dr B. R. Shetty include the shares and options in the
             name of his wife, Dr C R Shetty.
          3. Mr Bin Butti also holds an interest in 15,280,426 shares of the Company through Infinite Investment LLC, which he jointly owns with H.E. Saeed Bin Butti.
          4. On 1 February 2019, Mr Prasanth Manghat exercised vested share options resulting in his shareholding increasing by 158,964 shares resulting in his
             shareholding at the date of this report being 179,272 shares.


          None of the Directors received any loans, advances or other form of credit granted by the Company, nor were any guarantees
          of any kind provided by the Company on behalf of any Directors during the year ended 31 December 2018.

          Except as stated above, none of the Directors who held office during the year held any Ordinary Shares or options over Ordinary
          Shares of the Company during the year. Except as stated in the notes to the table above, there have been no changes in the above
          interests between 31 December 2018 and the date of this Directors’ Remuneration Report.

          Executive directors are expected to build a shareholding of 300% of base salary over a 5-year period. The first share incentive awards
          granted to the Executive Directors vested in October 2017. As at the latest practicable date prior to the approval of this Report, being
          28 February 2019, the Chief Executive Officer holds 179,272 Ordinary shares valued at £4,848k (US$6,447k based on the share price
          and £:US$ exchange rate at close of business on 28 February 2019). This represents a value of 624% of current base salary.

          The Executive Vice Chairman, appointed in June 2017, is a significant shareholder in the Company and therefore already meets the
          shareholding requirement. Mr Hani Buttikhi, also appointed in June 2017, currently holds 6,000 shares valued at £162k (US$216k based
          on the share price and £:US$ exchange rate at close of business on 28 February 2019). This represents a value of 33% of current
          base salary. Mr Buttikhi is included in the Incentive arrangements for Executive Directors, none of which have vested for him
          at the date of this report.




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          Directors’ Remuneration Report 2018 continued


          Other information continued
          Directors’ shareholdings and share interests – subject to audit continued
          Directors’ interests in shares
          The following tables show details of the share awards made to Executive Directors that have not yet vested or have vested but
          as at 31 December 2018 were unexercised.

          Long Term Incentive Plan
                                                                                 Market price                                          % vesting for
                           Type of               Performance             Award     at date of   Exercise     Shares      Face value      minimum            Vesting
                           interest              period ending            date         award       price    awarded        of award   performance             date

          Mr Prasanth LTIP award  31 December                     29 October        494.9p          0p       40,738      £202,834           25%         29 October
          Manghat     subject to          2016                          2014                                                           of award               2017
                      performance
          Mr Prasanth LTIP award  31 December                    25 February          520p          0p       50,000      £260,000           25%        25 February
          Manghat     subject to          2017                          2015                                                           of award               2018
                      performance
          Mr Prasanth LTIP award  31 December 8 September                           760.5p          0p        23,011     £175,000           25% 8 September
          Manghat     subject to          2017        2015                                                                             of award        2018
                      performance
          Dr B R           LTIP award  31 December                    15 March       967.5p         0p      100,775      £975,000           25%           15 March
          Shetty           subject to          2018                       2016                                                         of award               2019
                           performance
          Mr Prasanth LTIP award  31 December                         15 March       967.5p         0p        85,271     £825,000           25%           15 March
          Manghat     subject to          2018                            2016                                                         of award               2019
                      performance
          Mr Prasanth LTIP award  31 December                     26 January       1633.0p          0p      125,442    £2,048,000           25%        26 January
          Manghat     subject to          2019                          2017                                                           of award              2020
                      performance
          Mr Khalifa       LTIP award  31 December 7 September                     2739.0p          0p        43,416    £1,189,000          25% 7 September
          Bin Butti        subject to          2019        2017                                                                        of award        2020
                           performance
          Mr Hani          LTIP award  31 December 7 September                     2739.0p          0p        32,051     £878,000           25% 7 September
          Buttikhi         subject to          2019        2017                                                                        of award        2020
                           performance
          Mr Prasanth LTIP award  31 December                         8 March      3274.0p          0p       56,858      £1,861,561         25%           8 March
          Manghat     subject to         2020                            2018                                                          of award              2021
                      performance
          Mr Khalifa       LTIP award  31 December                    8 March      3274.0p          0p       33,953      £1,111,639         25%           8 March
          Bin Butti        subject to         2020                       2018                                                          of award              2021
                           performance
          Mr Hani          LTIP award  31 December                    8 March      3274.0p          0p       25,065      £820,657           25%           8 March
          Buttikhi         subject to         2020                       2018                                                          of award              2021
                           performance

          Notes:
          1. Following the decision by Dr B. R. Shetty to step down from his Executive role as Executive Vice Chairman and CEO in March 2017, given his ongoing role
             as Joint Chairman of the Company it was agreed that he should retain in full both the LTIP and DSBP awards granted to him, with the exception of an
             LTIP Award granted in January 2017 which lapsed in 2017.
          2. Subsequent to the year end, the LTIP awards granted to Mr Prasanth Manghat on 29 October 2014, 25 February 2015 and 8 September 2015 were all exercised
             in full.


          Details of the performance measures attached to the LTIP awards, and performance to date against these measures, are set out
          on page 70.




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          Deferred Share Bonus Plan
                                                                  Financial
                                                                 year share                                                            Shares
                                                                     award                                                           awarded
                                                                   made in              Award     Market price at     Exercise     and not yet   Face value          Vesting
                             Type of interest                    respect of              date     date of award          price      exercised      of award            date

          Dr B R Shetty      Deferred shares subject                 2015            15 March           967.5p                0p       17,226    £166,662        15 March
                             to continued employment                                     2016                                                                        2019
          Dr B R Shetty      Deferred shares subject                 2016              9 May           2074.0p                0p      19,792     £410,500            9 May
                             to continued employment                                     2017                                                                          2019
          Mr Prasanth        Deferred shares subject                 2013          29 October           494.9p                0p      12,408      £61,407      29 October
          Manghat            to continued employment                                     2014                                                                        2017
          Mr Prasanth        Deferred shares subject                 2014     25 February                 520p                0p      13,702      £71,250     25 February
          Manghat            to continued employment                                 2015                                                                            2018
          Mr Prasanth        Deferred shares subject                 2015            15 March           967.5p                0p      14,987     £145,000        15 March
          Manghat            to continued employment                                     2016                                                                        2019
          Mr Prasanth        Deferred shares subject                 2016              9 May           2074.0p                0p      33,493     £695,000      Equally on
          Manghat            to continued employment                                     2017                                                                  9 May 2018
                                                                                                                                                               and 9 May
                                                                                                                                                                     2019
          Mr Prasanth        Deferred shares subject                 2017            8 March           3274.0p                0p      30,324     £992,833        Equally
          Manghat            to continued employment                                    2018                                                                  on 8 March
                                                                                                                                                                2019 and
                                                                                                                                                                 8 March
                                                                                                                                                                    2020

          Notes:
          1. Following the decision by Dr B. R. Shetty to step down from his Executive role as Executive Vice Chairman and CEO in March 2017, given his ongoing role
             as Joint Chairman of the Company it was agreed that he should retain in full both the LTIP and DSBP awards granted to him, with the exception of an LTIP
             Award granted in January 2017 which lapsed in 2017.
          2. Subsequent to the year end, the DSBP awards granted to Mr Prasanth Manghat on 29 October 2014 and 25 February 2015 were all exercised in full as well
             as the 50% vested portion of the DSBP award granted on 9 May 2017.


          The following share awards vested and were exercised, or where stated lapsed, during the year:
                                                                         Award
                                                                        shares
                                Incentive                             exercised        Exercise
                                    plan                Award date      (note 1)          price     Market price on vesting                                      Comment

          Dr B R Shetty           DSBP           25 February 2015       17,765            0.0p       3,498p per share                     Award vested and exercised
          Dr B R Shetty             LTIP         25 February 2015      58,667             0.0p       3,498p per share                     Award vested and exercised
          Dr B R Shetty           DSBP                 9 May 2017       19,884            0.0p        3,518p per share             50% of Award vested and exercised
          Dr B R Shetty             LTIP        8 September 2015       26,657             0.0p       3,690p per share                     Award vested and exercised

          Note 1: Award shares exercised includes an enhancement equivalent to the value of dividends that would have been payable on the award shares during the
          performance period of the relevant share award.


          Except as stated above, no other options vested or were exercised during the year.




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          Directors’ Remuneration Report 2018 continued


          Other information continued
          Directors’ shareholdings and share interests – subject to audit continued
          Performance graph and historic Executive Vice Chairman & CEO remuneration outcomes
          The following graph shows the Total Shareholder Return performance of NMC Health plc shares against the FTSE 100.
           2000




              1500




              1000




              500




                  0
                      2012                   2013                  2014                  2015               2016                2017                 2018


                          NMC Health                FTSE 100

          The Committee believes that the FTSE 100 Index is an appropriate comparator index used to compare performance given that
          the Company is a constituent of this Index and the lack of direct competitor comparators available in the London market.

          The table below summarises the Chief Executive Officer’s single figure for total remuneration for the last 5 financial years.
                                                                                                     2012        2013         2014          2015              2016        2017       2018
          Chief Executive Officer                                                               (US$’000)   (US$’000)    (US$’000)     (US$’000)         (US$’000)   (US$’000)   (US$’000)

          Single remuneration figure                                                              550.6         787.4      849.7        1,254.3           4,841.3    5,948.2     5,483.5
          STIP payout (% of maximum)                                                                n/a            n/a       95%          100%              100%        100%        100%
          LTIP vesting (% of maximum)                                                               n/a            n/a       n/a           n/a               n/a        100%        100%


          Pay across the Group
          As required, the table below sets out the increase in remuneration of the Chief Executive Officer and that of all employees during
          the 2018 financial year. However, for the reasons stated on page 67 above, the Committee do not reference the salary or other
          elements of remuneration of Executive Directors to all other employees of the Group.
          %                                                                                                                                   Salary         Annual bonus        Benefits

          Chief Executive Officer                                                                                                                   0                  0                0
          All-employees                                                                                                                            8.1               n/a              5.2

          *       Note: the Company does not operate bonus plans for all employees.


          Relative importance of spend on pay
          The graph below shows the total group-wide remuneration expenditure and dividends for the last two years.
              700                                                                                   643.6
              600
                                                                                 500.0
              500
              400
              300                          248.7
              200 186.0
              100                                     27.8                49.7
              0
                      Profit for the financial year       Distributions to           Total employee
                                                                                                             2018
                      attributable to equity ($m)        shareholders ($m)              pay ($m)             2017

          It is my pleasure to submit this report to shareholders. The Directors’ Remuneration Report has been approved by the Board and is
          signed on its behalf by:


          JONATHAN BOMFORD
          Chairman of the Remuneration Committee

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          Directors’ Report


          The Directors of NMC Health plc are pleased to present their Annual Report including the audited consolidated financial statements
          for the financial year ended 31 December 2018.

          This report has been prepared in accordance with the requirements in The Large and Medium-sized Companies and Groups
          (Accounts and Reports) Regulations 2008 and forms part of the management report as required under Disclosure & Transparency
          Rule 4. Certain information required to be set out in this Directors’ Report can be found elsewhere in the 2018 Annual Report and
          is referenced below. This information is incorporated into this Directors’ Report by reference.

          Directors’ Statements
          The Directors are required to make a statement regarding the preparation of the financial statements and also to provide details
          regarding the disclosure of information to the Company’s auditor. The Code also requires the Board to review and make statements
          in relation to management’s report on internal controls, the adoption of the Going Concern method of accounting and the long
          term viability of the Group. All of these statements are set out on pages 84 to 86.

          Corporate Governance Report
          The Corporate Governance Report set out on pages 42 to 61 is incorporated into this Directors’ Report by reference.

          Business model and strategy
          The Strategic Report set out on pages 4 to 35 includes the Company’s business model and strategy.

          Directors
          The following served as directors of the Company during the 2018 financial year:
          Director

          H. J. Mark Tompkins
          Dr B. R. Shetty
          Khalifa Bin Butti
          Prasanth Manghat
          Hani Buttikhi
          Dr Ayesha Abdullah
          Abdulrahman Basaddiq
          Jonathan Bomford
          Lord Clanwilliam
          Salma Hareb
          Dr Nandini Tandon (see note below)

          Dr Nandini Tandon resigned as a Director of the Company on 8 February 2019.


          Capital structure
          All information relating to the Company’s capital structure, including changes to the Company’s share capital in the year, the rights
          attaching to shares, details of the Company’s principal shareholders and other shareholder information in contained on page 174.

          Dividends
          Details of the Company’s dividend policy and proposed final dividend payment for the year ended 31 December 2018 are set out
          in the Financial Review on page 19.

          Disclosure of information under Listing Rule 9.8.4 C
          In accordance with the UK Financial Conduct Authority’s Listing Rules (LR 9.8.4C), the information to be included in the Annual
          Report, where applicable, under LR 9.8.4, is set out in this Directors’ Report, with the exception of transactions with controlling
          shareholders which is set out on pages 147 and 148 (note 34 to the Consolidated Financial Statements) and interest capitalised
          which is set out on pages 136 to 138 (note 18 to the Consolidated Financial Statements).

          Employee engagement
          The way in which the Group engages with its employees, and the Group’s approach to diversity, is set out in the Corporate Social
          Responsibility report on pages 28 to 30.




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          Directors’ Report continued


          Greenhouse gas emissions
          The Company’s disclosure in relation to its greenhouse gas emissions is included within the sustainability section of the Corporate
          Social Responsibility report on pages 32 to 33.

          Impact Statement on the anticipated effects of Brexit
          The decision made by the UK to leave the European Union, or ‘Brexit’ as it has become known, means that all companies with
          interests in the UK or the European Union must embrace the challenges that this decision will bring. NMC Health has reviewed
          its position in this respect.

          We have a small business footprint in the UK, principally through the operation of Aspen Healthcare. There may be some effect
          on Aspen Healthcare as a result of potential negative economic effects affecting the UK and the ability of our UK business to
          attract sufficient calibre and quantity of doctors and other clinical staff from outside the UK, and our UK business has a number
          of contingency plans to deal with such issues to ensure that the provision of services is not interrupted.

          The Group also has a number of IVF businesses across Europe which are not dependent on patients, staff, goods, services and
          expertise from the UK, so aside of any European-wide economic difficulties or uncertainties resulting from Brexit, we expect these
          businesses to be unaffected.

          Overall the exposure for NMC Health as a group is low and manageable as a result of limited dependence financially and
          operationally on the movement of people, goods, services and capital between the UK and Europe. Therefore, whilst we will be
          keeping our position and planning under review, irrespective of the final negotiated or non-negotiated position regarding Brexit
          between the UK and European Union, NMC Health does not expect any material effect on the Group as a result of Brexit.

          Political donations
          Neither the Company nor any subsidiary company in the Group made any political donations during the year ended 31 December 2018.

          Whilst the Company has no intention of making formal political donations in the future, the Board acknowledge that given the wide
          interpretation of such donations, certain business events in which the Company or any of its subsidiaries, or the Board, may wish to
          participate may be caught under the formal definition of political donations. The Company will therefore again be seeking approval from
          shareholders at this year’s annual general meeting, for a small approved limit for “political donations”, for use in such circumstances. If this
          is approved by shareholders, the Board will provide full details of any such payments made in the next annual report.

          Financial Instruments
          The financial risk management objectives and policies of the Group, and the exposure of the Group to financial instruments,
          are included in note 39 to the financial statements on pages 153 to 155.

          Subsequent Events
          Details of any important and material events affecting the Group which have occurred since the end of the 2018 financial year,
          are set out in note 44 to the consolidated financial statements on page 157.

          Future Developments
          The Group’s strategy and potential future development are outlined in the Group Strategic Report on pages 4 to 35.

          Research and development
          The Eugin Foundation, part of the Clinica Eugin business, carries out research and development focused on fertility and human
          reproduction with particular regards to personal and social aspects as well as promotion of health.

          Branches
          The Group normally operates across all jurisdictions where it has a business presence through the incorporation of registered
          entities, but also operates through a number of branches where this is considered appropriate from an operational or regulatory
          perspective. A detailed list of entities and branches in the Group is provided in section 2.2 of financial statements.




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          Contracts of significance and Controlling Shareholders’ Agreement
          Under UAE law and regulations, with the exception of certain specific areas designated by the Government as such, all land
          must be held legally by a UAE National. In addition, all healthcare facility and pharmacy operating licences may only be held legally
          by a UAE National, and not a body corporate. As a result, some of the property owned beneficially by the Group and all the Group’s
          medical facility and pharmacy licences, are held legally in the name of either H.E. Saeed Bin Butti or Mr Khalifa Bin Butti, both
          continuing significant shareholders of the Company.

          The Company has an agreement with Dr B R Shetty, H.E. Saeed Bin Butti and Khalifa Bin Butti (“Controlling Shareholders”) under
          which the Controlling Shareholders agree to comply with the independence provisions of the UKLA Listing Rules. The Company
          has complied with the independence provisions contained in that agreement and, as far as the Company are aware, the
          Controlling Shareholders and any of their associates have also complied with such provisions and the procurement obligations
          included in the agreement.

          The Directors’ Report was approved by the Board on 06 March 2019 and is signed on behalf of the Board by:


          SIMON WATKINS
          Group Company Secretary

          NMC Health plc (registered in England and Wales, number 7712220)
          Level 1, Devonshire House, One Mayfair Place, London W1J 8AJ




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          The Company has concentrated
          on structuring its financing facilities
          to ensure a strong balance sheet
          for the medium to long term.




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          Directors’ Statements


          Statement of Directors’ responsibilities
          The Directors are responsible for preparing the Annual Report, the Directors’ Remuneration Report and the financial statements
          in accordance with applicable law and regulations.

          The Directors are required by Company Law to prepare financial statements for the Group and the Company in accordance with
          the International Financial Reporting Standards as adopted by the European Union (“IFRS”).

          The financial statements are required to present fairly for each financial period the Company’s financial position, financial
          performance and cash flows. In preparing the Group and parent company financial statements the Directors are also required to:
          • Properly select and consistently apply accounting policies;
          • Present information, including accounting policies, in a manner that provides relevant, reliable, comparable and
            understandable information;
          • Provide additional disclosures when compliance with the specific requirements in IFRS is insufficient to enable users to
            understand the impact of particular transactions, other events and conditions on the entity’s financial position and financial
            performance; and
          • Make an assessment of the company’s ability to continue as a going concern.

          The Directors confirm that they have complied with the above requirements in preparing the financial statements. The Directors
          also confirm that they consider the annual report and accounts, taken as a whole, is fair, balanced and understandable and
          provides the information necessary for shareholders to assess the Company’s performance, business model and strategy.

          The Directors are responsible for keeping proper accounting records that are sufficient to show and explain the Company’s
          transactions and disclose with reasonable accuracy at any time the financial position of the Company and to enable them to
          ensure that the financial statements comply with the Companies Act 2006. The Directors are also responsible for safeguarding
          the assets and hence for taking reasonable steps for the prevention and detection of fraud and other irregularities and for the
          preparation of a Directors’ report and Directors’ remuneration report which comply with the requirements of the Companies
          Act 2006.

          The Directors are responsible for the maintenance and integrity of the Company’s website. Legislation in the United Kingdom
          governing the preparation and dissemination of financial statements differs from legislation in other jurisdictions.

          We confirm to the best of our knowledge:
          • The financial statements, prepared in accordance with the International Financial Reporting Standards as adopted by the EU,
            give a true and fair view of the assets, liabilities, financial position and profit or loss of the Company and the undertakings
            included in the consolidation taken as a whole; and
          • The Strategic Report includes a fair review of the development and performance of the business and the position of the
            Company and the undertakings included in the consolidation taken as a whole, together with a description of the principal risks
            and uncertainties they face.

          Disclosure of information to the Auditors
          Directors’ statement as to disclosure of information to auditors:

          The Directors who were members of the Board at the time of approving the Directors‘ Report are set out on pages 38 and 39.
          Having made enquiries of fellow directors and of the Company‘s Auditor, each of these Directors confirms that:
          • to the best of each Director‘s knowledge and belief, there is no information (that is, information needed by the group‘s Auditor
            in connection with preparing their report) of which the Company‘s Auditor is unaware; and
          • each Director has taken all the steps a Director might reasonably be expected to have taken to be aware of relevant audit
            information and to establish that the Company‘s Auditor is aware of that information.

          EY have confirmed that they are willing to be reappointed as auditor for the financial year ending 31 December 2019.

          Going Concern and viability
          Going Concern
          NMC is a global healthcare provider operating multi-speciality hospitals and day care facilities across the Middle East, Europe, North
          and South America and Africa. The Group operates a diverse business covering the provision of healthcare services, distribution of
          health care items and the provision of healthcare management services.




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          Management have undertaken an assessment of the future prospects of the Group and the wider risks that the Group is
          exposed to. In this assessment of whether the Group should adopt the going concern basis in preparing its financial statements,
          management have considered:

          a) Operating risk: The management team prepare a Group budget for each financial year and a cashflow forecast for the
             following 18 months which allows the Board to monitor the financial position of the Group and to consider appropriate risks
             which the business may face from a financial perspective. Included in this review are future cashflow, both acquisition costs
             and subsequent cashflow generation, associated with acquisitions agreed and completed at the end of the 2018 financial year
             only. The Board receives monthly management reports covering key operational matters, monthly comparison to budget and
             updated forecasts on a half yearly basis for the full financial year to ensure that its businesses are trading in line with
             its expectations.

          b) Financing risk: The Group’s largest acquisitions during FY2018, the acquisition of CosmeSurge, Boston IVF and Fakih Medical
             Centre were largely financed via borrowings.

             During the year, the Group entered into the following new long-term financing arrangements:
             • Sukuk: On 21 November 2018, the Group issued US$400,000,000 Sukuk certificates (“Islamic finance) with maturity for payment
               on 2023. Sukuk carry a profit rate of 5.950%, payable half-yearly in arrears on 21 May and 21 November. The facility is secured
               against corporate guarantee provided by NMC Health Plc and its certain operating subsidiaries.
             • Convertible bond: On 23 April 2018 we issued convertible bonds with an aggregate principal amount of US$450 million. These
               bonds are listed on the Open Market of the Frankfurt Stock Exchange and bear interest at a cash coupon at the rate of 1.875%
               per annum, payable semi-annually. They have a maturity of 7 years to 30 April 2025 and a conversion option for the bondholders.

             The net proceeds of both the bonds were used to repay part of the US$1.0 billion bridge facility.
             • Term loans; The Group entered a syndicated facility amounting to US$2.0 billion. The syndicated facility was used to settle an
               existing syndicated loan and for acquisition purposes. The facility is structured into three sub facilities, these sub facilities are
               completely repayable within 18-60 months. The facility is secured against a corporate guarantee provided by NMC Health Plc
               and its certain operating subsidiaries. The facility carries interest at LIBOR plus margin.

             The Group has banking arrangements through a spread of local and international banking groups. Debt covenants are reviewed
             by the board each month. The Board believes that the level of cash in the Group and the spread of bankers providing these
             facilities mitigates the financing risks that the Group faces from both its acquisitive growth strategy and in relation to working
             capital requirements.

          c) Customer and Supplier risk: Both the Healthcare and the Distribution divisions, and hence the Group as a whole, have delivered
             a robust performance in 2018. All major financial and non-financial KPIs continued to show good improvement during the year.
             Trade receivables across the Group are monitored regularly, provisions made where necessary and the Group has no history
             of significant bad debts.

             Although the Group relies on the provision of the majority of its products from a small number of large suppliers, as well as
             a significant number of smaller suppliers, management do not believe that these suppliers are showing any signs of financial
             or operating difficulty. Management maintain close working relationships with all major suppliers in order to continually assess
             and monitor supplier performance as well as signs of financial risk. We do not currently assess there to be a heightened risk
             associated with supplier insolvency.

          d) Impairment risk: The Board has considered the carrying value and useful economic lives of inventories, accounts receivable,
             property and equipment and intangible assets and concluded that there are no indicators of material impairment of these
             items and therefore no material cash flow impact associated with any loss in those areas.

          In its going concern review, management also considered other areas of potential risk, including regulatory risk, insurance and
          legal risks and potential areas of material contingent liability and found no matters which are likely to affect the viability of the
          Group in the medium term.

          The Board has reviewed and considered management’s formal assessment of the going concern concept of accounting and
          the cash flow forecast that has been prepared for the period to 30 June 2020 and has concluded that this assessment and
          forecast indicates that the Group has positive cash flows with sufficient headroom and will comply with all debt covenants.

          The Directors therefore continue to adopt the going concern basis in the preparation of the financial statements.




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          Directors’ Statements continued


          Viability
          In order to protect longer term shareholder value, the Board have always considered how Group performance and its strategic
          decisions will affect the financial and operational prospects of the Group in the longer term. As recommended by provision
          C.2.2 of the UK Corporate Governance Code, the Directors have considered a formal assessment of the prospects of the Group
          over a longer period than the 12 months review period required under the ‘Going Concern basis of accounting.

          Management conducted a formal viability review looking forward for a period of three years. This period was selected as the most
          appropriate timeframe over which the future prospects of the Group should be considered given the Group’s changing nature and
          significant growth, the time taken to fully integrate acquired businesses and ramp-up newly opened facilities and the maturity
          date of current debt obligations.

          In its review, management considered the current position of the Group and the following principal financial risks associated with
          the business:
          • Uncertainty relating to changes in the macro economic environment including regulatory changes impacting the healthcare
              and insurance sectors;
          • Uncertainty attributed to competitor activity in key markets, changing patient demographics, demands attributes; and
          • Uncertainty associated with integrating recently acquired entities.

          The three year review considered the Group’s profitability, cash flows, banking covenants and other key financial ratios over the
          period. The plan makes certain assumptions about the ability to refinance debt as it falls due and the acceptable performance
          of the core revenue streams and market segments. The plan is stress tested using sensitivity analysis which reflects severe but
          plausible combinations of the principal financial risks of the business and then the potential impact of each scenario, using certain
          assumptions on the following levers were stress tested:
          • reductions in revenue per patient;
          • reduction in market share impacting the number of patients and occupancies;
          • increase manpower cost due to shortage of talent;
          • cost escalation due to inflation and a new tax regime;
          • impact on revenue due to currency fluctuation on overseas acquisition;
          • increase in accounts receivable (debtor days) and rejections due to increase in insurance business;
          • impact of digital patient engagement;
          • one-off payments, investments and charges; and
          • increase in interest rates.

          Where appropriate, an analysis was carried out to evaluate the potential impact of any of these principal risks actually occurring.

          Based on the results of this formal assessment, the Directors have a reasonable expectation that the Group will be able to continue
          in operation and meet its liabilities as they fall due over the three year period of the assessment.

          By Order of the Board


          SIMON WATKINS
          Group Company Secretary




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          Independent Auditor’s Report
          To the Members of NMC Health Plc

          Opinion
          In our opinion:
          • NMC Health plc’s group financial statements and parent company financial statements (the “financial statements”) give a true
             and fair view of the state of the group’s and of the parent company’s affairs as at 31 December 2018 and of the group’s profit
             for the year then ended;
          • the group financial statements have been properly prepared in accordance with IFRS as adopted by the European Union;
          • the parent company financial statements have been properly prepared in accordance with IFRSs as adopted by the European
             Union as applied in accordance with the provisions of the Companies Act 2006; and
          • the financial statements have been prepared in accordance with the requirements of the Companies Act 2006, and, as regards
             the group financial statements, Article 4 of the IAS Regulation.

          We have audited the financial statements of NMC Health plc which comprise:
          Group                                                                Parent company

          Consolidated balance sheet as at 31 December 2018                    Balance sheet as at 31 December 2018
          Consolidated income statement for the year then ended                Statement of changes in equity for the year then ended
          Consolidated statement of comprehensive income for the               Statement of cash flows for the year then ended
          year then ended
          Consolidated statement of changes in equity for the year             Related notes 1 to 15 to the financial statements including
          then ended                                                           a summary of significant accounting policies
          Consolidated statement of cash flows for the year then ended
          Related notes 1 to 44 to the financial statements, including
          a summary of significant accounting policies


          The financial reporting framework that has been applied in their preparation is applicable law and International Financial Reporting
          Standards (IFRSs) as adopted by the European Union and, as regards the parent company financial statements, as applied in
          accordance with the provisions of the Companies Act 2006.

          Basis for opinion
          We conducted our audit in accordance with International Standards on Auditing (UK) (ISAs (UK)) and applicable law. Our
          responsibilities under those standards are further described in the Auditor’s responsibilities for the audit of the financial statements
          section of our report below. We are independent of the group and parent company in accordance with the ethical requirements
          that are relevant to our audit of the financial statements in the UK, including the FRC’s Ethical Standard as applied to listed public
          interest entities, and we have fulfilled our other ethical responsibilities in accordance with these requirements.

          We believe that the audit evidence we have obtained is sufficient and appropriate to provide a basis for our opinion.

          Conclusions relating to principal risks, going concern and viability statement
          We have nothing to report in respect of the following information in the annual report, in relation to which the ISAs(UK) require
          us to report to you whether we have anything material to add or draw attention to:
          • the disclosures in the annual report set out on pages 22 to 25 that describe the principal risks and explain how they are being
             managed or mitigated;
          • the directors’ confirmation set out on page 86 in the annual report that they have carried out a robust assessment of the
             principal risks facing the entity, including those that would threaten its business model, future performance, solvency or liquidity;
          • the directors’ statement set out on page 84 in the financial statements about whether they considered it appropriate to adopt
             the going concern basis of accounting in preparing them, and their identification of any material uncertainties to the entity’s
             ability to continue to do so over a period of at least twelve months from the date of approval of the financial statements;
          • whether the directors’ statement in relation to going concern required under the Listing Rules in accordance with Listing
             Rule 9.8.6R(3) is materially inconsistent with our knowledge obtained in the audit; or
          • the directors’ explanation set out on pages 84 to 86 in the annual report as to how they have assessed the prospects of
             the entity, over what period they have done so and why they consider that period to be appropriate, and their statement
             as to whether they have a reasonable expectation that the entity will be able to continue in operation and meet its liabilities
             as they fall due over the period of their assessment, including any related disclosures drawing attention to any necessary
             qualifications or assumptions.




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          Independent Auditor’s Report continued
          To the Members of NMC Health Plc

          Overview of our audit approach

          Key audit matters      •   Revenue recognition
                                 •   Accounting for acquisitions
          Audit scope            •   We performed an audit of the complete financial information of 14 components and audit procedures
                                     on specific balances for a further 10 components.
                                 •   The components where we performed full or specific audit procedures accounted for 97% of Profit before
                                     tax, 90% of Revenue and 94% of Total assets, all before consolidation adjustments.
          Materiality            •   Overall group materiality of US$13.2mn which represents 5% of 2018 Profit before tax.


          Key audit matters
          Key audit matters are those matters that, in our professional judgment, were of most significance in our audit of the financial
          statements of the current period and include the most significant assessed risks of material misstatement (whether or not due
          to fraud) that we identified. These matters included those which had the greatest effect on: the overall audit strategy, the allocation
          of resources in the audit; and directing the efforts of the engagement team. These matters were addressed in the context of our
          audit of the financial statements as a whole, and in our opinion thereon, and we do not provide a separate opinion on these matters.




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          Risk                                                    Our response to the risk

          Revenue recognition                                     We tested key controls over revenue recognition, including the timing of
          Group Revenue                                           revenue recognition. Where we relied on the controls tested by internal audit
          2018: US$2,057.3mn                                      we satisfied ourselves about their objectivity, independence and professional
          2017: US$1,603.4mn                                      skills. We discussed the audit plan and audit program with the internal
                                                                  auditors, reviewed their testing of controls and re-performed a sample
          Refer to the Financial summary and highlights           of their work. We also independently tested an additional sample.
          Report (page 12); Accounting policies (page 111);
          and Note 7 of the Consolidated Financial             We reviewed a sample of new distribution agreements entered into during
          Statements (page 127).                               the year and revenue sharing contracts with doctors in newly acquired
                                                               businesses to verify that the Group’s determination that they are acting
          The Group has a number of revenue streams            in a capacity of a principal rather than an agent is appropriate considering
          relating to its Healthcare and Distribution segments the balance of risk and rewards.
          including clinic and hospital revenues, over the
          counter sales, pharmacy sales and sales of goods. We obtained assurance over the recognition of revenue through audit
                                                               work on accounts receivable specifically by testing the rejection rates
          The following areas of revenue recognition           based on historical experience and have verified that receivable balances
          are recognised as significant risks:                 as at year end are presented at their recoverable amount and revenues
          • Management may incorrectly determine               adjusted accordingly.
              whether the Group is acting as principal or agent
              in certain arrangements such as distribution        We performed substantive audit procedures including testing a sample
              agreements with key suppliers and revenue           of transactions by tracing invoices back to original documentation or
              sharing agreements with doctors.                    corroborated to resubmissions made by the company.
          •   Revenue recognition is impacted as
              insurance providers may reject claims               We reviewed a sample of material supplier agreements and accounting
              made which requires management to                   for the supplier income including fees and discounts by reviewing the
              estimate the percentage of rejections               agreements, verifying the data of conditions for the discounts being
              and adjust revenues accordingly.                    met and vouched the amounts recognised to invoices and cash receipts.

          The following areas of revenue recognition              For customer volume discounts we ensured the completeness and
          are audit focus areas however not seen                  accuracy of the provision amount and accounting through post year
          as significant risks:                                   end credit testing, by reviewing the customer agreements and verifying
          • Supplier agreements are often complex                 the conditions for discounts.
             which could lead to inaccurate accounting or
             conditions for recognition of the supplier income,   We performed cut off testing for a sample of revenue transactions around
             including fees and discounts, not being met.         the period end, to check that they were recognised in the appropriate period
          • Volume of transactions increases risk of              with particular focus on inpatient revenues and distribution sales and
             improper revenue recognition, particularly           assessing any reversals of revenues after year end. For IVF revenues
             with regards to cut-off at period end dates.         we tested management’s estimate as to cut off of completed IVF phases
                                                                  and verified revenues are recognised proportionally.
          The overall risk of revenue recognition has
          remained stable in the current year.                    We performed analytical review procedures including developments in patient
                                                                  numbers per facility and corroborated these with the revenue movement.

                                                                  We performed other audit procedures specifically designed to address
                                                                  the risk of management override of controls including journal entry
                                                                  testing, applying particular focus to manual journals and to the timing
                                                                  of revenue transactions.

                                                                  We checked the Group’s consistency and adherence to their revenue
                                                                  recognition policies including the impact of new reporting standard IFRS 15
                                                                  and we agreed that these policies are in accordance with IFRSs as adopted
                                                                  by the European Union. We assessed the disclosures against the
                                                                  requirements of IFRS 15.

                                                                  We performed full and specific scope audit procedures over this risk areas
                                                                  in 24 locations, which covered 90% of the group’s revenue.




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          Independent Auditor’s Report continued
          To the Members of NMC Health Plc

          Key audit matters continued
          Risk                                                      Our response to the risk

          Key observations communicated to the Audit Committee
          Based on the audit procedures performed, we are satisfied that revenue recognition is appropriate and that the Group has
          appropriately adhered to their revenue recognition policies, including the determination of whether the Group is acting as agent
          rather than as principal.

          We audited the impact of the new reporting standard IFRS 15 on the Group’s accounting policies and report that the new reporting
          standard has an immaterial impact on the Group’s financial results.
          Accounting for acquisitions                               We obtained and reviewed the sale and purchase agreements and other
          The Group recognised goodwill of US$392.2mn               relevant documentation to understand the terms and conditions of the
          (2017: US$471.6mn) and intangible assets                  acquisitions which took place in the year.
          of US$94.8mn (2017: US$17.3mn) in respect
          of the acquisitions made in the current year.             We assessed the judgements applied in determining whether acquisitions
                                                                    represented an acquisition of an asset or a business combination. This
          Of the 18 acquisitions in the year, 7 were                involved assessing whether or not the entities and the assets acquired
          included as full or specific audit scope based            constitute the carrying on of a business.
          on the materiality and related risks.
                                                                    Where transactions met the definition of a business combination we audited
          The following are the key audit risks:                    the management assessment of the assets and liabilities acquired and the
          • The contractual arrangements can be complex             allocation of the purchase consideration to these and the resultant goodwill
            and subject to different legal environments.            by performing the following procedures:
            This requires management to apply judgement             • We reviewed the due diligence reports.
            in determining whether a transaction represents         • The audit team with the assistance of the valuation experts, validated
            an acquisition of an asset or a business                    the appropriateness of the purchase price allocation, assessed the
            combination in accordance with IFRS 3.                      appropriateness of the recognition of intangible assets, and challenged
          • Estimates and judgements made in the                        the consideration of the valuation inputs and the valuation methodology.
            recognition of an acquisition as a business             • We verified that the consideration transferred, and where relevant
            combination may be inappropriate and the                    contingent consideration, was appropriately calculated in accordance
            valuation of the assets and liabilities acquired            with contractual arrangements.
            may be misstated.                                       • We assessed whether the Group is exposed, or has rights, to variable
          • Acquisitions may be recognised before the                   returns and has the ability to affect those returns through its power
            Group is exposed, or has rights, to variable                over the investee as at the date upon which the acquisitions were
            returns from its involvement with the investee              recognised including applicable regulatory approvals. This includes
            and has the ability to affect those returns                 also an assessment of acquisitions completed early in the following
            through its power over the investee.                        reporting period.
                                                                    • We verified the appropriateness of the consolidation adjustments in
          The overall risk has remained stable in the                   respect of accounting for these transactions including accounting for
          current year.                                                 acquisitions related costs.
                                                                    • We reviewed the predecessor auditor working papers for the entities
                                                                        acquired and in group scope.

                                                                    We verified that disclosure in the financial statements are in accordance with
                                                                    IFRS as adopted by the European Union.
          Key observations communicated to the Audit Committee
          Based on the audit procedures we have performed, we concur with the Group’s accounting for all acquisitions
          above our performance materiality.

          We have reviewed the business combinations disclosures in respect of the acquisitions which completed in 2018
          and we believe that these are appropriate and in compliance with the requirements of IFRS 3 Business combinations.


          In the prior year, our auditor’s report included the same Key Audit Matters as noted above.




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          An overview of the scope of our audit
          Tailoring the scope
          Our assessment of audit risk, our evaluation of materiality and our allocation of performance materiality determine our audit
          scope for each entity within the Group. Taken together, this enables us to form an opinion on the consolidated financial statements.
          We take into account size, risk profile, the organisation of the group and effectiveness of group-wide controls, changes in the
          business environment and other factors such as recent Internal audit results when assessing the level of work to be performed
          at each entity.

          In assessing the risk of material misstatement to the Group financial statements, and to ensure we had adequate quantitative
          coverage of significant accounts in the financial statements, of the 41 reporting components of the Group, we selected 21
          components covering entities within United Arab Emirates (UAE), Spain, Denmark, Brazil, Italy, Saudi Arabia and Oman, which
          represent the principal business units within the Group.

          Of the 24 components selected, we performed an audit of the complete financial information of 14 components (“full scope
          components”) which were selected based on their size or risk characteristics. For the remaining 10 components (“specific scope
          components”), we performed audit procedures on specific accounts within that component that we considered had the potential
          for the greatest impact on the significant accounts in the financial statements either because of the size of these accounts
          or their risk profile.

          The reporting components where we performed audit procedures accounted for the following percentages of the Group financial
          statements before consolidation adjustments;
          • Aggregated Profit before tax – 97% (2017: 99%)
          • Aggregated Revenue – 90% (2017: 95%)
          • Aggregated Total assets – 95% (2017: 98%)

          The components in scope contributed the following percentages of the Group financial statements before consolidation adjustments:
          • Full scope components: 92% (2017: 96%) of the aggregated Profit before tax, 74% (2017: 92%) of the aggregated Revenue and 87%
            (2017: 97%) of the aggregated Total assets.
          • Specific scope component: 5% (2017: 3%) of the aggregated Profit before tax, 16% (2017: 3%) of the aggregated Revenue and 8%
            (2017: 1%) of the aggregated Total assets. The audit scope of these components may not have included testing of all significant
            accounts of the component but will have contributed to the coverage of significant accounts. Specific scope component testing
            is primarily focused on the significant risk in relation to revenue recognition however it also included procedures on property and
            equipment balances and accounts receivables among others.

          The remaining 31 components, which are primarily located in the UAE, together represent 3% of the Group’s aggregated Profit before
          tax. For these components, we performed other procedures, including analytical review and testing of consolidation journals and
          intercompany eliminations and foreign currency translation recalculations to respond to any potential risks of material
          misstatement to the Group financial statements.

          Changes from the prior year
          During the year the Group acquired 18 entities out of which CosmeSurge (UAE), Chronic Care (KSA), Al Salam (KSA), Emirates Medical
          Center (Oman), Aspen Healthcare (UK, 3 entities), Eugin Sweden AB and Pro-Criar (BRA) were included in the group audit scope.
          The other 11 acquired entities were not in scope this year based on their respective size and risk characteristics including due
          to being acquired later in the reporting period and as such limiting the impact on 2018 consolidation results for the year.

          Due to expansion of the group both through organic growth and acquisition we have revisited group scoping of entities from
          prior year considering their size, respective risks and result of prior year audits and made the following changes this year:
          • four full scope components in the prior year are reduced to specific scope,
          • two specific scope components in the prior year were not in scope this year.




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          Independent Auditor’s Report continued
          To the Members of NMC Health Plc

          Changes from the prior year continued
          Integrated team structure and Involvement with component teams
          The overall audit strategy is determined by the Senior Statutory Auditor. The Senior Statutory Auditor is based in the UK. However,
          since Group management and the majority of the operations reside in the UAE, the Group audit team includes members from
          both the UK and the UAE. The Group audit team members from the UAE are also members of selected components teams.

          In establishing our overall approach to the Group audit, we determined the type of work that needed to be undertaken at each
          of the components by us, as the primary audit engagement team, or by component auditors from other EY global network firms
          operating under our instruction. Of the 14 full scope components, audit procedures were performed on four of these directly by
          the primary audit team and audit procedures on the remaining 10 entities by the component audit teams. For these components,
          we determined the appropriate level of involvement to enable us to determine that sufficient audit evidence had been obtained
          as a basis for our opinion on the Group as a whole.

          Given that the Group operates predominantly in the UAE, the Senior Statutory Auditor with his UK based audit team members
          travelled to the UAE during three periods to work in an integrated manner with the EY UAE audit team members as part of the
          half year review, interim and yearend audit. This involved defining audit strategy for significant accounts, discussing the approach
          with management, monitoring the execution and reviewing the underlying work.

          During the current year the Primary team also visited Spain, where the Luarmia S.L. group of companies are based (Luarmia
          Group is full scope component). These visits involved discussing the results of the audit of component team, meeting with local
          management, attending the closing meetings and reviewing key audit working papers on risk areas.

          Primary team also met management of Aspen Healthcare (2018 acquisition, specific scope component) to discuss the business
          and overall audit approach in addition to reviewing key audit working papers on risk areas.

          In addition, in the UAE, the Primary team met with the KSA audit team responsible for the audit of two newly acquired KSA
          components and discussed the results of the interim audit work. We also reviewed the underlying working papers on risk areas
          for Al Salam (specific scope component).

          The primary team also interacted with all individual component teams in group scope during the interim audit and year-end
          audit discussing audit progress, audit findings and other key observations.

          This, together with the additional procedures performed at Group level by the Group audit team, gave us appropriate evidence
          for our opinion on the Group financial statements.

          Our application of materiality
          We apply the concept of materiality in planning and performing the audit, in evaluating the effect of identified misstatements
          on the audit and in forming our audit opinion.

          Materiality
          The magnitude of an omission or misstatement that, individually or in the aggregate, could reasonably be expected to influence
          the economic decisions of the users of the financial statements. Materiality provides a basis for determining the nature and extent
          of our audit procedures.

          We determined materiality for the Group to be US$13.2mn (2017: US$10.69mn), which is 5% (2017: 5%) of the Group consolidated
          Profit before tax. We believe that Profit before tax is one of the key performance indicators of the business and a focus of users
          of the financial statements. The increase in materiality from the prior year reflects the impact of the newly acquired entities on
          the Group’s profit and organic growth of the legacy entities. Compared to prior year, Profit before tax was not adjusted for the effect
          of non-recurring items. These related to the cost in respect of the acquisitions which, given the continued activities in recent years
          are no longer deemed as non-recurring. Had we excluded the one-off costs in respect of acquisitions in amount of US$5.0mn,
          our materiality would have been US$12.9mn considering actual year end Profit before tax.

          We determined materiality for the Parent Company to be US$7.16mn (2017: US$5.52mn), which is 1% (2017: 1%) of Equity.




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                                   Document
                                        Strategic
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          Performance materiality
          The application of materiality at the individual account or balance level. It is set at an amount to reduce to an appropriately
          low level the probability that the aggregate of uncorrected and undetected misstatements exceeds materiality.

          On the basis of our risk assessments, together with our assessment of the Group’s overall control environment, our judgement
          was that performance materiality was 50% (2017: 50%) of our planning materiality, namely US$6.6mn (2017: US$5.34mn). We have
          set performance materiality at this percentage due to our expectation of potential misstatements, our risk assessment and
          changes in the organisation, particularly given the acquisitions which took place during the year.

          Audit work at component locations for the purpose of obtaining audit coverage over significant financial statement accounts is
          undertaken based on a percentage of total performance materiality. The performance materiality set for each component is based
          on the relative scale and risk of the component to the Group as a whole and our assessment of the risk of misstatement at that
          component. In the current year, the range of performance materiality allocated to components was US$1.32mn to US$3.24mn
          (2017: US$ 1.07mn to US$ 2.67mn).

          Reporting threshold
          An amount below which identified misstatements are considered as being clearly trivial.

          We agreed with the Audit Committee that we would report to them all uncorrected audit differences in excess of US$0.66mn
          (2017: US$0.53mn), which is set at 5% of planning materiality, as well as differences below that threshold that, in our view, warranted
          reporting on qualitative grounds.

          We evaluate any uncorrected misstatements against both the quantitative measures of materiality discussed above and in light
          of other relevant qualitative considerations in forming our opinion.

          Other information
          The other information comprises the information included in the annual report set out on pages 36 to 81 including Shareholder
          Summary information report, Group’s Strategic report and Group’s Governance report including Director’s report, Remuneration
          report and Corporate Governance Report, other than the financial statements and our auditor’s report thereon. The directors
          are responsible for the other information.

          Our opinion on the financial statements does not cover the other information and, except to the extent otherwise explicitly stated
          in this report, we do not express any form of assurance conclusion thereon.

          In connection with our audit of the financial statements, our responsibility is to read the other information and, in doing so, consider
          whether the other information is materially inconsistent with the financial statements or our knowledge obtained in the audit or
          otherwise appears to be materially misstated. If we identify such material inconsistencies or apparent material misstatements,
          we are required to determine whether there is a material misstatement in the financial statements or a material misstatement
          of the other information. If, based on the work we have performed, we conclude that there is a material misstatement of the other
          information, we are required to report that fact.

          We also report in regard to our responsibility to specifically address the following items in the other information and to report as
          uncorrected material misstatements of the other information where we conclude that those items meet the following conditions:
          • Fair, balanced and understandable set out on page 84 – the statement given by the directors that they consider the annual
            report and financial statements taken as a whole is fair, balanced and understandable and provides the information necessary
            for shareholders to assess the group’s performance, business model and strategy, is materially inconsistent with our knowledge
            obtained in the audit; or
          • Audit committee reporting set out on pages 48 to 51 – the section describing the work of the audit committee does not
            appropriately address matters communicated by us to the audit committee; or
          • Directors’ statement of compliance with the UK Corporate Governance Code set out on page 42 – the parts of the directors’
            statement required under the Listing Rules relating to the company’s compliance with the UK Corporate Governance Code
            containing provisions specified for review by the auditor in accordance with Listing Rule 9.8.10R(2) do not properly disclose
            a departure from a relevant provision of the UK Corporate Governance Code.

          We have nothing to report in this regard.




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          Independent Auditor’s Report continued
          To the Members of NMC Health Plc

          Opinions on other matters prescribed by the Companies Act 2006
          In our opinion, the part of the directors’ remuneration report to be audited has been properly prepared in accordance with the
          Companies Act 2006.

          In our opinion, based on the work undertaken in the course of the audit:
          • the information given in the strategic report and the directors’ report for the financial year for which the financial statements
             are prepared is consistent with the financial statements; and
          • the strategic report and the directors’ report have been prepared in accordance with applicable legal requirements.

          Matters on which we are required to report by exception
          In the light of the knowledge and understanding of the group and the parent company and its environment obtained in the course
          of the audit, we have not identified material misstatements in the strategic report or the directors’ report.

          We have nothing to report in respect of the following matters in relation to which the Companies Act 2006 requires us to report
          to you if, in our opinion:
          • adequate accounting records have not been kept by the parent company, or returns adequate for our audit have not been
             received from branches not visited by us; or
          • the parent company financial statements and the part of the Directors’ Remuneration Report to be audited are not in
             agreement with the accounting records and returns; or
          • certain disclosures of directors’ remuneration specified by law are not made; or
          • we have not received all the information and explanations we require for our audit.

          Responsibilities of directors
          As explained more fully in the directors’ responsibilities statement set out on page 84, the directors are responsible for the
          preparation of the financial statements and for being satisfied that they give a true and fair view, and for such internal control as
          the directors determine is necessary to enable the preparation of financial statements that are free from material misstatement,
          whether due to fraud or error.

          In preparing the financial statements, the directors are responsible for assessing the group and parent company’s ability
          to continue as a going concern, disclosing, as applicable, matters related to going concern and using the going concern basis
          of accounting unless the directors either intend to liquidate the group or the parent company or to cease operations, or have
          no realistic alternative but to do so.

          Auditor’s responsibilities for the audit of the financial statements
          Our objectives are to obtain reasonable assurance about whether the financial statements as a whole are free from material
          misstatement, whether due to fraud or error, and to issue an auditor’s report that includes our opinion. Reasonable assurance
          is a high level of assurance, but is not a guarantee that an audit conducted in accordance with ISAs (UK) will always detect
          a material misstatement when it exists. Misstatements can arise from fraud or error and are considered material if, individually
          or in the aggregate, they could reasonably be expected to influence the economic decisions of users taken on the basis of these
          financial statements.

          Explanation as to what extent the audit was considered capable of detecting irregularities, including fraud
          The objectives of our audit, in respect to fraud, are; to identify and assess the risks of material misstatement of the financial
          statements due to fraud; to obtain sufficient appropriate audit evidence regarding the assessed risks of material misstatement
          due to fraud including management override, through designing and implementing appropriate responses; and to respond
          appropriately to fraud or suspected fraud identified during the audit. However, the primary responsibility for the prevention
          and detection of fraud rests with both those charged with governance of the entity and management.

          Our approach was as follows:
          • We obtained an understanding of the legal and regulatory frameworks that are applicable to the group. The group is subject to
            regulations applicable and specific to their individual markets. The group operates two different segments – i.e. Healthcare and
            Distribution. The Healthcare division is regulated by governmental and non-governmental organisations which are responsible
            for monitoring the performance and clinical procedures against its regulations including renewal of operating licences. The
            distribution division is present only in the UAE and is, for much of their product range, controlled through the UAE Ministry of
            Health dealing with pricing and compliance with the regulation of disposal of pharmaceuticals.
          • The Board is responsible for setting out the Group’s strategic risks and the mitigating actions and controls taken against those
            risks. We have obtained and reviewed the Risk register which includes the risk of failure to comply with multi regulatory and
            standards bodies’ requirements and risk of inadequate data security measures.
          • Based on this understanding we designed our audit procedures to identify non-compliance with such laws and regulations. Our
            procedures involved making inquiries with the Group Board members including Chief Executive officer and Chief Financial officer.
            In addition we held inquiry with the group’s legal team and obtained independent legal confirmation letters from external legal
            advisors for each entity/country in scope. We have reviewed minutes of Board meetings and Audit Committee meetings and
            have tested legal expenses to confirm completeness of known litigations and claims. In areas where management relies on
            controls procedures performed by Internal audit, we met with the Internal audit and discussed the Audit plan and/or reviewed
            the results report.



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          •   We assessed the susceptibility of the group’s financial statements to material misstatement, by considering the controls that
              the Group has established to address risks identified by the entity, including how fraud might occur either through individual
              transaction, transactions with related parties or transactions with a high degree of management judgment or estimate.
              We note that revenues from both segments consist of large volume/low value transactions and a low degree of judgment or
              estimate with the exception of rejection rates. Our procedures included performing journal entry testing, with a focus on manual
              consolidation journals and journals at individual company level indicating larger one off or unusual transactions especially those
              impacting revenues, performing analytical review of disaggregated financial information (i.e. revenue movements over the
              period and location), obtaining a list of related parties and reviewing minutes of various meetings to confirm the completeness
              of this list. We have in addition maintained our professional scepticism during the substantive test of transactions e.g. by
              including in our testing those with new customers and suppliers or those where management in their accounting and valuation
              applied significant estimates and judgments.

          A further description of our responsibilities for the audit of the financial statements is located on the Financial Reporting Council’s
          website at https://www.frc.org.uk/auditorsresponsibilities. This description forms part of our auditor’s report.

          Other matters we are required to address
          • We were re-appointed by the company at the Annual General Meeting on 28 June 2018 to audit the financial statements for
            the year ending 31 December 2018 and subsequent financial periods.
          • The period of total uninterrupted engagement including previous renewals and reappointments is 7 years, covering the years
            ending 31 December 2012 to 31 December 2018.
          • The non-audit services prohibited by the FRC’s Ethical Standard were not provided to the group or the parent company and
            we remain independent of the group and the parent company in conducting the audit.
          • The audit opinion is consistent with the additional report to the audit committee.

          Use of our report
          This report is made solely to the company’s members, as a body, in accordance with Chapter 3 of Part 16 of the Companies Act
          2006. Our audit work has been undertaken so that we might state to the company’s members those matters we are required to
          state to them in an auditor’s report and for no other purpose. To the fullest extent permitted by law, we do not accept or assume
          responsibility to anyone other than the company and the company’s members as a body, for our audit work, for this report, or for
          the opinions we have formed.


          VICTOR VEGER (SENIOR STATUTORY AUDITOR)
          for and on behalf of Ernst & Young LLP, Statutory Auditor
          London
          06 March 2019




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          Consolidated Income Statement
          For the year ended 31 December 2018

                                                                                                 2018           2017
                                                                                  Notes       US$‘000        US$‘000

          Revenue                                                                    7     2,057,253       1,603,396
          Direct costs                                                               8      (1,216,126)     (968,044)
          GROSS PROFIT                                                                        841,127       635,352

          General and administrative expenses                                        8      (442,966)       (335,168)
          Other income                                                               9         89,211         53,203
          PROFIT FROM OPERATIONS BEFORE DEPRECIATION, AMORTIZATION, TRANSACTION
            COSTS AND IMPAIRMENT                                                             487,372        353,387
          Transaction costs in respect of business combinations                       5         (4,976)       (5,969)
          Depreciation                                                               18       (81,569)       (58,107)
          Amortisation                                                               19       (18,794)       (12,776)
          Impairment of assets                                                    18&19         (2,214)        (3,010)
          PROFIT FROM OPERATIONS                                                             379,819        273,525
          Finance costs on borrowings                                                10     (104,405)        (63,792)
          Interest on convertible bond and sukuk                                      11      (16,896)              –
          Finance income                                                            12           5,829          7,487
          Gain from bargain purchase on acquisition                                   5          5,628              –
          Unamortised finance fees written off                                      28          (13,124)       (6,794)
          PROFIT FOR THE YEAR BEFORE TAX                                             13      256,851        210,426
          Tax                                                                        16       (4,942)         (1,245)
          PROFIT FOR THE YEAR                                                                251,909         209,181
          Profit for the year attributable to:
           Equity holders of the Parent                                                     248,653         185,970
           Non-controlling interests                                                          3,256           23,211
          Profit for the year                                                                251,909         209,181
          Earnings per share for profit attributable to the
          equity holders of the Parent:
          Basic EPS (US$)                                                            17         1.196         0.910
          Diluted EPS (US$)                                                          17         1.188         0.903




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          Consolidated Statement of Other Comprehensive Income
          For the year ended 31 December 2018

                                                                                                                                2018                 2017
                                                                                                             Notes           US$‘000              US$‘000

          PROFIT FOR THE YEAR                                                                                               251,909               209,181
          Other comprehensive income
          Other comprehensive income to be reclassified to income statement in subsequent
           periods (net of tax)
          Exchange difference on translation of foreign operations                                                             (9,512)             15,304

          Other comprehensive income not to be reclassified to income statement in
           subsequent periods (net of tax)
          Re-measurement gains on defined benefit plans                                                         29             3,429                    1
          Other comprehensive (loss) income for the year (net of tax)                                                         (6,083)             15,305
          TOTAL COMPREHENSIVE INCOME FOR THE YEAR                                                                           245,826           224,486
          Total comprehensive income attributable to:
           Equity holders of the Parent                                                                                      243,910              199,497
           Non-controlling interests                                                                                           1,916               24,989
          Total comprehensive income                                                                                        245,826           224,486


          These results relate to continuing operations of the Group. There are no discontinued operations in the current and prior year.

          The attached notes 1 to 44 form part of the consolidated financial statements.




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          Consolidated Statement of Financial Position
          As at 31 December 2018

                                                                                                                         2018          2017
                                                                                                         Notes        US$‘000       US$‘000

          ASSETS
          Non-current assets
          Property and equipment                                                                           18        829,900        607,092
          Intangible assets                                                                                19       1,618,450      1,156,904
          Deferred tax assets                                                                              16            5,794         3,418
          Advances paid for acquisitions                                                                    5           18,301             –
          Other non-current assets                                                                                      8,478         43,090
                                                                                                                   2,480,923       1,810,504
          Current assets
          Inventories                                                                                      21        247,306        181,330
          Accounts receivable and prepayments                                                              22        639,124       518,842
          Loan receivable                                                                                  20           2,001         32,187
          Amounts due from related parties                                                                 34           7,346           1,776
          Income tax receivable                                                                                        4,532           3,063
          Bank deposits                                                                                    23         167,156        185,611
          Bank balances and cash                                                                           23        324,027       202,002
                                                                                                                    1,391,492       1,124,811
          Asset held for sale                                                                              42               –         3,693
          TOTAL ASSETS                                                                                              3,872,415     2,939,008
          EQUITY AND LIABILITIES
          Equity
          Share capital                                                                                    24         32,443        31,928
          Share premium                                                                                    24        633,744       492,634
          Group restructuring reserve                                                                      25         (10,001)      (10,001)
          Foreign currency translation reserve                                                                         (3,007)       5,398
          Option redemption reserves                                                                       40        (40,372)      (33,483)
          Convertible bond equity component                                                                33         64,960              –
          Retained earnings                                                                                26        626,015       603,240
          Equity attributable to equity holders of the Parent                                                       1,303,782      1,089,716
          Non-controlling interests                                                                                    52,981         54,910
          Total equity                                                                                              1,356,763      1,144,626
          Non-current liabilities
          Term loans                                                                                       28       660,835        987,840
          Convertible bond and Sukuk                                                                       33       783,009                –
          Post Employment benefit plans                                                                    29         55,137          41,374
          Other payables                                                                                    31       15,689         38,984
          Option redemption payable                                                                        40         20,179         12,728
          Finance lease liabilities                                                                        32         2,995                –
          Deferred tax liabilities                                                                         16         17,745          9,693
                                                                                                                   1,555,589       1,090,619
          Current liabilities
          Accounts payable and accruals                                                                    30         317,587      209,470
          Other payables                                                                                    31         6,806         18,110
          Option redemption payable                                                                        40          26,019       26,019
          Amounts due to related parties                                                                   34          47,737       28,472
          Bank overdrafts and other short term borrowings                                                  23        168,950       207,034
          Term loans                                                                                       28        379,919       204,154
          Post Employment benefit plans                                                                    29           6,549        6,905
          Income tax payable                                                                                            4,812        2,265
          Finance lease liabilities                                                                        32           1,684             –
          Dividend payable                                                                                 27               –        1,334
                                                                                                                     960,063        703,763
          Total liabilities                                                                                         2,515,652     1,794,382
          TOTAL EQUITY AND LIABILITIES                                                                              3,872,415     2,939,008

          The consolidated financial statements were authorised for issue by the board of directors on 06 March 2019 and were signed on its
          behalf by


          PRASANTH MANGHAT                             PRASHANTH SHENOY
          Chief Executive Officer                      Chief Financial Officer

          The attached notes 1 to 44 form part of the consolidated financial statements.

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          Consolidated Statement of Changes in Equity
          For the year ended 31 December 2018

                                                                         Attributable to the equity holders of the Parent
                                                                                                                    Equity
                                                                                                    Foreign    component
                                                                          Group                    currency              of          Option                    Non–
                                             Share       Share    restructuring     Retained     translation    convertible     redemption                controlling
                                            Capital   premium           reserve     earnings        reserve         bonds          reserves      Total      interest       Total
                                           US$ ‘000    US$ ‘000        US$ ‘000     US$ ‘000       US$ ‘000       US$ ‘000         US$ ‘000   US$ ‘000     US$ ‘000     US$ ‘000

          Balance as at 1 January 2018     31,928 492,634              (10,001)    603,240           5,398                  –     (33,483) 1,089,716         54,910 1,144,626
          IFRS 9 credit risk adjustment
            (Note 22)                            –           –               –        (17,231)             –                –            –     (17,231)            –     (17,231)
          Balance as at 1 January 2018
           (adjusted)                      31,928 492,634              (10,001)    586,009           5,398                  –     (33,483) 1,072,485         54,910 1,127,395
          Profit for the year                                                      248,653               –                  –               248,653           3,256 251,909
          Other comprehensive
           income                                                                     3,662         (8,405)                 –                  (4,743)        (1,340)    (6,083)
          Total comprehensive income
            for the year                         –           –               –      252,315         (8,405)                 –            –    243,910          1,916 245,826
          Dividend (note 27)                     –           –               –      (35,739)             –                  –            –    (35,739)        (1,769) (37,508)
          Exercise of stock option
            shares (note 24)                    38      2,396                –        (2,434)              –                –            –           –             –           –
          Issuance of share capital-
            new (Note 17)                      477     138,714               –              –              –                –            –     139,191             –    139,191
          Equity component
            convertible bond (Note 33)           –           –               –              –              –      66,034                      66,034               –    66,034
          Option redemption reserve
            (note 40)                            –           –               –              –              –                –      (6,889)    (6,889)              –    (6,889)
          Acquisition of non-controlling
            interest (note 2.2)                  –           –               –     (184,406)               –                –            – (184,406)       (40,926) (225,332)
          Acquisition of subsidiaries
            (note 5)                             –           –               –              –              –                –            –           –       39,271      39,271
          Adjustment to prior year
            business combination
            (note 5)                             –           –               –              –              –                –            –           –       (2,307)     (2,307)
          Adjustment for current period
            (note 5)                             –           –               –          566                –                –            –       566          1,886       2,452
          Share based payments
            (note 35)                            –           –               –         9,704               –                –            –      9,704              –      9,704
          Transaction cost on issuance
            of convertible bond                  –           –               –              –              –        (1,074)              –      (1,074)            –      (1,074)
          Balance as at
           31 December 2018                32,443 633,744              (10,001)     626,015         (3,007)       64,960          (40,372) 1,303,782        52,981 1,356,763




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          Consolidated Statement of Changes in Equity continued
          For the year ended 31 December 2017

                                                                            Attributable to the equity holders of the Parent
                                                                                                                       Equity
                                                                                                       Foreign    component
                                                                             Group                    currency              of          Option                    Non–
                                                Share       Share    restructuring     Retained     translation    convertible     redemption                controlling
                                               Capital   premium           reserve     earnings        reserve         bonds          reserves      Total      interest       Total
                                              US$ ‘000    US$ ‘000        US$ ‘000     US$ ‘000       US$ ‘000       US$ ‘000         US$ ‘000   US$ ‘000     US$ ‘000     US$ ‘000

          Balance as at 1 January 2017          31,910 491,778            (10,001)    436,337           (8,128)                –     (35,027) 906,869          42,002      948,871
          Profit for the year                        –       –                  –     185,970                –                 –           – 185,970            23,211     209,181
          Other comprehensive
           income                                    –          –               –              1       13,526                  –            –     13,527         1,778      15,305
          Total comprehensive income
           for the year                                                                185,971         13,526                  –            –    199,497       24,989 224,486
          Dividend (note 27)                         –          –               –      (27,779)             –                  –            –     (27,779)     (21,160) (48,939)
          Option redemption
           reserve (note 40)                         –          –               –              –              –                –        1,544      1,544              –      1,544
          Exercise of stock option
           shares (note 24)                         18       856                –          (874)              –                –            –           –             –          –
          Adjustment to prior year
           business combination                      –          –               –         1,683               –                –            –      1,683          1,631      3,314
          Acquisition of
           non-controlling interest                  –          –               –        (1,279)              –                –            –      (1,279)      (1,336)     (2,615)
          Acquisition of
           subsidiaries (note 5)                     –          –               –              –              –                –            –           –       8,784       8,784
          Share based payments
           (note 35)                                 –          –               –          9,181              –                –            –       9,181             –       9,181
          Balance as at
           31 December 2017                    31,928 492,634             (10,001)    603,240           5,398                  –     (33,483) 1,089,716         54,910 1,144,626


          The attached notes 1 to 44 form part of the consolidated financial statements.




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Exhibit 6 to B.R. Shetty's Request for Judicial Notice                               104 of 182                                                      Hashem, et al., v. NMC Health PLC, et al.,
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          Consolidated Statement of Cash Flows
          For the year ended 31 December 2018

                                                                                                                    2018                 2017
                                                                                                 Notes           US$‘000              US$‘000

          OPERATING ACTIVITIES
          Profit for the year before tax                                                                        256,851           210,426
          Adjustments for:
           Depreciation                                                                             18           81,569               58,107
           Employees’ end of service benefits                                                       29            13,742                11,106
           Amortisation of intangible assets                                                        19           18,794               12,776
           Finance income                                                                           12           (5,829)               (7,487)
           Finance costs on borrowings                                                              10          104,405               63,792
           Interest on convertible bond and sukuk                                                    11          16,896                      –
           Loss on disposal of property and equipment                                                                 107                  190
           Foreign exchange loss                                                                                     795                    21
           Unamortised finance fees written off                                                       8            13,124               6,794
           Impairment of assets                                                                   18,19             2,214               3,010
           Gain on disposal of asset held for sale (net)                                                               (21)                  –
           Gain from bargain purchase on acquisition                                                             (5,628)                     –
           Reversal of contingent and deferred consideration                                                     (8,222)                     –
           Share based payments expense                                                             35             9,704                 9,181
                                                                                                                498,501               367,916
          Working capital changes:
           Inventories                                                                                            (50,134)             (28,212)
           Accounts receivable and prepayments                                                                   (43,950)             (82,078)
           Amounts due from related parties                                                                        (5,570)               2,670
           Accounts payable and accruals                                                                          (19,762)               11,554
           Amounts due to related parties                                                                           19,190              13,487
          Net cash from operations                                                                              398,275           285,337
          Employees’ end of service benefits paid                                                   29            (7,954)           (3,447)
          Income tax paid                                                                                         (2,501)           (4,379)
          Net cash from operating activities                                                                    387,820                277,511
          INVESTING ACTIVITIES
          Purchase of property and equipment                                                        18          (160,222)          (63,448)
          Purchase of intangible assets                                                             19              (4,765)            (1,413)
          Proceeds from disposal of property and equipment                                                             508                88
          Proceeds from disposal of asset held for sale                                                              9,244                  –
          Acquisition of subsidiaries, net of cash acquired and adjustment of loan                    5        (480,609)         (628,057)
          Asset held for sale                                                                                      (5,530)           (2,880)
          Bank deposits maturing in over 3 months                                                                (43,828)          (40,759)
          Restricted cash                                                                                         30,818             52,770
          Finance income received                                                                                    6,153              1,144
          Advances paid for acquisitions                                                             5            (18,301)                  –
          Loan receivable                                                                           20             (9,025)           (17,934)
          Other non-current assets                                                                                    (654)           (1,335)
          Contingent consideration paid for acquisition                                             39             (2,363)          (15,053)
          Net cash used in investing activities                                                                 (678,574)         (716,877)




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          Consolidated Statement of Cash Flows continued
          For the year ended 31 December 2018

                                                                                                        2018           2017
                                                                                           Notes     US$‘000        US$‘000

          FINANCING ACTIVITIES
          New term loans and draw-downs                                                      28    1,532,570        671,353
          Repayment of term loans                                                            28    (1,700,751)        (319,111)
          Transaction cost of term loan                                                               (23,377)       (16,075)
          Receipts of short term borrowings                                                             311,011     351,775
          Repayment of short term borrowings                                                        (338,173)      (373,318)
          Repayment of finance lease liability                                                            (633)              –
          Convertible bond                                                                   33      450,000                 –
          Transaction cost of convertible bond                                                           (7,316)             –
          Issuance of sukuk                                                                  33      400,000                 –
          Transaction cost of sukuk                                                                     (7,392)              –
          Dividend paid to shareholders                                                      27       (35,739)       (27,779)
          Dividend paid to non-controlling interest                                          27          (3,103)     (14,523)
          Other payable                                                                                 (2,764)          1,200
          Finance costs paid                                                                         (92,820)        (54,126)
          Acquisition of non-controlling interest                                                    (85,545)           (2,615)
          Deferred consideration paid for acquisition                                                  (3,600)         (4,356)
          Net cash from financing activities                                                        392,368        212,425
          INCREASE/(DECREASE) IN CASH AND CASH EQUIVALENTS                                           101,614       (226,941)
          Cash and cash equivalents at 1 January                                                    206,462        433,403
          CASH AND CASH EQUIVALENTS AT 31 DECEMBER                                           23     308,076        206,462


          The attached notes 1 to 44 form part of the consolidated financial statements.




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          Notes to the Consolidated Financial Statements
          At 31 December 2018

          1 Corporate information
          NMC Health plc (the “Company” or “Parent’’) is a Company which was incorporated in England and Wales on 20 July 2011. The
          Company is a public limited company operating in the Middle East, Europe, United Kingdom, Africa, South America and North
          America. The Group is primarily based in United Arab Emirates (“UAE”). The address of the registered office of the Company is
          Level 1, Devonshire House, One Mayfair Place, London, W1J 8AJ. The registered number of the Company is 7712220. The Company’s
          immediate and ultimate controlling party is a group of three individuals (H.E. Saeed Mohamed Butti Mohamed Al Qebaisi
          (H.E. Saeed Bin Butti), Dr BR Shetty and Mr Khalifa Butti Omair Yousif Ahmad Al Muhairi (Mr. Khalifa Bin Butti) who are all
          shareholders and of whom two are directors of the Company and who together have the ability to control the Company.

          The Parent and its subsidiaries (collectively the “Group”) are engaged in providing professional medical services, home care services,
          long term care services and the provision of all types of research and medical services in the field of gynaecology, obstetrics and
          human reproduction, and the rendering of business management services to companies in the health care and hospital sector.
          The Group is also engaged in wholesale of pharmaceutical goods, medical equipment, cosmetics, food.

          The consolidated financial statements of the Group for the year ended 31 December 2018 were authorised for issue by the board
          of directors on 06 March 2019.

          2.1 Basis of preparation
          The consolidated financial statements have been prepared in accordance with International Financial Reporting Standards
          as adopted by the European Union as they apply to the financial statements of the Group for the year ended 31 December 2018
          and applied in accordance with the Companies Act 2006.

          The consolidated financial statements are prepared under the historical cost convention, except for derivative financial instruments
          and contingent consideration payable which have been measured at fair value. The principal accounting policies adopted in the
          preparation of these consolidated financial statements are set out below. These policies have been consistently applied to all
          periods, presented.

          Functional and reporting currency
          The functional currency of the Company and its subsidiaries in the UAE is the UAE Dirham and the functional currency of the
          subsidiaries operating outside UAE is the currency of those respective countries. The reporting currency of the Group is United
          States of America Dollar (US$) as this is a more globally recognized currency. The UAE Dirham is pegged against the US Dollar
          at a rate of 3.673 per US Dollar.

          All values are rounded to the nearest thousand dollars ($000) except when otherwise indicated.

          Going concern
          The Group’s business activities, together with the factors likely to affect its future development, performance and position are set
          out in the Strategic Review in the Annual Report. The financial position of the Group, its cash flows, liquidity position and borrowing
          facilities are described in the Financial Review in the Annual Report.

          The Group has two diverse operating divisions, Healthcare and Distribution, both of which operate in a growing market.

          The directors have undertaken an assessment of the future prospects of the Group and the wider risks that the Group is exposed
          to. In its assessment of whether the Group should adopt the going concern basis in preparing its financial statements, the directors
          have considered the adequacy of financial resources in order to manage its business risks successfully, together with other areas
          of potential risk such as regulatory, insurance and legal risks.

          The Group has considerable financial resources including banking arrangements through a spread of local and international
          banking groups and utilizes short and medium term working capital facilities to optimise business funding. Debt covenants are
          reviewed by the Board each quarterly. The Board believes that the level of cash in the Group, the spread of bankers and debt
          facilities mitigates the financing risks that the Group faces from both its expansion through acquisitions and in relation to working
          capital requirements.

          The Group delivered a strong performance in 2018. Both the Healthcare and Distribution divisions have continued their positive
          growth in revenue during 2018. Net profit and earnings before interest tax depreciation and amortization (EBITDA) of both healthcare
          and distribution divisions have increased in 2018. EBITDA margin of Distribution is almost the same as last year whereas for
          Healthcare it increased slightly which is due to opening of new facilities during the year. The directors have reviewed the business
          plan for 2019 and the five-year cash flow, together with growth forecasts for the healthcare sector in the UAE. The directors consider
          the Group’s future forecasts to be reasonable.

          The directors have not identified any other matters that may impact the viability of the Group in the medium term and therefore
          they continue to adopt the going concern basis in preparing the consolidated financial statements.




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          Notes to the Consolidated Financial Statements continued
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          2.2 Basis of consolidation
          The consolidated financial statements comprise the financial statements of the Company and its subsidiaries as at 31 December
          2018. Control is achieved when the Group is exposed, or has rights, to variable returns from its involvement with the investee and
          has the ability to affect those returns through its power over the investee. Specifically, the Group controls an investee if, and only if,
          the Group has:
          • Power over the investee (i.e., existing rights that give it the current ability to direct the relevant activities of the investee)
          • Exposure, or rights, to variable returns from its involvement with the investee
          • The ability to use its power over the investee to affect its returns

          Generally, there is a presumption that a majority of voting rights result in control. To support this presumption and when the Group
          has less than a majority of the voting or similar rights of an investee, the Group considers all relevant facts and circumstances in
          assessing whether it has power over an investee, including:
          • The contractual arrangement with the other vote holders of the investee
          • Rights arising from other contractual arrangements
          • The Group’s voting rights and potential voting rights

          The Group re-assesses whether or not it controls an investee if facts and circumstances indicate that there are changes to one or
          more of the three elements of control. Consolidation of a subsidiary begins when the Group obtains control over the subsidiary and
          ceases when the Group loses control of the subsidiary. Assets, liabilities, income and expenses of a subsidiary acquired or disposed
          of during the year are included in the consolidated financial statements from the date the Group gains control until the date the
          Group ceases to control the subsidiary.

          Profit or loss and each component of other comprehensive income (OCI) are attributed to the equity holders of the parent of the
          Group and to the non-controlling interests, even if this results in the non-controlling interests having a deficit balance. When
          necessary, adjustments are made to the financial statements of subsidiaries to bring their accounting policies into line with the
          Group’s accounting policies. All intra-group assets and liabilities, equity, income, expenses and cash flows relating to transactions
          between members of the Group are eliminated in full on consolidation.

          A change in the ownership interest of a subsidiary, without a loss of control, is accounted for as an equity transaction.

          If the Group loses control over a subsidiary, it derecognises the related assets (including goodwill), liabilities, non-controlling interest
          and other components of equity while any resultant gain or loss is recognised in profit or loss. Any investment retained is
          recognised at fair value.

          The consolidated financial statements include the financial statements of the Company and its subsidiaries listed below:
                                                                                                                              Percentage of holdings
                                                                                                              Country of   31 December       31 December
                                                                                                           incorporation           2018              2017

          Direct subsidiaries:
            NMC Holding Co LLC                                                                                    UAE            100%              100%
            NMC Health Holdco Limited                                                                              UK            100%              100%
            NMC Eugin UK Limited                                                                                   UK            100%                 –
          Indirect subsidiaries:
            NMC Healthcare LLC                                                                                   UAE              100%             100%
            New Pharmacy Company WLL                                                                             UAE              100%             100%
            New Medical Centre LLC-Dubai                                                                         UAE              100%             100%
            NMC Specialty Hospital LLC-Abu Dhabi                                                                 UAE              100%             100%
            NMC Specialty Hospital LLC-Dubai                                                                     UAE              100%             100%
            New Medical Centre Trading LLC-Abu Dhabi                                                             UAE              100%             100%
            NMC Trading LLC-Dubai                                                                                UAE              100%             100%
            Bait Al Shifaa Pharmacy LLC-Dubai                                                                    UAE              100%             100%
            New Medical Centre LLC-Sharjah                                                                       UAE              100%             100%
            New Medical Centre Specialty Hospital LLC-Al Ain                                                     UAE              100%             100%
            Reliance Information Technology LLC                                                                  UAE              100%             100%
            BR Medical Suites FZ LLC                                                                             UAE              100%             100%
            Bright Point Royal Womens Hospital LLC                                                               UAE              100%             100%
            NMC Day Surgery Centre LLC                                                                           UAE              100%             100%
            NMC Hospital LLC (DIP Hospital)                                                                      UAE              100%             100%
            Medifertil, S.A                                                                                 Columbia            61.90%           61.90%
            Centro de infertilidad y Reproduccion Humana SLU (CIRH)                                             Spain          88.40%           88.40%
            Centro de Medicina della Riproduzione (Biogenesi)                                                    Italy         53.00%           53.00%
            EUVITRO, S.L.U                                                                                      Spain          88.40%           88.40%
            Copenhagen Fertility Center Holding Aps (DK)                                                    Denmark            79.60%           79.60%
            Huntington Centro de Medicina Reproductive, S/A (BR)                                                Brazil             53%              53%
            ProVita International Medical Center LLC                                                             UAE              100%             100%
            Lifewise Home Healthcare LLC                                                                         UAE              100%             100%



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                                                                                                                 Percentage of holdings
                                                                                              Country of      31 December       31 December
                                                                                           incorporation              2018              2017

            NMC Royal Hospital LLC                                                                UAE                100%              100%
            The American Surgecenter Pharmacy LLC                                                 UAE                100%              100%
            The American Surgecenter LLC                                                          UAE                100%              100%
            Americare LLC                                                                         UAE                100%              100%
            Trans Arabia Drug Store LLC                                                           UAE                 75%               75%
            Sunny Specialty Medical Centre LLC.                                                   UAE                100%              100%
            Sunny Medical Centre LLC.                                                             UAE                100%              100%
            New Sunny Medical Centre LLC                                                          UAE                100%              100%
            Sunny Al Buhairah Medical Centre LLC                                                  UAE                100%              100%
            Sunny Al Nadha Medical Centre LLC                                                     UAE                100%              100%
            Sunny Dental Care LLC.                                                                UAE                100%              100%
            Grand Hamad Pharmacy LLC                                                              UAE                100%              100%
            Hamad Pharmacy LLC                                                                    UAE                100%              100%
            Sharjah Pharmacy L.L.C                                                                UAE                100%              100%
            Sunny Sharqan Medical Centre L.L.C.                                                   UAE                100%              100%
            NMC Royal Medical Centre L.L.C.                                                       UAE                100%              100%
            NMC Healthcare L.L.C.                                                              Oman                  100%              100%
            Fulfil Trading L.L.C.                                                                 UAE                100%              100%
            Nadia Medical Centre L.L.C.                                                           UAE                100%              100%
            Cooper Dermatology and Dentistry Clinic                                               UAE                100%              100%
            Cooper Health Clinic                                                                  UAE                100%              100%
            Fakih IVF Fertility Centre LLC                                                        UAE                100%               51%
            Fakih IVF LLC                                                                         UAE                100%               51%
            Beiersdorf Cosmetics Trading LLC-Abu Dhabi Branch.                                    UAE                100%              100%
            New Marketing & Trading Co.LLC-Abu Dhabi                                              UAE                100%              100%
            New Medical Centre Trading LLC.-Branch 2                                              UAE                100%              100%
            New Medical Centre Trading LLC-Branch 3                                               UAE                100%              100%
            Beiersdorf Cosmetics Trading LLC-Ajman Branch                                         UAE                100%              100%
            National Marketing & Trading Co. LLC-Ajman                                            UAE                100%              100%
            New Marketing & Trading Company LLC-Ajman Branch                                      UAE                100%              100%
            NMC Trading LLC-Ajman Branch                                                          UAE                100%              100%
            Beiersdorf Cosmetics Trading Co. LLC-Dubai                                            UAE                100%              100%
            National Marketing & Trading Co. LLC – Dubai Branch                                   UAE                100%              100%
            New Marketing & Trading Co. LLC–Dubai Branch                                          UAE                100%              100%
            New Medical Centre Trading (Store) LLC-Dubai                                          UAE                100%              100%
            New Medical Centre Veterinary Medicine & Equipment Trading Co LLC-Dubai               UAE                100%              100%
            NMC Trading LLC–Dubai Branch                                                          UAE                100%              100%
            NMC Trading LLC–Fujairah Branch                                                       UAE                100%              100%
            NMC Trading RAK–Branch LLC                                                            UAE                100%              100%
            New Medical Centre                                                                    UAE                100%              100%
            New Medical Centre L.L.C.–Branch (Al-Ain,Al wadi)                                     UAE                100%              100%
            NMC Pharmacy                                                                          UAE                100%              100%
            NMC Pharmacy-Branch                                                                   UAE                100%              100%
            PVHC KSA                                                                              KSA                100%              100%
            TVM KSA Acquisition 2 Ltd.                                                        Cyprus                 100%              100%
            NMC Royal Medical Centre LLC-Branch                                                   UAE                100%              100%
            Muscat Central Healthcare L.L.C.                                                   Oman                  100%              100%
            NMC Healthcare India Pvt. Ltd.                                                       India               100%              100%
            NMC International Trading L.L.C.                                                      UAE                100%              100%
            Cooper Health Clinic-Branch                                                           UAE                100%              100%
            New Reproductive Care Ltd                                                        Cayman                   51%               51%
                                                                                              Islands
            New Medical Centre Abu Dhabi Branch                                                   UAE                100%              100%
            New Medical Centre Trading LLC Branch 1                                               UAE                100%              100%
            NMC Trading LLC Branch                                                                UAE                100%              100%
            New Medical Centre Pharmacy Al Ain Branch 1                                           UAE                100%              100%
            Focus Optics                                                                          UAE                100%              100%
            Bright Point Pharmacy LLC                                                             UAE                100%              100%
            Lotus Pharmacy LLC                                                                    UAE                100%              100%
            New Medial Centre Pharmacy LLC Sharjah                                                UAE                100%              100%
            New Medical Centre Trading (Store) LLC-Abu Dhabi Br                                   UAE                100%              100%
            Provita International Medical Centre LLC Alain branch                                 UAE                100%              100%
            NMC Medical Professional Training Centre LLC                                          UAE                100%              100%
            New Pharmacy Company WLL Branch 1                                                     UAE                100%              100%
            New Pharmacy Company WLL Branch 2                                                     UAE                100%              100%


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          2.2 Basis of consolidation continued
                                                                                                     Percentage of holdings
                                                                                     Country of   31 December       31 December
                                                                                  incorporation           2018              2017

            New Pharmacy Company WLL Branch 6                                            UAE           100%              100%
            Royal Arsom Wellness Centre LLC                                              UAE           100%              100%
            NMC Medical Centre Branch 2 (scientific store)                               UAE           100%              100%
            New Medical Centre Pharmacy LLC Alain                                        UAE           100%              100%
            Fertilitetsklinikken Lygten A/S                                        Denmark           79.60%            79.60%
            Luarmia, S.L.                                                              Spain         88.40%            88.40%
            Al Aseel Laundry                                                             UAE           100%              100%
            Zari Spa & Beauty Centre                                                     UAE           100%              100%
            Zari Spa for Men                                                             UAE           100%              100%
            PEL Assistencia A Infertilidade LTDA                                       Brazil           53%               53%
            Mustashfa Jadeed Fund                                                        KSA           100%              100%
            Al Qadi Speciality Hospital LLC                                              KSA            60%               60%
            As Salama Hospital LLC                                                       KSA            99%               70%
            Al Zahra Private Hospital Company                                            UAE           100%              100%
            Sunny Halwan Speciality Medical Centre                                       UAE           100%              100%
            Hamad Drug Store LLC                                                         UAE           100%              100%
            Sunny Maysloon Speciality Medical Centre LLC                                 UAE           100%              100%
            Centre de Reproduccio Asistida del (“Fecunmed”)                            Spain          70.7%             70.7%
            NMC Royal Medical Centre LLC                                              Oman             100%              100%
            NMC Trading LLC                                                           Oman             100%              100%
            Fertilitetsklinikken Lygten A/S-Branch 2                               Denmark            79.6%             79.6%
            Centro de Medicina della Riproduzione-C.M.R, S.R.L-Branch 2                  Italy          53%               53%
            Centro de Medicina della Riproduzione-C.M.R, S.R.L-Branch 3                  Italy          53%               53%
            Huntington Centro De Medicina Reproductiva, Vila Mariana S/A               Brazil           53%               53%
            Huntington Centro De Medicina Reproductiva Campinas Ltda                   Brazil         88.4%             88.4%
            Euvitro, S.L.U-Branch 2                                                    Spain          88.4%             88.4%
            NMC Royal Medical Clinic L.L.C. (Etisalat)                                   UAE           100%                 –
            NMC Royal First Aid Clinic LLC (Adnec Clinic)                                UAE           100%                 –
            NMC Royal First Aid Clinic LLC (Adnec Clinic)-Branch 2                       UAE           100%                 –
            Hamad Al Ihterafeya Pharmacy L.L.C                                           UAE           100%                 –
            Hamad Al Mumayazah Pharmacy LLC                                              UAE           100%                 –
            Hamad Al Oula Pharmacy LLC                                                   UAE           100%                 –
            NMC Medical Centre Ajman LLC Br.                                             UAE           100%                 –
            NMC Royal Dental Centre                                                      UAE           100%                 –
            NMC Royal Medical Centre                                                     UAE           100%                 –
            NMC Royal Pharmacy Centre                                                    UAE           100%                 –
            Emirates Medical Center LLC                                               Oman             100%                 –
            New Medical Centre Pharmacy/Branch                                           UAE           100%                 –
            Fakih Medical Center L.L.C                                                   UAE           100%                 –
            Fakih Medical Center Pharmacy LLC                                            UAE           100%                 –
            Bareen International Hospital                                                UAE           100%                 –
            Bareen Pharmacy                                                              UAE           100%                 –
            Fakih IVF Center                                                          Oman             100%                 –
            Fakih IVF Fertility Center LLC-Branch 3                                      UAE           100%                 –
            Mesk Al Madina Medical Centre L.L.C                                          UAE           100%                 –
            Zanbaq Al Madina Pharmacy L.L.C                                              UAE           100%                 –
            NMC Healthcare UK Limited                                                      UK          100%                 –
            HCN European Surgery Center Holdings Limited                                   UK          100%                 –
            European Surgical Partners Limited                                             UK          100%                 –
            Global Healthcare Partners Limited                                             UK          100%                 –
            Aspen Healthcare Limited                                                       UK          100%                 –
            Parkside IHL Scanning Services LLP                                             UK         51.8%                 –
            Edinburgh Medical Services Limited T/A The Edinburgh Clinic                    UK          100%                 –
            Eye-Docs Limited T/A Midland Eye                                               UK         70.0%                 –
            Aspen Leasing Limited                                                          UK          100%                 –
            Crossco (1385) Limited                                                         UK          100%                 –
            HTI St James'S Limited T/A Nova Healthcare                                     UK          100%                 –
            Cancer Centre London LLP                                                       UK         63.0%                 –
            Highgate Hospital LLP                                                          UK         99.0%                 –
            Claremont Hospital Holdings Limited                                            UK          100%                 –
            Claremont Hospital LLP                                                         UK         81.0%                 –
            NMC Fertility Kenya Limited                                               Kenya             60%                 –
            NMC Healthcare Sukuk Limited                                           Cayman              100%                 –
                                                                                     Islands


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                                                                                                             Percentage of holdings
                                                                                          Country of      31 December       31 December
                                                                                       incorporation              2018              2017

            Cytomed Middle East – Branch of Abu Dhabi                                        UAE                100%                   –
            Cytomed Middle East LLC (Sharjah)                                                UAE                100%                   –
            New Medical Center Trading Store LLC – Branch2                                   UAE                100%                   –
            NMC Health (Jersey) Limited                                                        UK               100%                   –
            New Pharmacy Company Wll-Branch4                                                 UAE                100%                   –
            Premier Care Home Medical And Health Care L.L.C                                  UAE                 70%                   –
            Taskeen Home Medical And Health Care L.L.C                                       UAE                 70%                   –
            Reaya Mumayaza Specialized For Medical Home Care LLC                             UAE                 70%                   –
            NMC Health Investments LLC                                                       UAE                100%                   –
            Chronic Care Specialist Medical Center Co                                        KSA                100%                   –
            New Medical Centre Hospital Hail                                                 KSA                100%                   –
            Al Salam Medical Group JSC Company                                               KSA                 80%                   –
            Al Salam Hospital                                                                KSA                 80%                   –
            Al Salam Polyclinic                                                              KSA                 80%                   –
            Ishbaliya Polyclinic Company LLS                                                 KSA                 80%                   –
            Sandook Al Watani Al Tejari LLC                                                  KSA                100%                   –
            Emirates Hospital Wellness And Obesity Clinic                                    UAE                100%                   –
            Poly Clinic Aesthetic Dermatology Plastic Surgery Dental LlC                     UAE                100%                   –
            Aesthetic Skin Care Clinic LlC                                                   UAE                 75%                   –
            Centurion Medical Facilities Management Group LLC                                UAE                100%                   –
            CosmeSurge Investment LLC                                                        UAE                 70%                   –
            CosmeSurge Hospital – Umm Suquiem                                                UAE                 70%                   –
            CosmeSurge Clinics LLC, Jumeirah                                                 UAE                 70%                   –
            CosmeSurge & Emirates Clinics For One Day Surgery LLC                            UAE                 70%                   –
            CosmeSurge Clinics LLC, Marina Branch                                            UAE                 70%                   –
            CosmeSurge Clinics LLC, Conrad Branch                                            UAE                 70%                   –
            CosmeSurge Clinics LLC – Branch Of Abu Dhabi                                     UAE                 70%                   –
            CosmeSurge Clinics LLC Fujarah Branch                                            UAE                 70%                   –
            CosmeSurge Clinics LLC Oman Branch                                             Oman                  70%                   –
            CosmeSurge Clinics LLC Rak Branch 1                                              UAE                 70%                   –
            CosmeSurge Clinics LLC Rak Branch                                                UAE                 70%                   –
            CosmeSurge & Emirates Clinics For One Day Surgery LLC Br 2                       UAE                 70%                   –
            CosmeSurge & Emirates Clinics For One Day Surgery LLC Br 1                       UAE                 70%                   –
            CosmeSurge & Emirates Clinics For One Day Surgery LLC.S Br                       UAE                 70%                   –
            CREA, SRL                                                                        Italy             88.4%                   –
            Pró-Criar Participaçoes E Empreendimentos S/A                                   Brazil             53.0%                   –
            Clínica Jpjc Ltda                                                               Brazil             53.0%                   –
            Clínica De Reprodução Assistida Sul Mineira Ltda                                Brazil             53.0%                   –
            Eugin Sweden Ab                                                               Sweden               66.3%                   –
            Nordic Eggbank Ab                                                             Sweden               66.3%                   –
            Nordic IVF Center Göteborg Ab                                                 Sweden               66.3%                   –
            Nordic IVF Center Malmö Ab                                                    Sweden               66.3%                   –
            Nordic IVF Och Gynekologi Stockholm Ab                                        Sweden               66.3%                   –
            Stockholm IVF Ab                                                              Sweden               66.3%                   –
            AVA Clinic SIA                                                                 Latvia               100%                   –
            NMC Eugin USA Corporation                                                        USA                 70%                   –
            Boston IVF Ventures, LLC (“Holdco”)                                              USA                 70%                   –
            BIVF Management Services, LLC Company”                                           USA                 70%                   –
            Friendly doctor                                                                  USA                 70%                   –
            Albany Fertility & Gynecology, PLLC (“Albany IVF”)                               USA                 70%                   –
            Boston IVF, LLC '(“Boston Subsidiary)                                            USA                 70%                   –
            Boston IVF Fertility Services at The Women’s Hospital,LLC                        USA                 70%                   –
            MPD Medical, LLC                                                                 USA                 70%                   –
            Boston IVF – CRMI'Holding, LLC                                                   USA                 70%                   –
            Boston IVF – The Arizona Center, LLC                                             USA                 70%                   –
            Scottsdale – Boston Surgery Center, LLC                                          USA                 70%                   –
            NMC Genetics India Private Limited                                              India                85%                   –
            NMC Lifesciences LLC                                                             UAE                100%                   –




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          2.2 Basis of consolidation continued
          During the year ended 31 December 2018, the Group increased its shareholding in the listed below.

          Subsidiaries and the excess of consideration paid over the carrying amount of the non-controlling interest amounting to
          US$ 184,406,000 been recognised in retained earnings:
          Acquiree                                                                           Country   Additional stake   Date of subsequent purchase

          As Salama Hospital LLC                                                               KSA                29%            03 January 2018
          Fakih IVF Fertility Center LLC and Fakih IVF LLC                                     UAE                49%           08 February 2018


          2.3 Significant accounting judgements and estimates
          The key assumptions concerning the future, key sources of estimation uncertainty and critical judgements at the reporting date
          that have a significant risk of causing a material adjustment to the carrying amounts of assets and liabilities within the next
          financial year are discussed below:

          Significant estimates
          Impairment of non-financial assets
          Impairment exists when the carrying value of an asset or cash generating unit (CGU) exceeds its recoverable amount, which
          is the higher of its fair value less costs of disposal and its value in use. The fair value less costs of disposal calculation is based
          on available data from binding sales transactions, conducted at arm’s length, for similar assets or observable market prices less
          incremental costs for disposing of the asset. The value in use calculation is based on a DCF model. The cash flows are derived from
          the budget for the next five years and do not include restructuring activities that the Group is not yet committed to or significant
          future investments that will enhance the asset’s performance of the CGU being tested. The recoverable amount is sensitive to
          the discount rate used for the DCF model as well as the expected future cash-inflows and the growth rate used for extrapolation
          purposes. These estimates are most relevant to goodwill recognised by the Group. The key assumptions used to determine the
          recoverable amount for the different CGUs are disclosed and further explained in note 19.

          Valuation of intangibles assets
          The Group measures its intangible assets acquired in a business combination as follows:
          Brand                               Relief from royalty
          Database and software               Replacement cost
          Patient relationships               Multi period excess earning method
          Non-compete agreements              Income approach-with or without method
          Rental and private contracts        Multi period excess earning method

          Estimating the fair value of the brand requires determination of the most appropriate valuation method. This estimate also
          requires determination of the most appropriate inputs to the valuation method including the base revenue, expected life of the
          intangible assets, selecting an arm’s length royalty rate, discount rate and making assumptions about them. Most significant inputs
          which can materially impact values are base revenue and royalty rate. Similarly, estimating the replacement cost of the database
          requires an estimate of the number of cycles that are recorded in the database along with the best estimate of the hours
          dedicated by the staff (such as doctors, nurses, biologists, and other specialist technicians) to collect the data, the useful life
          of the database, discount rate and an estimate of tax saving.

          Estimating the fair value of patient relationships and the non-compete agreements requires an estimate of the expected revenue
          over an appropriate period of time, a churn rate to account for the reduction in the number of patients over the years, discount rate,
          rate of inflation and the useful life and the risk inherent in ownership of the asset or security interest being valued. Most significant
          inputs which can materially impact values are expected revenue and churn rate.

          Contingent consideration on acquisitions
          Contingent consideration, resulting from business combinations, is valued at fair value at the acquisition date as part of
          the business combination. When the contingent consideration meets the definition of a financial liability, it is subsequently
          re-measured to fair value at each reporting date. The change in the fair value at each reporting date is recorded in the
          consolidated income statement. The determination of the fair value is based on discounted cash flows. The key assumptions
          taken into consideration in determining the fair value are the probability of meeting relevant performance targets, securing
          certain agreements, completing certain acquisitions and the discount factor (note 39).

          Rejections on medical services
          In the Middle East, the normal business practice associated with transactions with insurers includes an amount of claims
          disallowed (i.e. rejections) which is not paid by the insurer. These disallowed claims could be for various technical or medical
          reasons. The Group accepts and expects an amount of consideration that is less than what was originally claimed. The Group
          determines the rejections based on historical rate of 2-3 years multiplied to the credit sales. Rejection rate is key in determining
          the rejection amount. Any significant changes in experience as compared to historical rejections will impact the expected rejection
          rates estimated by the Group.

          A 10% increase and decrease of rejection rate would result in increase and decrease in profit before tax by an amount of US$ 1,370,000.



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          Provision for expected credit losses of trade receivables
          The Group uses a provision matrix to calculate ECLs for trade receivables. The provision rates are based on days past due for
          groupings of various customer segments that have similar loss patterns (i.e., by geography, product type, customer type).

          The provision matrix is initially based on the Group’s historical observed default rates. At every reporting date, the historical observed
          default rates are updated and changes in the forward-looking estimates are analysed.

          The amount of ECLs is sensitive to changes in circumstances and of forecast economic conditions. The Group’s historical credit
          loss experience and forecast of economic conditions may also not be representative of customer’s actual default in the future.
          The information about the ECLs on the Group’s trade receivables is disclosed in Note 22.

          Significant judgements
          Business combinations and goodwill
          When a business combination occurs, the fair values of the identifiable assets and liabilities assumed, including intangible assets,
          are recognised. If the purchase consideration exceeds the fair value of the net assets acquired, then the difference is recognised
          as goodwill. If the purchase price consideration is lower than the fair value of the assets acquired then a gain is recognised in the
          consolidated income statement. Judgements are applied to measure the fair values of identifiable assets and liabilities. This
          mostly relate to measurement of intangible assets and contingent consideration. Judgements include if a separately recognisable
          intangible exits and selection of appropriate method for valuation of intangibles. The key judgement in respect of the contingent
          consideration recognised as part of business combination relate to the performance of the business. Measurement of intangibles
          and contingent consideration include various estimates also. Refer to estimate section for detail of these.

          Valuation of put option
          The accounting for put options requires significant management judgment and is driven by the specific contract terms. Put
          options were issued as part of the Luarmia SL, CFC HCMR and Fecunmed acquisitions. On the basis of the contract terms and
          interpretation of relevant accounting standards and guidance, the judgment is that the Group does not have present ownership of
          the non-controlling interest (NCI) on account of Luarmia SL, CFC HCMR and Fecunmed as at the date of acquisition. This judgment
          leads to the next stage of the accounting decisions required. The Group has concluded that IFRS 10 takes precedence over IAS 32,
          and the permitted policy choice is that there should be full recognition of NCI using the proportionate method.

          The financial liability that is payable under the put option is measured at fair value at each reporting date. The key assumptions
          taken into consideration in determining the fair value are the probability of meeting relevant reproductive cycles, EBITDA and net
          debt targets (note 38).

          Leases for buildings and land
          Generally our hospitals, day patient medical centres and hospital projects under development are located on land and in buildings
          which are leased. As at 31 December 2018, the majority of the lease periods range from five to twenty seven years apart from the
          leases for New Medical Centre Hospital LLC-Dubai (‘Dubai General Hospital) and the warehouse facilities, which had leases which
          are renewable on an annual basis with a total value of US$ 370,000 (2017: US$ 569,000) included within property and equipment
          as at 31 December 2018 (note 18). If any such leases are terminated or expire and are not renewed, the Group could lose the
          investment, including the hospital buildings and the warehouses on the leased sites which could have a material adverse effect
          on our business, financial condition and results of operations. The directors have considered the following facts in determining the
          likelihood that these leases will be renewed:
          • Whilst some leases can be for long term durations, it is not unusual and can often be common practice throughout all of the
              emirates in the United Arab Emirates for landlords to lease land and buildings to companies on annually renewable leases of
              one year terms and for these Leases to be renewed automatically. Throughout the Group’s over 45 year history it has never
              had a lease cancelled or not renewed, and the Group enjoys a high degree of respect in the region and believes that it maintains
              strong relationships with the landlords.
          • Both the Dubai General Hospital and the warehouse facilities have been occupied by the Group on annually renewable leases,
              for a period of more than 18 years and each year these leases have been automatically renewed.
          • The warehouse facilities have been built by the Group on land leased from government bodies in the Emirates of Dubai and
              Abu Dhabi on the back of the policies of these governments to attract investment in warehousing in the United Arab Emirates.

          Lease for NMC Royal Hospital LLC
          NMC Royal Hospital LLC is constructed from land leased from Municipality of Abu Dhabi. Remaining period of lease as of
          31 December 2018 is 22 years expiring in 2040. Management has determined the useful life of NMC Royal Hospital LLC building
          50 years. Carrying amount of NMC Royal Hospital LLC building included in property and equipment as of 31 December 2018 is
          US$ 131,969,000 (2017: US$ 130,042,000). Management believe that lease will be renewed for the full useful life of the building. The
          directors have considered the facts that throughout the Group’s 45 year history it has never had a lease cancelled or not renewed,
          and the Group enjoys a high degree of respect in the region and believes that it maintains strong relationships with the lessor in
          determining the likelihood that lease will be renewed.




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          2.3 Significant accounting judgements and estimates continued
          Significant judgements continued
          Revenue from contracts with customers
          The Group applied the following judgement that significantly affect the determination of the amount and timing of revenue:

          Principal v/s agent considerations:
          Each contractual arrangement with individual doctors is assessed against specific criteria to determine whether the Group
          is acting as principal or agent in the arrangement with these doctors. NMC has determined that it is acting as Principal in these
          arrangements if it has the responsibility for providing the medical services to the patient, it acts as the primary obligator and
          it bears the risk of controls the goods before delivery to customers, providing the medical service and sales of goods.

          2.4 Changes in accounting policies
          New and amended standards and interpretations:
          The Group applied for the first-time certain amendments to the standards, which are effective for annual periods beginning on or
          after 1 January 2018. The Group has not early adopted any standards, interpretations or amendments that have been issued but
          are not yet effective.

          IFRS 15 Revenue from Contracts with Customers
          IFRS 15 supersedes IAS 11 Construction Contracts, IAS 18 Revenue and related Interpretations and it applies, with limited exceptions,
          to all revenue arising from contracts with its customers. IFRS 15 establishes a five-step model to account for revenue arising from
          contracts with customers and requires that revenue be recognised at an amount that reflects the consideration to which an entity
          expects to be entitled in exchange for transferring goods or services to a customer.

          IFRS 15 requires entities to exercise judgement, taking into consideration all of the relevant facts and circumstances when applying
          each step of the model to contracts with their customers.

          The Group adopted IFRS 15 using modified retrospective method of adoption.

          The adoption of IFRS 15 from 1 January 2018 resulted in immaterial adjustments to the amounts recognised in the consolidated
          financial statements.

          The group has not identified any significant changes in the way in which it was recognizing Its revenue as per IFRS 15 compared
          to IAS 18, since the revenue is of short term nature and performance obligations are satisfied upon delivery of service/goods.

          IFRS 9 Financial Instruments
          IFRS 9 Financial Instruments replaces IAS 39 Financial Instruments: Recognition and Measurement for annual periods beginning
          on or after 1 January 2018, bringing together all three aspects of the accounting for financial instruments: classification and
          measurement; impairment; and hedge accounting.

          The Group has applied the requirements of IFRS 9 prospectively, with the initial application date of 1 January 2018 and without
          restating comparative information. As the balance sheet as at 31 December 2017 has not been restated, any reclassifications
          and the adjustments arising from the new impairment rules are recognised in the opening balance sheet on 1 January 2018.

          The following tables show the adjustments recognised for each individual line item. Line items that were not affected by the
          changes have not been included.
                                                                                                       31 December           IFRS 9    1 January 2018
                                                                                                               2017   adjustments*          adjusted
          Statement of financial position (extracts)                                                       US$ ‘000       US$ ‘000           US$ ‘000

          Accounts receivable                                                                              440,146          (17,231)        422,915
          Retained earnings                                                                               603,240           (17,231)       586,009


          The change did not have impact on the Group’s profit, operating, investing and financing cash flows and the basic and diluted EPS
          reported in 2017.

          The adoption of IFRS 9 did not have significant impact on classification of financial instruments.

          The new standards, amendments to IFRS, which are effective as of 1 January 2018 are listed below, have no impact on the Group.
          • IFRIC Interpretation 22 Foreign Currency Transactions and Advance Considerations
          • Amendments to IAS 40 Transfers of Investment Property
          • Amendments to IFRS 2 Classification and Measurement of Share-based Payment Transactions
          • Amendments to IFRS 4 Applying IFRS 9 Financial Instruments with IFRS 4 Insurance Contracts
          • Amendments to IAS 28 Investments in Associates and Joint Ventures
          • Amendments to IFRS 1 First-time Adoption of International Financial Reporting Standards




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          3 Summary of significant accounting policies
          Revenue recognition
          The Group is in the business of providing medical and distribution services. Revenue from contracts with customers is recognised
          when control of the goods or services are transferred to the customer at an amount that reflects the consideration to which the
          Group expects to be entitled in exchange for those goods or services.

          The disclosures of significant accounting judgements, estimates and assumptions relating to revenue from
          contracts with customers are provided in Note 2.3.

          Revenue streams include clinic service revenues, sale of goods – Pharmacy, sale of goods –Distribution, Healthcare management
          fees and revenue sharing arrangement with doctors.

          The Group assesses its revenue arrangements against specific criteria in order to determine if it is acting as principal or agent. The
          Group has concluded that it is the principal in its revenue arrangements, because it typically controls the goods or services before
          transferring them to the customer. When the Group does not control goods or services before transferring them to the customer,
          it deems that it is acting as an agent and measures revenue as the amount received or receivable in return for its performance
          under the contract and excludes any amounts collected on behalf of a third party.

          Clinic, homecare and long term care service revenues:
          Clinic, homecare and long-term care service revenues primarily comprise fees charged for inpatient and outpatient medical
          services. The fees for services include charges for doctors’ consultancy fees, room rent, radiology, laboratory, and pharmaceutical
          items used.

          Revenue is recorded when the performance obligation are satisfied. For outpatient customers services are simultaneously
          received and consumed by the patient. For inpatient customers, revenue is recognized as serviced are performed over the period.
          The Group primarily receives these revenues from patients’ private/medical insurance schemes. Revenue is measured at fees
          calculated and billed based on various tariffs agreed with insurers reduced by provision for rejections. Rejections are calculated
          based on expected value method and are determined based on average rejection rate of 2-3 years multiplied by credit sales.

          The Group enters into contracts with third party doctors who perform certain procedures or run outpatient services. The doctors
          are contracted to satisfy the performance obligations but the entity act as principal In return for their services, the doctors obtain
          a share of the revenues generated by them. Fees are recognised when the services under the contract are performed. NMC has
          determined that it is acting as principal in these arrangements if it has the responsibility for providing the medical services to the
          patient, it sets the prices for services which are provided, it acts as the primary obligator and it bears the risk of providing the
          medical service.

          Gynaecology, obstetrics and human reproduction:
          Revenue in respect of the different types of gynaecology, obstetrics and human reproduction services is recognized as follows:
          • Donor IVF and Own IVF sales (In Vitro Fecundation):
            Revenue in respect of gynaecology, obstetrics and human reproduction is mainly from In Vitro Fertilization (IVF) treatment.

              Revenue from IVF treatment is recognized over time on an input method based on stage of the treatment. The treatment is
              divided into three stages. Each stage takes about 20 days. 24%-25% of revenue is booked in the first stage (at the beginning of the
              treatment), 50%-65% of revenue is booked in the middle stage (at patient's egg extraction in the case of the use of the patient's
              own egg or in the case of the use of a donor egg at the fertilization date) and 11%-25% of revenue is booked at the final stage
              (embryo implantation). These percentages are based on an internal study of the costs incurred in the different streams
              performed in prior years. These percentages depict the transfer of control of promised services.

          •   Cryo transfer sales:
              Revenue from cryo transfers are recognised over time on an input method based on the stage of treatment. 25% is recorded
              when treatment is initialized and 75% at the embryo implantation. These percentages depict the transfer of control of promise
              services. The time between both phases is about 2-3 weeks.

          •   Intrauterine insemination:
              Revenue is recognized in full at the insemination date. Performance obligation is satisfied at a point in time which is
              insemination date.

          Sale of Goods – Pharmacy:
          The sales of goods from pharmacy relates to the sale of pharmaceutical and other products from hospitals and pharmacies.
          Revenue from the sale of goods – Pharmacy is recognised when control of the goods has passed to the buyer i.e. at the point of
          sale/delivery to the customer at an amount that reflects the consideration to which the Group expects to be entitled in exchange
          for those goods.

          Whilst the Group does not establish the prices for the pharmaceutical products sold as both the purchase and selling prices for
          all pharmaceutical products are fixed by the Ministry of Health, UAE. NMC has determined that it is acting as Principal in respect
          of these sales as it typically controls the goods before delivering them to the customers.


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          3 Summary of significant accounting policies continued
          Revenue recognition continued
          Sale of Goods – Distribution:
          The sales of goods from distribution division relates to the sale of pharmaceutical and non-pharmaceutical products to retailers.
          Revenue from the sale of goods – Distribution is recognised when control of the goods has passed to the buyer i.e. at the point of
          sale/delivery to the customer at an amount that reflects the consideration to which the Group expects to be entitled in exchange
          for those goods.

          Where the Group controls the goods before delivery to the customers, the Group has determined that it is acting as Principal.

          Certain contracts provide a customer with a right to return the goods within a specified period. The Group uses the expected value
          method to estimate the goods that will be returned. For goods that are expected to be returned, the Group recognize a refund
          liability. A right of return asset (and corresponding adjustment to cost of sales) is also recognized for the right to recover products
          from a customer.

          Healthcare Management fees:
          Management fees represent fees earned for managing hospitals and medical centers. Management fees are recognised when
          the performance obligations under the contract are performed, and the service level criteria have been met. Management fees
          comprises of fixed and variable components and is measured at the consideration to which the Group expects to be entitled, in line
          with the terms of the management contracts. Variable fees are measured based on rates agreed in the agreements and if service
          level criteria are met.

          Contract liabilities:
          A contract liability is the obligation to transfer goods or services to a customer for which the Group has received consideration (or an
          amount of consideration is due) from the customer. If a customer pays consideration before the Group transfers goods or services
          to the customer, a contract liability is recognised when the payment is made or the payment is due (whichever is earlier). Contract
          liabilities are recognised as revenue when the Group performs under the contract.

          Other income
          Other income comprises revenue from suppliers for the reimbursement of advertising and promotion costs incurred by the Group.
          Revenue is recognised following formal acceptance of the Group's reimbursement claims by suppliers and is measured at the
          confirmed amount receivable. Relevant advertising and promotional costs are presented as sales promotional expenses in general
          and administrative expenses. The Group has determined that it is acting as Principal in advertising and promotional arrangements
          since it is controlling the advertising and promotional activities.

          Interest income
          For all financial instruments measured at amortised cost, interest income or expense is recorded using the effective interest rate
          (EIR), which is the rate that exactly discounts the estimated future cash payments or receipts through the expected life of the
          financial instrument or a shorter period, where appropriate, to the net carrying amount of the financial asset or liability. Interest
          income is included in finance income in the consolidated income statement.

          Rebates from Suppliers
          The Distribution business receives rebates in the ordinary course of business from a number of its suppliers of pharmaceutical
          products, in accordance with contractual arrangements in place with specific suppliers. Rebates are accounted for once approval
          has been received from the supplier following the negotiations which have taken place with them. Rebates receivable are
          accounted for as a deduction from the cost of purchasing pharmaceutical goods, once the rebate has been approved by the
          supplier on the basis that the probability of inflow is not sufficiently certain and the amounts cannot be reliably measured until that
          point. When rebates have been agreed in advance, for example when it has been agreed that a certain rebate will be applied to the
          purchase of specific goods for a set period of time rather than just to a specific one off purchase, then the rebate is recognised as a
          reduction in the purchase price as soon as the goods are purchased. When rebates are offered based upon the volume purchased
          and it is probable that the rebate will be earned and the amount can be estimated reliably, then the discount is recognised as
          a reduction in the purchase price when the goods are purchased and the assessment is reviewed on an ongoing basis. Rebates
          receivable are accounted for on a net basis, being set off against the trade payables to which they relate, as they are a reduction
          in the amount we owe to our suppliers in respect of pharmaceutical products purchased.

          Current income tax
          The tax currently payable is based on taxable profit for the year. Taxable profit differs from profit as reported in the consolidated
          statement of profit or loss and other comprehensive income because it excludes items of income or expense that are taxable
          or deductible in other years and it further excludes items that are not taxable or tax deductible. The group’s liability for current
          tax is calculated using rates (and tax laws) that have been enacted or substantively enacted in countries where the company
          and subsidiaries operate by the end of the reporting period. Current income tax also includes Zakat applicable in Saudi Arabia.

          A provision is recognised for those matters for which the tax determination is uncertain but it is considered probable that there
          will be a future outflow of funds to a tax authority. The provisions are measured at the best estimate of the amount expected
          to become payable. The assessment is based on the judgement of tax professionals within the company supported by previous
          experience in respect of such activities and in certain cases based on specialist independent tax advice.


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          Deferred tax
          Deferred tax is recognised on the differences between the carrying amounts of assets and liabilities in the financial statements
          and the corresponding tax bases used in the computation of taxable profit. Deferred tax liabilities are generally recognised for
          all taxable temporary differences and deferred tax assets are recognised to the extent that it is probable that taxable profits will
          be available against which deductible temporary differences can be utilised. Such assets and liabilities are not recognised if the
          temporary difference arises from goodwill or from the initial recognition (other than in a business combination) of other assets
          and liabilities in a transaction that affects neither the taxable profit nor the accounting profit.

          Deferred tax liabilities are recognised on taxable temporary differences arising on investments in subsidiaries and associates,
          and interests in joint ventures, except where the group is able to control the reversal of the temporary difference and it is probable
          that the temporary difference will not reverse in the foreseeable future. Deferred tax assets arising from deductible temporary
          differences associated with such investments and interests are only recognised to the extent that it is probable that there will
          be sufficient taxable profits against which to utilise the benefits of the temporary differences and they are expected to reverse
          in the foreseeable future.

          The carrying amount of deferred tax assets is reviewed at the end of each reporting period and reduced to the extent that it is
          no longer probable that sufficient taxable profits will be available to allow all or part of the asset to be recovered.

          Deferred tax is calculated at the tax rates that are expected to apply in the period when the liability is settled or the asset realised
          based on the tax rates (and tax laws) that have been enacted or substantively enacted by the end of the reporting period. Except
          for investment properties measured using the fair value model, the measurement of deferred tax liabilities and assets reflects
          the tax consequences that would follow from the manner in which the group expects, at the end of the reporting period, to recover
          or settle the carrying amount of its assets and liabilities.

          For the purposes of measuring deferred tax liabilities and deferred tax assets for investment properties that are measured using
          the fair value model the carrying amounts of such properties are presumed to be recovered through sale, unless the presumption
          is rebutted. The presumption is rebutted when the investment property is depreciable and is held within a business model of the
          group whose business objective is to consume substantially all of the economic benefits embodied in the investment property
          over time, rather than through sale. The group has not rebutted the presumption that the carrying amount of the investment
          properties will be recovered entirely through sale.

          Deferred tax assets and liabilities are offset when there is a legally enforceable right to set off current tax assets against current
          tax liabilities and when they relate to income taxes levied by the same taxation authority and the group intends to settle its current
          tax assets and liabilities on a net basis.

          Current and deferred tax are recognised as an expense or income in profit or loss, except when they relate to items credited or
          debited outside profit or loss (either in other comprehensive income or directly in equity), in which case the tax is also recognised
          outside profit or loss (either in other comprehensive income or directly in equity, respectively), or where they arise from the initial
          accounting for a business combination. In the case of a business combination, the tax effect is taken into account in calculating
          goodwill or determining the excess of the acquirer’s interest in the net fair value of the acquiree’s identifiable assets, liabilities
          and contingent liabilities over cost.

          Value added tax (“VAT”)
          Expenses and assets are recognised net of the amount of VAT, except:
          • When the sales tax incurred on a purchase of assets or services is not recoverable from the taxation authority, in which
             case, the sales tax is recognised as part of the cost of acquisition of the asset or as part of the expense item, as applicable.
          • When receivables and payables are stated with the amount of VAT included The net amount of VAT recoverable from,
             or payable to, the taxation authority is included as part of receivables or payables in the statement of financial position.

          Business combinations and goodwill
          Business combinations are accounted for using the acquisition method. The cost of an acquisition is measured as the aggregate
          of the consideration transferred measured at acquisition date fair value and the amount of any non-controlling interests in the
          acquiree. For each business combination, the Group elects whether to measure the non-controlling interests in the acquiree
          at fair value or at the proportionate share of the acquiree’s identifiable net assets. Acquisition-related costs are expensed as
          incurred and disclosed separately in the consolidated income statement.

          When the Group acquires a business, it assesses the financial assets and liabilities assumed for appropriate classification and
          designation in accordance with the contractual terms, economic circumstances and pertinent conditions as at the acquisition
          date. This includes the separation of embedded derivatives in host contracts by the acquiree.

          Any contingent consideration to be transferred by the Group is recognised at fair value at the acquisition date. Contingent
          consideration classified as an asset or liability that is a financial instrument and within the scope of IFRS 9 Financial Instruments,
          is measured at fair value with the changes in fair value recognised in the consolidated income statement.




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          3 Summary of significant accounting policies continued
          Business combinations and goodwill continued
          Goodwill is initially measured at cost, being the excess of the aggregate of the consideration transferred and the amount
          recognised for non-controlling interests, and any previous interest held, over the net identifiable assets acquired and liabilities
          assumed. If the fair value of the net assets acquired is in excess of the aggregate consideration transferred, the Group re-assesses
          whether it has correctly identified all of the assets acquired and all of the liabilities assumed and reviews the procedures used
          to measure the amounts to be recognised at the acquisition date. If the reassessment still results in an excess of the fair value
          f net assets acquired over the aggregate consideration transferred, then the gain is recognised in profit or loss.

          After initial recognition, goodwill is measured at cost less any accumulated impairment losses. For the purpose of impairment
          testing, goodwill acquired in a business combination is, from the acquisition date, allocated to each of the Group’s cash-generating
          units. For impairment testing, cash generating units are aggregated to operating segments. It is the view of management that
          goodwill resulting from the acquisitions will generate economic benefits only when combined with other assets (i.e. assets within
          the healthcare or distribution segments). Therefore, impairment test is applied at operating segments level.

          Where goodwill has been allocated to a cash-generating unit and part of the operation within that unit is disposed of, the goodwill
          associated with the disposed operation is included in the carrying amount of the operation when determining the gain or loss on
          disposal. Goodwill disposed in these circumstances is measured based on the relative values of the disposed operation and the
          portion of the cash-generating unit retained.

          Restructuring reserve
          The group restructuring reserve arises on consolidation under the pooling of interest method used for the group restructuring
          which took place on 1 April 2012. This represents the difference between the share capital of NMC Healthcare LLC, the previous
          parent company of the Group, and the carrying amount of the investment in that company at the date of the restructure. This
          reserve is non-distributable.

          Deferred consideration
          Deferred consideration arises when settlement of all or any part of the cost of a business combination is deferred. It is stated at
          fair value at the date of acquisition, which is determined by discounting the amount due to present value at that date. Interest is
          imputed on the fair value of non-interest bearing deferred consideration at the discount rate and expensed within finance costs.
          At each balance sheet date deferred consideration comprises the remaining deferred consideration valued at acquisition plus
          unwinding of interest imputed on such amounts from acquisition to the balance sheet date.

          Property and equipment
          Property and equipment are stated at cost less accumulated depreciation and any impairment in value. Depreciation is calculated
          on all property and equipment other than land and capital work in progress, at the following rates calculated to write off the cost
          of each asset on a straight line basis over its expected useful life:

          Hospital building                                                         2% – 6%
          Buildings                                                               4.8% – 6%
          Leasehold improvements                                               5.88% – 20%
          Motor vehicles                                                                20%
          Furniture, fixtures and fittings                                      12.5% – 20%
          Medical equipment                                                       10% – 25%

          The carrying amounts of property and equipment are reviewed for impairment when events or changes in circumstances indicate
          the carrying value may not be recoverable. If any such indication exists and where the carrying values exceed the estimated
          recoverable amount, the assets are written down to their recoverable amount, being the higher of their fair value less cost to sell
          and their value in use.

          Capital work in progress is stated at cost and is not depreciated. Lease costs in respect of capital work in progress are capitalised
          within capital work in progress during the period up until it is commissioned. When commissioned, capital work in progress is
          transferred to the appropriate property and equipment asset category and depreciated in accordance with the Group’s policies.
          The carrying amounts of capital work in progress are reviewed for impairment when events or changes in circumstances indicate
          the carrying value may not be recoverable. If any such indication exists and where the carrying values exceed the estimated
          recoverable amount, the assets are written down to their recoverable amount.

          Expenditure incurred to replace a component of an item of property and equipment that is accounted for separately is capitalised
          and the carrying amount of the component that is replaced is written off. Other subsequent expenditure is capitalised only when
          it increases future economic benefits of the related item of property and equipment. All other expenditure is recognised in the
          consolidated statement of comprehensive income as the expense is incurred.




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          Intangible assets
          Intangible assets acquired separately are measured on initial recognition at cost. The cost of intangible assets acquired in a
          business combination is their fair value at the date of acquisition. Following initial recognition, intangible assets are carried at cost
          less any accumulated amortisation and accumulated impairment losses. Internally generated intangibles, excluding capitalised
          development costs, are not capitalised and the related expenditure is reflected in consolidated statement of comprehensive
          income in the period in which the expenditure is incurred.

          The useful lives of intangible assets are assessed as either finite or indefinite. The following useful lives have been determined
          for acquired intangible assets:
          Brands – 2-20 years
          Software – 5 years
          Database – 15 years
          Patient relationship – 7 years
          Non-compete agreement – 3-4 years
          Rental contracts – 7 years
          Private contracts – 3 years

          Intangible assets with finite lives are amortised over the useful economic life and assessed for impairment whenever there is an
          indication that the intangible asset may be impaired. The amortisation period and the amortisation method for an intangible asset
          with a finite useful life are reviewed at least at the end of each reporting period. Changes in the expected useful life or the expected
          pattern of consumption of future economic benefits embodied in the asset are considered to modify the amortisation period or
          method, as appropriate, and are treated as changes in accounting estimates. The amortisation expense on intangible assets with
          finite lives is recognised in the consolidated income statement in the expense category that is consistent with the function of the
          intangible assets.

          Intangible assets with indefinite useful lives are not amortised, but are tested for impairment annually, either individually or
          at the cash-generating unit level. The assessment of indefinite life is reviewed annually to determine whether the indefinite life
          continues to be supportable. If not, the change in useful life from indefinite to finite is made on a prospective basis.

          Gains or losses arising from derecognition of an intangible asset are measured as the difference between the net disposal
          proceeds and the carrying amount of the asset and are recognised in the consolidated income statement when the asset
          is derecognised.

          Borrowing costs
          Borrowing costs that are directly attributable to the acquisition or construction of an asset are capitalised as part of the cost
          of the asset until the asset is commissioned for use. Borrowing costs in respect of completed assets or not attributable to assets
          are expensed in the period in which they are incurred.

          Inventories
          Inventories are valued at the lower of cost and net realisable value after making due allowance for any obsolete or slow moving items.
          Costs are those expenses incurred in bringing each product to its present location and condition and are determined on a weighted
          average basis. Net realisable value is based on estimated selling price less any further costs expected to be incurred to disposal.

          Financial assets
          Classification and measurement
          The classification of financial assets at initial recognition depends on the financial asset’s contractual cash flow characteristics
          and the Group’s business model for managing them. With the exception of trade receivables that do not contain a significant
          financing component, the Group initially measures a financial asset at its fair value plus, in the case of a financial asset not at
          fair value through profit or loss, transaction costs. Trade receivables that do not contain a significant financing component are
          measured at the transaction price determined under IFRS 15.

          Debt financial instruments are subsequently measured at fair value through profit or loss (FVPL), amortised cost, or fair value through
          other comprehensive income (FVOCI). The classification is based on two criteria: the Group’s business model for managing the assets;
          and whether the instruments’ contractual cash flows represent ‘solely payments of principal and interest’ on the principal amount
          outstanding (the ‘SPPI criterion’). The most relevant classification for the Group is the financial instruments carried at amortised cost.

          The Group measures financial assets at amortised cost if both of the following conditions are met:
          • The financial asset is held within a business model with the objective to hold financial assets in order to collect contractual
            cash flows; and
          • The contractual terms of the financial asset give rise on specified dates to cash flows that are solely payments of principal
            and interest on the principal amount outstanding.

          Financial assets at amortised cost are subsequently measured using the effective interest (EIR) method and are subject t
          o impairment. Gains and losses are recognised in profit or loss when the asset is derecognised, modified or impaired.

          The Group’s financial assets at amortised cost primarily includes trade receivables.


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          3 Summary of significant accounting policies continued
          Financial assets continued
          Impairment
          The adoption of IFRS 9 has fundamentally changed the Group’s accounting for impairment losses for financial assets by replacing
          IAS 39’s incurred loss approach with a forward-looking expected credit loss (ECL) approach. IFRS 9 requires the Group to record
          an allowance for ECLs for all loans and other debt financial assets not held at FVPL. ECLs are estimated using a provision matrix
          permissible under the simplified approach outlined as per IFRS 9.

          ECLs are recognised in two stages. For credit exposures for which there has not been a significant increase in credit risk since initial
          recognition, ECLs are provided for credit losses that result from default events that are possible within the next 12-months (a 12-month
          ECL). For those credit exposures for which there has been a significant increase in credit risk since initial recognition, a loss allowance
          is required for credit losses expected over the remaining life of the exposure, irrespective of the timing of the default (a lifetime ECL).

          Cash and cash equivalents
          For the purpose of the consolidated statement of cash flows, cash and cash equivalents consist of cash in hand, bank balances
          and short term deposits with an original maturity of three months or less, net of outstanding bank overdrafts.

          Equity
          The Group has issued ordinary shares that are classified as equity. The difference between the issue price and the par value of
          ordinary share capital is allocated to share premium. The transaction costs incurred for the share issue are accounted for as a
          deduction from share premium, net of any related income tax benefit, to the extent they are incremental costs directly attributable
          to the share issue that would otherwise have been avoided.

          Accounts payable and accruals
          Liabilities are recognised for amounts to be paid in the future for goods and services received whether billed by the supplier or not.
          Accounts payable are classified as current liabilities if payment is due within one year or less (or in the normal operating cycle
          if the business if longer). If not, they are presented as non-current liabilities. Accounts payable are recognised initially at fair value
          and subsequently measured at amortised cost using the effective interest method.

          Provisions
          Provisions are recognised when the Group has an obligation (legal or constructive) arising from a past event, and the costs to settle
          the obligation are both probable and able to be reliably measured.

          Provisions are measured at the present value of the expenditures expected to be required to settle the obligation using a pre-tax
          rate that reflects current market assessments of the time value of money and risks specific to the obligation. Increases in
          provisions due to the passage of time are recognised in the consolidated income statement within ‘Finance costs’.

          Put option – Non controlling interest
          In circumstances where the Group has determined that they do not have the present ownership interest in the shares subject
          to a put option, the Group has concluded that IFRS 10 takes precedence over IAS 32 and accordingly a non-controlling interest (NCI)
          is fully recognised at the date of acquisition, The Group recognises the full NCI using the proportionate share of net assets method.
          The financial liability that may become payable under a put option in respect of the NCI is recognised at fair value within liabilities,
          with the liability being treated as an immediate reduction to equity attributable to the parent (option redemption reserve). The
          financial liability is subsequently re-measured to fair value at each reporting date and the change in the fair value at each reporting
          date is recorded in the consolidated income statement.

          Term Loans
          Term loans are initially recognised at the fair value of the consideration received less directly attributable transaction costs. After
          initial recognition, term loans are subsequently measured at amortised cost using the effective interest method. Interest on term
          loans is charged as an expense as it accrues, with unpaid amounts included in “accounts payable and accruals”.

          When an existing financial liability is replaced by another from the same lender on substantially different terms, or the terms of an
          existing liability are substantially modified, such an exchange or modification is treated as the derecognition of the original liability
          and the recognition of a new liability. The difference in the respective carrying amounts is recognised in the consolidated
          income statement.

          Non-current assets held for sale
          The Group classifies non-current assets and disposal groups as held for sale if their carrying amounts will be recovered principally
          through a sale transaction rather than through continuing use. Non-current assets and disposal groups classified as held for sale
          are measured at the lower of their carrying amount and fair value less costs to sell. Costs to sell are the incremental costs directly
          attributable to the disposal of an asset (disposal group), excluding finance costs and income tax expense.

          The criteria for held for sale classification is regarded as met only when the sale is highly probable and the asset or disposal group
          is available for immediate sale in its present condition. Actions required to complete the sale should indicate that it is unlikely that
          significant changes to the sale will be made or that the decision to sale will be withdrawn. Management must be committed to
          the plan to sell the asset and the sale expected to be completed within one year from the date of the classification.


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          Property and equipment and intangible assets are not depreciated or amortised once classified as held for sale.

          Assets and liabilities classified as held for sale are presented separately as current items in the statement of financial position.

          Employees’ end of service benefits
          The Group operates an un-funded post-employment benefit plan (employees’ end of service benefits) for its expatriate employees
          in the UAE, in accordance with the labour laws of the UAE. The entitlement to these benefits is based upon the employees’ final
          salary and length of service, subject to the completion of a minimum service period. Payment for employees’ end of service
          benefits is made when an employee leaves, resigns or completes his service.

          The cost of providing benefits under the post-employment benefit plan is determined using the projected unit credit method.
          Re-measurements, comprising of actuarial gains and losses, are recognized immediately in the statement of financial position
          with a corresponding debit or credit to retained earnings through other comprehensive income in the period in which they occur.
          Re-measurements are not reclassified to profit or loss in subsequent periods.

          Interest is calculated by applying the discount rate to the defined benefit liability. The rate used to discount the end of service
          benefit obligation is determined by reference to market yields at the balance sheet date on high quality corporate bonds. The
          current and non-current portions of the provision relating to employees’ end of service benefits are separately disclosed in the
          consolidated statement of financial position.

          The Group recognises the following changes in the employees’ end of service benefits under ‘direct costs’ and ‘general and
          administrative expenses’ in the consolidated statement of comprehensive income:
          • Service costs comprising current service costs
          • Interest expense

          With respect to its UAE national employees, the Group makes contributions to the relevant UAE Government pension scheme
          calculated as a percentage of the employees’ salaries. The obligations under these schemes are limited to these contributions,
          which are expensed when due.

          Pension costs and other post-retirement benefits
          For defined benefit schemes the amounts charged to operating profit are the costs arising from employee services rendered
          during the period and the cost of plan introductions, benefit changes, settlements and curtailments. They are included as part
          of staff costs. The net interest cost on the net defined benefit liability is charged to profit or loss and included within finance costs.
          Remeasurement comprising actuarial gains and losses and the return on scheme assets (excluding amounts included in net
          interest on the net defined benefit liability) are recognised immediately in other comprehensive income.

          Defined benefit schemes are funded, with the assets of the scheme held separately from those of the Company, in separate
          trustee administered funds. Pension scheme assets are measured at fair value and liabilities are measured on an actuarial basis
          using the projected unit credit method. The difference between market value of assets and present value of liabilities is disclosed
          as an asset or liability in the balance sheet. The actuarial valuations are obtained at least triennially and are updated at each
          balance sheet date.

          For defined contribution schemes the amount charged to the profit and loss account in respect of pension costs and other
          retirement benefits is the contributions payable in the year. Differences between contributions payable in the year and
          contributions actually paid are shown as either accruals or prepayments in the balance sheet.

          Share based payments
          Equity-settled share-based payments to employees (including executive directors) are measured at the fair value of the equity
          instruments at the grant date. The fair value excludes the effect of non-market-based vesting conditions. Details regarding the
          determination of the fair value of equity-settled share-based transactions are set out in note 35.

          The fair value determined at the grant date of the equity-settled share-based payments is expensed on a straight-line basis over
          the vesting period, based on the Group’s estimate of equity instruments that will eventually vest. At each reporting date, the Group
          revises its estimate of the number of equity instruments expected to vest as a result of the effect of non-market-based vesting
          conditions. The impact of the revision of the original estimates, if any, is recognised in the consolidated statement of other
          comprehensive income such that the cumulative expense reflects the revised estimate, with a corresponding adjustment to
          equity reserves/other payables.

          No expense is recognised for awards that do not ultimately vest, except for equity-settled transactions for which vesting are
          conditional upon a market or non-vesting condition. These are treated as vesting irrespective of whether or not the market
          or non-vesting condition is satisfied, provided that all other performance and/or service conditions are satisfied.

          The dilutive effect of outstanding options is reflected as additional share dilution in the computation of diluted earnings per share
          (see note 17).




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          3 Summary of significant accounting policies continued
          Foreign currencies
          Transactions in foreign currencies are recorded in UAE Dirhams at the exchange rate ruling at the date of the transaction. Monetary
          assets and liabilities denominated in foreign currencies are retranslated at the rate of exchange ruling at the balance sheet date.
          All differences are taken to the consolidated income statement.

          Translation of foreign operations
          On consolidation, the assets and liabilities of foreign operations are translated into US Dollars at the rate of exchange prevailing at
          the reporting date and their income statements are translated at average exchange rates (unless this average is not a reasonable
          approximation of the cumulative effect of the rates prevailing on the transaction dates, in which case income and expenses are
          translated at the rate on the dates of the transactions). All resulting currency translation differences are recognised as a separate
          component of equity.

          The Group’s principal geographical segment is the United Arab Emirates. The UAE Dirham is pegged against the US Dollar so a single
          rate of 3.673 per US Dollar is used to translate those assets and liabilities and balances in the consolidated income statement.

          When a foreign operation is partially disposed of or sold, exchange differences that were recorded in equity are recognised in the
          consolidated income statement as part of the gain or loss on sale. Goodwill and fair value adjustments arising on the acquisition
          of a foreign operation are treated as assets and liabilities of the foreign operation and translated at the closing rate.

          Derivative financial instruments
          The Group uses derivative financial instruments such as forward exchange contracts, put options and contingent consideration.
          Such derivative financial instruments are initially recognised at fair value on the date on which a contract is entered into and are
          subsequently remeasured at fair value. Derivatives with positive market values (unrealised gains) are recognised as assets and
          derivatives with negative market values (unrealised losses) are recognised as liabilities in the consolidated statement of
          financial position.

          Any gains or losses arising from changes in fair value on derivatives during the year are taken directly to profit or loss.

          Fair value measurement
          Fair value is the price that would be received to sell an asset or paid to transfer a liability in an orderly transaction between market
          participants at the measurement date. The fair value measurement is based on the presumption that the transaction to sell the
          asset or transfer the liability takes place either:
          • In the principal market for the asset or liability, or
          • In the absence of a principal market, in the most advantageous market for the asset or liability.

          The principal or the most advantageous market must be accessible to by the Group.

          The fair value of an asset or a liability is measured using the assumptions that market participants would use when pricing the
          asset or liability, assuming that market participants act in their economic best interest.

          A fair value measurement of a non-financial asset takes into account a market participant's ability to generate economic benefits
          by using the asset in its highest and best use or by selling it to another market participant that would use the asset in its highest
          and best use.

          The Group uses valuation techniques that are appropriate in the circumstances and for which sufficient data are available
          to measure fair value, maximising the use of relevant observable inputs and minimising the use of unobservable inputs.

          All assets and liabilities for which fair value is measured or disclosed in the financial statements are categorised within the fair
          value hierarchy, described as follows, based on the lowest level input that is significant to the fair value measurement as a whole:
          • Level 1 — Quoted (unadjusted) market prices in active markets for identical assets or liabilities
          • Level 2 — Valuation techniques for which the lowest level input that is significant to the fair value measurement is directly or
              indirectly observable
          • Level 3 — Valuation techniques for which the lowest level input that is significant to the fair value measurement is unobservable

          For assets and liabilities that are recognised in the financial statements on a recurring basis, the Group determines whether
          transfers have occurred between levels in the hierarchy by re-assessing categorisation (based on the lowest level input that
          is significant to the fair value measurement as a whole) at the end of each reporting period.

          Leases
          The determination of whether an arrangement is (or contains) a lease is based on the substance of the arrangement at the inception
          of the lease. The arrangement is, or contains, a lease if fulfilment of the arrangement is dependent on the use of a specific asset
          (or assets) and the arrangement conveys a right to use the asset (or assets), even if that asset is (or those assets are) not explicitly
          specified in an arrangement.




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          Group as a lessee
          A lease is classified at the inception date as a finance lease or an operating lease. A lease that transfers substantially all
          the risks and rewards incidental to ownership to the Group is classified as a finance lease. Finance leases are capitalised at
          the commencement of the lease at the inception date fair value of the leased property or, if lower, at the present value of the
          minimum lease payments. Lease payments are apportioned between finance charges and reduction of the lease liability so
          as to achieve a constant rate of interest on the remaining balance of the liability. Finance charges are recognised in finance costs
          in the statement of profit or loss.

          A leased asset is depreciated over the useful life of the asset. However, if there is no reasonable certainty that the Group will obtain
          ownership by the end of the lease term, the asset is depreciated over the shorter of the estimated useful life of the asset and the
          lease term.

          An operating lease is a lease other than a finance lease. Operating lease payments are recognised as an operating expense in the
          statement of profit or loss on a straight-line basis over the lease term.

          Convertible bonds
          Convertible bonds are separated into liability and equity components based on the terms of the contract. On issuance of the
          convertible bonds, the fair value of the liability component is determined using a market rate for an equivalent non-convertible
          instrument. This amount is classified as a financial liability measured at amortised cost (net of transaction costs) until it is
          extinguished on conversion or redemption.

          The remainder of the proceeds is allocated to the conversion option that is recognised and included in equity. Transaction costs
          are deducted from equity. The carrying amount of the conversion option is not remeasured in subsequent years. Transaction costs
          are apportioned between the liability and equity components of the convertible bond, based on the allocation of proceeds to the
          liability and equity components when the instruments are initially recognised.

          Sukuk
          Sukuk are initially recognised at the fair value of the consideration received less directly attributable transaction costs. After initial
          recognition, sukuk are subsequently measured at amortised cost using the effective interest method. Interest on sukuk is charged
          as an expense as it accrues, with unpaid amounts included in “accounts payable and accruals”.

          4 Accounting standards and interpretations issued but not effective
          The new and amended standards and interpretations that are issued, but not yet effective, up to the date of issuance of the
          Group’s financial statements are disclosed below. The Group intends to adopt these new and amended standards and
          interpretations, if applicable, when they become effective.

          IFRS 16 Leases
          IFRS 16 replaces existing guidance on the accounting for leases, including IAS17 Leases, IFRIC 4 Determining whether an Arrangement
          contains a Lease, SIC-15 Operating Leases – Incentives and SIC-27 Evaluating the Substance of Transactions Involving the Legal Form
          of a Lease. The standard is applicable for annual periods beginning on or after 1 January 2019. Early adoption is permitted.

          IFRS 16 introduces a single comprehensive, on-balance sheet lease accounting model for lessees. IFRS 16 distinguishes leases
          and service contracts on the basis of whether an identified asset is controlled by a customer. Distinctions of operating leases
          (off balance sheet) and finance leases (on balance sheet) are removed for lessee accounting and is replaced by a model where
          a right-of-use asset and a corresponding liability have to be recognised for leases by lessees (i.e. all on balance sheet) except for
          short-term leases and leases of low value assets.

          Lessor accounting under IFRS 16 is substantially unchanged from today’s accounting under IAS 17. Lessors will continue to classify all
          leases using the same classification principle as in IAS 17 and distinguish between two types of leases: operating and finance leases.

          IFRS 16, which is effective for annual periods beginning on or after 1 January 2019, requires lessees and lessors to make more
          extensive disclosures than under IAS 17.




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          IFRS 16 Leases continued
          Transition to IFRS 16
          The Group will adopt IFRS 16 using modified retrospectively approach, with the initial application date of 1 January 2019 and without
          restating comparative information. As the balance sheet as at 31 December 2018 will not be restated, any reclassifications and the
          adjustments arising will be recognised in the opening balance sheet on 1 January 2019.

          The Group will use the following practical expedients when applying this Standard retrospectively to leases previously classified
          as operating leases applying IAS 17. Group will apply these practical expedients on a lease-by-lease basis:
          1. Group will apply a single discount rate to a portfolio of leases with reasonably similar characteristics (such as leases with
             a similar remaining lease term for a similar class of underlying asset in a similar economic environment).
          2. Group will elect not to apply the requirements of IFRS 16 to leases for which the lease term ends within 12 months of the
             date of initial application. In this case, Group will:
             (i) account for those leases in the same way as short-term leases; and
             (ii) Include the cost associated with those leases within the disclosure of short-term lease expense in the annual reporting
                  period that includes the date of initial application.
          3. Group will use hindsight, such as in determining the lease term if the contract contains options to extend or terminate the lease.

          The right of use (ROU) assets will be taken as equal to lease liability as of transaction date.

          On adoption of requirements of IFRS 16, the Group’s operating profit will improve (being the operating lease rental amount that will
          be replaced by a depreciation charge and interest expense). This is due to the change in the accounting for expenses of leases that
          were classified as operating leases under IAS 17.

          The Group has designed a new leasing strategy, and the actual impact of the IFRS 16 on lease expense, finance expenses,
          depreciation, lease liability and right of use of assets to be brought onto the consolidated financial statements as at 1 January 2019
          can only be estimated once the new strategy will be implemented. New strategy includes renegotiation of lease terms, rentals and
          other services with the lessors, decisions to buy or lease out on case by case basis.

          At the date of the consolidated financial statement, the following other standards, amendments and Interpretations have not been
          effective and have not been early adopted by the Group:
          a) IFRIC 23 Uncertainty Over Income Tax Treatments – effective 1 January 2019;
          b) Prepayment Features with Negative Compensation (Amendments to IFRS 9) – effective 1 January 2019;
          c) Annual Improvements to IFRS 2015 – 2017 Cycle (Amendments to IFRS 3, IFRS 11, IAS 12 and IAS 23) – effective 1 January 2019;
          d) Long-term Interests in Associates and Joint Ventures (Amendments to IAS 28) – effective 1 January 2019;
          e) Sale or Contribution of Assets between an Investor and its Associates or Joint Venture (Amendments to IFRS 10 and IAS 28)
             – Available for optional adoption/effective date deferred indefinitely;
          f) IFRIC Interpretation 23 Uncertainty over Income Tax Treatment – effective 1 January 2019;
          g) Amendments to IAS 19: Plan Amendment, Curtailment or Settlement– effective 1 January 2019; and
          h) Transfer to Investment Property – Amendments to IAS 40.

          With the exception of IFRS 16, management anticipates that the application of the above Standards and Interpretations in future
          periods will have no material impact on the consolidated financial statement of the Group in the period of initial application.




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          5 Business combinations
          During the financial year ended 31 December 2018, the Group completed a number of acquisitions in line with its growth strategy.
          These acquisitions have increased group’s market share in the healthcare industry and complement the group’s existing
          healthcare portfolio.
                                                                           CS      BIVF      CCSMC      Al Salam       Aspen         Others           Total
          Particulars                                                 US$’000    US$’000    US$’000      US$’000      US$’000       US$’000         US$’000

          Assets
          Intangible assets                                           16,472      33,421       7,142      12,373       3,009        22,359           94,776
          Property and equipment                                      36,831      9,806      16,221       15,378      44,330         28,714         151,280
          Deferred tax asset                                                –         43           –            –      4,238              –            4,281
          Inventories                                                   1,504       496         703        1,886        5,184         6,070          15,843
          Accounts receivable                                          3,839      5,980       2,710         2,100     23,977        24,529           63,135
          Other receivables                                            3,851        954       2,775      20,828         1,012         8,681           38,101
          Cash and bank balances                                      4,898       2,940       2,703          857       1,459        18,857            31,714
                                                                      67,395     53,640     32,254       53,422       83,209       109,210          399,130

          Liabilities
          Borrowings                                                        –         –           –       20,414            –           133         20,547
          Accounts payable                                              3,318     6,050        465         7,906      50,938         14,153         82,830
          Deferred tax liability                                            –    10,029           –            –          171          243           10,443
          Other payable                                                10,154     5,348       2,770       9,323        8,767        20,891          57,253
          Finance lease payable                                             –         –           –            –       5,409              –           5,409
          Tax payable                                                       –        78           –          150         184           459              871
                                                                      13,472     21,505       3,235      37,793       65,469        35,879          177,353

          Total identified net assets at fair value                   53,923      32,135    29,019       15,629         17,740     73,331        221,777
          Non-controlling interest                                    (16,177)    (9,640)        –        (3,126)      (4,402)     (5,926)        (39,271)
          Goodwill arising on acquisition                             91,304     42,205     23,523       24,022              –    209,275       390,329
          Bargain gain on acquisition                                       –          –         –             –       (5,567)         (61)        (5,628)
          Purchase consideration                                     129,050     64,700     52,542       36,525          7,771     276,619      567,207

          Purchase consideration:
          Payable in cash                                            129,050     64,700     52,542       36,525          7,771    260,946           551,534
          Contingent consideration                                         –          –          –            –              –     14,604            14,604
          Deferred consideration                                           –          –          –            –              –      1,069             1,069
          Total consideration                                        129,050     64,700     52,542       36,525          7,771     276,619      567,207


          The fair value assessment of identifiable net assets is complete for all entities except for Aspen, Boston IVF, Premier and Cytomed.
          Aspen, Boston IVF, Premier and Cytomed fair value assessment is provisional.

          The non-controlling interest in all acquired entities is measured at the proportionate share of net assets of subsidiaries.

          With respect to the bargain gain on acquisition Group re-assessed whether it has correctly identified all of the assets acquired and
          all of the liabilities assumed and reviewed the procedures used to measure the amounts to be recognised at the acquisition date.
          The reassessment still resulted in an excess of the fair value of net assets acquired over the aggregate consideration transferred.

          The Group purchased Aspen at a discounted price as compared to its estimated fair market value from market participant’s
          perspective. NMC competitive edge over other prospective bidders helps to conclude the transaction at a bargain purchase.




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          5 Business combinations continued
          Analysis of cash flows on acquisitions is as follows:
                                                                               CS      BIVF       CCSMC     Al Salam    Aspen        Others        Total
          Particulars                                                     US$’000    US$’000     US$’000     US$’000   US$’000      US$’000      US$’000

          Cash paid                                                      (129,050)   (64,700)    (52,542)   (36,525)    (7,771)   (260,946)     (551,534)
          Loan paid adjusted                                                    –           –      39,211         –          –             –      39,211
          Net cash acquired with the subsidiaries                           4,898      2,940       2,703        857     1,459       18,857         31,714
          Transaction costs                                                     –      (1,592)       (80)      (253)     (684)        (1,145)     (3,754)
          Net cash flow on acquisition                                   (124,152)   (63,352)    (10,708)   (35,921)   (6,996)    (243,234)     (484,363)


          The transaction costs reported in the consolidated income statement comprise of the following:
                                                                                                                                      2018           2017
                                                                                                                                   US$ ‘000      US$ ‘000

          Transaction costs for the acquired entities                                                                                3,754         4,663
          Transaction costs for acquisitions in progress                                                                             1,222         1,306
                                                                                                                                      4,976        5,969


          Other financial information with respect to acquired entities is as follows:
                                                                                                                                                   Total
          Particulars                                                                                                                            US$’000

          Revenue from the date of acquisition                                                                                                   214,020
          Profit after tax from the date of acquisition                                                                                            14,817
          Revenue from 1 January to 31 December 2018 (unaudited)                                                                                 468,139
          Profit after tax from 1 January to 31 December 2018 (unaudited)                                                                         16,477
          Trade receivables gross value as of acquisition date                                                                                    63,135
          Trade receivables fair value as of acquisition date                                                                                     63,135


          On the grounds of commercial sensitivity the profit information for individual acquired entities is not provided however overall profit
          impact for all acquired entities is disclosed.

          The goodwill recognised with respect to all the acquisitions made during 2018 is attributable to the expected synergies and
          other benefits from combining the assets and activities of acquired entities with those of the Group. Goodwill represents the
          future business potential and profit growth of the acquired entities. It comprises all of the intangibles that cannot be individually
          recognised such as the assembled workforce, future client relationships, the presence in geographic markets, the synergies
          that the acquired entities & NMC will obtain. Goodwill is allocated to the healthcare segment US$ 371,163,000 and distribution
          segment US$ 19,166,000.

          Acquisition of CosmeSurge Investment LLC (“CosmeSurge” or “CS”)
          On 18 January 2018, the Group agreed to acquire 70% controlling stake of CS. CS is an industry leader in the UAE in providing quality
          cosmetic surgery and aesthetic medicine. The assets being acquired include 17 operational clinics, and a 10-bed hospital and two new
          clinics which are being constructed and scheduled to open in 2018. NMC currently provides invasive cosmetic procedures and complex
          surgeries and the addition of CS will expand the Group’s offering. Having managed CS under an Operation and Management (“O&M”)
          contract since September 2017, NMC has already identified a number of revenue and cost synergy opportunities.

          NMC acquired control of CosmeSurge on 21 March 2018, date on which all conditions precedents were completed, meaning that
          control has passed to the Group. For convenience, the closest available balance sheet date has been used for the purposes of
          measuring net assets acquired. This date is 31 March 2018, with full consolidation commencing on 1 April 2018. We are not aware
          of any material transactions in the period between 21 March 2018 and 31 March 2018.

          At the date of acquisition, the fair value of identifiable intangible assets included brands amounting to US$11,572,000 and customer
          relationship of US$4,900,000. The fair values of brands have been assessed using the relief from royalties’ method and customer
          relationship have been assessed using the multi-period excess earning method. No deferred tax liability has been recognized
          as there is no Corporation tax applicable in UAE.




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          Acquisition of CosmeSurge Investment LLC (“CosmeSurge” or “CS”) continued
          The goodwill recognised is attributable to the expected synergies and other benefits from combining the assets and activities
          of CosmeSurge with those of the Group. Goodwill represents the future business potential and profit growth of the CosmeSurge. It
          comprises all of the intangibles that cannot be individually recognised such as the assembled workforce, future client relationships,
          the presence in geographic markets, the synergies that CosmeSurge & NMC will obtain. Goodwill is allocated to the healthcare
          segment. None of the recognised goodwill is expected to be deductible for income tax purposes as there is no corporation tax
          in the UAE.

          Between 1 April 2018 to 31 December 2018 turnover of US$ 49,438,000 arising from CosmeSurge was included in Groups turnover.
          If the business had been acquired at the beginning of the year, the Groups turnover for the year ended 31 December 2018 would
          have been US$ 62,847,000.

          Acquisition of Boston IVF (“BIVF”)
          On 17 December 2018, the Group agreed to acquire 70% controlling stake of Boston IVF Group (“BIVF”). Boston IVF is one of the main
          US leaders in Assisted Reproductive Technology (“ART”) market which offers services of medicine related to fertility, gynaecology
          and obstetrics. BIVF was founded in 1986 and its based in Waltham, Massachusetts United States.

          NMC acquired control of BIVF on 17 December 2018, date on which all conditions precedents were completed, meaning that control
          has passed to the Group. For convenience, the closest available balance sheet date has been used for the purposes of measuring
          net assets acquired. This date is 31 December 2018, with full consolidation commencing on 1 January 2019. We are not aware of
          any material transactions in the period between 17 December 2018 and 31 December 2018.

          At the date of acquisition, the fair value of identifiable intangible assets included brands amounting to US$33,381,000 The fair
          values of brands have been assessed using the relief from royalties’ method (with a related deferred tax liability in respect of
          these intangible assets of US$9,914,000). The related deferred tax liability has been assessed using the rate of corporation tax (30%)
          applicable in USA.

          The goodwill recognised is attributable to the expected synergies and other benefits from combining the assets and activities
          of BIVF with those of the Group. Goodwill represents the future business potential and profit growth of the BIVF. It comprises all
          of the intangibles that cannot be individually recognised such as the assembled workforce, future client relationships, the presence
          in geographic markets, the synergies that BIVF & NMC will obtain. Goodwill is allocated to the healthcare segment.

          If the business had been acquired at the beginning of the year, the Groups turnover for the year ended 31 December 2018 would
          have been US$ 70,222,000.

          Acquisition of Chronic Care Specialist Medical Center (“CCSMC”),
          On 05 February 2018, the Group agreed to acquire a 100% controlling stake in the voting shares of CCSMC, an unlisted long-term
          care provider based in the Kingdom of Saudi Arabia having a licensed capacity of about 220 beds. NMC acquired control of CCSMC
          on 21 March 2018 when NMC obtained the required regulatory approvals from the authorities in the Kingdom of Saudi Arabia.
          An amount of US$13,300,000 was paid to shareholders of CCSMC to acquire its entire share capital. As at the date of acquisition,
          included in the net liabilities of CCSMC were long term loans payable to NMC amounting to US$ 39,211,000. The acquisition
          transaction in effect settles the pre-existing relationship between the NMC and the previous shareholders of CCSMC therefore
          the total purchase consideration is deemed to be US$ 52,542,000. There is no deferred and contingent consideration payable.

          At the date of acquisition, the fair value of identifiable intangible assets included brand amounting to US$6,981,000. The fair values
          of brand have been assessed using the relief from royalties’ method.

          The goodwill recognised is attributable to the expected synergies and other benefits from combining the assets and activities of
          CCSMC with those of the Group. Goodwill represents the future business potential and profit growth of the CCSMC. It comprises all
          of the intangibles that cannot be individually recognised such as the assembled workforce, future client relationships, the presence
          in geographic markets, the synergies that CCSMC & NMC will obtain. Goodwill is allocated to the healthcare segment.

          Between 1 April 2018 to 31 December 2018 turnover of US$ 7,773,000 arising from CCSMC was included in Groups turnover. If the
          business had been acquired at the beginning of the year, the Groups turnover for the year ended 31 December 2018 would have
          been US$ 10,392,000.




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          5 Business combinations continued
          Acquisition of Al Salam Hospital (“Al Salam”)
          On 21 January 2018, the Group agreed to acquire 80% controlling stake of Al Salam. Al Salam Medical Group's hospital and clinics
          focus on a number of key specialities, including cardiology and paediatrics and served over 900k patients in 2017. ASMG served
          over 900,000 patients in 2017 and has a healthy mix of cash and insurance patients. The assets and businesses of ASMG comprise:
          • Al Salam Medical Centre (established in 1985) – This includes 31 clinics across 16 specialities. The company employs over 200 staff;
          • Ishbilia Medical Center (established in 2003) – This includes 34 clinics across 15 specialities. The company employs 174 staff; and
          • Al Salam Hospital (commenced operations in Q4 2016) – This is a 100-bed hospital.

          Regulatory approvals and legal formalities were completed on 2 April 2018, meaning that control has passed to the Group and full
          consolidation of results will commence from that date. For convenience, the closest available balance sheet date has been used
          for the purposes of measuring net assets acquired. This date is 1 April 2018, with full consolidation commencing on 1 April 2018.
          We are not aware of any material transactions in the period between 1 April 2018 and 2 April 2018.

          The agreed cash purchase consideration for the business was US$36,525,000.

          At the date of acquisition, the fair value of identifiable intangible assets included brands amounting to US$8,345,000 and license
          right of US$3,733,000. The fair values of brands have been assessed using the relief from royalties’ method and license have been
          assessed using replacement cost method.

          The goodwill recognised is attributable to the expected synergies and other benefits from combining the assets and activities of
          Al Salam with those of the Group. Goodwill represents the future business potential and profit growth of the Al Salam. It comprises
          all of the intangibles that cannot be individually recognised such as the assembled workforce, future client relationships, the
          presence in geographic markets, the synergies that Al Salam & NMC will obtain. Goodwill is allocated to the healthcare segment.

          Between 1 April 2018 to 31 December 2018 turnover of US$ 21,874,000 arising from Al Salam was included in Groups turnover. If the
          business had been acquired at the beginning of the year, the Groups turnover for the year ended 31 December 2018 would have
          been US$ 29,202,000.

          Acquisition of Aspen (“Aspen”)
          On 17th August 2018 the Group acquired 100% of the issued share capital of HCN European Surgery Center Holdings limited, which
          owns 100% of Aspen Healthcare Limited (“Aspen”) based in the United Kingdom. Aspen operates a network of 9 facilities across the
          country including 4 hospitals, 3 of which are based in the attractive Greater London market (Parkside Hospital, The Holly Private
          Hospital and Highgate Hospital). With this acquisition, the Group has expanded its footprint in United Kingdom as well. The total
          purchase consideration was US$7,771,000. The acquisition of Aspen has resulted into bargain purchase of US$ 5,567,000.

          At the date of acquisition, the fair value of identifiable tangible assets included property plant and equipment (“PPE”) amounting
          to US$3,010,000. The fair values of PPE have been assessed using three main approaches (cost, market and income approach).
          Based on the nature of the assets and information available, the most appropriate approach to value each asset was followed.

          The goodwill recognised is attributable to the expected synergies and other benefits from combining the assets and activities
          of Aspen Group with those of the Group. Goodwill represents the future business potential and profit growth of the Aspen. It
          comprises all of the intangibles that cannot be individually recognised such as the assembled workforce, future client relationships,
          the presence in geographic markets, the synergies that Aspen & NMC will obtain. Goodwill is allocated to the healthcare segment.

          Between 1 September 2018 to 31 December 2018 turnover of US$ 53,985,000 arising from Aspen was included in Groups turnover.
          If the business had been acquired at the beginning of the year, the Groups turnover for the year ended 31 December 2018 would
          have been US$ 170,434,000.




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          Other acquisitions
          The Group has made several other small acquisitions during the year for which key information is provided below.
                                                                                   Purchase       Contingent          Deferred   Fair value of    Bargain
                                                                   Effective    consideration   consideration    consideration    intangibles        gain        Goodwill
          Acquiree                                             shareholding          US$’000         US$’000          US$’000        US$’000      US$’000        US$’000

          Acquisitions – UAE
          Fakih Medical Centre LLC                                    100%           73,800             695                 –              –            –         63,751
          Aesthetic Skin Care Clinic LLC                               75%           40,839               –                 –          1,851            –        38,385
          Premier Care Home Medical and Healthcare LLC                 70%           36,393           2,633                 –         2,805             –         33,251
          Royal Medical Centre LLC                                    100%             7,128            744                 –              –            –          4,844
          Others                                                      100%           36,262           3,456               109         8,440           (61)        19,879
                                                                                    194,422            7,528              109        13,096           (61)       160,110
          Acquisitions – KSA
          New Medical Centre Hospital Hail                            100%          28,698                 –                –          1,756            –         5,885
                                                                                    28,698                 –                –          1,756            –         5,885
          Acquisitions – Oman
          Emirates Medical Center LLC                                 100%           19,982                –             960          6,096             –          12,118
                                                                                     19,982                –             960          6,096             –          12,118
          Acquisitions – Europe
          Eugin Sweden AB                                             75%             17,603           7,076                –               –           –        18,807
          AVA Clinic SIA                                             100%             10,810               –                –           1,217           –         8,195
          Others                                               60% – 100%              5,104               –                –               0           –          4,160
                                                                                      33,517           7,076                –           1,217           –         31,162
          Total                                                                     276,619           14,604            1,069        22,165           (61)   209,275


          The fair value of the identifiable assets and liabilities of entities acquired in previous year at the dates of acquisition were as follows:
                                                                                                                                     Al Zahra      Others          Total
          Particulars                                                                                                                US$’000      US$’000        US$’000

          Assets
          Intangible assets                                                                                                            1,004       16,314      17,318
          Property and equipment                                                                                                     124,196      18,786     142,982
          Inventories                                                                                                                 6,668        2,064       8,732
          Accounts receivable                                                                                                         44,143       15,163     59,306
          Other receivables                                                                                                            1,924        1,149      3,073
          Cash and bank balances                                                                                                      6,095        2,438       8,533
                                                                                                                                    184,030       55,914     239,944

          Liabilities
          Borrowings                                                                                                                       –      10,329         10,329
          Accounts payable                                                                                                           26,077        5,972         32,049
          Other payable                                                                                                               11,990       7,084          19,074
          Tax payable                                                                                                                      –         321             321
                                                                                                                                     38,067       23,706          61,773

          Total identified net assets at fair value                                                                                145,963       32,208           178,171
          Non-controlling interest                                                                                                       –        (8,784)         (8,784)
          Goodwill arising on acquisition                                                                                          416,888       54,685          471,573
          Purchase consideration                                                                                                    562,851       78,109     640,960

          Purchase consideration:
          Payable in cash                                                                                                           562,851       73,739     636,590
          Contingent consideration                                                                                                        –          704         704
          Deferred consideration                                                                                                          –        2,869       2,869
          Advance paid in 2016                                                                                                            –          797         797
          Total consideration                                                                                                       562,851       78,109     640,960




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          5 Business combinations continued
          Analysis of cash flows for acquisitions done in previous year disclosed in 2017 consolidated financial statements was as follows:
                                                                                                                    Al Zahra     Others        Total
          Particulars                                                                                               US$’000     US$’000      US$’000

          Cash paid                                                                                                (562,851)   (73,739)    (636,590)
          Net cash acquired with the subsidiaries                                                                     6,095      2,438         8,533
          Transaction costs                                                                                          (4,458)      (205)       (4,663)
          Net cash flow on acquisition                                                                             (561,214)    (71,506)   (632,720)


          Other financial information with respect to acquired entities in 2017 is as follows:
                                                                                                                    Al Zahra     Others        Total
          Particulars                                                                                               US$’000     US$’000      US$’000

          Revenue from the date of acquisition                                                                      116,343     44,631      160,974
          Profit after tax from the date of acquisition                                                             30,226       1,538        31,764
          Revenue from 1 January to 31 December 2017 (unaudited)                                                   126,359     48,605       174,964
          Profit (loss) after tax from 1 January to 31 December 2017 (unaudited)                                     32,014     (6,501)      25,513
          Trade receivables gross value as of acquisition date                                                       44,143     15,163       59,306
          Trade receivables fair value as of acquisition date                                                        44,143     15,163       59,306


          Acquisition of Al Zahra Hospital (“Al Zahra”)
          On 14 December 2016, the Group agreed to acquire a 100% controlling stake in the voting shares of Al Zahra, UAE providing both
          in-patient and outpatient service to the highest standards, supported by state of art facilities. Al Zahra is one of the largest full
          service multi-speciality hospitals in the UAE in Sharjah and Northern Emirates. The hospital has 137 active in patients beds and a
          capacity of 154 beds (expandable to at least 200 beds), treating approximately 400,000 outpatients and 23,000 in patients bed days
          per year. It has strong relationships with a number of major insurance providers in Sharjah with approximately 85% of outpatients
          referred through the insurance channel.

          The total purchase consideration was US$562,851,000. There were no deferred and contingent consideration payable.

          NMC acquired control of Al Zahra on 13 February 2017, date on which all conditions precedent were completed, meaning that control
          has passed to the Group. For convenience, the closest available balance sheet date has been used for the purposes of measuring
          net assets acquired. This date is 31 January 2017, with full consolidation commencing on 1 February 2017. We are not aware of any
          material transactions in the period between 01 February 2017 and 13 February 2017.

          The consolidated financial statements include the results of Al Zahra for 11 months period.

          The goodwill recognised is attributable to the expected synergies and other benefits from combining the assets and activities of
          Al Zahra with those of the Group. It comprises all of the intangibles that cannot be individually recognised such as the assembled
          workforce, the customer service, future client relationships, the presence in geographic markets, the synergies that Al Zahra & NMC
          will obtain. Goodwill is allocated to the healthcare segment. None of the recognised goodwill is expected to be deductible for
          income tax purposes as there is no corporation tax in the UAE.

          At the date of acquisition, the fair value of identifiable tangible assets included Building of US$86,500,000, land of US$13,500,000
          and intangible assets included brands amounting to US$545,000 and software amounting to US$459,000.

          No acquisition date contingent liabilities requiring full recognition have been noted as yet.




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          Other acquisitions
          The Group has made several other small acquisitions during the year for which key information is provided below.
                                                                                                                                                  Advance
                                                                                  Purchase       Contingent          Deferred   Fair value of      paid for
                                                                  Effective    consideration   consideration    consideration    intangibles    acquisition     Goodwill
          Acquiree                                            shareholding          US$’000         US$’000          US$’000        US$’000       US$’000       US$’000

          Acquisitions – UAE
          Others                                                     100%               817               –                –               –             –         735
                                                                                        817               –                –               –             –         735
          Acquisitions – KSA
          As Salama Hospital LLC                                      70%           29,195                            2,800          12,400              –      14,382
          Al Qadi Hospital LLC                                        60%           16,432                –               –           3,774              –       13,144
                                                                                    45,627                –           2,800           16,174             –      27,526
          Acquisitions – Oman
          Atlas Healthcare                                           100%           28,259                –                –               –            –       24,089
          Others                                                     100%             885                 –               69               –          797          788
                                                                                     29,144               –               69               –          797       24,877
          Acquisitions – Europe
          Fecunmed                                                    80%             2,521            704                 –               –             –        1,547
                                                                                      2,521            704                 –               –             –        1,547
          Total                                                                     78,109             704            2,869           16,174          797       54,685


          Under others acquisitions:
          As of 31 December 2017, an amount of US$ 4,016,000 payable to non-controlling interest of Al Qadi Hospital was not included in
          purchase price allocation. This is now corrected in current period and recorded as financial liability. This resulted in increase in
          goodwill by an amount of US$ 2,410,000 and reduction of non-controlling interest by an amount of US$ 1,606,000.

          Further, during the current year, out of total payable of US$ 4,016,000 to non-controlling interest, an amount of US$ 1,886,000
          was converted to equity, an amount of US$ 1,564,000 was paid to non-controlling interest and US$ 566,000 was waived by
          non-controlling interest and transferred to retained earnings.

          During the year, purchase price allocation of Al Qadi Hospital was finalised. Fair values of property and equipment has been
          reduced by US$ 1,355,000, trade receivables by US$ 267,000 and increase in fair value of liabilities by US$ 130,000. All these, resulted
          in decrease in net assets as of acquisition date by US$ 1,752,000. This resulted in increase in goodwill by an amount of US$ 1,051,000
          and reduction in non-controlling interest of US$ 701,000.

          Advances in respect of Acquisitions:
          Advances paid in respect of acquisitions as of 31 December 2018 amounting to US$ 18,301,000 (31 December 2017 US$ nil).

          Included in this is an amount of US$ 9,529,000 in respect of contingent consideration paid in advance for an acquisition.
          This amount is adjustable from contingent consideration payable to the sellers of that entity.

          6 Material partly-owned subsidiaries
          For the year ended 31 December 2018, there are no material partly-owned subsidiaries.

          7 Segment information
          For management purposes, the Group is organised into business units based on their products and services and has two
          reportable segments as follows:
          • The healthcare segment is engaged in providing professional medical services, comprising diagnostic services, in and outpatient
             clinics, provision of all types of research and medical services in the field of gynaecology, obstetrics and human reproduction
             and retailing of pharmaceutical goods. It also includes the provision of management services in respect of hospitals.
          • The distribution & services segment is engaged in wholesale trading of pharmaceutical goods, medical equipment, cosmetics
             and food.

          No operating segments have been aggregated to form the above reportable operating segments.




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          7 Segment information continued
          The new acquired companies/businesses (Aspen, CosmeSurge, Boston IVF, Aesthetics, Al Salam, Al Rashid, CCSMC, EMC,
          Pro-Criar, FMC, Royal RAK, CREA, Sweden IVF, Premier, AVA and Mesk) come under the healthcare segment and Cytomed
          come under distribution segment.

          Management monitors the operating results of its business units separately for the purpose of making decisions about resource
          allocation and performance assessment. Segment performance is evaluated based on EBITDA and profit or loss. These are
          measured consistently with EBITDA and profit or loss excluding finance income and group administrative expenses, unallocated
          depreciation and unallocated other income, in the consolidated financial statements.

          Finance costs and finance income relating to UAE subsidiaries are not allocated to individual segments as they are managed on
          a group basis. In addition Group overheads are also not allocated to individual segments as these are managed on a Group basis.

          Transfer prices between operating segments are on an arm’s length basis in a manner similar to transactions with third parties.

          The following tables present revenue and profit and certain asset and liability information regarding the Group‘s business
          segments for the years ended 31 December 2018 and 2017.
                                                                                        Distribution       Total        Adjustments
                                                                         Healthcare    and services    segments      and eliminations    Consolidated
                                                                           US$‘000         US$‘000       US$‘000             US$‘000         US$‘000

          Year ended 31 December 2018
          Revenue
          External customers                                             1,549,870        507,383      2,057,253                  –       2,057,253
          Inter segment                                                      11,513        37,742         49,255            (49,255)              –
          Total                                                           1,561,383       545,125      2,106,508            (49,255)      2,057,253
          (Expenses)/Income
          Depreciation and amortization                                    (82,945)         (4,737)      (87,682)             (12,681)      (100,363)
          Finance costs                                                      (9,904)          (424)       (10,328)          (110,973)         (121,301)
          Segment EBITDA                                                   487,974         68,383       556,357             (68,985)         487,372
          Segment profit                                                  394,367          62,896       457,263            (205,354)        251,909
          Segment assets                                                 3,070,981        382,251      3,453,232            419,183        3,872,415
          Segment liabilities                                             434,966          124,277      559,243           1,956,409       2,515,652
          Other disclosures
          Capital expenditure                                               152,130          4,004       156,134              8,853         164,987
          Year ended 31 December 2017
          Revenue
          External customers                                              1,146,243        457,153     1,603,396                  –       1,603,396
          Inter segment                                                       15,374        29,601        44,975            (44,975)              –
          Total                                                            1,161,617      486,754      1,648,371            (44,975)      1,603,396
          (Expenses)/Income
          Depreciation and amortization                                    (58,143)         (3,526)      (61,669)             (9,214)       (70,883)
          Finance costs                                                     (8,692)              (7)      (8,699)           (55,093)         (63,792)
          Segment EBITDA                                                   355,401          51,549      406,950             (53,563)        353,387
          Segment profit                                                   287,827          48,016      335,843            (126,662)         209,181
          Segment assets                                                 2,270,559        296,445      2,567,004            372,004       2,939,008
          Segment liabilities                                             343,258           97,703       440,961           1,353,421      1,794,382
          Other disclosures
          Capital expenditure                                               58,214           5,105        63,319               1,542          64,861




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          Inter-segment revenues are eliminated upon consolidation and reflected in the ‘adjustments and eliminations’ column.
          All other adjustments and eliminations are part of detailed reconciliations presented further below.

          Adjustments and eliminations
          Finance income and group overheads are not allocated to individual segments as they are managed on a group basis.

          Term loans, convertible bond, sukuk, bank overdraft and other short term borrowings and certain other assets and liabilities
          are not allocated to segments as they are also managed on a group basis.

          Capital expenditure consists of additions to property and equipment and intangible assets.

          Reconciliation of Segment EBITDA to Group profit
                                                                                                                                    2018            2017
                                                                                                                                 US$‘000         US$‘000

          Segment EBITDA                                                                                                       556,357        406,950
          Unallocated group administrative expenses                                                                             (70,295)       (54,400)
          Unallocated other income                                                                                                   1,310           837
          Unallocated finance income                                                                                                5,829          7,487
          Unallocated unamortised finance fees written off                                                                         (13,124)      (6,794)
          Finance costs on borrowings                                                                                          (104,405)       (63,792)
          Interest on convertible bond and sukuk                                                                                 (16,896)              –
          Depreciation                                                                                                           (81,569)       (58,107)
          Amortisation                                                                                                           (18,794)       (12,776)
          Impairment of assets                                                                                                      (2,214)       (3,010)
          Transaction costs related to business combinations                                                                       (4,976)       (5,969)
          Gain from bargain purchase on acquisition                                                                                 5,628              –
          Tax                                                                                                                      (4,942)        (1,245)
          Group Profit                                                                                                          251,909          209,181


          Reconciliation of Segment profit to Group profit
                                                                                                                                    2018            2017
                                                                                                                                 US$‘000         US$‘000

          Segment profit                                                                                                        457,263       335,843
          Unallocated finance income                                                                                                3,064         2,036
          Unallocated finance costs on borrowings                                                                               (94,076)       (55,093)
          Unallocated interest on convertible bond and sukuk                                                                     (16,896)              –
          Unallocated group administrative expenses                                                                             (70,295)       (54,400)
          Unallocated unamortised finance fees written off                                                                         (13,124)      (6,794)
          Unallocated depreciation                                                                                                 (1,886)        (1,090)
          Unallocated other income                                                                                                    1,310          837
          Unallocated amortisation cost                                                                                           (10,796)        (8,123)
          Unallocated impairment of assets                                                                                          (1,783)       (3,010)
          Unallocated transaction cost                                                                                                (872)       (1,025)
          Group Profit                                                                                                          251,909          209,181




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          7 Segment information continued
          Reconciliation of Group assets
                                                                                                                                2018        2017
                                                                                                                             US$‘000     US$‘000

          Segment assets                                                                                                  3,453,232    2,567,004
          Unallocated property and equipment                                                                                   6,330        7,995
          Unallocated inventory                                                                                                  229          215
          Unallocated accounts receivable and prepayments                                                                     19,145       16,553
          Unallocated bank balances and cash                                                                                 158,157      161,028
          Unallocated bank deposits                                                                                         235,322      184,430
          Unallocated intangible assets                                                                                            –        1,783
          Group assets                                                                                                    3,872,415 2,939,008


          Reconciliation of Group liabilities
                                                                                                                                2018        2017
                                                                                                                             US$‘000     US$‘000

          Segment liabilities                                                                                               559,243      440,961
          Unallocated term loans                                                                                            953,807    1,105,524
          Unallocated employees’ end of service benefits                                                                       1,997       4,706
          Unallocated accounts payable and accruals                                                                           22,291       9,109
          Unallocated convertible bond and sukuk                                                                            783,009            –
          Unallocated bank overdraft and other short term borrowings                                                        168,950     207,034
          Unallocated amounts due to related parties                                                                             336       1,029
          Unallocated option redemption payable                                                                               26,019      26,019
          Group liabilities                                                                                               2,515,652    1,794,382


          Other information
          The following table provides information relating to Group’s major customers who contribute more than 10% towards the
          Group’s revenues:
                                                                                                                 Distribution and
                                                                                                    Healthcare           services          Total
                                                                                                      US$‘000            US$‘000         US$‘000

          Year ended 31 December 2018
           Customer 1                                                                                583,232                   –        583,232
                                                                                                     583,232                   –        583,232
          Year ended 31 December 2017
           Customer 1                                                                                442,070                   –        442,070
                                                                                                     442,070                   –        442,070




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          Geographical information
                                                                                                                                     2018            2017
                                                                                                                                  US$‘000         US$‘000

          Revenue from external customers
          United Arab Emirates                                                                                                 1,801,295     1,474,344
          United Kingdom                                                                                                          53,985             –
          Spain                                                                                                                   53,082        46,684
          Others                                                                                                                 148,891       82,368
          Total revenue as per consolidated income statement                                                                   2,057,253     1,603,396

          Non-current assets
          United Arab Emirates                                                                                                 1,834,226     1,528,083
          United Kingdom                                                                                                           49,136             –
          Spain                                                                                                                  216,402        201,456
          Others                                                                                                                  381,159       80,965
          Total non-current assets                                                                                            2,480,923      1,810,504

          Deferred tax assets
          United Arab Emirates                                                                                                         –                –
          United Kingdom                                                                                                           3,752                –
          Spain                                                                                                                    1,429            2,877
          Others                                                                                                                     613              541
          Total Deferred tax assets                                                                                                 5,794           3,418


          Analysis of revenue by category:
                                                                                                                                     2018            2017
                                                                                                                                  US$‘000         US$‘000

          Revenue from services:
          Healthcare – clinic                                                                                                  1,342,950      999,678
          Healthcare – management fees                                                                                             22,911       13,016
                                                                                                                               1,365,861     1,012,694

          Sale of goods:
          Distribution                                                                                                           507,383        457,153
          Healthcare – pharmacy                                                                                                  184,009       133,549
                                                                                                                                 691,392      590,702
          Total                                                                                                                2,057,253     1,603,396


          Analysis of revenue by verticals:
                                                                                                                                     2018            2017
                                                                                                                                  US$‘000         US$‘000

          Revenue from services:
          Multi-speciality & pharmacies                                                                                         1,163,065     833,627
          Maternity & fertility                                                                                                   238,124      201,139
          Long term & home care                                                                                                   137,283      113,835
          Operation & management                                                                                                    22,911       13,016
                                                                                                                               1,561,383          1,161,617

          Sale of goods:
          Distribution                                                                                                           545,125      486,754

          Eliminations:
          Intra-group eliminations                                                                                               (49,255)         (44,975)
          Total revenue as per consolidated income statement                                                                   2,057,253     1,603,396


          As of 31 December 2018, transaction prices allocated to remaining performance obligation (unsatisfied or partially satisfied)
          are immaterial.




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          8 Expenses by nature
                                                                                                                                2018         2017
                                                                                                                             US$‘000      US$‘000

          Cost of inventories recognised as an expense                                                                       690,191     571,953
          Salary expenses                                                                                                   651,800      492,793
          Rent expenses                                                                                                     100,847       76,168
          Sales promotion expenses                                                                                           72,998       61,349
          Repair and maintenance expenses                                                                                     33,341      19,840
          Legal & licence fees                                                                                                 19,041       9,355
          Electricity expenses                                                                                                14,627      10,246
          Insurance expenses                                                                                                    11,115      9,087
          Recruitment expense                                                                                                 10,818        6,975
          Motor vehicle expenses                                                                                                6,415       5,093
          Communication expenses                                                                                                5,531        4,147
          Expected credit loss of trade receivables                                                                            4,576        7,956
          Professional fees expenses                                                                                           4,202         4,931
          Printing and stationery                                                                                              3,798         3,514
          IT expenses                                                                                                          3,070        2,472
          Others                                                                                                             26,722        17,333
                                                                                                                          1,659,092      1,303,212
          Allocated to:
          Direct costs                                                                                                     1,216,126     968,044
          General and administrative expenses                                                                              442,966       335,168
                                                                                                                          1,659,092      1,303,212


          The classifications of the remaining expenses by nature recognised in the consolidated income statement are:
                                                                                                                                2018         2017
                                                                                                                             US$‘000      US$‘000

          Transaction costs in respect of business combinations                                                               4,976         5,969
          Depreciation                                                                                                       81,569        58,107
          Amortisation                                                                                                       18,794        12,776
          Finance costs on borrowings                                                                                       104,405        63,792
          Interest on convertible bond and sukuk                                                                             16,896             –
          Impairment of assets                                                                                                 2,214        3,010
          Unamortised finance fees written off                                                                                13,124        6,794
                                                                                                                            241,978       150,448


          9 Other income
          Other income includes US$ 55,309,000 (2017: US$ 47,106,000) relating to reimbursement of advertisement and promotional expenses
          incurred by the Group. Revenue is recognised following the formal acceptance of the Group’s reimbursement claims by suppliers
          and is measured at the confirmed amount receivable.

          This also includes an amount of US$ 6,424,000 (2017: US$ nil) in respect of contingent consideration which is released to
          consolidated income statement as relevant KPIs were not met (note 39).

          10 Finance costs on borrowings
                                                                                                                                2018         2017
                                                                                                                             US$‘000      US$‘000

          Bank interest                                                                                                       95,017       53,142
          Bank charges                                                                                                         5,570       3,866
          Financial instruments fair value adjustments                                                                         1,273        4,772
          Amortisation and Re-measurement of option redemption liability (note 40)                                            2,545         2,012
                                                                                                                            104,405        63,792




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          11 Interest on bond and sukuk
                                                                                                                                     2018            2017
                                                                                                                                  US$‘000         US$‘000

          Interest on convertible bond                                                                                             14,159               –
          Interest on sukuk                                                                                                        2,737                –
                                                                                                                                  16,896                –


          12 Finance income
                                                                                                                                     2018            2017
                                                                                                                                  US$‘000         US$‘000

          Bank and other interest income                                                                                           3,372           2,067
          Financial instruments fair value adjustments                                                                             2,457           5,420
                                                                                                                                   5,829            7,487


          13 Profit for the year before tax
          The profit for the year before tax is stated after charging:
                                                                                                                                     2018            2017
                                                                                                                                  US$‘000         US$‘000

          Cost of inventories recognised as an expense                                                                            690,191         571,953
          Cost of inventories written off and provided (note 21)                                                                    2,241          2,346
          Minimum lease payments recognised as operating lease expense                                                           100,847           76,168
          Depreciation (note 18)                                                                                                  81,569           58,107
          Amortisation (note 19)                                                                                                  18,794           12,776
          Net Impairment of accounts receivable (note 22)                                                                          4,576            7,956
          Employees’ end of service benefits (note 29)                                                                             13,742           11,106
          Net foreign exchange loss/(gain)                                                                                          1,091           (550)
          Loss on disposal of property and equipment                                                                                  107             190
          Share based payments expense (note 35)                                                                                    9,704           9,181


          14 Auditor’s remuneration
          The Group paid the following amounts to its auditor and its associates in respect of the audit of the financial statements and for
          other services provided to the Group.
                                                                                                                                     2018            2017
                                                                                                                                  US$‘000         US$‘000

          Fees payable to the Company’s auditor for the audit of the Company’s annual accounts                                      1,096           1,008
          Fees payable to the Company’s auditor and its associates for other services:
           – the audit of the company’s subsidiaries pursuant to legislation                                                       2,609             902
           – audit related assurance services                                                                                        346             258
           – other assurance services                                                                                                  –               –
           – Tax compliances services                                                                                                  –               –
           – Tax advisory services                                                                                                     –               –
           – non audit services                                                                                                      984             891
                                                                                                                                   5,035           3,059


          The fees paid to the auditor includes US$ 100,000 (2017: US$ 100,000) in respect of out of pocket expenses. There were no benefits
          in kind provided to the auditor or its associates in either 2018 or 2017.




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          15 Staff costs and directors’ emoluments
          (a) Staff costs
                                                                                                                                  2018       2017
                                                                                                                               US$‘000    US$‘000

          Wages and salaries                                                                                                  589,413     445,181
          Employees’ end of service benefits (note 29)                                                                         13,742      11,106
          Staff medical expense                                                                                                 11,819     8,865
          Share based payments expense (note 35)                                                                                9,704       9,181
          Others                                                                                                               27,122     18,460
                                                                                                                              651,800    492,793


          Staff costs include amounts paid to directors, disclosed in part (b) below. The average number of monthly employees during the
          year was made up as follows:
                                                                                                                                  2018        2017

          Healthcare                                                                                                            16,974      11,215
          Distribution & services                                                                                               2,206        2,170
          Administration                                                                                                          377         287
                                                                                                                                19,557     13,672


          (b) Directors’ remuneration
                                                                                                                                  2018       2017
                                                                                                                               US$‘000    US$‘000

          Directors’ remuneration                                                                                              15,658      11,546


          Some of the executive directors are entitled to end of service benefits and to participate in share option plans as disclosed in
          note 35. Included in directors’ remuneration is an amount of US$ 8,139,000 (2017: US$ 6,115,000) in respect of cost of providing share
          options. Further information in respect of this compensation paid to directors is disclosed in the Directors’ Remuneration Report.

          16 Tax
          The Group operates in the United Arab Emirates, Spain, the UK and other jurisdictions. No deferred tax asset has been recognised
          in respect of the estimated unused tax losses due to the unpredictability of future profit streams. Included in unrecognised tax
          losses are losses of approximately US$94,320,041 (2017: US$46,549,000) that may be carried forward indefinitely. Additionally the
          group has unrecognized Zakat losses in Saudi Arabia of US$48,712,269 which have not been recognized for deferred tax purposes.

          With respect to Group operations in Europe, UK, KSA, and South America the tax disclosures are as follows:
                                                                                                                                  2018       2017
          Consolidated income statement                                                                                        US$’000    US$’000

          Current income tax:
          Charge for the year                                                                                                    5,461      3,606
          Adjustment in respect of charge for the year                                                                              13          –
                                                                                                                                 5,474      3,606
          Deferred tax:
          Charge on profit origination and reversal of temporary differences in the current year                                 (532)      (2,361)
          Income tax charge reported in the income statement                                                                    4,942       1,245




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          Reconciliation of tax expense and the accounting profit multiplied by the Spanish domestic tax rate of 25% (2017: 24.9%)
          is represented below:
                                                                                                                                      2018            2017
                                                                                                                                   US$’000         US$’000

          Group accounting profit before tax from continuing operations for the year                                              256,851      210,426
          Less: Accounting profit before tax from continuing operations (not subject to tax)                                      259,197      192,659
          Accounting profit before tax from continuing operations (subject to tax)                                                  (2,346)         17,767
          Tax at the rate of 25.0 % (2017: 24.9%)                                                                                    (586)            4,416
          Non-taxable dividend income                                                                                                   –           (1,880)
          Tax saved on amortization of intangibles                                                                                      –              (591)
          Adjustment in respect of prior period income tax                                                                             13                 –
          Different tax rates on overseas earnings                                                                                    275               (87)
          Expenses not deductible for tax purposes and other permanent differences                                                    224                 –
          Deductible expenses for tax purpose:
          R&D and IT                                                                                                                  (327)          (543)
          Other deductible expenses                                                                                                      –             (70)
          Gain not subject to tax                                                                                                   (1,407)              –
          Losses not previously recognized for deferred tax                                                                         6,750                –
          Income tax charged reported in the income statement                                                                       4,942            1,245


          The effective tax rate of the Group is 1.92% (2017: 0.59%).

          Deferred tax assets and liabilities comprise of:
          Deferred tax assets:
                                                                                                                                      2018            2017
                                                                                                                                   US$’000         US$’000

          Tax credit for R&D expenses                                                                                                 924           1,226
          Limit on tax deductibility of depreciation and amortisation                                                               4,327           2,192
          Provisions disallowed for tax                                                                                               523               –
          Others                                                                                                                       20               –
          Total deferred tax assets                                                                                                  5,794           3,418


          Deferred tax liabilities:
                                                                                                                                      2018            2017
                                                                                                                                   US$’000         US$’000

          Depreciation and amortization                                                                                             17,745          9,693
          Total deferred tax liabilities                                                                                            17,745          9,693

                                                                                                                                      2018            2017
          Reconciliation of deferred tax liabilities, net                                                                          US$’000         US$’000

          As of 1 January                                                                                                           6,275             6,110
          Tax (credit) for the year                                                                                                   150           (2,361)
          Adjustment to prior year business combination                                                                             5,526            1,359
          Foreign exchange adjustments                                                                                                  –             1,167
          As at 31 December                                                                                                          11,951         6,275


          Deferred tax assets are recognised to the extent that it is probable as supported by forecasts that future taxable profits will be
          available against which the temporary differences can be utilised.




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          17 Earnings per share (EPS)
          Basic EPS amounts are calculated by dividing net profit for the year attributable to ordinary equity holders of the Parent Company
          by the weighted average number of ordinary shares outstanding during the year.

          Diluted EPS amounts are calculated by dividing the profit attributable to ordinary equity holders of the parent by the weighted
          average number of ordinary shares outstanding during the year plus the weighted average number of ordinary shares that
          would be issued on conversion of all the dilutive potential ordinary shares into ordinary shares.

          The following reflects the income and share data used in the basic and diluted earnings per share computations:
                                                                                                                                     2018       2017

          Profit attributable to equity holders of the Parent (US$‘000)                                                         248,653     185,970
          Weighted average number of ordinary shares in issue (‘000) for basic EPS                                              207,888     204,302
          Effect of dilution from share based payments (‘000)                                                                       1,401     1,538
          Weighted average number of ordinary shares (‘000) for diluted EPS                                                     209,289     205,840
          Basic earnings per share (US$)                                                                                           1.196      0.910
          Diluted earnings per share (US$)                                                                                         1.188      0.903


          Convertible bond has anti-dilutive effect, accordingly it is not considered for the calculations of diluted EPS.

          The table below reflects the income and share data used in the adjusted earnings per share computations. Unamortized finance
          fees written off, transaction costs in respect of business combination, amortisation of acquired intangible assets (net of tax),
          impairment of assets and gain from bargain purchase on acquisition have been adjusted from the profit attributable to the
          equity holders of the parent to arrive at the adjusted earnings per share:
                                                                                                                                    2018        2017
                                                                                                                                 US$‘000     US$‘000

          Profit attributable to equity holders of the Parent                                                                   248,653     185,970
          Unamortised finance fees written off                                                                                     13,124      6,794
          Transaction costs in respect of business combinations                                                                    4,976      5,969
          Amortisation of acquired intangible assets (net of tax)                                                                 15,346      11,606
          Impairment of assets                                                                                                      2,214      3,010
          Gain from bargain purchase on acquisition                                                                               (5,628)          –
          Adjusted profit attributable to equity holders of the Parent                                                          278,685     213,349
          Weighted average number of ordinary shares (’000)                                                                     209,289     205,840
          Diluted adjusted earnings per share (US$)                                                                               1.332       1.036


          Adjusted profit for the year of the Group is calculated as follows:
                                                                                                                                    2018        2017
                                                                                                                                 US$‘000     US$‘000

          Profit for the year                                                                                                    251,909    209,181
          Unamortised finance fees written off                                                                                     13,124     6,794
          Transaction costs in respect of business combinations                                                                    4,976     5,969
          Amortisation of acquired intangible assets (net of tax)                                                                 16,946     11,606
          Impairment of assets                                                                                                      2,214     3,010
          Gain from bargain purchase on acquisition                                                                               (5,628)         –
          Adjusted profit                                                                                                        283,541    236,560


          18 Property and equipment
          Property and equipment consists of the following:
                                                                                                                                    2018        2017
                                                                                                                                 US$‘000     US$‘000

          Property and equipment                                                                                                829,900     607,092
                                                                                                                                829,900     607,092




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                                                                                                                           Furniture,
                                                                                                                             fixtures
                                                                                             Leasehold                  fittings and         Capital
                                                         Freehold    Hospital                 improve-        Motor          medical        work in
                                                             land    building    Buildings      ments       vehicles    equipment          progress        Total
                                                         US$‘000     US$‘000      US$‘000      US$‘000      US$‘000          US$‘000       US$‘000       US$‘000

          31 December 2018
          Cost:
          At 1 January 2018                              32,952     235,768        27,171     184,676       13,758         312,018         35,387       841,730
          Additions                                        5,124         231         362        11,865       3,725          51,050         87,865       160,222
          Relating to acquisition of subsidiaries          1,076      10,787      10,526        37,198         718          79,464           11,511      151,280
          Transfer from CWIP                                   –       4,659            –      13,856             –           1,588        (20,103)             –
          Impairments                                          –           –            –             –           –               –           (431)          (431)
          Reclassification                                     –        (997)           –             –           –             547               –         (450)
          Exchange difference                                  –          75         (311)        (239)         (30)        (5,556)            (59)        (6,120)
          Disposals                                            –           –            –          (129)      (768)          (1,900)           (72)       (2,869)
          At 31 December 2018                             39,152    250,523       37,748      247,227        17,403        437,211         114,098      1,143,362
          Depreciation:
          At 1 January 2018                                    –      15,613       9,869      62,859         7,825        138,472                  –    234,638
          Charge for the year                                  –       7,470        1,764     23,007         2,418         46,910                  –     81,569
          Reclassification                                     –        (516)           –            –            –            376                 –          (140)
          Adjustment to prior year (note 5)                    –           –            –            –           11          1,344                 –        1,355
          Exchange difference                                             (3)        (108)        (30)           (1)        (1,564)                –       (1,706)
          Disposals                                            –           –            –         (117)       (690)         (1,447)                –      (2,254)
          At 31 December 2018                                  –     22,564        11,525      85,719        9,563         184,091                 –     313,462
          Net carrying amount: At 31 December 2018        39,152    227,959      26,223       161,508         7,840       253,120          114,098      829,900


          Reclassification represents amounts wrongly included in hospital building for furniture and software which are now reclassified
          to respective categories.
                                                                                                                           Furniture,
                                                                                                                             fixtures
                                                                                             Leasehold                  fittings and
                                                         Freehold    Hospital                 improve-        Motor          medical    Capital work
                                                             land    building    Buildings      ments       vehicles    equipment        in progress       Total
                                                         US$‘000     US$‘000      US$‘000      US$‘000      US$‘000          US$‘000        US$‘000      US$‘000

          31 December 2017
          Cost:
          At 1 January 2017                               19,206     137,321      26,991      172,612        11,108        246,113          22,981      636,332
          Additions                                            –        224          180        4,122         3,110        24,420           31,392       63,448
          Relating to acquisition of subsidiaries         13,746     88,337            –        3,157            85         36,491             1,166    142,982
          Transfer from CWIP                                   –      9,946            –       4,893              –          4,303          (19,142)            –
          Impairments                                          –           –           –            –             –               –           (1,010)      (1,010)
          Exchange difference                                  –         (60)          –            –             –           1,401               57      1,398
          Disposals                                            –           –           –         (108)        (545)            (710)             (57)     (1,420)
          At 31 December 2017                            32,952     235,768         27,171    184,676       13,758         312,018         35,387        841,730
          Depreciation:
          At 1 January 2017                                    –       10,511      8,793       44,093        6,755        106,842                  –     176,994
          Charge for the year                                  –        5,110      1,076        18,811        1,581         31,529                 –      58,107
          Exchange difference                                  –           (8)         –             –             –           687                 –         679
          Disposals                                            –            –          –           (45)         (511)        (586)                 –       (1,142)
          At 31 December 2017                                   –     15,613       9,869      62,859         7,825        138,472                  –    234,638
          Net carrying amount: At 31 December 2017       32,952     220,155        17,302      121,817       5,933        173,546           35,387      607,092


          The carrying value of plant and equipment held under finance lease contracts at 31 December 2018 was US$ 5,587,000 (2017: Nil).
          Leased assets are pledged as security for the related finance lease liabilities.

          As part of the Group’s capital expenditure programme, borrowing costs of US$ 238,000 (2017: US$ nil) have been capitalised during
          the year. The rate used to determine the amount of borrowing costs eligible for capitalisation was 5.09% (2017: Nil%) which is the
          effective rate of the borrowings used to finance the capital expenditure. Companies in the UAE are not subject to taxation and
          as such there is no tax relief in respect of capitalised interest.

          Total capital expenditure during the year ended 31 December 2018 was US$160,222,000 (2017: US$63,448,000). Of the total capital
          expenditure spend during the year, US$ 87,865,000 (2017: US$31,392,000) related to new capital projects and US$72,357,000 (2017:
          US$32,056,000) related to further capital investment in our existing facilities.




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          18 Property and equipment continued
          Generally hospital and distribution operations are carried out on land and buildings which are leased from Government authorities
          or certain private parties. The majority of the lease periods range from five to twenty seven years apart from New Medical Centre
          Hospital LLC-Dubai (“Dubai General Hospital”), and the warehouse facilities which have leases renewable on an annual basis (note
          2.3). As at 31 December 2018 US$370,000 (2017: US$569,000) of the amounts included in property and equipment related to assets
          with annually renewable leases.

          In accordance with the local laws, except in some specific locations in the UAE the registered title of land and buildings must be
          held in the name of a UAE national. As a result, land and buildings of the Group are legally registered in the name of shareholders
          or previous shareholders of the Group. Land with a carrying amount of US$4,144,000 (31 December 2017: US$4,144,000) is held in
          the name of a previous shareholder for the beneficial interest of the Group. As the beneficial interest of such land resides with
          the Group, these assets are recorded within land in the Group’s consolidated financial statements. The directors take into account
          this local legal registration requirement, the Group’s entitlement to the beneficial interest arising from these assets, as well as other
          general business factors, when considering whether such assets are impaired.

          19 Intangible assets
                                                                                                   Patient
                                                                     Software      Brands     relationship   Database     Goodwill     Others       Total
                                                                      US$‘000     US$‘000         US$‘000     US$‘000     US$‘000     US$‘000     US$‘000

          31 December 2018
          Cost:
          At 1 January 2018                                             9,959      73,034          13,471      12,136    1,057,765    24,401    1,190,766
          Additions                                                     3,629         381               –           –            –       755        4,765
          Relating to acquisition of subsidiaries                       3,734      57,207          6,752            –     390,329     27,083     485,105
          Reclassification (note 18)                                      450           –               –           –            –         –          450
          Adjustment to prior year business                                 –           –               –           –        3,461         –        3,461
          Combinations (Note 5)
          Exchange difference                                            (319)     (1,536)              –        (413)     (11,264)     (443)     (13,975)
          At 31 December 2018                                          17,453     129,086        20,223        11,723    1,440,291    51,796    1,670,572
          Amortisation:
          At 1 January 2018                                             4,950      13,738          4,490        2,159            –     8,525      33,862
          Charge for the year                                            1,670      7,209          3,190         809             –     5,916       18,794
          Impairment                                                    1,783            –             –            –            –         –        1,783
          Reclassification (note 18)                                       140           –             –            –            –         –           140
          Exchange difference                                              (55)     (1,572)            –            –            –      (830)      (2,457)
          At 31 December 2018                                          8,488       19,375          7,680       2,968             –     13,611     52,122
          Net carrying amount: At 31 December 2018                     8,965       109,711        12,543       8,755     1,440,291    38,185    1,618,450


                                                                                                   Patient
                                                                     Software      Brands     relationship   Database     Goodwill     Others       Total
                                                                      US$‘000     US$‘000         US$‘000     US$‘000     US$‘000     US$‘000     US$‘000

          31 December 2017
          Cost:
          At 1 January 2017                                             7,723      64,713          8,415      10,867     567,338       10,169   669,225
          Additions                                                      1,413          –              –           –            –           –      1,413
          Relating to acquisition of subsidiaries                         547       5,588              –           –      471,573      11,183   488,891
          Reclassification                                                   –     (5,056)         5,056           –            –           –          –
          Adjustment to prior year business                                  –          –              –           –            –           –          –
          Combinations (Note 5)                                              –      3,824              –           –         (693)      1,818     4,949
          Exchange difference                                             276       3,965              –       1,269       19,547       1,231    26,288
          At 31 December 2017                                           9,959      73,034          13,471      12,136    1,057,765    24,401    1,190,766
          Amortisation:
          At 1 January 2017                                             1,858      6,202           2,566       1,385             –     4,231      16,242
          Charge for the year                                            1,044     5,353            1,924        774             –     3,681      12,776
          Impairment                                                    2,000          –                –          –             –         –       2,000
          Exchange difference                                               48     2,183                –          –             –       613       2,844
          At 31 December 2017                                           4,950      13,738          4,490        2,159            –     8,525      33,862
          Net carrying amount: At 31 December 2017                      5,009     59,296           8,981       9,977     1,057,765    15,876    1,156,904


          Others include rental contracts, private contracts and non-compete arrangements.

          Reclassification of US$5,056,000 in 2017 represents transfer of patient relationship incorrectly classified under brands in 2016.




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          Goodwill
          Additions to goodwill in the year relate to goodwill measured in respect of the acquisitions of CosmeSurge, Boston IVF,
          Aesthetics, Al Salam, Al Rashid, CCSMC, EMC, Pro-Criar, FMC, Royal RAK, CREA, Sweden IVF, Premier, AVA, Mesk and Cytomed.

          Goodwill is not amortised, but is reviewed annually for assessment of impairment in accordance with IAS 36. The Group performed
          its annual goodwill impairment test in December 2018 and 2017. Goodwill acquired through business combinations is allocated to
          the following operating segments representing a group of cash generating units (CGUs), which are also operating and reportable
          segments, for impairment testing:
          • Healthcare
          • Distribution and services

          The healthcare CGU has goodwill allocated to it of US$ 1,416,246,000 at the year-end (2017: US$1,052,886,000). The distribution and
          services CGU has goodwill allocated to it of US$ 24,045,000 at the year-end (2017: US$4,879,000).

          The recoverable amounts for both CGUs are based on value in use, which has been calculated using cash flow projections from
          financial budgets approved by senior management covering a five-year period. Cash flows from the sixth to tenth year period
          are extrapolated using a 3% growth rate (2017: 3%) which is significantly lower than the current annual growth rate of both CGUs.
          0% growth rate is applied for cash flows beyond tenth year. The pre-tax discount rate applied to the to the cash flows of both CGUs
          is 9.71% (2017: 8.23%), which is based on the Group’s weighted average cost of capital (WACC) and takes into account such measures
          as risk free rates of return, the Group’s debt/equity ratio, cost of debt and local risk premiums specific to the CGUs. As a result of the
          analysis, there is headroom in both CGUs and no impairment has been identified. Reasonable sensitivities have been applied to
          each CGU’s cash flows and the discount rates used, and in all cases the value in use continues to exceed the carrying amount
          of CGU goodwill.

          The key assumptions on which management has based its cash flow projections for the six year period covered by the most
          recent forecasts are those related to growth in available beds, patient numbers for the healthcare segment and revenue from the
          distribution of products for the distribution and services segment. The assumptions made reflect past experience and are based
          on management’s best estimate and judgment.

          Other acquired intangible assets
          Assets in this class are amortised over their estimated useful lives on a straight line basis. All amortisation charges for the year
          have been charged against operating profits.

          Other than goodwill, the Group does not hold any intangible assets with an indefinite life.

          Included in software are HIS and ERP projects amounting to US$ nil (2017: US$1,783,000) which are work-in-progress as of year-end.
          As of 31 December 2018, the Group has recorded accumulated impairment of US$ 3,783,000 (2017: US$ 2,000,000) against this.

          20 Loan receivable
                                                                                                                                        2018            2017
                                                                                                                                     US$‘000         US$‘000

          Loan receivable                                                                                                              2,001         32,187
                                                                                                                                       2,001         32,187


          In 2018, the Group acquired 100% voting shares of CCSMC by utilising the loan funded in prior years amounting US$32,187,000 and
          additional funding US$7,024,000 during the period and accordingly loan receivable was reclassified as investment in subsidiary.

          In addition, the Group, invested US$2,001,000 in a technology company through a convertible promissory note. The note will
          attract interest at the rate of 6% p.a and will be repayable on demand or before 3rd March 2019. This investment will support
          NMC Healthcare to have a better service offerings in the UAE. As the instrument doesn’t meet all the features of a puttable
          instrument to be classified as equity in the event of liquidation, we classified the above instrument as loan receivable.




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          21 Inventories
                                                                                                                                2018        2017
                                                                                                                             US$‘000     US$‘000

          Pharma                                                                                                             144,511     101,096
          Non pharma                                                                                                         94,572       73,414
          Egg bank                                                                                                            6,023        5,083
          Goods in transit                                                                                                      693         1,440
          Other                                                                                                               3,635         1,516
                                                                                                                            249,434      182,549
          Less: provision for slow moving and obsolete inventories                                                            (2,128)      (1,219)
                                                                                                                            247,306      181,330


          The amount of write down of inventories recognised as an expense for the year ended 31 December 2018 is US$ 2,241,000
          (2017: US$ 2,346,000). This is recognised in direct costs.

          22 Accounts receivable and prepayments
                                                                                                                                2018        2017
                                                                                                                             US$‘000     US$‘000

          Accounts receivable                                                                                               542,221      440,146
          Receivable from suppliers for promotional expenses                                                                  16,012      14,235
          Other receivables                                                                                                  50,050      43,568
          Prepayments                                                                                                        30,841      20,893
                                                                                                                            639,124      518,842


          Receivables from suppliers relate to advertising and promotional expenses incurred by the Group.

          Other receivable includes US$13,721,000 (2017 US$ 4,245,000) in respect of healthcare management fees.

          Prepayments mainly includes rentals paid in advance and insurance prepayments.

          Accounts receivable are stated net of provision for doubtful debts of US$30,013,000 (31 December 2017: US$15,747,000). During the
          year ended 31 December 2018, the Group has provided an additional provision based on IFRS 9 impact analysis US$17,231,000.

          Movements in the provision for doubtful debts are as follows:
                                                                                                                                2018        2017
                                                                                                                             US$‘000     US$‘000

          At 1 January                                                                                                        15,747       12,129
          IFRS 9 credit risk adjustment                                                                                        17,231           –
          At 1 January (adjusted)                                                                                            32,978        12,129
          Written off                                                                                                        (6,383)      (4,382)
          Written back (note 13)                                                                                                 (811)    (2,056)
          Reclassification                                                                                                     (1,314)          –
          Charge for the year (note 13)                                                                                       5,387        10,012
          Exchange difference                                                                                                     156          44
          At 31 December                                                                                                     30,013       15,747


          Reclassification represents rejection adjustment wrongly booked under provision for doubtful debt instead of accounts receivables.




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          The ageing of unimpaired accounts receivable is as follows:

                                                                        Neither past due                  Past due but not impaired
                                                                Total       nor impaired   < 90 days      91-180 days      181-365 days           >365 days
                                                              US$‘000            US$‘000    US$‘000          US$‘000            US$‘000             US$‘000

          31 December 2018
            Accounts receivable                              542,221           345,108      117,029          34,552             21,254              24,278

          31 December 2017
            Accounts receivable                              440,146          279,343       86,363           34,302            24,435               15,703


          Unimpaired receivables are expected, on the basis of past experience, to be fully recoverable. It is not the practice of Group to
          obtain collateral over receivables and they are therefore unsecured. As at 31 December 2018 accounts receivables of US$30,013,000
          (2017: US$15,747,000) were impaired and fully provided for.

          Credit risk is managed through the Group’s established policy, procedures and controls relating to credit risk management (note 36).
          A majority of the receivables that are past due but not impaired are from insurance companies and government-linked entities
          in the United Arab Emirates which are inherently slow payers due to their long invoice verification and approval of payment
          procedures. Payments continue to be received from these customers and accordingly the risk of non-recoverability is considered
          to be low.

          Of the net trade receivables balance of US$ 542,221,000 (31 December 2017: US$440,146,000) an amount of US$287,038,000
          (2017: US$ 226,298,000) is against five customers.

          The Group’s terms require receivables to be repaid within 90-120 days depending on the type of customer, which is in line with
          local practice in the UAE. Due to the long credit period offered to customers, a significant amount of trade accounts receivable
          are neither past due nor impaired.

          Amounts due from related parties amounting to US$ 7,346,000 (31 December 2017: US$1,776,000) as disclosed on the face of the
          consolidated statement of financial position are trading in nature and arise in the normal course of business.

          Included in other receivables is an amount of US$nil (2017:US$5,245,000) receivable from entities owned by a non-controlling interest.

          23 Cash and cash equivalents
          Cash and cash equivalents included in the consolidated statement of cash flows comprise of the following:
                                                                                                                                         2018          2017
                                                                                                                                      US$‘000       US$‘000

          Bank deposits                                                                                                             167,156         185,611
          Bank balances and cash                                                                                                   324,027        202,002
          Bank overdrafts and other short-term borrowings                                                                         (168,950)       (207,034)
                                                                                                                                  322,233         180,579
          Adjustments for:
          Short term borrowings                                                                                                       112,056     139,086
          Bank deposits maturing in over 3 months                                                                                     (112,916)   (69,088)
          Restricted cash                                                                                                              (13,297)     (44,115)
          Cash and cash equivalents                                                                                               308,076         206,462


          Bank deposits of US$ 167,156,000 (31 December 2017: US$ 185,611,000) are with commercial banks. These are mainly denominated
          in UAE Dirhams and Euro and earn interest at the respective deposit rates. These deposits have original maturity between 1 to 12
          months (31 December 2017: 1 to 12 months).

          Short term borrowings include trust receipts and invoice discounting facilities which mature between 90 and 180 days. Trust
          receipts are short term borrowings to finance purchases. The bank overdrafts and short-term borrowings are secured by corporate
          Guarantees and personal guarantees of few of the major shareholders of the parent company and carry interest at EIBOR plus
          margin rates ranging from 1% to 4%. (31 December 2017: 1% to 4%).




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          24 Share capital
          31 December 2018
                                                                                           Number of
                                                                                              shares    Ordinary shares   Share premium         Total
                                                                                         (thousands)           US$‘000           US$‘000      US$‘000

          Issued and fully paid
          (nominal value 10 pence sterling each)                                           208,237             32,443          633,744        666,187


          31 December 2017
                                                                                           Number of
                                                                                              shares    Ordinary shares   Share premium         Total
                                                                                         (thousands)           US$‘000           US$‘000      US$‘000

          Issued and fully paid
          (nominal value 10 pence sterling each)                                           204,423             31,928          492,634       524,562


          Issued share capital and share premium movement
                                                                                             Number           Ordinary            Share
                                                                                            of shares          shares          premium           Total
                                                                                         (thousands)          US$ ‘000          US$ ‘000      US$ ‘000

          31 December 2018
          At 1 January 2018                                                                204,423             31,928          492,634       524,562
          Issue of new shares                                                                3,534                477           138,714       139,191
          Exercise of stock option shares                                                     280                  38            2,396         2,434
          At 31 December 2018                                                              208,237             32,443          633,744        666,187

          31 December 2017
          At 1 January 2017                                                                204,285              31,910          491,778      523,688
          Exercise of stock option shares                                                      138                  18             856           874
          At 31 December 2017                                                              204,423             31,928          492,634       524,562


          25 Group restructuring reserve
          The group restructuring reserve arises on consolidation under the pooling of interests method used for group restructuring, which
          took place on 28 March 2012 when the Company became the holding company of NMC Healthcare LLC through its wholly owned
          subsidiaries, NMC Holding LLC and NMC Health Holdco Limited. Under this method, the group is treated as a continuation of the
          NMC Healthcare LLC group. The difference between the share capital of NMC Healthcare LLC (US$27,226,000) and the carrying
          amount of the investment in that company (US$37,227,000), which equates to the net assets of NMC Healthcare LLC at the date
          of reorganisation (28 March 2012), amounting to US$10,001,000(debit), is recorded on consolidation as a group restructuring reserve.
          This reserve is non-distributable.

          26 Retained earnings
          As at 31 December 2018, retained earnings of US$ 18,806,000 (2017: US$ 18,423,000) are not distributable. This relates to a UAE
          Companies Law requirement to set aside 10% of annual profit of all UAE subsidiaries until their respective reserves equal 50%
          of their paid up share capital. The subsidiaries discontinue such annual transfers once this requirement has been met.

          27 Dividend
          In the AGM on 28 June 2018 the shareholders approved a dividend of 13.0 pence per share, amounting to GBP 27,066,000
          (US$ 35,739,000) to be paid to shareholders on the Company’s share register on 15 June 2018 (30 June 2017: a dividend of GBP
          21,753,000 equivalent to US$ 27,779,000 was approved on 23 May 2017 and paid on 1 June 2017). No interim dividend was declared
          during the year. Subject to shareholder’ approval at the Annual General Meeting on 20 June 2019, a final dividend of 18.1 pence per
          share, GBP37,652,000 (US$49,731,000) will be paid on 10 July 2019 to shareholders on the Company’s share register on 14 June 2019.

          An amount of US$ 3,103,000 was paid during the year to non-controlling interest, out of which US$ 1,334,000 pertains to previous
          year dividend payable and US$ 1,769,000 pertains to current year’s dividend.

          In 2017, an amount US$ 21,160,000 was declared as dividend to non-controlling interest during the year, out of that US$5,303,000 was
          adjusted against related party receivable balance, US$14,523,000 was paid as dividend during the year and US$1,334,000 remained
          unpaid for the year ended 31 December 2017.




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          28 Term loans
                                                                                                                                         2018            2017
                                                                                                                                      US$‘000         US$‘000

          Current portion                                                                                                            379,919       204,154
          Non-current portion                                                                                                       660,835        987,840
                                                                                                                                   1,040,754       1,191,994
          Amounts are repayable as follows:
          Within 1 year                                                                                                              379,919        204,154
          Between 1 – 2 years                                                                                                        183,372       206,942
          Between 2 – 6 years                                                                                                        477,463       780,898
                                                                                                                                   1,040,754       1,191,994


          During the year, the Group entered a syndicated facility amounting to US$ 2.0 billion. The syndicated facility was used to settle
          an existing syndicated loan and for acquisition purposes. The facility is structured into three sub facilities, these sub facilities are
          completely repayable within 18-60 months. The facility is secured against corporate guarantee provided by NMC Health Plc and
          its certain operating subsidiaries. The facility carries interest at LIBOR plus margin.

          In addition to the above facilities, term loans also include other long term and short-term revolving loans which get drawn down
          and repaid over the year. The Group has charged an amount of US$ 13,124,000 to the consolidated income statement with respect
          to unamortised transaction costs of existing debts which have been settled using proceeds of new syndicate loan.

          29 Post employment benefit plans
          Employees end of service benefits
          Movements in the provision recognised in the consolidated statement of financial position are as follows:
                                                                                                                                         2018            2017
                                                                                                                                      US$‘000         US$‘000

          Balance at 1 January                                                                                                        48,279          30,208
          Charge for the year                                                                                                          13,742           11,106
          Actuarial gain                                                                                                               (3,429)               (1)
          Transfer from related party                                                                                                      (76)            180
          Exchange difference                                                                                                                (4)              –
          Employees’ end of service benefits paid                                                                                      (7,954)         (3,447)
          Addition from business combinations                                                                                           11,128        10,233
          Balance at 31 December                                                                                                      61,686          48,279
          Current                                                                                                                      6,549           6,905
          Non–current                                                                                                                  55,137          41,374
          Balance at 31 December                                                                                                      61,686          48,279
          Charge for the year comprise of the following:
          Current service cost                                                                                                         11,916          10,173
          Interest cost                                                                                                                1,826             933
          Balance at 31 December                                                                                                       13,742           11,106


          Management engaged an actuary to carry out an exercise to assess the present value of its obligation at 31 December 2018 and
          2017, using the projected unit credit method, in respect of employees’ end of service benefits payable under the UAE Labour Law.

          During the current year, the Group has recognised an actuarial gain of US$ 3,429,000 (31 December 2017: gain of US$ 1,000) in other
          comprehensive income. Management has assumed an average length of service of 5 years (2017: 5 years) and increment/promotion
          costs of 2.25% (2017: 1.5%). The expected liability at the date of employees’ leaving service has been discounted to its net present
          value using a discount rate of 3.75% (2017: 2.5%). Management also performed a sensitivity analysis for changes in discount rate and
          increment costs; the results of this analysis showed that none of the factors had any material impact on the actuarial valuation.




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          29 Post employment benefit plans continued
          Defined benefit plan
          The Group has a defined pension benefit plan in the UK which is funded. The level of benefits provided depends on the
          member’s length of service and salary at retirement age. This plan is governed by the employment laws of the UK.

          The following tables summarise the components of net benefit expense recognised in the statement of profit or loss and
          recognised in other comprehensive income.

          Net benefit expense (recognized in profit or loss)
                                                                                                                                    US$‘000

          Service cost                                                                                                                       –
          Net interest on net defined benefit liability/(asset)                                                                            (26)
          Administration expenses                                                                                                            –
          Past service cost                                                                                                                 50
          Impact of surplus restriction                                                                                                     26
          Profit and loss charge                                                                                                            50


          Total amount recognised in other comprehensive income
                                                                                                                                    US$‘000

          Return less interest income on scheme assets                                                                               (1,385)
          Remeasurement gain/(loss)                                                                                                    1038
          Impact of surplus restriction                                                                                                   26
          Impact of liability future employer contributions                                                                            (390)
          Change in unrecognised surplus                                                                                                 313
          (Loss) recorded in OCI                                                                                                          (398)


          As at 31 December 2018, the fair value of the schemes assets amounted to US$ 17,777,000 and the present value of its defined
          benefit obligations amounted to US$17,097,000.

          The changes in fair value of scheme assets and in the defined benefit obligation were:
          Changes in fair values of scheme assets                                                                                   US$‘000

          Fair value of scheme assets at start of period                                                                             20,211
          Interest income on scheme assets                                                                                               451
          Return on schemes assets (excluding interest income)                                                                       (1,240)
          Contributions by the employer                                                                                                   52
          Benefits paid                                                                                                               (583)
          Exchange rate differences                                                                                                    (1,114)
          Fair value of scheme assets at end of period                                                                               17,777

          Changes in the defined benefit obligation                                                                                 US$’000

          Defined benefit obligation at start of period                                                                                  19,194
          Service cost                                                                                                                        –
          Interest cost on defined benefit obligation                                                                                      428
          Benefit paid                                                                                                                    (583)
          Past service costs                                                                                                                 45
          Remeasurement loss/(gain):
            Changes in financial assumptions                                                                                               (891)
            Changes in demographic assumptions                                                                                              (96)
            Experience adjustments                                                                                                           55
          Exchange rate differences                                                                                                      (1,055)
          Defined benefit obligation at end of period                                                                                17,097




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          The principal assumptions used in determining pension and post-employment medical benefit obligations for the Group’s plans
          are shown below:
                                                                                                                                          31 December
                                                                                                                                                  2018
                                                                                                                                          % per annum

          Discount rate                                                                                                                           2.8
          Price inflation:
          – RPI                                                                                                                                   3.6
          – CPI                                                                                                                                   2.6
          Deferred pension increases (non-GMP)                                                                                                    2.6
          Pension increases in payment:
          – GMPs accrued from 6 April 1988 to 5 April 1997                                                                                        2.2
          – Non-GMPs accrued to 5 April 1997                                                                                                      3.0
          – Pensions accrued 6 April 1997 to 5 February 2001                                                                                      3.0
          – Pensions accrued 6 February 2001 to 5 April 2005                                                                                      2.6
          – Pensions accrued from 6 April 2005                                                                                                    2.0

                                          31st December 2018

          Retirements                     Each tranche of pension is assumed to be payable from the earliest age it can be taken without
                                          reduction or consent
          Mortality                       100% S2PA CMI 2017 Core 1%
          • Base table
          • Future improvements
          • Long term rate
          Commutation                     25% of pension
          Marital Status                  90% married at date of retirement or earlier death
          Age difference                  +/- 3 years

                                                                                                                                          31 December
                                                                                                                                                  2018
                                                                                                                                          % per annum

          Discount rate                                                                                                                           2.8
          Rate of price inflation:
          – RPI                                                                                                                                   3.6
          – CPI                                                                                                                                   2.6
          Rate of increase for non-GMP pensions in deferment                                                                                      2.6
          Rate of increase for pensions in payment:
          – GMP accrued 6 April 1988 to 5 April 1997                                                                                              2.2
          – Non-GMP accrued to 5 April 1997                                                                                                       3.0
          – Pension accrued 6 April 1997 to 5 February 2001                                                                                       3.0
          – Pension accrued 6 February 2001 to 5 April 2005                                                                                       2.6
          – Pension accrued from 6 April 2005                                                                                                     2.0

                                                                                                                                          31 December
                                                                                                                                                  2018
                                                                                                                                          % per annum

          Mortality:
          – Base table                                                                                                                   100% S2PA
          – Future improvements                                                                                                            CMI 2017
          – Long term rate                                                                                                                  Core 1%
          Expected future lifetime from age 65:
          – Male currently aged 65                                                                                                               21.8
          – Female currently aged 65                                                                                                             23.7
          – Male currently aged 45                                                                                                               22.9
          – Female currently aged 45                                                                                                             25.0




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          30 Accounts payable and accruals
                                                                                                                                   2018            2017
                                                                                                                                US$‘000         US$‘000

          Trade accounts payable                                                                                                200,123         152,811
          Accrued interest                                                                                                        5,794           2,681
          Accrued expenses                                                                                                       23,276           9,921
          Contract liabilities                                                                                                    8,715          3,040
          Others                                                                                                                 79,679          41,017
                                                                                                                                317,587        209,470


          Trade and other payables are non-interest bearing and are normally settled on 50-60 day terms.

          Included in others is an amount of US$ 46,024,000 (2017: US$ 17,596,000) in respect of lease payable. Further it includes advances
          from customers, deposits payable and certain other payables.

          31 Other payables
                                                                                                                                   2018            2017
                                                                                                                                US$‘000         US$‘000

          Contingent consideration payable for acquisitions (note 39)                                                            17,240          10,519
          Deferred consideration payable for acquisitions                                                                          1,671         5,307
          Other payable                                                                                                          3,584          41,268
                                                                                                                                22,495          57,094
          Classification of other payables into current and non-current is as follows:
          Current                                                                                                                 6,806         18,110
          Non-current                                                                                                            15,689        38,984
                                                                                                                                22,495          57,094


          Post-dated cheques liability and related indemnified asset recognized on acquisition of Fakih IVF in 2016 has been reversed during
          the year, as both liability and indemnified asset were relating to Fakih Medical Center which has become now part of the Group.
          Carrying value of the liability and asset as of 31 December 2017 was US$ 40,068,000. It was classified as other liabilities and other
          assets in previous year.

          32 Finance lease liability
          The Group has finance leases for various items of property and equipment. The Group’s obligations under finance leases are
          secured by the lessor’s title to the leased assets. Future minimum lease payments under finance leases, together with the
          present value of the net minimum lease payments are, as follows:
                                                                                                              2018                     2017
                                                                                                                    Present                     Present
                                                                                                      Minimum       value of    Minimum         value of
                                                                                                     payments     payments     payments       payments
                                                                                                       US$’000      US$’000      US$’000        US$’000

          Within one year                                                                                2,176       1,684             –              –
          After one year but not more than five years                                                   3,788        2,926             –              –
          More than five years                                                                              94          69             –              –
          Total minimum lease payments                                                                  6,058        4,679             –              –
          Less amounts representing finance charges                                                     (1,379)          –             –              –
          Present value of minimum lease payments                                                       4,679        4,679             –              –




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          33 Convertible bond and sukuk
          Convertible bond
          At 31 December 2018, there were 2,250 convertible bond units in issue. Each bond has a par value of US$ 200,000. The bonds carry
          a coupon rate of 1.875% per annum, payable half-yearly in arrears on 30 April and 31 October. The bonds were issued on 30 April 2018.

          Unless the bondholders exercise the option to convert to shares, bond will be redeemed by cash on 02 May 2023 or maturity.
          The bonds are convertible (at any time between 11 June 2018 and their maturity date, 02 May 2025) into a fixed number of ordinary
          shares of the parent of the Group on the basis of a fixed exchange price of US$ 72.7301.

          The convertible bonds are separated into liability and equity components based on the terms of the contract. As of 31 December
          2018, the fair value of the liability component is US$ 387,664,000 (net of transaction costs) is recorded as liability and residual amount
          of US$ 66,034,000 recorded as equity component.

          Sukuk
          On 21 November 2018, the Group issued US$400,000,000 Sukuk certificates (“Islamic finance) with maturity for payment on 2023.
          Sukuk carry a profit rate of 5.950%, payable half-yearly in arrears on 21 May and 21 November. The facility is secured against corporate
          guarantee provided by NMC Health Plc and its certain operating subsidiaries.

          34 Related party transactions
          These represent transactions with related parties, including major shareholders and senior management of the Group, and entities
          controlled, jointly controlled or significantly influenced by such parties, or where such parties are members of the key management
          personnel of the entities. Pricing policies and terms of all transactions are approved by the management of the Group.

          The Company’s immediate and ultimate controlling party is a group of three individuals (H.E. Saeed Bin Butti, Dr BR Shetty and
          Mr Khalifa Bin Butti) who are all shareholders and of whom two are directors of the Company and who together have the ability
          to control the Company. As the immediate and ultimate controlling party is a group of individuals, it does not produce consolidated
          financial statements.

          Relationship agreement
          The Controlling Shareholders and the Company have entered into a relationship agreement, the principal purpose of which
          is to ensure that the Company is capable of carrying out its business independently of the Controlling Shareholders and that
          transactions and relationships with the Controlling Shareholders are at arm’s length and on a normal commercial basis.

          In accordance with the terms of the relationship agreement, the Controlling Shareholders have a collective right to appoint
          a number of Directors to the Board depending upon the level of their respective shareholdings. This entitlement reduces or
          is removed as the collective shareholdings reduce. The relationship agreement includes provisions to ensure that the Board
          remains independent.

          Transactions with related parties included in the consolidated income statement are as follows:
                                                                                                                                        2018            2017
                                                                                                                                     US$‘000         US$‘000

          Entities significantly influenced by a shareholder who is a key management personnel in NMC
          management personnel in NMC.
          Sales                                                                                                                           149             40
          Purchases of healthcare inventory*                                                                                         130,106         78,778
          Rent charged                                                                                                                   288            353
          Other income                                                                                                                 5,082          1,883
          Management fees                                                                                                             10,700           1,776


          Amounts due from and due to related parties disclosed in the consolidated statement of financial position are as follows:
                                                                                                                                        2018            2017
                                                                                                                                     US$‘000         US$‘000

          Entities significantly influenced by a shareholder who is a key management personnel in NMC
          Amounts due to related parties*                                                                                            47,737          28,472
          Amounts due from related parties                                                                                            7,346           1,776

          *   Purchase of healthcare inventory are made at a price fixed by the regulator.




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          34 Related party transactions continued
          Relationship agreement continued
          Outstanding balances with related parties at 31 December 2018 and 31 December 2017 were unsecured, payable on 50-60 days term
          and carried interest at 0% (31 December 2017: 0%) per annum. Settlement occurs in cash.

          Pharmacy licenses in UAE under which the Group sells its products, are granted to the shareholders or directors of the Company,
          who are UAE nationals. No payments are made in respect of these licenses to shareholders or directors.

          Compensation of key management personnel
                                                                                                                               2018       2017
                                                                                                                            US$‘000    US$‘000

          Short term benefits                                                                                               18,656       15,142
          Employees’ end of service benefits                                                                                    47           24
                                                                                                                            18,703       15,166


          The key management personnel include all the Non-Executive Directors, the three (31 December 2017: three) Executive Directors
          and four (31 December 2017: four) senior management personnel.

          During the year additional shares of 232,601 amounting to US$ 9,385,000 (31 December 2017: 833,284 shares amounting to
          US$ 18,725,000) were granted to Executive Directors and other senior management in the form of share options.

          One individual (31 December 2017: one) who is a related party of one of the shareholders is employed by the Group. The total
          compensation for employment received by that related party in the year ended 31 December 2018 amounts to US$ 2,729,000
          (31 December 2017: US$2,286,000).

          As discussed in Note 5, on 18 January 2018, the Group agreed to acquire 70% controlling stake of CosmeSurge, Aesthetic and
          Wellness from a related party who is also an executive director in the Company. CosmeSurge, Aesthetic and Wellness are an
          industry leader in the UAE in providing quality cosmetic surgery and aesthetic medicine. The agreed arm’s length purchase
          consideration for these entities was US$170m which has been fully paid during the year and was determined based on valuation
          done by the management.

          In 2018 asset held for sale was sold for a consideration of US$ 9,244,000 to a related party (note 42).

          Land with a carrying amount of US$4,144,000 (31 December 2017: US$4,144,000) is held in the name of a previous shareholder
          for the beneficial interest of the Group (Note 18).

          35 Share based payments
          The Group currently operates two share option schemes:

          Long term incentive plan (LTIP)
          Options awarded under the LTIP are made annually to Executive Directors and other senior management. The exercise prices are
          nil. Options have a life of ten years and a vesting period of three years. The LTIP is subject to performance conditions which can
          be found in the Directors’ Remuneration Report in the Annual Report.

          Short term incentive plan (STIP)
          Options awarded under the STIP are made annually to Executive Directors and other senior management. The exercise prices are
          nil. Options have a life of ten years and a vesting period of 3 years.

          Fair values are determined using the Black-Scholes model. Expected volatility has been based on historical volatility over the period
          since the Company’s shares have been publicly traded.

          Administrative expenses include a charge of US$ 9,704,000 (2017: US$ 9,181,000) in respect of the cost of providing share options.
          The cost is calculated by estimating the fair value of the option at grant date and spreading that amount over the vesting period
          after adjusting for an expectation of non-vesting.




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          For options granted in the years ended 31 December 2017 and 2018, the fair value per option granted and the assumptions used
          in the calculation are as follows:
                                                                                                                                          2018         2017
                                                                                                                                          STIP         STIP

          Share price at grant date                                                                                                   £33.620      £20.740
          Fair value at measurement date                                                                                              £33.499      £20.425
          Exercise price                                                                                                                  £nil          £nil
          Expected volatility                                                                                                             40%           40%
          Expected option life                                                                                                      1-2 years      2 years
          Expected dividend yield                                                                                                       0.36%         0.51%
          Risk free interest rate                                                                                                       2.42%         1.57%

                                                                                                                             2018          2017         2017
                                                                                                                             LTIP          LTIP        LTIP2

          Share price at grant date                                                                                     £33.620       £16.330      £27.390
          Fair value at measurement date                                                                                £33.259       £16.082      £27.088
          Exercise price                                                                                                    £nil           £nil         £nil
          Expected volatility                                                                                               40%            40%          40%
          Expected option life                                                                                          3 years       3 years      3 years
          Expected dividend yield                                                                                         0.36%          0.51%       0.37%
          Risk free interest rate                                                                                         2.42%          1.49%        1.38%


          Share prices at grant date are the closing prices as of those dates.

          LTIP represent long term incentive plans and STIP represent short term incentive plans issued in March 2018.

          The options existing at the year-end were as follows:
                                                                                 2018                      2017
                                                                        Number of       Exercise   Number of      Exercise
                                                                           shares          price      shares         price           Period when exercisable

          Long term incentive plan (LTIP)
          Oct-14                                                          60,292           £nil      60,292          £nil            29/10/17 to 28/10/24
          Short term incentive plan (STIP)
          Oct-14                                                          20,165           £nil      20,165          £nil            29/10/17 to 28/10/24
          Long term incentive plan (LTIP)
          Feb-15                                                          69,615           £nil     221,539          £nil           25/02/18 to 24/02/25
          Short term incentive plan (STIP)
          Feb-15                                                          25,240           £nil      74,801          £nil           25/02/18 to 24/02/25
          Long term incentive plan (LTIP)
          Sep-15                                                           23,011          £nil      49,309          £nil           09/09/18 to 08/09/25
          Long term incentive plan (LTIP)
          Mar-16                                                         383,717           £nil     383,717          £nil            15/03/19 to 14/03/26
          Short term incentive plan (STIP)
          Mar-16                                                           68,151          £nil       68,151         £nil            15/03/19 to 14/03/26
          Long term incentive plan (LTIP)
          Jan-17                                                         334,634           £nil    562,323           £nil            27/01/20 to 26/01/27
          Short term incentive plan (STIP)
          May-17                                                          54,705           £nil     150,435          £nil           09/05/18 to 08/05/27
          Long term incentive plan (LTIP)
          Sep-17                                                         120,526           £nil     120,526          £nil           07/09/20 to 06/09/27
          Long term incentive plan (LTIP)
          Mar-18                                                          46,219           £nil          nil         £nil           08/03/21 to 08/03/28
          Short term incentive plan (STIP)
          Mar-18                                                         186,382           £nil          nil         £nil           08/03/19 to 08/03/28
          Total options subsisting on existing ordinary shares          1,392,657                  1,711,258
          Percentage of issued share capital                               0.70%                      0.80%




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          35 Share based payments continued
          Short term incentive plan (STIP) continued
          Movement of share options during the year is as follows:
                                                                                                                                        2018          2017

          At 1 January                                                                                                              1,711,258   1,013,822
          Vested in lieu of dividend                                                                                                    2,047        2,290
          Granted during the year                                                                                                    232,601     833,284
          Exercised during the year                                                                                                (275,646)      (138,138)
          Lapsed during the year                                                                                                   (227,689)             –
          Outstanding at 31 December                                                                                               1,442,571    1,711,258


          No options expired or forfeited during the year (2017: nil).

          36 Financial risk management objectives and policies
          The Group’s principal financial liabilities comprise loans, convertible bond, sukuk and borrowings, contingent consideration on
          acquisition of subsidiaries, put option redemption liability and trade and other payables. The main purpose of these financial
          liabilities is to finance the Group’s operations and acquisitions. The Group has accounts and other receivables, and cash and
          short-term deposits that arise directly from its operations.

          The Group is exposed to interest rate risk, credit risk, liquidity risk and foreign currency risk. These risks and the Group’s financial risk
          management objectives and policies are consistent with last year. The Group’s exposure to foreign currency risk includes risk on
          the Group’s net investment in foreign subsidiaries in Spain and certain other countries.

          The Group’s senior management oversees the management of these risks. The Board of Directors reviews and agrees policies
          for managing each of these risks which are summarised below.

          Interest rate risk
          Interest rate risk is the risk that the fair value or future cash flows of a financial instrument will fluctuate because of changes in
          market interest rates. The Group is exposed to interest rate risk on its interest bearing assets and liabilities (bank deposits, bank
          overdrafts and other short term borrowings and term loans). Management is of the opinion that the Group’s exposure to interest
          rate risk is limited.

          The following table demonstrates the sensitivity of the consolidated income statement to reasonably possible changes in interest
          rates, with all other variables held constant. The sensitivity of the consolidated income statement is the effect of the assumed
          changes in interest rates on the Group’s profit for the year based on the floating rate financial assets and financial liabilities as
          of the respective year end.
                                            Effect on profit at     Effect on profit at
                Increase/(decrease)         31 December 2018        31 December 2017
                     in basis points                 US$‘000                 US$‘000

                                100                  (18,302)                 (12,134)
                               (100)                  18,302                   12,134


          Credit risk
          Credit risk is the risk that counterparty will not meet its obligations under a financial instrument or customer contract, leading to a
          financial loss. The Group limits its credit risk with respect to customers due to the nature of the customers that it has dealings with.
          Within the Healthcare business in the GCC, the majority of the Group’s customers are insurance companies. The largest insurance
          company in GCC is fully backed by Sovereign wealth funding from Abu Dhabi. All other insurance companies in the GCC are required
          to be listed on a stock exchange and therefore are governed by the regulations of their respective markets. The Group limits its
          credit risk with respect to healthcare customers in markets other than GCC by requesting certain percentage of advance payments
          from customers and obtaining final payments before completion of treatment. Within the distribution business the Group deals
          primarily with large reputable multinational retail companies. The Group further seeks to limit its credit risk by setting credit limits
          for individual customers and monitoring outstanding receivables.




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          The Group limits its credit risk with regard to bank deposits by only dealing with reputable banks. The external credit ratings for the
          banks at which the bank deposits and cash at bank are held are as follows:
                                                                                                                                        2018            2017
                                                                                                                                     US$‘000         US$‘000

          AA-/A-1/Aa3                                                                                                                     411               –
          A+/A1                                                                                                                        2,709                –
          A/A2                                                                                                                              –             162
          A+/A-1                                                                                                                     55,074           33,188
          A3/A-                                                                                                                        2,123           2,258
          A-2                                                                                                                         13,381          22,857
          AAA/A-1+                                                                                                                     8,371         95,859
          A2/P-1                                                                                                                     22,020           15,264
          A-3/P-2                                                                                                                     15,417           11,465
          BB                                                                                                                              191           1,505
          BB+/B+                                                                                                                            2           1,404
          Baa2                                                                                                                           356               55
          P-3                                                                                                                       315,653          142,748
          BBB                                                                                                                               –          6,878
          BBB-                                                                                                                              –             567
          BBB+/Ba1/Baa1/P-2                                                                                                            3,156              499
          Caa1/B3                                                                                                                           –           2,198
          Without external credit rating                                                                                             49,996            49,199
          Total bank deposit and cash at bank                                                                                      488,860        386,106


          With respect to credit risk arising from cash and cash equivalents, the Group’s exposure to credit risk arises from default of the
          counterparty, with a maximum exposure equal to the carrying amount of these instruments.

          Liquidity risk
          The Group’s objective is to maintain a balance between continuity of funding and flexibility through the use of banking facilities.
          The Group limits its liquidity risk by raising funds from its operations and ensuring bank facilities are available. Trade payables are
          normally settled within 50-60 days of the date of purchase.

          The table below summarises the maturities of the Group’s undiscounted financial liabilities, based on contractual payment dates
          and current market interest rates.
                                                                                                        Less than 3     3 to 12
                                                                                           On demand       months      months     1 to 6 years         Total
                                                                                              US$‘000      US$‘000     US$‘000        US$‘000        US$‘000

          At 31 December 2018
          Trade accounts payable                                                                    –     200,123             –           –         200,123
          Amounts due to related parties                                                            –      47,737             –           –           47,737
          Other payables                                                                            –           –       11,005       13,503          24,508
          Option redemption payable                                                                 –           –      26,309       28,267           54,576
          Terms loans                                                                               –     84,608      343,652       731,502       1,159,762
          Bank overdrafts and other short term borrowings                                     57,807      68,028         47,101           –         172,936
          Finance lease liability                                                                   –           –        2,176        3,882           6,058
          Convertible bond and sukuk                                                                –           –      32,238       974,731      1,006,969
          Financial guarantees                                                                 26,411           –             –           –           26,411
          Total                                                                               84,218     400,496      462,481     1,751,885 2,699,080

                                                                                                        Less than 3     3 to 12
                                                                                           On demand       months      months     1 to 6 years         Total
                                                                                              US$‘000      US$‘000     US$‘000        US$‘000        US$‘000

          At 31 December 2017
          Trade accounts payable                                                                   –       152,811            –            –        152,811
          Amounts due to related parties                                                           –       28,472             –            –        28,472
          Other payables                                                                           –             –      18,773        76,186        94,959
          Option redemption payable                                                                –             –       19,041       15,776         34,817
          Terms loans                                                                              –       53,255      193,774     1,077,215     1,324,244
          Bank overdrafts and other short term borrowings                                     68,948       73,079       69,726             –        211,753
          Financial guarantees                                                                18,209             –            –            –        18,209
          Total                                                                                87,157      307,617     301,314      1,169,177    1,865,265


          The Group also has future capital commitments for the completion of ongoing capital projects of US$ 31,774,000 (2017: US$ 5,723,000)
          (note 38). These are to be financed from the fixed deposits held by the Group.




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          36 Financial risk management objectives and policies continued
          Foreign currency risk
          Foreign currency risk is the risk that the fair value or future cash flows of a financial instrument will fluctuate because of changes
          in foreign exchange rates. Foreign currency risk comprises of transaction risk, statement of financial position risk and the Group’s
          net investment in foreign subsidiaries. Transaction risk relates to the Group’s cash flow being adversely affected by a change in the
          exchange rates of foreign currencies against the UAE Dirham. Statement of financial position risk relates to the risk of the Group’s
          monetary assets and liabilities in foreign currencies acquiring a lower or higher value, when translated into UAE Dirhams, as a result
          of currency movements.

          The Group is exposed to currency risk on its trade accounts payable, put option redemption payable and certain other payables
          denominated in foreign currencies, mainly in Euros and Saudi Riyal. As the US Dollar is pegged to the UAE Dirham, balances in
          US Dollars are not considered to represent significant currency risk.

          The table below indicates the impact of Group’s foreign currency monetary liabilities and assets at 31 December, on its profit before tax.
                                                                                                                                    2018          2017
                                                                                                                                 US$‘000       US$‘000

          +5%                                                                                                                      (4,199)      (2,460)
          -5%                                                                                                                       4,199        2,460


          The Group is exposed to foreign currency risk on net investment in foreign subsidiaries. During the year ended 31 December 2018
          the Group has recorded a foreign currency exchange loss of US$9,512,000 (2017: Gain of US$15,304,000) on the translation of foreign
          subsidiaries in other comprehensive income.

          Capital management
          The primary objective of the Group’s capital management is to ensure that it maintains healthy capital ratios in order to support
          its business and maximise shareholders’ value.

          The Group manages its capital structure and makes adjustments to it in light of changes in business conditions. Capital comprises
          share capital, share premium, convertible bond equity component, reserves and retained earnings is measured at US$ 1,303,782,000
          as at 31 December 2018 (2017: US$ 1,089,716,000). In order to maintain or adjust the capital structure, the group may adjust the
          amount of dividends paid to shareholders, return capital to shareholders, issue new shares or sell assets to reduce debt. Certain
          banking facilities may also impose covenant requirements on the Group with respect to capital management.

          The Group monitors capital using a gearing ratio, which is net debt divided by capital plus net debt. The Group includes within
          net debt, interest bearing loans and borrowings, accounts payable and accruals and other payables less bank deposits and bank
          balances and cash.
                                                                                                                                    2018          2017
                                                                                                                                 US$‘000       US$‘000

          Interest bearing loans and borrowings                                                                                1,209,704 1,399,028
          Accounts payable and accruals                                                                                           317,587  209,470
          Convertible bond and Sukuk                                                                                            783,009           –
          Finance lease liability                                                                                                   4,679         –
          Other payable                                                                                                           22,495     57,094
          Option redemption payable                                                                                                46,198    38,747
          Less: bank deposits, bank balances and cash                                                                            (491,183) (387,613)
          Net debt and Payables                                                                                                1,892,489     1,316,726
          Capital                                                                                                              1,303,782     1,089,716
          Capital and net debt                                                                                                  3,196,271    2,406,442
          Gearing ratio                                                                                                             59%           55%


          37 Contingent liabilities
          The Group had contingent liabilities in respect of bank and other guarantees and other matters arising in the ordinary course of
          business from which it is anticipated that no material liabilities will arise at 31 December 2018 of US$ 26,411,000 (2017: US$ 18,209,000).




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          38 Commitments
          Capital commitments
          The Group had future capital commitments of US$ 31,774,000 at 31 December 2018 (2017: US$ 5,723,000) principally relating to the
          completion of ongoing capital projects.

          Other commitments
                                                                                                                                       2018            2017
                                                                                                                                    US$‘000         US$‘000

          Future minimum rentals payable under non-cancellable operating leases
          Within one year                                                                                                            17,404         12,888
          After one year but not more than five years                                                                                71,427          57,916
          More than five years                                                                                                      80,233          54,023
          Total                                                                                                                    169,064          124,827


          39 Financial instruments carried at fair value
          Contingent consideration
          Contingent consideration relates to acquisitions done in current and prior year. Movements in contingent consideration payable are
          as follows:
                                                                                                                                       2018            2017
                                                                                                                                    US$‘000         US$‘000

          Balance at 1 January                                                                                                       10,519          24,139
          Contingent consideration recognised at acquisition (note 5)                                                               14,604               704
          Fair value measurement                                                                                                       1,176            (133)
          Unused amount reversed (note 9)                                                                                           (6,424)                –
          Exchange (gain)/loss                                                                                                        (272)             862
          Payments made                                                                                                             (2,363)         (15,053)
          Balance at 31 December                                                                                                     17,240          10,519


          In accordance with the fair value hierarchy under IFRS 13, contingent consideration is classified as a level 3 derivative financial
          instrument. The fair value of outstanding contingent consideration as at the reporting date is US$ 17,240,000 (2017: US$ 10,519,000).
          The valuation technique used for measurement of contingent consideration is the weighted average probability method and
          then applying discounting.

          Contingent consideration payable as of 31 December 2018 comprises of following:
                                                                                                                                       2018            2017
                                                                                                                                    US$‘000         US$‘000

          Sweden                                                                                                                     7,266                –
          Premier                                                                                                                    2,908                –
          FMC                                                                                                                          696                –
          Cytomed                                                                                                                    3,774                –
          Biogenesi                                                                                                                    1,117          3,391
          ProVita                                                                                                                          –         3,298
          Fakih                                                                                                                            –          3,126
          Fecunmed                                                                                                                     735             704
          Royal RAK                                                                                                                    744                –
                                                                                                                                     17,240          10,519


          Sweden
          Contingent consideration is payable subject to attainment of EBITDA targets. Significant unobservable inputs used are EBITDA
          and discount rate (10.0%). Full value of contingent consideration payable is US$8745,000 and its present value is US$7,266,000.
          A 1% increase in discount rate would result in decrease in fair value of the contingent consideration by US$124,000 and a 1% decrease
          in discount rate would result in increase in fair value by US$128,000. Management believe EBITDA targets for FY 2018 – FY 2021 will
          be met and accordingly not considered sensitive to fair value measurement.

          Premier
          Contingent consideration is payable subject to attainment of 2019 net profit targets. Significant unobservable inputs used are profit
          before tax, multiple of 8 and discount rate (11%). Full value of contingent consideration payable is US$2,922,000 and its present value
          is US$2,908,000. A 1% increase in discount rate would result in decrease in fair value of the contingent consideration by US$23,000
          and a 1% decrease in discount rate would result in increase in fair value by US$24,000. Management believe profit before tax targets
          for FY 2019 will be met and accordingly not considered sensitive to fair value measurement.




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          39 Financial instruments carried at fair value continued
          Contingent consideration continued
          FMC
          Contingent consideration is payable subject to collection of acquisition date receivables within 6 months. Full value of contingent
          consideration payable is US$5,736,000 of which US$5,041,000 is already collected till July and hence management believes that
          the above targets will be met and accordingly not considered sensitive to fair value measurement.

          Cytomed
          Contingent consideration is payable subject to attainment of EBITDA targets. Significant unobservable inputs used are EBITDA
          and discount rate (13.5%). Full value of contingent consideration payable is US$4,083,000 and its present value is US$3,774,000.
          A 1% increase in discount rate would result in decrease in fair value of the contingent consideration by US$21,000 and a 1% decrease
          in discount rate would result in increase in fair value by US$21,000. Management believe EBITDA targets for FY 2018 – FY 2019 will
          be met and accordingly not considered sensitive to fair value measurement.

          Biogenesi
          Contingent consideration is payable subject to attainment of profit before tax target. Significant unobservable inputs used
          are profit before tax and discount rate (10.7%). Full value of contingent consideration payable is US$ 1,145,000 (2017: US$ 3,594,000)
          and its present value is US$1,117,000 (2017: US$ 3,391,000). Contingent consideration amounting to US$ 2,362,000 on achieving 2017
          EBITDA target has been paid during the year. A 1% increase in discount rate would result in decrease in fair value of the contingent
          consideration by US$3,000 and a 1% decrease in discount rate would result in increase in fair value by US$3,000 Management
          believe profit before tax targets for FY 2018 will be met and accordingly not considered sensitive to fair value measurement.

          Fecunmed
          Contingent consideration is payable subject to attainment of revenue targets. Significant unobservable inputs used are revenue
          targets and discount rate (9.2%). Full value of contingent consideration payable is US$916,000 and its present value is US$735,000.
          A 1% increase in discount rate would result in decrease in fair value of the contingent consideration by US$16,000 and a 1% decrease
          in discount rate would result in increase in fair value by US$17,000. Management believe profit before revenue targets for FY 2020
          will be met and accordingly not considered sensitive to fair value measurement.

          Royal RAK
          Contingent consideration is payable subject to collection of 30 September 2017 receivables. Full value of contingent consideration
          payable is US$1,154,000 of which US$394,000 is already collected and paid during the reporting period. Management believes that
          the above targets will be met and accordingly not considered sensitive to fair value measurement.

          Provita and Fakih
          The contingent consideration in relation to Provita and Fakih were reversed as the conditions/KPIs were not met and the amounts
          were not payable.

          40 Option redemption payable
          Option redemption payable comprise of the following:
                                                                                                                                  2018       2017
                                                                                                                               US$‘000    US$‘000

          Luarmia                                                                                                              26,019      26,019
          CFC and HCMR                                                                                                         13,624       11,874
          Fecunmed                                                                                                                633         854
          Sweden                                                                                                                4,227            –
          ProCriar                                                                                                              1,695            –
                                                                                                                               46,198     38,747


          Movement in option redemption payable is as follows:
                                                                                                                                  2018       2017
                                                                                                                               US$‘000    US$‘000

          Balance at 1 January                                                                                                 38,747     37,500
          Addition                                                                                                              6,889        854
          Other adjustment                                                                                                           –    (2,398)
          Re-measurement of liability (note 10)                                                                                 2,545       2,012
          Exchange (gain)/loss                                                                                                  (1,983)      779
          Balance at 31 December                                                                                               46,198     38,747




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          Other adjustment relates to re-measurement done for put option liability for Huntington Centro de Medicina Reproductive, S/A (HCMR)
          acquired in 2016. This adjustment was done within twelve month period of acquisition date and was accordingly credited to equity.

          Classification of option redemption payables into current and non-current is as follows:
                                                                                                                                      2018            2017
                                                                                                                                   US$‘000         US$‘000

          Current                                                                                                                  26,019          26,019
          Non-current                                                                                                              20,179          12,728
                                                                                                                                   46,198          38,747


          Luarmia
          As part of acquisition of Luarmia SL (“Luarmia”) in 2015, the Group entered into separate co-investment/shareholder agreements
          dated 23 February 2015 with the sellers relating to put & call options on the minority 11.6% shareholdings that remains with the
          previous owners post-acquisition. The Group does not have ‘present ownership’ of this 11.6% minority shareholding due to the terms
          of the option agreements and continue to account for the acquisition of Luarmia on the basis of an 88.4% equity stake, with full
          recognition of the 11.6% non-controlling interest. The put options are exercisable between 1 & 30 June 2018, 1 & 30 June 2019 and 1 &
          30 June 2020 (three exercisable windows). On exercise of the put options, cash will be paid. The value of the put option is calculated
          based on the multiple of purchase price and further multiples are measured on the number of reproductive cycles specified in
          the agreement. A redemption liability for the value of the options at the acquisition date was created amounting to US$24,496,000
          (being the present value of the redemption liability at the acquisition date), with an equal amount being treated as a reduction
          in equity. As at 31 December 2018, the present value of the redemption liability is US$ 26,019,000.

          The key assumption in estimating the expected amount is the multiple of purchase price and reproductive cycle’s projections.
          The financial liability is sensitive to changes in these assumptions for example a 10% increase in reproductive cycles will result
          in an increase in the financial liability by US$ 3,333,000 (2017: US$ 1,545,400), while a 10% decrease would result in a decrease
          in the financial liability by US$ 1,887,000 (2017: US$ 1,544,000).

          CFC and HCMR
          In 2016, Luarmia SL entered into put option agreements with the minority shareholders of Brazil and Denmark entities. A redemption
          liability for the value of the options at the acquisition date was created amounting to US$11,216,000 and US$1,585,000 (being the
          present value of the redemption liability at the acquisition date), with an equal amount being treated as a reduction in equity.
          As at 31 December 2018, the present value of the redemption liability is US$12,221,000 and US$1,402,000 respectively.

          During the year Luarmia SL entered into put option agreements with the minority shareholders of Sweden and ProCriar. A redemption
          liability for the value of the options at the acquisition date was created amounting to US$4,417,000 and US$2,472,000 respectively.
          The present value of the redemption liability as on 31 December 2018 was US$4,227,000 and US$1,695,000 respectively.

          The put option of HCMR is exercisable any time starting from the third anniversary and 36 months thereafter. The earliest date
          of exercise is September 2019. The key assumption in estimating the liability amount is the forecasted EBITDA of the year 2018
          and 2019 and projected net debt of 2019. The financial liability is sensitive to changes in the forecasted EBITDA and Net Debt. For
          example a 10% increase in EBITDA will result in an increase in the financial liability with US$415,000, while a 10% decrease would
          result in a decrease in the financial liability with US$415,000.

          The put option for CFC is exercisable from the fifth anniversary of the date of the agreement. With respect to this, the earliest month
          of exercise is June 2021. The key assumption in estimating the liability amount is the forecasted EBITDA of the entity for 2020. The
          financial liability is sensitive to changes in the forecasted EBITDA. For example a 10% increase in EBITDA will result in an increase
          in the financial liability with US$200,000, while a 10% decrease would result in a decrease in the financial liability with US$200,000.

          Fecunmed
          The put option for Fecunmed is exercisable from the third anniversary of the date of the agreement. With respect to this, the
          earliest month of exercise is 31 December 2020. A redemption liability for the value of the options at the acquisition date was
          created amounting to US$854, 000 (being the present value of the redemption liability at the acquisition date), with an equal
          amount being treated as a reduction in equity. As at 31 December 2018, the present value of the redemption liability is US$633,000
          The key assumption in estimating the liability amount is the forecasted EBITDA of the entity for 2020. The financial liability is
          sensitive to changes in the forecasted EBITDA. For example a 10% increase in EBITDA will result in an increase in the financial
          liability with US$64,000, while a 10% decrease would result in a decrease in the financial liability with US$64,000.




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          40 Option redemption payable continued
          Sweden
          During the year Luarmia SL entered into put option agreements with the minority shareholders of Sweden.

          The put option for Sweden is exercisable from the fifth anniversary of the date of the agreement. With respect to this, the earliest
          month of exercise is 07 June 2023. A redemption liability for the value of the options at the acquisition date was created amounting
          to US$4,418,000 (being the present value of the redemption liability at the acquisition date), with an equal amount being treated as
          a reduction in equity. As at 31 December 2018, the present value of the redemption liability is US$4,227,000. The key assumption in
          estimating the liability amount is the forecasted EBITDA of the entity for 2022. The financial liability is sensitive to changes in the
          forecasted EBITDA. For example a 10% increase in EBITDA will result in an increase in the financial liability with US$415,000, while
          a 10% decrease would result in a decrease in the financial liability with US$415,000.

          ProCriar
          During the year Luarmia SL entered into put option agreements with the minority shareholders of ProCriar.

          The put option for ProCriar is exercisable from the third anniversary of the date of the agreement. With respect to this, the
          earliest month of exercise is 05 February 2021. A redemption liability for the value of the options at the acquisition date was
          created amounting to US$2,471,000 (being the present value of the redemption liability at the acquisition date), with an equal
          amount being treated as a reduction in equity. As at 31 December 2018, the present value of the redemption liability is US$1,695,000.
          The key assumption in estimating the liability amount is the forecasted EBITDA of the entity for 2021. The financial liability is
          sensitive to changes in the forecasted EBITDA. For example a 10% increase in EBITDA will result in an increase in the financial
          liability with US$340,000, while a 10% decrease would result in a decrease in the financial liability with US$309,000.

          41 Fair values of financial instruments
          The fair values of the Group’s financial instruments are not materially different from their carrying values at the statement of
          financial position date.

          The Group uses the following hierarchy for determining and disclosing the fair value of financial instruments by valuation technique:

          Level 1: quoted (unadjusted) prices in active markets for identical assets or liabilities.

          Level 2: other techniques for which all inputs which have a significant effect on the recorded fair value are observable, either directly
          or indirectly.

          Level 3: techniques which use inputs which have a significant effect on the recorded fair value that are not based on observable
          market data.

          Financial assets and liabilities carried at fair value are disclosed in note 37.

          During the years ended 31 December 2018 and 31 December 2017, there were no transfers between Level 1 and Level 2 fair value
          measurements, and no transfers into or out of Level 3 fair value measurements.

          42 Asset classified as held for sale
                                                                                                                                  2018        2017
                                                                                                                               US$‘000     US$‘000

          Asset classified as held for sale                                                                                          –       3,693
                                                                                                                                     –       3,693


          Asset held for sale represents investment made in a healthcare project. During the year, the Group paid an amount of US$ 5,530,000
          for the project. Subsequently in 2018, the investment was sold for a consideration of US$ 9,244,000 to a related party (note 34).




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          43 Changes in liabilities arising from financing activities
                                                                                                                             Equity
                                                                                                               Forex    component
                                                                 01 January                     Cash       exchange      convertible                 31 December
                                                                       2018   Cash Inflow     outflow     movement            bond       Others              2018
                                                                    US$’000      US$’000      US$’000       US$’000        US$’000      US$’000           US$’000

          Term Loans (Current and Non-current portion)            1,191,994   1,532,570     (1,700,751)       (2,412)           –        19,353        1,040,754
          Bank overdrafts and Other short-term borrowings          207,034        311,011    (338,173)             –            –       (10,922)         168,950
          Dividend payable                                            1,334             –       (1,334)            –            –              –               –
          Convertible bond and sukuk                                      –    850,000               –                    (64,960)        (2,031)       783,009
          Finance lease liability                                         –             –         (633)            –            –          5,312           4,679
          Total liabilities from financing activities            1,400,362    2,693,581 (2,040,891)           (2,412)     (64,960)        11,712       1,997,392

                                                                                                                             Equity
                                                                                                               Forex    component
                                                                 01 January                     Cash       exchange      convertible                 31 December
                                                                       2017   Cash Inflow     Outflow     movement            bond       Others              2017
                                                                    US$’000      US$’000      US$’000       US$’000        US$’000      US$’000           US$’000

          Term Loans (Current and Non-current portion)            829,299       671,353       (319,111)        6,417                     4,036          1,191,994
          Bank overdrafts and Other short-term borrowings          219,851      351,775     (373,318)              –                     8,726           207,034
          Dividend payable                                               –            –              –                                   1,334              1,334
          Total liabilities from financing activities             1,049,150    1,023,128    (692,429)          6,417                    14,096         1,400,362


          The ‘Others’ column includes the effect of amortisation of transaction costs, additions in interest-bearing loans from business
          combination and accrual of dividend that were not yet paid at the year-end. The Group classifies interest paid as cash flow from
          operating activities.

          44 Subsequent events
          The Group signed the definitive documents on 04 March 2019 to form a strategic partnership in healthcare with Hassana
          Investment Company (“Hassana”), the investment arm of the General Organization for Social Insurance (“GOSI”) in Saudi Arabia.
          The General Organization for Social Insurance is one of the largest pension funds in the world by assets under management.
          It is a government administered pension fund covering private sector employees in Saudi Arabia.

          All commercial terms and agreements have been finalised between NMC Healthcare LLC (“NMC”) and Hassana, with both parties
          working towards customary closing requirements. The strategic partnership is formed by NMC Healthcare Saudi Arabia Company
          (“NMC KSA”) contribution of its five subsidiaries in Saudi Arabia (“KSA”) and an additional cash injection at closing, and GOSI’s
          contribution of 38.88% stake in Tadawul-listed National Medical Care Company (“Care”) at an agreed price per share. At the closing
          of the transaction, NMC will own 52% stake (through the combination of asset contribution and cash injection) and GOSI – through
          a wholly-owned subsidiary vehicle – will own 48% stake. NMC will have the control of the above strategic partnership.




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          Statement of Financial Position
          As at 31 December 2018

                                                                                                                         2018           2017
                                                                                                          Notes       US$‘000        US$‘000

          ASSETS
          Non-current assets
          Other non-current assets                                                                                        404             –
          Investment in subsidiaries                                                                         4        810,694       532,965
                                                                                                                      811,098       532,965
          Current assets
          Loan to subsidiary                                                                                 6          4,465               –
          Other receivables and prepayments                                                                  5             161            113
          Amounts due from a related party                                                                   6               –        19,505
          Bank balances and cash                                                                                          122            162
                                                                                                                        4,748         19,780
          TOTAL ASSETS                                                                                                815,846       552,745
          EQUITY AND LIABILITIES
          Equity
          Share capital                                                                                      7         32,443        31,928
          Share premium                                                                                      7        633,744       492,634
          Retained earnings                                                                                  9         49,691         27,441
          Total equity                                                                                                715,878       552,003
          Current liabilities
          Amounts due to a related party                                                                     6         98,212               –
          Deferred consideration payable                                                                    13            596               –
          Other payables and accruals                                                                        8           1,160            742
          Total liabilities                                                                                           99,968              742
          TOTAL EQUITY AND LIABILITIES                                                                                815,846       552,745


          No profit and loss account is presented by the Company as permitted by Section 408 of the Companies Act 2006.

          The financial statements were authorised for issue by the board of directors on 6 March 2019 and were signed on its behalf by


          PRASANTH MANGHAT                             PRASHANTH SHENOY
          Chief Executive Officer                      Chief Financial Officer

          The attached notes 1 to 16 form part of the financial statements.




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          Statement of Changes in Equity
          For the year ended 31 December 2018

                                                                                                                           Retained
                                                                                    Share capital   Share premium          earnings                Total
                                                                                        US$’000            US$’000          US$’000              US$’000

          Balance as at 1 January 2018                                                   31,928          492,634              27,441         552,003
          Total (other) comprehensive income for
          for the year (note 9)                                                               –                 –            50,719               50,719
          Share based payments                                                                –                 –              9,704               9,704
          Dividends paid (note 15)                                                            –                 –           (35,739)             (35,739)
          Exercise of stock option shares                                                    38            2,396              (2,434)                   –
          Issuance of share capital-new                                                     477           138,714                  –              139,191
          Balance as at 31 December 2018                                                 32,443          633,744             49,691          715,878

          Balance as at 1 January 2017                                                    31,910          491,778           23,488               547,176
          Total (other) comprehensive income for
          for the year (note 9)                                                                –               –            23,425               23,425
          Share based payments                                                                 –               –               9,181                9,181
          Dividends paid (note 15)                                                             –               –            (27,779)             (27,779)
          Exercise of stock option shares                                                     18             856               (874)                    –
          Balance as at 31 December 2017                                                 31,928          492,634              27,441         552,003


          The attached notes 1 to 16 form part of the financial statements.




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          Statement of Cash Flows
          For the year ended 31 December 2018

                                                                                                                        2018           2017
                                                                                                         Notes       US$‘000        US$‘000

          OPERATING ACTIVITIES
          Profit for the year before tax                                                                    9         50,719        23,425
          Adjustments for:
           Share based payments                                                                            12          9,704           9,181
           Dividend Income                                                                                            (71,221)      (44,385)
                                                                                                                     (10,798)        (11,779)
          Working capital changes:
           Amounts due from a related party                                                                                –         11,705
           Other receivables and prepayments                                                                             (48)            18
           Amounts due to a related party                                                                            10,388                –
           Other payables and accruals                                                                                   418              (2)
          Net cash (used in) operations                                                                                  (40)           (58)
          DECREASE IN CASH AND CASH EQUIVALENTS                                                                          (40)          (58)
          Cash and cash equivalents at 1 January                                                                         162           220
          CASH AND CASH EQUIVALENTS AT 31 DECEMBER                                                                       122            162


          Note:
          1 Proceeds of US$139,191,000 raised from issuance of equity were directly received in NMC Healthcare LLC bank account. For the
            purpose of statement of cash flows these proceeds are adjusted from amounts due from a related party.

          2 An amount of US$138,538,000 was paid by NMC Healthcare LLC, on behalf of the Company for acquisition of subsidiaries.
            For the purpose of statement of cash flows these proceeds are adjusted from amounts due from a related party.

          3 During the year the Company recorded dividend income of US$ 71,221,000. This was non cash transactions and adjusted from
            amount due from related party.

          4 Dividend amount of US$ 35,739,000 was paid by NMC Healthcare LLC on behalf of the Company to its shareholders. This is non
            cash transactions and adjusted from amount due from related party.

          The attached notes 1 to 16 form part of the financial statements.




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          Notes to the Financial Statements
          At 31 December 2018

          1 Corporate information
          NMC Health plc (the “Company” or “Parent’’) is a Company which was incorporated in England and Wales on 20 July 2011. The
          Company is a public limited company. The address of the registered office of the Company is Level 1, Devonshire House, One
          Mayfair Place, London, W1J 8AJ. The registered number of the Company is 7712220. The Company’s immediate and ultimate
          controlling party is a group of three individuals (H.E. Saeed Mohamed Butti Mohamed Al Qebaisi (H.E Saeed Bin Butti), Dr BR Shetty
          and Mr Khalifa Butti Omair Yousif Ahmad Al Muhairi (Mr Khalifa Bin Butti) who are all shareholders and of whom two are directors
          of the company and who together have the ability to control the company.

          The Parent and its subsidiaries (collectively the “Group”) are engaged in providing professional medical services, home care services,
          long term care services and the provision of all types of research and medical services in the field of gynaecology, obstetrics and
          human reproduction, and the rendering of business management services to companies in the health care and hospital sector.
          The Group is also engaged in wholesale of pharmaceutical goods, medical equipment, cosmetics, food.

          The financial statements of the Company for the year ended 31 December 2018 were authorised for issue by the board of directors
          on 06 March 2019.

          2.1 Basis of preparation
          The financial statements have been prepared in accordance with International Financial Reporting Standards as adopted by the
          European Union as they apply to the financial statements of the Company for the year ended 31 December 2018 and applied in
          accordance with the Companies Act 2006.

          The financial statements are prepared under the historical cost convention. The principal accounting policies adopted in the
          preparation of these financial statements are set out below.

          No profit and loss account is presented by the Company as permitted by Section 408 of the Companies Act 2006.

          The Profit for the year in the financial statements of the Company is US$50,719,000 (2017: US$23,425,000).

          Certain amounts in cash flow statement have been reclassified to conform to the current year presentation.

          Functional currency
          The UAE Dirham is determined to be the functional currency of the Company. The reporting currency of the Company is United
          States of America Dollar (US$) as this is a more globally recognised currency. The UAE Dirham is pegged against the US Dollar
          at a rate of 3.673 per US Dollar.

          All values are rounded to the nearest thousand dollars ($000) except when otherwise indicated.

          2.2 Going concern
          These financial statements have been prepared on a going concern basis. The Company has made a profit of US$50,719,000
          (2017:US$23,425,000) and has equity of US$715,878,000 (2017: US$552,003,000).

          The Company is the parent of NMC Health plc group and is solely a holding company with no business activities of its own. The
          Company earned a dividend and reported a net profit during the year. The Group’s business activities, together with the factors
          likely to affect its future development, performance and position are set out in the Strategic Review on pages 4 to 35. The financial
          position of the Group, its cash flows, liquidity position and borrowing facilities are described in the Financial Review on pages 13 to 19.

          The Group has considerable financial resources including bank facilities. As a consequence, the directors believe that the Group
          is well placed to manage its business risks successfully. The directors expect that the Group has adequate resources to continue
          in operational existence for the foreseeable future. Thus they continue to adopt the going concern basis in preparing the
          financial statements.




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          2.3 Changes in accounting policies
          The accounting policies adopted are consistent with those of the previous financial period.

          New and amended standards and interpretations:
          The Company applied for the first-time certain amendments to the standards, which are effective for annual periods beginning on
          or after 1 January 2018. The Company has not early adopted any standards, interpretations or amendments that have been issued
          but are not yet effective.

          IFRS 15 Revenue from Contracts with Customers
          IFRS 15 supersedes IAS 11 Construction Contracts, IAS 18 Revenue and related Interpretations and it applies, with limited exceptions,
          to all revenue arising from contracts with its customers. IFRS 15 establishes a five-step model to account for revenue arising from
          contracts with customers and requires that revenue be recognised at an amount that reflects the consideration to which an entity
          expects to be entitled in exchange for transferring goods or services to a customer.

          IFRS 15 requires entities to exercise judgement, taking into consideration all of the relevant facts and circumstances when applying
          each step of the model to contracts with their customers.

          The Company adopted IFRS 15 using modified retrospective method of adoption.

          The adoption of IFRS 15 from 1 January 2018 has no significant impact on the financial statements of the Company.

          IFRS 9 Financial Instruments
          IFRS 9 Financial Instruments replaces IAS 39 Financial Instruments: Recognition and Measurement for annual periods beginning
          on or after 1 January 2018, bringing together all three aspects of the accounting for financial instruments: classification and
          measurement; impairment; and hedge accounting.

          The Company has applied the requirements of IFRS 9 prospectively, with the initial application date of 1 January 2018 and without
          restating comparative information.

          The adoption of IFRS 9 from 1 January 2018 has no significant impact on the financial statements of the Company.

          The other new standards, amendments to IFRS, which are effective as of 1 January 2018 are listed below, have no impact
          on the Company.
          • IFRIC Interpretation 22 Foreign Currency Transactions and Advance Considerations
          • Amendments to IAS 40 Transfers of Investment Property
          • Amendments to IFRS 2 Classification and Measurement of Share-based Payment Transactions
          • Amendments to IFRS 4 Applying IFRS 9 Financial Instruments with IFRS 4 Insurance Contracts
          • Amendments to IAS 28 Investments in Associates and Joint Ventures
          • Amendments to IFRS 1 First-time Adoption of International Financial Reporting Standards

          2.4 Summary of significant accounting policies
          Investment in subsidiaries
          Subsidiaries are entities which are controlled by the Company. Control is achieved when the Company is exposed, or has rights,
          to variable returns from its involvement with the investee and has the ability to affect those returns through its power over the
          investee. Specifically, the Company controls an investee if, and only if, the Company has:
          • Power over the investee (i.e., existing rights that give it the current ability to direct the relevant activities of the investee)
          • Exposure, or rights, to variable returns from its involvement with the investee
          • The ability to use its power over the investee to affect its returns

          Investments in subsidiaries are recognised at acquisition cost less any provision for impairment.

          When the Company incurs increases in or return of share capital, to/from its subsidiaries, such movements are recognised within
          the cost of investment in subsidiaries.

          At each reporting date, an assessment is made to determine whether there are any indicators of impairment. Where an indicator
          of impairment exists, a formal estimate of the recoverable amount of the investment in subsidiary is made, which is considered to
          be the higher of the fair value less costs to sell and the value in use. Fair value is determined as the amount that would be obtained
          from the sale of the investment in an arm’s length transaction between knowledgeable and willing parties. When this information
          is not available the fair value is determined based on the net present value of the future cash flows related to its subsidiaries,
          using a discount rate that reflects current market assessments of the time value of money and the risks specific to the asset.
          If the carrying amount of an investment exceeds the recoverable amount, a provision is recorded in the income statement to
          reflect the investment at the recoverable amount.




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          Where an impairment charge has previously been recognised, an assessment is made at the end of each reporting period as to
          whether there is any indication that the impairment loss may no longer exist or may have decreased. If any such indication exists,
          an estimate of the recoverable amount is made. An impairment loss is reversed to the income statement to the extent that the
          increased carrying value of the investment in subsidiary does not exceed the carrying value that would have been determined
          had no impairment loss been recognised for the asset in prior years.

          Cash and cash equivalents
          For the purpose of the statement of cash flows, cash and cash equivalents consists of cash in hand and bank balances.

          Equity
          The Company has issued ordinary shares that are classified as equity. The difference between the issue price and the par value
          of ordinary share capital is allocated to share premium. The transaction costs incurred for the share issue are accounted for as a
          deduction from share premium, net of any related income tax benefit, to the extent they are incremental costs directly attributable
          to the share issue that would otherwise have been avoided.

          Accounts payable and accruals
          Liabilities are recognised for amounts to be paid in the future for goods and services received whether billed by the supplier or not.
          Accounts payable are classified as current liabilities if payment is due within one year or less (or in the normal operating cycle of
          the business if longer). If not, they are presented as non-current liabilities. Accounts payable are recognised initially at fair value
          and subsequently measured at amortised cost using the effective interest method.

          Provisions
          Provisions are recognised when the Company has an obligation (legal or constructive) arising from a past event, and the costs to
          settle the obligation are both probable and able to be reliably measured.

          Provisions are measured at the present value of the expenditures expected to be required to settle the obligation using a pre-tax
          rate that reflects current market assessments of the time value of money and risks specific to the obligation. Increases in
          provisions due to the passage of time are recognised in the income statement.

          Share based payments
          Equity-settled share-based payments to employees are measured at the fair value of the equity instruments at the grant date.
          The fair value excludes the effect of non-market-based vesting conditions. Details regarding the determination of the fair value
          of equity-settled share-based transactions are set out in note 12.

          The fair value determined at the grant date of the equity-settled share-based payments is expensed on a straight-line basis
          over the vesting period, based on the Group’s estimate of equity instruments that will eventually vest. At each reporting date,
          the Group revises its estimate of the number of equity instruments expected to vest as a result of the effect of non-market-
          based vesting conditions. The impact of the revision of the original estimates, if any, is recognised in the statement of
          comprehensive income such that the cumulative expense reflects the revised estimate, with a corresponding adjustment to
          equity reserves/other payables.

          No expense is recognised for awards that do not ultimately vest, except for equity-settled transactions for which vesting are
          conditional upon a market or non-vesting condition. These are treated as vesting irrespective of whether or not the market or
          non-vesting condition is satisfied, provided that all other performance and/or service conditions are satisfied.

          Foreign currencies
          Transactions in foreign currencies are recorded in UAE Dirhams at the exchange rate ruling at the date of the transaction. Monetary
          assets and liabilities denominated in foreign currencies are retranslated at the rate of exchange ruling at the balance sheet date.
          All differences are taken to the statement of comprehensive income.

          Impairment of financial assets
          An assessment is made at each statement of financial position date to determine whether there is objective evidence that
          a specific financial asset may be impaired. If such evidence exists, any impairment loss is recognised in the statement of
          comprehensive income. Impairment is determined as the difference between carrying value and the present value of future
          cash flows discounted at the current market rate of return for a similar financial asset.

          Financial guarantee contracts
          Financial guarantee contracts issued by the Company are those contracts that require a payment to be made to reimburse the holder
          for a loss it incurs because the specified debtor fails to make a payment when due in accordance with the terms of a debt instrument.
          Financial guarantee contracts are recognised initially as a liability at fair value, adjusted for transaction costs that are directly attributable
          to the issuance of the guarantee. Subsequently, the liability is measured at the higher of the best estimate of the expenditure required
          to settle the present obligation at the reporting date and the amount recognised less cumulative amortisation.

          Dividend income
          Revenue is recognised when the Company’s right to receive the payment is established, which is generally when shareholders
          approve the dividend.


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          3 Accounting standards and interpretations issued but not effective
          The new and amended standards and interpretations that are issued, but not yet effective, up to the date of issuance of the
          Company’s financial statements are disclosed below. The Company intends to adopt these new and amended standards
          and interpretations, if applicable, when they become effective.

          IFRS 16 Leases
          IFRS 16 replaces existing guidance on the accounting for leases, including IAS17 Leases, IFRIC 4 Determining whether an
          Arrangement contains a Lease, SIC-15 Operating Leases – Incentives and SIC-27 Evaluating the Substance of Transactions
          Involving the Legal Form of a Lease. The standard is applicable for annual periods beginning on or after 1 January 2019. Early
          adoption is permitted.

          IFRS 16 introduces a single comprehensive, on-balance sheet lease accounting model for lessees. IFRS 16 distinguishes leases
          and service contracts on the basis of whether an identified asset is controlled by a customer. Distinctions of operating leases
          (off balance sheet) and finance leases (on balance sheet) are removed for lessee accounting and is replaced by a model where
          a right-of-use asset and a corresponding liability have to be recognised for leases by lessees (i.e. all on balance sheet) except for
          short-term leases and leases of low value assets.

          Lessor accounting under IFRS 16 is substantially unchanged from today’s accounting under IAS 17. Lessors will continue to
          classify all leases using the same classification principle as in IAS 17 and distinguish between two types of leases: operating
          and finance leases.

          IFRS 16, which is effective for annual periods beginning on or after 1 January 2019, requires lessees and lessors to make more
          extensive disclosures than under IAS 17.

          Transition to IFRS 16
          The Company will adopt IFRS 16 using modified retrospectively approach, with the initial application date of 1 January 2019 and
          without restating comparative information. As the balance sheet as at 31 December 2018 will not be restated, any reclassifications
          and the adjustments arising will be recognised in the opening balance sheet on 1 January 2019.

          The Company will use the following practical expedients when applying this Standard retrospectively to leases previously classified
          as operating leases applying IAS 17. Company will apply these practical expedients on a lease-by-lease basis:
          1. Company will apply a single discount rate to a portfolio of leases with reasonably similar characteristics (such as leases with
             a similar remaining lease term for a similar class of underlying asset in a similar economic environment).
          2. Company will elect not to apply the requirements of IFRS 16 to leases for which the lease term ends within 12 months of the
             date of initial application. In this case, Company will:
             (i) Account for those leases in the same way as short-term leases; and
             (ii) Include the cost associated with those leases within the disclosure of short-term lease expense in the annual reporting
                  period that includes the date of initial application.
          3. Company will use hindsight, such as in determining the lease term if the contract contains options to extend or terminate
             the lease.

          The right of use (ROU) assets will be taken as equal to lease liability as of transaction date.

          On adoption of requirements of IFRS 16, the Company’s operating profit will improve (being the operating lease rental amount that
          will be replaced by a depreciation charge and interest expense). This is due to the change in the accounting for expenses of leases
          that were classified as operating leases under IAS 17.

          The Company has designed a new leasing strategy, and the actual impact of the IFRS 16 on lease expense, finance expenses,
          depreciation, lease liability and right of use of assets to be brought onto the consolidated financial statements as at 1 January 2019
          can only be estimated once the new strategy will be implemented. New strategy includes renegotiation of lease terms, rentals and
          other services with the lessors, decisions to buy or lease out on case by case basis.




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          At the date of the financial statement, the following other standards, amendments and Interpretations have not been effective
          and have not been early adopted by the Company:
          a) IFRIC 23 Uncertainty Over Income Tax Treatments – effective 1 January 2019;
          b) Prepayment Features with Negative Compensation (Amendments to IFRS 9) – effective 1 January 2019;
          c) Annual Improvements to IFRS 2015 – 2017 Cycle (Amendments to IFRS 3, IFRS 11, IAS 12 and IAS 23) – effective 1 January 2019;
          d) Long-term Interests in Associates and Joint Ventures (Amendments to IAS 28) – effective 1 January 2019;
          e) Sale or Contribution of Assets between an Investor and its Associates or Joint Venture (Amendments to IFRS 10 and IAS 28)
             – Available for optional adoption/effective date deferred indefinitely;
          f) IFRIC Interpretation 23 Uncertainty over Income Tax Treatment – effective 1 January 2019;
          g) Amendments to IAS 19: Plan Amendment, Curtailment or Settlement– effective 1 January 2019; and
          h) Transfer to Investment Property – Amendments to IAS 40.

          With the exception of IFRS 16, management anticipates that the application of the above Standards and Interpretations in future
          periods will have no material impact on the financial statement of the Company in the period of initial application.

          4 Investment in subsidiaries
                                                                                                                              2018                 2017
                                                                                                                           US$‘000              US$‘000

          As at 1 January and 31 December                                                                                 810,694           532,965
          This represents the cost of the investment in following subsidiaries
          NMC Healthcare LLC                                                                                              532,965           532,965
          Fakih IVF LLC                                                                                                   212,929                 –
          NMC Eugin UK Ltd                                                                                                 64,700                 –
          NMC Health Jersey Ltd                                                                                               100                 –
                                                                                                                          810,694           532,965

                                                                                                                          Percentage of holdings
                                                                                                       Country of      31 December       31 December
                                                                                                    incorporation              2018              2017

          Direct subsidiaries:
            NMC Holding Co LLC                                                                              UAE               100%                100%
            NMC Health Holdco Limited                                                                        UK               100%                100%
            NMC Eugin UK Limited                                                                             UK               100%                   –
          Indirect subsidiaries:
            NMC Healthcare LLC                                                                            UAE                 100%                 100%
            New Pharmacy Company WLL                                                                      UAE                 100%                 100%
            New Medical Centre LLC – Dubai                                                                UAE                 100%                 100%
            NMC Specialty Hospital LLC – Abu Dhabi                                                        UAE                 100%                 100%
            NMC Specialty Hospital LLC – Dubai                                                            UAE                 100%                 100%
            New Medical Centre Trading LLC – Abu Dhabi                                                    UAE                 100%                 100%
            NMC Trading LLC – Dubai                                                                       UAE                 100%                 100%
            Bait Al Shifaa Pharmacy LLC – Dubai                                                           UAE                 100%                 100%
            New Medical Centre LLC – Sharjah                                                              UAE                 100%                 100%
            New Medical Centre Specialty Hospital LLC – Al Ain                                            UAE                 100%                 100%
            Reliance Information Technology LLC                                                           UAE                 100%                 100%
            BR Medical Suites FZ LLC                                                                      UAE                 100%                 100%
            Bright Point Royal Womens Hospital LLC                                                        UAE                 100%                 100%
            NMC Day Surgery Centre LLC                                                                    UAE                 100%                 100%
            NMC Hospital LLC (DIP Hospital)                                                               UAE                 100%                 100%
            Medifertil, S.A                                                                          Columbia               61.90%               61.90%
            Centro de infertilidad y Reproduccion Humana SLU (CIRH)                                      Spain             88.40%               88.40%
            Centro de Medicina della Riproduzione (Biogenesi)                                             Italy            53.00%               53.00%
            EUVITRO, S.L.U                                                                               Spain             88.40%               88.40%
            Copenhagen Fertility Center Holding Aps (DK)                                             Denmark               79.60%               79.60%
            Huntington Centro de Medicina Reproductive, S/A (BR)                                         Brazil                53%                  53%
            ProVita International Medical Center LLC                                                      UAE                 100%                 100%
            Lifewise Home Healthcare LLC                                                                  UAE                 100%                 100%
            NMC Royal Hospital LLC                                                                        UAE                 100%                 100%
            The American Surgecenter Pharmacy LLC                                                         UAE                 100%                 100%
            The American Surgecenter LLC                                                                  UAE                 100%                 100%
            Americare LLC                                                                                 UAE                 100%                 100%
            Trans Arabia Drug Store LLC                                                                   UAE                  75%                  75%
            Sunny Specialty Medical Centre LLC                                                            UAE                 100%                 100%
            Sunny Medical Centre LLC                                                                      UAE                 100%                 100%
            New Sunny Medical Centre LLC                                                                  UAE                 100%                 100%
            Sunny Al Buhairah Medical Centre LLC                                                          UAE                 100%                 100%
            Sunny Al Nadha Medical Centre LLC                                                             UAE                 100%                 100%


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          4 Investment in subsidiaries continued
                                                                                                          Percentage of holdings
                                                                                           Country of   31 December      31 December
                                                                                        incorporation           2018             2017

            Sunny Dental Care LLC                                                              UAE            100%             100%
            Grand Hamad Pharmacy LLC                                                           UAE            100%             100%
            Hamad Pharmacy LLC                                                                 UAE            100%             100%
            Sharjah Pharmacy LLC                                                               UAE            100%             100%
            Sunny Sharqan Medical Centre LLC                                                   UAE            100%             100%
            NMC Royal Medical Centre LLC                                                       UAE            100%             100%
            NMC Healthcare LLC                                                              Oman              100%             100%
            Fulfil Trading LLC                                                                 UAE            100%             100%
            Nadia Medical Centre LLC                                                           UAE            100%             100%
            Cooper Dermatology and Dentistry Clinic                                            UAE            100%             100%
            Cooper Health Clinic                                                               UAE            100%             100%
            Fakih IVF Fertility Centre LLC                                                     UAE            100%              51%
            Fakih IVF LLC                                                                      UAE            100%              51%
            Beiersdorf Cosmetics Trading LLC – Abu Dhabi Branch.                               UAE            100%             100%
            New Marketing & Trading Co.LLC – Abu Dhabi                                         UAE            100%             100%
            New Medical Centre Trading LLC – Branch 2                                          UAE            100%             100%
            New Medical Centre Trading LLC – Branch 3                                          UAE            100%             100%
            Beiersdorf Cosmetics Trading LLC – Ajman Branch                                    UAE            100%             100%
            National Marketing & Trading Co. LLC – Ajman                                       UAE            100%             100%
            New Marketing & Trading Company LLC – Ajman Branch                                 UAE            100%             100%
            NMC Trading LLC – Ajman Branch                                                     UAE            100%             100%
            Beiersdorf Cosmetics Trading Co. LLC – Dubai                                       UAE            100%             100%
            National Marketing & Trading Co. LLC – Dubai Branch                                UAE            100%             100%
            New Marketing & Trading Co. LLC – Dubai Branch                                     UAE            100%             100%
            New Medical Centre Trading (Store) LLC – Dubai                                     UAE            100%             100%
            New Medical Centre Veterinary Medicine & Equipment Trading Co LLC – Dubai          UAE            100%             100%
            NMC Trading LLC – Dubai Branch                                                     UAE            100%             100%
            NMC Trading LLC – Fujairah Branch                                                  UAE            100%             100%
            NMC Trading RAK – Branch LLC                                                       UAE            100%             100%
            New Medical Centre                                                                 UAE            100%             100%
            New Medical Centre LLC – Branch (Al-Ain, Al wadi)                                  UAE            100%             100%
            NMC Pharmacy                                                                       UAE            100%             100%
            NMC Pharmacy-Branch                                                                UAE            100%             100%
            PVHC KSA                                                                           KSA            100%             100%
            TVM KSA Acquisition 2 Ltd.                                                     Cyprus             100%             100%
            NMC Royal Medical Centre LLC – Branch                                              UAE            100%             100%
            Muscat Central Healthcare LLC                                                   Oman              100%             100%
            NMC Healthcare India Pvt. Ltd.                                                    India           100%             100%
            NMC International Trading LLC                                                      UAE            100%             100%
            Cooper Health Clinic – Branch                                                      UAE            100%             100%
            New Reproductive Care Ltd.                                                   Cayman                51%              51%
                                                                                           Islands
            New Medical Centre Abu Dhabi Branch                                                UAE           100%              100%
            New Medical Centre Trading LLC Branch 1                                            UAE           100%              100%
            NMC Trading LLC Branch                                                             UAE           100%              100%
            New Medical Centre Pharmacy Al Ain Branch 1                                        UAE           100%              100%
            Focus Optics                                                                       UAE           100%              100%
            Bright Point Pharmacy LLC                                                          UAE           100%              100%
            Lotus Pharmacy LLC                                                                 UAE           100%              100%
            New Medial Centre Pharmacy LLC Sharjah                                             UAE           100%              100%
            New Medical Centre Trading (Store) LLC – Abu Dhabi Br                              UAE           100%              100%
            Provita International Medical Centre LLC – Alain Branch                            UAE           100%              100%
            NMC Medical Professional Training Centre LLC                                       UAE           100%              100%
            New Pharmacy Company WLL Branch 1                                                  UAE           100%              100%
            New Pharmacy Company WLL Branch 2                                                  UAE           100%              100%
            New Pharmacy Company WLL Branch 6                                                  UAE           100%              100%
            Royal Arsom Wellness Centre LLC                                                    UAE           100%              100%
            NMC Medical Centre Branch 2 (scientific store)                                     UAE           100%              100%
            New Medical Centre Pharmacy LLC Alain                                              UAE           100%              100%
            Fertilitetsklinikken Lygten A/S                                              Denmark           79.60%            79.60%
            Luarmia, S.L.                                                                    Spain         88.40%            88.40%
            Al Aseel Laundry                                                                   UAE           100%              100%
            Zari Spa & Beauty Centre                                                           UAE           100%              100%
            Zari Spa for Men                                                                   UAE           100%              100%


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                                                                                                              Percentage of holdings
                                                                                           Country of      31 December       31 December
                                                                                        incorporation              2018              2017

            PEL Assistencia A Infertilidade LTDA                                              Brazil              53%                 53%
            Mustashfa Jadeed Fund                                                               KSA              100%                100%
            Al Qadi Speciality Hospital LLC                                                     KSA               60%                 60%
            As Salama Hospital LLC                                                              KSA               99%                 70%
            Al Zahra Private Hospital Company                                                   UAE              100%                100%
            Sunny Halwan Speciality Medical Centre                                              UAE              100%                100%
            Hamad Drug Store LLC                                                                UAE              100%                100%
            Sunny Maysloon Speciality Medical Centre LLC                                        UAE              100%                100%
            Centre de Reproduccio Asistida del (“Fecunmed”)                                   Spain             70.7%               70.7%
            NMC Royal Medical Centre LLC                                                     Oman                100%                100%
            NMC Trading LLC                                                                  Oman                100%                100%
            Fertilitetsklinikken Lygten A/S-Branch2                                       Denmark               79.6%               79.6%
            Centro de Medicina della Riproduzione-C.M.R, S.R.L – Branch 2                       Italy             53%                 53%
            Centro de Medicina della Riproduzione-C.M.R, S.R.L – Branch 3                       Italy             53%                 53%
            Huntington Centro De Medicina Reproductiva, Vila Mariana S/A                      Brazil              53%                 53%
            Huntington Centro De Medicina Reproductiva Campinas Ltda                          Brazil            88.4%               88.4%
            Euvitro, S.L.U – Branch 2                                                         Spain             88.4%               88.4%
            NMC Royal Medical Clinic LLC (Etisalat)                                             UAE              100%                   –
            NMC Royal First Aid Clinic LLC (Adnec Clinic)                                       UAE              100%                   -
            NMC Royal First Aid Clinic LLC (Adnec Clinic)-Branch2                               UAE              100%                   -
            Hamad Al Ihterafeya Pharmacy LLC                                                    UAE              100%                   -
            Hamad Al Mumayazah Pharmacy LLC                                                     UAE              100%                   -
            Hamad Al Oula Pharmacy LLC                                                          UAE              100%                   -
            NMC Medical Centre Ajman LLC Br.                                                    UAE              100%                   -
            NMC Royal Dental Centre                                                             UAE              100%                   –
            NMC Royal Medical Centre                                                            UAE              100%                   –
            NMC Royal Pharmacy Centre                                                           UAE              100%                   –
            Emirates Medical Center LLC                                                      Oman                100%                   –
            New Medical Centre Pharmacy/Branch                                                  UAE              100%                   –
            Fakih Medical Center L.L.C                                                          UAE              100%                   –
            Fakih Medical Center Pharmacy LLC                                                   UAE              100%                   –
            Bareen International Hospital                                                       UAE              100%                   –
            Bareen Pharmacy                                                                     UAE              100%                   –
            Fakih IVF Center                                                                 Oman                100%                   –
            Fakih IVF Fertility Center LLC-Branch 3                                             UAE              100%                   –
            Mesk Al Madina Medical Centre LLC                                                   UAE              100%                   –
            Zanbaq Al Madina Pharmacy LLC                                                       UAE              100%                   –
            NMC Healthcare UK Limited                                                             UK             100%                   –
            HCN European Surgery Center Holdings Limited                                          UK             100%                   –
            European Surgical Partners Limited                                                    UK             100%                   –
            Global Healthcare Partners Limited                                                    UK             100%                   –
            Aspen Healthcare Limited                                                              UK             100%                   –
            Parkside IHL Scanning Services LLP                                                    UK            51.8%                   –
            Edinburgh Medical Services Limited T/A The Edinburgh Clinic                           UK             100%                   –
            Eye-Docs Limited T/A Midland Eye                                                      UK            70.0%                   –
            Aspen Leasing Limited                                                                 UK             100%                   –
            Crossco (1385) Limited                                                                UK             100%                   –
            HTI St James'S Limited T/A Nova Healthcare                                            UK             100%                   –
            Cancer Centre London LLP                                                              UK            63.0%                   –
            Highgate Hospital LLP                                                                 UK            99.0%                   –
            Claremont Hospital Holdings Limited                                                   UK             100%                   –
            Claremont Hospital LLP                                                                UK            81.0%                   –
            NMC Fertility Kenya Limited                                                      Kenya                60%                   –
            NMC Healthcare Sukuk Limited                                                  Cayman                 100%                   –
                                                                                            Islands
            Cytomed Middle East – Branch of Abu Dhabi                                           UAE               100%                  –
            Cytomed Middle East LLC (Sharjah)                                                   UAE               100%                  –
            New Medical Center Trading Store LLC – Branch 2                                     UAE               100%                  –
            NMC Health (Jersey) Limited                                                           UK              100%                  –
            New Pharmacy Company Wll-Branch 4                                                   UAE               100%                  –
            Premier Care Home Medical And Health Care LLC                                       UAE                70%                  –
            Taskeen Home Medical And Health Care LLC                                            UAE                70%                  –
            Reaya Mumayaza Specialized For Medical Home Care LLC                                UAE                70%                  –
            NMC Health Investments LLC                                                          UAE               100%                  –
            Chronic Care Specialist Medical Center Co                                           KSA               100%                  –
            New Medical Centre Hospital Hail                                                    KSA               100%                  –


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          4 Investment in subsidiaries continued
                                                                                                    Percentage of holdings
                                                                                     Country of   31 December      31 December
                                                                                  incorporation           2018             2017

            Al Salam Medical Group JSC Company                                         KSA               80%                   –
            Al Salam Hospital                                                          KSA               80%                   –
            Al Salam Polyclinic                                                        KSA               80%                   –
            Ishbaliya Polyclinic Company LLS                                           KSA               80%                   –
            Sandook Al Watani Al Tejari LLC                                            KSA              100%                   –
            Emirates Hospital Wellness And Obesity Clinic                              UAE              100%                   –
            Poly Clinic Aesthetic Dermatology Plastic Surgery Dental LLC               UAE              100%                   –
            Aesthetic Skin Care Clinic LLC                                             UAE               75%                   –
            Centurion Medical Facilities Management Group LLC                          UAE              100%                   –
            CosmeSurge Investment LLC                                                  UAE               70%                   –
            CosmeSurge Hospital – Umm Suquiem                                          UAE               70%                   –
            CosmeSurge Clinics LLC, Jumeirah                                           UAE               70%                   –
            CosmeSurge & Emirates Clinics For One Day Surgery LLC                      UAE               70%                   –
            CosmeSurge Clinics LLC, Marina Branch                                      UAE               70%                   –
            CosmeSurge Clinics LLC, Conrad Branch                                      UAE               70%                   –
            CosmeSurge Clinics LLC, Branch Of Abu Dhabi                                UAE               70%                   –
            CosmeSurge Clinics LLC, Fujarah Branch                                     UAE               70%                   –
            CosmeSurge Clinics LLC, Oman Branch                                      Oman                70%                   –
            CosmeSurge Clinics LLC, Rak Branch 1                                       UAE               70%                   –
            CosmeSurge Clinics LLC, Rak Branch                                         UAE               70%                   –
            CosmeSurge & Emirates Clinics For One Day Surgery LLC Br 2                 UAE               70%                   –
            CosmeSurge & Emirates Clinics For One Day Surgery LLC Br 1                 UAE               70%                   –
            CosmeSurge & Emirates Clinics For One Day Surgery LLC.SBr                  UAE               70%                   –
            CREA, SRL                                                                  Italy           88.4%                   –
            Pró-Criar Participaçoes E Empreendimentos S/A                             Brazil           53.0%                   –
            Clínica Jpjc Ltda                                                         Brazil           53.0%                   –
            Clínica De Reprodução Assistida Sul Mineira Ltda                          Brazil           53.0%                   –
            Eugin Sweden Ab                                                         Sweden             66.3%                   –
            Nordic Eggbank Ab                                                       Sweden             66.3%                   –
            Nordic IVF Center Göteborg Ab                                           Sweden             66.3%                   –
            Nordic IVF Center Malmö Ab                                              Sweden             66.3%                   –
            Nordic IVF Och Gynekologi Stockholm Ab                                  Sweden             66.3%                   –
            Stockholm IVF Ab                                                        Sweden             66.3%                   –
            AVA Clinic SIA                                                           Latvia             100%                   –
            NMC Eugin USA Corporation                                                  USA               70%                   –
            Boston IVF Ventures, LLC (“Holdco”)                                        USA               70%                   –
            BIVF Management Services, LLC Company                                      USA               70%                   –
            Friendly doctor                                                            USA               70%                   –
            Albany Fertility & Gynecology, PLLC (“Albany IVF”)                         USA               70%                   –
            Boston IVF, LLC (“Boston Subsidiary)                                       USA               70%                   –
            Boston IVF Fertility Services at The Women’s Hospital, LLC                 USA               70%                   –
            MPD Medical, LLC                                                           USA               70%                   –
            Boston IVF – CRMI Holding, LLC                                             USA               70%                   –
            Boston IVF – The Arizona Center, LLC                                       USA               70%                   –
            Scottsdale – Boston Surgery Center, LLC                                    USA               70%                   –
            NMC Genetics India Private Limited                                        India              85%                   –
            NMC Lifesciences LLC                                                       UAE              100%                   –


          5 Other receivable and prepayments
                                                                                                         2018             2017
                                                                                                      US$‘000          US$‘000

          Other receivables                                                                               112                98
          Prepayments                                                                                     49                 15
                                                                                                          161                113




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          6 Related party transactions
          These represent transactions with related parties, i.e. major shareholders and senior management of the Company, and entities
          controlled, jointly controlled or significantly influenced by such parties. Pricing policies and terms of all transactions are approved
          by the management of the Company.

          The Company’s immediate and ultimate controlling party is a group of three individuals (H.E. Saeed Bin Butti, Dr BR Shetty and
          Mr Khalifa Bin Butti) who are all shareholders and of whom two are directors of the Company and who together have the ability
          to control the Company. As the immediate and ultimate controlling party is a group of individuals, it does not produce consolidated
          financial statements.

          Transactions with related parties
          During the year, expenses amounting to US$760,000 (2017: US$2,907,000) was charged by NMC Healthcare LLC to the Company.

          Dividend amount of US$35,739,000 (2017: US$27,779,000) was paid, on behalf of the Company, by NMC Healthcare LLC to the
          shareholders of the Company. Amount paid by subsidiary was recorded as payable to the subsidiary.

          During the year the Company recorded dividend income of US$71,221,000 (2017: US$44,385,000). This was non cash transactions
          and debited to NMC Healthcare LLC.

          An amount of US$138,538,000 was paid by NMC Healthcare LLC, on behalf of the Company for acquisition of subsidiaries.

                                                                                                                                   2018                 2017
                                                                                                                                US$‘000              US$‘000

          Amounts due from Subsidiary
          Amounts due from a related party                                                                                             –             19,505
          Amounts due to Subsidiary
          Amounts due to a related party                                                                                         98,212                    –


          Loan to a Subsidiary
          This represents loan given to BIVF Management Services LLC and is repayable in 2019. It carries interest at 10% per annum.

          The Company is a guarantor along with other fellow subsidiary undertakings for the US$1,200,000,000 (2017: US$1,075,000,000)
          syndicated loan facility raised by its subsidiary NMC Healthcare LLC.

          Terms and conditions of transactions with related parties
          The sales to and purchases from related parties are made on terms equivalent to those that prevail in arm’s length transactions.
          Outstanding balances at the year-end are unsecured and interest free and settlement occurs in cash. There have been no
          guarantees provided or received for any related party receivables or payables. For the year ended 31 December 2018, the Group
          has not recorded any impairment of receivables relating to amounts owed by related parties (2017: US$ nil). This assessment is
          undertaken each financial year through examining the financial position of the related party and the market in which the related
          party operates.

          Compensation of key management personnel
                                                                                                                                   2018                 2017
                                                                                                                                US$‘000              US$‘000

          Short term benefits                                                                                                     7,570                4,152


          Key management personnel include all the Non-Executives Directors (2017: all) and one senior management personnel (2017: one).




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          7 Share capital and share premium
          31 December 2018
                                                                                           Number of      Ordinary        Share
                                                                                              shares       shares      premium           Total
                                                                                         (thousands)      US$‘000       US$‘000        US$‘000

          Issued and fully paid
          (nominal value 10 pence sterling each)                                           208,237         32,443       633,744        666,187


          31 December 2017
                                                                                           Number of      Ordinary        Share
                                                                                              shares       shares      premium           Total
                                                                                         (thousands)      US$‘000       US$‘000        US$‘000

          Issued and fully paid
          (nominal value 10 pence sterling each)                                           204,423         31,928      492,634        524,562


          Issued share capital and share premium movement
                                                                                             Number       Ordinary        Share
                                                                                            of shares      shares      premium            Total
                                                                                         (thousands)      US$ ‘000      US$ ‘000       US$ ‘000

          31 December 2018
          At 1 January 2018                                                                204,423         31,928      492,634        524,562
          Issue of new shares                                                                3,534            477       138,714        139,191
          Exercise of stock option shares                                                     280              38        2,396          2,434
          At 31 December 2018                                                              208,237         32,443       633,744        666,187
          31 December 2017
          At 1 January 2017                                                                204,285         31,910       491,778       523,688
          Exercise of stock option shares                                                      138             18          856            874
          At 31 December 2017                                                              204,423         31,928      492,634        524,562


          8 Other payables and accruals
                                                                                                                           2018           2017
                                                                                                                        US$‘000        US$‘000

          Other payables                                                                                                   1,118          604
          Accrued expenses                                                                                                    42          138
                                                                                                                           1,160           742


          9 Profit attributable to members of the parent company
          The Profit for the year in the financial statements of the Company is US$50,719,000 (2017: US$23,425,000).

          10 Auditor’s remuneration
          The Company paid US$1,148,000 to its auditor in respect of the audit of the Company’s annual accounts for the year ended
          31 December 2018 (2017:US$1,008,000), which includes a portion in respect of the audit of the financial statements of the Company.

          Fees paid to Ernst & Young LLP and its associates for non-audit services to the Company itself are not disclosed in the individual
          accounts of NMC Health plc because group financial statements are prepared which are required to disclose such fees on
          a consolidated basis.

          11 Directors’ remuneration
                                                                                                                           2018           2017
                                                                                                                        US$‘000        US$‘000

          Directors’ remuneration                                                                                         5,659          2,624


          Further information in respect of this compensation paid to directors is disclosed in the Directors’ Remuneration Report.




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          12 Share based payments
          The Group currently operates two share option schemes:

          Long term incentive plan (LTIP)
          Options awarded under the LTIP are made annually to Executive Directors and other senior management. The exercise prices
          are nil. Options have a life of ten years and a vesting period of three years. The LTIP is subject to performance conditions which
          can be found in the Directors’ Remuneration Report in the Annual Report.

          Short term incentive plan (STIP)
          Options awarded under the STIP are made annually to Executive Directors and other senior management. The exercise prices
          are nil. Options have a life of ten years and a vesting period of 3 years.

          Fair values are determined using the Black-Scholes model. Expected volatility has been based on historical volatility over the period
          since the Company’s shares have been publicly traded.

          Administrative expenses include a charge of US$ 9,704,000 (2017: US$ 9,181,000) in respect of the cost of providing share options.
          The cost is calculated by estimating the fair value of the option at grant date and spreading that amount over the vesting period
          after adjusting for an expectation of non-vesting.

          For options granted in the years ended 31 December 2017 and 2018, the fair value per option granted and the assumptions used
          in the calculation are as follows:
                                                                                                                                  2018             2017
                                                                                                                                  STIP             STIP

          Share price at grant date                                                                                          £33.620           £20.740
          Fair value at measurement date                                                                                     £33.499           £20.425
          Exercise price                                                                                                         £nil               £nil
          Expected volatility                                                                                                    40%                40%
          Expected option life                                                                                             1-2 years           2 years
          Expected dividend yield                                                                                              0.36%              0.51%
          Risk free interest rate                                                                                              2.42%              1.57%

                                                                                                                2018              2017              2017
                                                                                                                LTIP             LTIP1             LTIP2

          Share price at grant date                                                                        £33.620           £16.330           £27.390
          Fair value at measurement date                                                                   £33.259           £16.082           £27.088
          Exercise price                                                                                       £nil               £nil              £nil
          Expected volatility                                                                                  40%                40%               40%
          Expected option life                                                                             3 years           3 years           3 years
          Expected dividend yield                                                                            0.36%              0.51%            0.37%
          Risk free interest rate                                                                            2.42%              1.49%             1.38%


          Share prices at grant date are the closing prices as of those dates.

          LTIP represent long term incentive plans and STIP represent short term incentive plans issued in March 2018.




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          Notes to the Financial Statements continued
          At 31 December 2018

          12 Share based payments continued
          Short term incentive plan (STIP) continued
          The options existing at the year-end were as follows:
                                                                                  2018                            2017
                                                                    Number of                             Number of
                                                                       shares            Exercise price      shares      Exercise price       Period when exercisable

          Long term incentive plan (LTIP)
          Oct-14                                                      60,292                      £nil      60,292                £nil        29/10/17 to 28/10/24
          Short term incentive plan (STIP)
          Oct-14                                                         20,165                   £nil      20,165                £nil        29/10/17 to 28/10/24
          Long term incentive plan (LTIP)
          Feb-15                                                         69,615                   £nil     221,539                £nil       25/02/18 to 24/02/25
          Short term incentive plan (STIP)
          Feb-15                                                      25,240                      £nil      74,801                £nil       25/02/18 to 24/02/25
          Long term incentive plan (LTIP)
          Sep-15                                                         23,011                   £nil      49,309                £nil       09/09/18 to 08/09/25
          Long term incentive plan (LTIP)
          Mar-16                                                     383,717                      £nil     383,717                £nil        15/03/19 to 14/03/26
          Short term incentive plan (STIP)
          Mar-16                                                         68,151                   £nil       68,151               £nil        15/03/19 to 14/03/26
          Long term incentive plan (LTIP)
          Jan-17                                                     334,634                      £nil    562,323                 £nil        27/01/20 to 26/01/27
          Short term incentive plan (STIP)
          May-17                                                      54,705                      £nil     150,435                £nil       09/05/18 to 08/05/27
          Long term incentive plan (LTIP)
          Sep-17                                                     120,526                      £nil     120,526                £nil       07/09/20 to 06/09/27
          Long term incentive plan (LTIP)
          Mar-18                                                         46,219                   £nil          nil               £nil       08/03/21 to 08/03/28
          Short term incentive plan (STIP)
          Mar-18                                                     186,382                      £nil          nil               £nil       08/03/19 to 08/03/28
          Total options subsisting on existing ordinary
           shares                                                   1,392,657                             1,711,258
          Percentage of issued share capital                             0.70%                               0.80%


          Movement of share options during the year is as follows:
                                                                                                                                               2018              2017

          At 1 January                                                                                                                     1,711,258       1,013,822
          Vested in lieu of dividend                                                                                                           2,047            2,290
          Granted during the year                                                                                                           232,601         833,284
          Exercised during the year                                                                                                       (275,646)          (138,138)
          Lapsed during the year                                                                                                          (227,689)                 -
          Outstanding at 31 December                                                                                                      1,442,571        1,711,258


          No options expired or forfeited during the year (2017: nil).

          13 Deferred consideration payable
          This represents deferred consideration in respect of 49% shares acquired by the Company in Fakih IVF UAE. Remaining 51% shares
          are owned by NMC Healthcare LLC. Deferred consideration is payable in 2019.

          14 Financial risk management
          The Company’s principal financial liabilities are other payables, arising in the normal course of business. The Company’s financial
          assets include an amount due from a related party and bank balances. The company’s activities expose it to a variety of financial
          risks: interest rate risk, credit risk, liquidity risk and foreign currency risk.

          Interest rate risk
          Interest rate risk is the risk that the fair value or future cash flows of a financial instrument will fluctuate because of changes in
          market interest rates. The Company is exposed to interest rate risk on its bank balances only, as the balance due from a related
          party is interest free, and therefore the Company’s exposure to interest rate risk is limited.




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          Credit risk
          Credit risk is the risk that counterparty will not meet its obligations under a financial instrument, leading to a financial loss.
          The Company’s credit risk arises from amounts due from a related party and bank balances.

          The directors assess the credit quality of the related party by taking into account their financial position, past experience and
          other factors. Management does not expect any losses from non-performance by this counterparty, which is a subsidiary of
          the Company.

          The Company limits its credit risk with regard to bank balances by only dealing with reputable banks. The credit rating of the bank
          at which the cash at bank is held is AA+.

          The Company’s credit risk exposure against a corporate guarantee provided to NMC Healthcare LLC in respect of the syndicate loan
          is US$1,200,000,000 (2017: US$1,075,000,000).

          Liquidity risk
          The Company’s objective is to maintain sufficient funding to meet its obligations as they fall due.

          The table below analyses the Company’s undiscounted financial liabilities into relevant maturity groupings based on the
          contractual payment dates.

          Balances due within 12 months equal their carrying balances as the impact of discounting is not significant
                                                                                            Less than 3
                                                                            On demand          months     3 to 12 months        1 to 5 years             Total
                                                                               US$‘000         US$‘000            US$‘000           US$‘000            US$‘000

          At 31 December 2018
          Other payables                                                             –            1,118                –                  –              1,118
          Total                                                                      –            1,118                –                  –              1,118
          At 31 December 2017
          Other payables                                                             –            604                  –                  –               604
          Total                                                                      –            604                  –                  –               604


          In addition to the above financial liabilities, the Company has provided a corporate guarantee of US$1,200,000,000
          (2017: US$1,075,000,000) to NMC Healthcare LLC in respect of the syndicate loan. The fair value of the corporate guarantee
          is US$nil as at 31 December 2018 (2017: US$nil).

          Foreign currency risk
          Foreign currency risk arises when future commercial transactions or recognised assets or liabilities are denominated in a currency
          that is not the entity’s functional currency.

          The Company is exposed to currency risk on its other payables denominated in Pound Sterling. Foreign currency payable balances
          included in the statement of financial position denominated in Pound Sterling are US$1,056,000 (2017: US$583,000). The impact of
          possible of foreign currency movement is not significant.

          Fair value estimation
          The fair values of the Company’s financial instruments are not materially different from their carrying values at the statement
          of financial position date.

          Financial guarantees
          The Company is a guarantor along with other fellow subsidiary undertakings for US$1,200,000,000 (2017: US$1,075,000,000)
          of a syndicated bank loan raised by its subsidiary NMC Healthcare LLC.

          15 Dividends
          In the AGM on 28 June 2018 the shareholders approved a dividend of 13.0 pence per share, amounting to GBP 27,066,000
          (US$35,739,000) to be paid to shareholders on the Company’s share register on 15 June 2018 (30 June 2017: a dividend of
          GBP 21,753,000 equivalent to US$27,779,000 was approved on 23 May 2017 and paid on 1 June 2017). No interim dividend was declared
          during the year. Subject to shareholder’ approval at the Annual General Meeting on 20 June 2019, a final dividend of 18.1 pence per
          share, GBP37,652,000 (US$49,731,000) will be paid on 10 July 2019 to shareholders on the Company’s share register on 14 June 2019.

          16 Tax
          The Group operates in the United Arab Emirates, Spain, the UK and other jurisdictions. No deferred tax asset has been recognised in
          respect of the estimated unused tax losses due to the unpredictability of future profit streams. Included in unrecognised tax losses
          are losses of approximately US$94,320,041 (2017: US$46,549,000) that may be carried forward indefinitely. Additionally the group has
          unrecognized Zakat losses in Saudi Arabia of US$48,712,269 which have not been recognized for deferred tax purposes.




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          AGM and dividend dates
          Ex-dividend date for final dividend                       13 June 2019
          Record date for final dividend                            14 June 2019
          Annual General Meeting                                    20 June 2019
          Final dividend payment                                    10 July 2019

          Dividends
          Information in relation to the Company’s dividend policy and the proposed dividend payment per share is set out in the Financial
          Review on page 19 and in Note 27 to the Consolidated Financial Statements on page 142.

          Share Capital
          The issued share capital as at 1 January 2018 was £20,442,385.20 divided into 204,423,852 Ordinary shares of 10p each. During the
          2018 financial year, the Company issued a total of 3,813,490 new Ordinary shares, with 3,533,857 shares issued as part of the
          consideration payable for the purchase of the minority interest in Fakih IVF not previously owned by the Group, and the remaining
          279,633 shares issued following the exercise of share awards granted under the Company’s Long Term Incentive Plan and Deferred
          Share Bonus Plan. No other changes to the share capital of the Company were made during the year.

          The issued share capital of the Company as at 31 December 2018 was £20,823,734.20 divided into 208,237,342 Ordinary shares of 10p
          each. Options and share awards granted by the Company over its share capital are set out in the Directors’ Remuneration Report
          on pages 62 to 78.

          Under the articles of association of the Company, all Ordinary shares have equal rights to dividends and capital and to vote at
          general meetings of the Company. The directors are not aware of any agreements between holders of the Company’s shares
          that may result in restrictions on the transfer of securities or in voting rights.

          Annual General Meeting
          The annual general meeting of NMC Health plc will be held at Allen & Overy LLP, One Bishops Square, London E1 6AD on 20 June 2019
          at 2.30 pm.

          Further details of the resolutions to be proposed at the annual general meeting is set out in the Notice of Annual General Meeting
          circular which is included in a separate document enclosed with this annual report.

          Share Registrar
          Our Registrars are Link Asset Services who can be contacted as follows:
          Address:           Link Asset Services, The Registry, 34 Beckenham Road, Beckenham, Kent, BR3 4TU
          Email:             enquiries@linkgroup.co.uk
          Telephone:         0871 664 0300
          International:     +44 (0) 371 664 0300
                             Calls cost 12p per minute plus your phone company's access charge. Calls outside the United Kingdom will be
                             charged at the applicable international rate. Lines are open between 09:00 – 17:30, Monday to Friday excluding
                             public holidays in England and Wales

          Principal shareholders
          As at 6 March 2019, the Company is aware of the following significant shareholdings in the Ordinary shares of the Company:
                                                                                                  Number of   % of issued share           Nature of
          Shareholder                                                                                shares          capital held          holding

          Dr B. R. Shetty                                                                       40,008,923                19.2%            Direct
          H.E. Saeed Bin Butti                                                                   36,419,091                17.5%           Direct
          Khalifa Bin Butti                                                                     30,696,561                14.7%            Direct
          Infinite Investment LLC                                                               15,280,426                  7.3%           Direct




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          NMC Health plc
          Level 1 Devonshire House
          One Mayfair Place
          Mayfair
          London W1J 8AJ




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